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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :          Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :          Case No. 20–32181 (KLP)
                                                             :
                                               1
                                    Debtors.                 :          (Jointly Administered)
                                                             :
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                            STATEMENT OF FINANCIAL AFFAIRS FOR
                         J. CREW OPERATING CORP. (CASE NO. 20-32186)




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
      Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
      Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
      International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
      (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
      Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
      headquarters and service address is 225 Liberty St., New York, NY 10281.
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    GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
       AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
     ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

       Chinos Holdings, Inc. and its debtor affiliates, as debtors and debtors in possession in the
above-captioned chapter 11 cases (collectively, the “Debtors”), are filing their respective
Schedules of Assets and Liabilities (each, a “Schedule,” and collectively, the “Schedules”) and
Statements of Financial Affairs (each, a “Statement” and collectively, the “Statements”) in the
United States Bankruptcy Court for the Eastern District of Virginia, Richmond Division
(the “Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules and Statements (collectively, the “Global Notes”) pertain to,
and are incorporated by reference in, and comprise and integral part of all of the Schedules and
Statements. The Global Notes are in addition to the specific notes set forth below with respect to
the Schedules and Statements (the “Specific Notes,” and, together with the Global Notes,
the “Notes”). These Notes should be referred to, and referenced in connection with, any review
of the Schedules and Statements.

        The Debtors’ management prepared the Schedules and Statements with the assistance of
their advisors and other professionals. The Schedules and Statements are unaudited and subject to
potential adjustment. In preparing the Schedules and Statements, the Debtors relied on financial
data derived from their books and records that was available at the time of preparation. The
Debtors’ management team and advisors have made reasonable efforts to ensure that the Schedules
and Statements are as accurate and complete as possible under the circumstances; however,
subsequent information or discovery may result in material changes to the Schedules and
Statements and errors or omissions may exist. Notwithstanding any such discovery, new
information, or errors or omissions, the Debtors do not undertake any obligation or commitment
to update the Schedules and Statements.

        The Debtors reserve all rights to amend or supplement the Schedules and Statements from
time to time, in all respects, as may be necessary or appropriate, including the right to dispute or
otherwise assert offsets or defenses to any claim reflected on the Schedules and Statements as to
amount, liability, classification, identity of Debtor, or to otherwise subsequently designate any
claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the
Schedules, Statements, or Notes shall constitute a waiver of any of the Debtors’ rights or an
admission with respect to their chapter 11 cases, including any issues involving objections to
claims, substantive consolidation, equitable subordination, defenses, characterization or re-
characterization of contracts and leases, assumption or rejection of contracts and leases under the
provisions of chapter 3 of the Bankruptcy Code, causes of action arising under the provisions of
chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to recover assets or avoid
transfers.




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                        Global Notes and Overview of Methodology

       The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of any
of the Debtors or their affiliates.

       1.     Description of the Cases. On May 4, 2020 (the “Petition Date”), each of the
              Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code.
              The Debtors are authorized to operate their businesses and manage their properties
              as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
              Code. On May 5, 2020, the Bankruptcy Court entered an order authorizing the joint
              administration of the chapter 11 cases pursuant to Bankruptcy Rule 1015(b)
              [Docket No. 99]. Notwithstanding the joint administration of the Debtors’ cases
              for procedural purposes, each Debtor has filed its own Schedules and Statements.
              On May 13, 2020, the United States Trustee for the Eastern District of Virginia,
              Richmond Division (the “U.S. Trustee”) appointed an official committee of
              unsecured creditors pursuant to section 1102(a)(1) of the Bankruptcy Code
              (the “Creditors’ Committee”).

       2.     Basis of Presentation. For financial reporting purposes, the Debtors generally
              prepare consolidated financial statements, which include information for the
              Debtors and their non-Debtor affiliates. The Schedules and Statements are
              unaudited and reflect the Debtors’ reasonable efforts to report certain financial
              information of each Debtor on an unconsolidated basis. These Schedules and
              Statements neither purport to represent financial statements prepared in accordance
              with Generally Accepted Accounting Principles in the United States (“GAAP”),
              nor are they intended to be fully reconciled with the financial statements of each
              Debtor.

              The Debtors used reasonable efforts to attribute the assets and liabilities, certain
              required financial information, and various cash disbursements to each particular
              Debtor entity. Because the Debtors’ accounting systems, policies, and practices
              were developed for consolidated reporting purposes rather than for reporting by
              legal entity, however, it is possible that not all assets and liabilities have been
              recorded with the correct legal entity on the Schedules and Statements.
              Specifically, the Debtors do not account for accounts payable and payments to
              individual creditors on a legal entity basis. Substantially all payments are made by
              J. Crew Operating Corp. on behalf of the various entities and therefore are presented
              as such in the Schedules and Statements. Intercompany receivables and payables
              are created to account for these transactions by legal entity. Therefore, unless
              indicated otherwise, scheduled claims are listed as a liability of J. Crew Operating
              Corp. The Debtors reserve all rights to supplement and amend the Schedules and
              Statements in this regard, including with respect to reallocation of assets or
              liabilities to any particular entity.

       3.     Reporting Date. Unless otherwise noted on the specific responses, the Schedules
              and Statements generally reflect the Debtors’ books and records as of the close of
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           business on the Petition Date. The liability values are as of the Petition Date,
           adjusted for authorized payments made under the First Day Orders (as defined
           below).

     4.    Current Values. Unless otherwise noted on the specific responses, the assets and
           liabilities of each Debtor are listed in the Schedules and Statements on the basis of
           the net book value of the asset or liability in the respective Debtor’s accounting
           books and records.

     5.    Confidentiality. There may be instances where certain information was not
           included or redacted due to the nature of an agreement between a Debtor and a third
           party, concerns about the confidential or commercially sensitive nature of certain
           information, or to protect the privacy of an individual.

     6.    Consolidated Entity Accounts Payable and Disbursement Systems. As
           described in the Motion of Debtors for Entry of Interim and Final Orders
           (I) Authorizing Debtors to (A) Continue Participating In Existing Cash
           Management System, and Using Bank Accounts and Business Forms, and
           (B) Continue Intercompany Transactions, (II) Providing Administrative Expense
           Priority for Postpetition Intercompany Claims, (III) Extension of Time to Comply
           with Requirements of 11 U.S.C. § 345(b), and (IV) Granting Related Relief [Docket
           No. 7], the Debtors utilize an integrated, centralized cash management system, in
           the ordinary course of business, to collect, concentrate, and disburse funds
           generated by their operations (the “Cash Management System”). The Debtors
           maintain a master concentration account to pay the Debtors’ obligations through
           the following accounts: (a) disbursement accounts, (b) payroll account,
           (c) investment accounts, (d) open account and letter of credit account, and (e) non-
           debtor cash management systems.

           In the ordinary course of business, the Debtors maintain business relationships
           among each other, which result in intercompany receivables and payables
           (the “Intercompany Claims”) arising from intercompany transactions
           (the “Intercompany Transactions”). As set forth more fully in the Cash
           Management Motion, Intercompany Transactions primarily relate to income taxes
           or fees charged by certain Debtors or non-Debtor affiliates to other Debtors or non-
           Debtor affiliates on account of the intercompany provision of goods or services.
           Historically, Intercompany Claims are not settled by actual transfers of cash among
           the Debtors. Instead, the Debtors track all Intercompany Transactions in their
           centralized accounting system, which concurrently are recorded on the applicable
           Debtors’ balance sheets and regularly reconciled. The Debtors’ accounting system
           requires that all general ledger entries be balanced at the legal entity level, with
           certain legal entities consolidated. Unless otherwise noted, the Debtors have
           reported the intercompany receivables and intercompany payables among the
           Debtors as assets on Schedule A/B or as liabilities on Schedule E/F, as appropriate.

     7.    Accuracy. The financial information disclosed herein was not prepared in
           accordance with federal or state securities laws or other applicable nonbankruptcy
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           law or in lieu of complying with any periodic reporting requirements thereunder.
           Persons and entities trading in or otherwise purchasing, selling, or transferring the
           claims against or equity interests in the Debtors should evaluate this financial
           information in light of the purposes for which it was prepared. The Debtors are not
           liable for and undertake no responsibility to indicate variations from securities laws
           or for any evaluations of the Debtors based on this financial information or any
           other information.

     8.    Net Book Value of Assets. In many instances, current market valuations are not
           maintained by or readily available to the Debtors. As such, wherever possible, net
           book values as of the Petition Date are presented. Amounts ultimately realized
           based on market valuations may vary materially from net book value (or other value
           so ascribed). Accordingly, the Debtors reserve all rights to amend, supplement,
           and adjust the asset values set forth in the Schedules and Statements. As applicable,
           fixed assets and leasehold improvement assets that fully have been depreciated or
           amortized, or were expensed for GAAP accounting purposes, have no net book
           value, and, therefore, are not included in the Schedules and Statements.

     9.    Undetermined Amounts. Claim amounts that could not readily be quantified by
           the Debtors are scheduled as “undetermined,” “unknown,” or “N/A.” The
           description of an amount as “undetermined,” “unknown,” or “N/A” is not intended
           to reflect upon the materiality of the amount.

     10.   Excluded Assets and Liabilities. The Debtors believe that they have identified,
           but did not necessarily value, all material categories of assets and liabilities in the
           Schedules. The Debtors have excluded the following items from the Schedules and
           Statements: certain accrued liabilities, including accrued salaries and wages,
           employee benefit accruals, and certain other accruals, certain prepaid and other
           current assets considered to have de minimis or no market value. Other immaterial
           assets and liabilities may also have been excluded.

     11.   Totals. All totals that are included in the Schedules and Statements represent totals
           of all the known amounts included in the Schedules and Statements and exclude
           items identified as “unknown” or “undetermined.” If there are unknown or
           undetermined amounts, the actual totals may be materially different from the listed
           totals.

     12.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
           unless otherwise indicated.

     13.   Payment of Prepetition Claims Pursuant to First Day Orders. The Debtors
           have authority to pay certain outstanding prepetition payables pursuant to certain
           orders by the Bankruptcy Court entered in connection with the Debtors’ chapter 11
           cases authorizing the Debtors to pay certain prepetition amounts (collectively, the
           “First Day Orders”). As such, outstanding liabilities may have been reduced by
           any court-approved postpetition payments made on prepetition payables. If these
           liabilities have been satisfied, they are not listed in the Schedules and Statements
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              unless otherwise noted. If the Debtors later pay any amount of the claims listed in
              the Schedules and Statements pursuant to any orders entered by the Bankruptcy
              Court, the Debtors reserve all rights to amend or supplement the Schedules and
              Statements or to take other action, such as filing claims objections, as is necessary
              and appropriate to avoid overpayment or duplicate payments for liabilities.

     14.      Other Paid Claims. If the Debtors have reached any postpetition settlement with
              a vendor or other creditor that expressly supersedes the Schedules and Statements
              or that was entered into after filing of the Schedules and Statements, the terms of
              such settlement will prevail, supersede amounts listed in the Debtors’ Schedules
              and Statements, and shall be enforceable by all parties, subject to Bankruptcy Court
              approval.

     15.      Setoffs. The Debtors routinely incur certain setoffs from customers and suppliers
              in the ordinary course of business. Setoffs in the ordinary course can result from
              various items including, but not limited to, pricing discrepancies, customer
              programs, returns, promotional funding, and other disputes between the Debtors
              and their customers and suppliers. These routine setoffs are consistent with the
              ordinary course of business in the Debtors’ industry, and, therefore, can be
              particularly voluminous, unduly burdensome, and costly for the Debtors to
              regularly document. Therefore, although such setoffs and other similar rights may
              have been accounted for when scheduling certain amounts, these ordinary course
              setoffs are not independently accounted for, and, as such, are excluded from the
              Debtors’ Schedules and Statements. Any setoff of a prepetition debt to be applied
              against the Debtors is subject to the automatic stay and must comply with section
              553 of the Bankruptcy Code.

           16. Inventory. Merchandise inventories are carried at the lower of average cost or net
               realizable value. The Debtors capitalize certain design, purchasing and
               warehousing costs in inventory. The Debtors evaluate all of their inventories to
               determine excess inventories based on estimated future sales. Based on historical
               results experienced through various methods of disposition, the Debtors write down
               the carrying value of inventories that are not expected to be sold at or above cost.
               Additionally, the Debtors reduce the cost of inventories based on an estimate of lost
               or stolen items each period.

     17.      Property, Plant and Equipment. Property and equipment are stated at cost and
              are depreciated over the estimated useful lives using the straight-line method.
              Buildings and improvements are depreciated over estimated useful lives of twenty
              years. Furniture, fixtures and equipment are depreciated over estimated useful
              lives, ranging from three to ten years. Leasehold improvements are depreciated
              over the shorter of their useful lives or related lease terms (without consideration
              of optional renewal periods). The Debtors capitalize certain costs (included in
              fixtures and equipment) related to the acquisition and development of software and
              amortizes these costs using the straight-line method over the estimated useful life
              of the software, which is three to five years. Certain development costs not meeting
              the criteria for capitalization are expensed as incurred.
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     18.   Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements,
           or Notes shall constitute a waiver of rights with respect to these chapter 11 cases,
           including the following:

           a.     Any failure to designate a claim listed on the Debtors’ Schedules and
                  Statements as “disputed,” “contingent,” or “unliquidated” does not
                  constitute an admission by the Debtors that such amount is not “disputed,”
                  “contingent,” or “unliquidated.” The Debtors reserve the right to dispute
                  and to assert setoff rights, counterclaims, and defenses to any claim
                  reflected on the Schedules as to amount, liability, and classification, and to
                  otherwise subsequently designate any claim as “disputed,” “contingent,” or
                  “unliquidated.”

           b.     Notwithstanding that the Debtors have made reasonable efforts to correctly
                  characterize, classify, categorize, or designate certain claims, assets,
                  executory contracts, unexpired leases, and other items reported in the
                  Schedules and Statements, the Debtors nonetheless may have improperly
                  characterized, classified, categorized, or designated certain items. The
                  Debtors thus reserve all rights to recharacterize, reclassify, recategorize, or
                  redesignate items reported in the Schedules and Statements at a later time
                  as is necessary and appropriate.

           c.     The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F
                  (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as “unsecured,” or
                  (iv) listing a contract or lease on Schedule G as “executory” or “unexpired”
                  does not constitute an admission by the Debtors of the legal rights of the
                  claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify
                  such claim or contract pursuant to a schedule amendment, claim objection
                  or otherwise. Moreover, although the Debtors may have scheduled claims
                  of various creditors as secured claims for informational purposes, no current
                  valuation of the Debtors’ assets in which such creditors may have a security
                  interest has been undertaken. Except as provided in an order of the
                  Bankruptcy Court, the Debtors reserve all rights to dispute and challenge
                  the secured nature or amount of any such creditor’s claims or the
                  characterization of the structure of any transaction, or any document or
                  instrument related to such creditor’s claim.

           d.     In the ordinary course of their business, the Debtors lease equipment and
                  other assets from certain third-party lessors for use in the daily operation of
                  their business. The Debtors have made commercially reasonable efforts to
                  list any such leases in Schedule G, and any current amounts due under such
                  leases that were outstanding as of the Petition Date are listed on Schedule
                  E/F. Except as otherwise noted herein, the property subject to any such
                  leases is not reflected in Schedule A/B as either owned property or assets of
                  the Debtors, and neither is such property or assets of third parties within the
                  control of the Debtors. Nothing in the Schedules is or shall be construed as
                  an admission or determination as to the legal status of any lease (including
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                whether any lease is a true lease or a financing arrangement), and the
                Debtors reserve all rights with respect to any of such issues, including the
                recharacterization thereof.

           e.   The claims of individual creditors for, among other things, goods, products,
                services or taxes are listed as the amounts entered on the Debtors’ books
                and records and may not reflect credits, allowances or other adjustments due
                from such creditors to the Debtors. The Debtors reserve all of their rights
                with regard to such credits, allowances and other adjustments, including the
                right to assert claims objections and setoffs with respect to the same.

           f.   The Debtors’ businesses are part of a complex enterprise. Although the
                Debtors have exercised their reasonable efforts to ensure the accuracy of
                their Schedules and Statements, they nevertheless may contain errors and
                omissions. The Debtors hereby reserve all of their rights to dispute the
                validity, status, and enforceability of any contracts, agreements, and leases
                identified in the Debtors’ Schedules and Statements, and to amend and
                supplement the Schedules and Statements as necessary.

           g.   The Debtors further reserve all of their rights, claims, and causes of action
                with respect to the contracts and agreements listed on the Schedules and
                Statements, including the right to dispute and challenge the characterization
                or the structure of any transaction, document, and instrument related to a
                creditor’s claim.

           h.   The Debtors exercised their reasonable efforts to locate and identify
                guarantees and other secondary liability claims (the “Guarantees”) in their
                executory contracts, unexpired leases, secured financings, debt instruments,
                and other agreements. When such Guarantees have been identified, they
                are included in the relevant Schedules and Statements. Guarantees
                embedded in the Debtors’ executory contracts, unexpired leases, secured
                financings, debt instruments, and other agreements may have been omitted
                inadvertently. Thus, the Debtors reserve their rights to amend and
                supplement the Schedules and Statements to the extent that additional
                Guarantees are identified. In addition, the Debtors reserve the right to
                amend the Schedules and Statements to re-characterize and reclassify any
                such contract or claim.

           i.   Listing a contract or lease on the Debtors’ Schedules and Statements shall
                not be deemed an admission that such contract is an executory contract,
                such lease is an unexpired lease, or that either necessarily is a binding, valid,
                and enforceable contract. The Debtors hereby expressly reserve the right to
                assert that any contract listed on the Debtors’ Schedules and Statements
                does not constitute an executory contract within the meaning of section 365
                of the Bankruptcy Code, and the right to assert that any lease so listed does
                not constitute an unexpired lease within the meaning of section 365 of the
                Bankruptcy Code.
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           j.     Exclusion of certain intellectual property should not be construed to be an
                  admission that such intellectual property rights have been abandoned, have
                  been terminated or otherwise expired by their terms, or have been assigned
                  or otherwise transferred pursuant to a sale, acquisition, or other transaction.
                  Conversely, inclusion of certain intellectual property should not be
                  construed to be an admission that such intellectual property rights have not
                  been abandoned, have not been terminated or otherwise expired by their
                  terms, or have not been assigned or otherwise transferred pursuant to a sale,
                  acquisition, or other transaction.

     19.   Global Notes Control. If the Schedules or Statements differ from any of the
           foregoing Global Notes, the Global Notes shall control.

     Specific Notes with Respect to the Debtors’ Schedules

     1.    Schedule A/B.

           a.     A/B.3. As set forth more fully in the Cash Management Motion, the
                  Debtors conduct their operations through an extensive network of bank
                  accounts. The values provided for in Schedule A/B, Item 3 for each account
                  for a given Debtor reflects the ending cash balance of such account as of the
                  Petition Date.

           b.     A/B.10–12. Consistent with the Debtors’ financial reporting practices,
                  certain current assets, including credit card receivables, wholesale
                  receivables, corporate receivables, and any allowances thereof provided for
                  in Schedule A/B, Items 11 and 12 are as of the Petition Date. Intercompany
                  receivables have been listed as “Other property” under Schedule A/B, Item
                  77.

           c.     A/B.15. Equity interests in subsidiaries and affiliates primarily arise from
                  common stock ownership or member interests. For purposes of these
                  Schedules, the Debtors have assigned an ownership percentage for the
                  equity interests of all of their direct subsidiaries.

           d.     A/B.18–26. Schedule A/B, Items 18–26 identifies the estimated value of
                  the Debtors’ inventories. Included within the estimated values are various
                  reserves and capitalized balances that the Debtors attribute to the total value
                  of inventory as included within their books and records, such as on account
                  of slow moving goods, shrinkage and markdowns.

           e.     A/B.54–58. The Debtors considered only real property owned in
                  responding to Schedule A/B, Items 54–58. However, the Debtors’ real
                  property leases are listed in Schedule G and are incorporated into Schedule
                  A/B, Items 54-58 by reference. The Debtors’ real property leases for retail
                  store locations are listed on Schedule G for Chinos Holdings, Inc.; J. Crew


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                  Group, Inc.; J. Crew Operating Corp.; Grace Holmes, Inc.; J. Crew Inc.;
                  Madewell Inc.; H.F.D. No. 55, Inc.

           f.     A/B.59–65. The Debtors have not listed the value of the items listed in
                  Schedule A/B, Items 59–65 because the values on the Debtors’ books and
                  records may not accurately reflect their value in the marketplace.

                  Additionally, certain of the Debtors have customer information from loyalty
                  programs, customer accounts, in-store and online sales, as well as
                  information collected from the Debtors’ websites and third-party partners,
                  which information includes personally identifiable information. The
                  Debtors maintain certain records in the ordinary course of business, but do
                  not sell these lists. Due to privacy laws, the Debtors’ privacy policy, and
                  the need to protect confidential information and individual privacy, the
                  Debtors have not furnished any customer lists on their Schedules.

           g.     A/B.72. The Debtors file consolidated federal tax returns, as well as certain
                  of their state tax returns, under Chinos Holdings, Inc. Consequently, the
                  Debtors maintain net and current book operating losses, carryforwards of
                  disallowed business interest expense, and carryforwards of unused general
                  business credits, in each case, from consolidated tax filings made by Chinos
                  Holdings, Inc. (“Tax Assets”), and such Tax Assets are listed only under
                  Item 72 of Schedule A/B for Chinos Holdings, Inc. Additionally, the values
                  of the Tax Assets listed in Schedule A/B, Item 72 reflect the amounts listed
                  in the Debtors’ books and records, and may reflect amounts accumulated
                  for more than one tax year.

           h.     A/B.70–77. Despite exercising their commercially reasonable efforts to
                  identify all known assets, the Debtors may not have listed all of their causes
                  of action or potential causes of action against third parties as assets in their
                  Schedules. Unless otherwise noted on specific responses, items reported on
                  Schedule A/B are reported from the Debtors’ books and records as of the
                  Petition Date. The Debtors reserve all of their rights with respect to any
                  claims and causes of action they may have. Neither these Notes nor the
                  Schedules shall be deemed a waiver of any such claims or causes of action
                  or to prejudice or impair the assertion thereof in any way.

                  If a Debtor has received an intercompany receivable, such amount has been
                  listed on Item 77, Schedule A/B for such Debtor. Correspondingly, if a
                  Debtor is obligated on account of an intercompany payable, such amount
                  has been listed on Schedule E/F, Part 2 for such Debtor.

     2.    Schedule D. The claims listed on Schedule D, as well as the guarantees of those
           claims listed on Schedule H, arose and were incurred on various dates; a
           determination of the date upon which each claim arose or was incurred would be
           unduly burdensome and cost prohibitive. Accordingly, not all such dates are
           included for each claim. To the best of the Debtors’ knowledge, all claims listed
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           on Schedule D arose or were incurred before the Petition Date. The amounts in
           Schedule D are consistent with the Debtors’ stipulations set forth in the Final Order
           (I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the
           Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
           Administrative Expense Claims, (IV) Granting Adequate Protection to Prepetition
           Secured Parties, (V) Modifying Automatic Stay, and (VI) Granting Related Relief
           [Docket No. 447] (the “DIP Order”), which are subject to investigation and
           challenge by the Creditors’ Committee or other parties in interest, all as more fully
           set forth in the DIP Order.

           Except as otherwise agreed to or stated pursuant to a stipulation, agreed order, or
           general order entered by the Bankruptcy Court that is or becomes final, including
           the DIP Order, the Debtors and their estates reserve their right to dispute and
           challenge the validity, perfection, or immunity from avoidance of any lien
           purported to be granted or perfected in any specific asset to a creditor listed on
           Schedule D of any Debtor and, subject to the foregoing limitations, note as follows:
           (a) although the Debtors may have scheduled claims of various creditors as secured
           claims for informational purposes, no current valuation of the Debtors’ assets in
           which such creditors may have a lien has been undertaken; (b) the Debtors have
           included the results of UCC lien searches performed prior to the Petition Date (the
           reporting of such results, however, shall not be deemed an admission as to the
           validity or existence of any such lien); (c) the Debtors reserve all rights to dispute
           and challenge the secured nature of any creditor’s claim or the characterization of
           the structure of any such transaction or any document or instrument related to such
           creditor’s claim; and (d) the descriptions provided on Schedule D only are intended
           to be a summary. Reference to the applicable loan agreements and related
           documents is necessary for a complete description of the collateral and the nature,
           extent, and priority of any liens.

           Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
           collateral relating to the debt contained on Schedule D are contained in the
           Declaration of Michael J. Nicholson in Support of Debtors’ Chapter 11 Petitions
           and First Day Relief [Docket No. 6] (the “First Day Declaration”).

           The Debtors have listed only the administrative agent or indenture trustee for their
           funded secured indebtedness, but each of these secured claims are owned or
           beneficially controlled by a number of parties that may not be identified in the
           Schedules and Statements.

           Except as specifically stated herein, real property lessors, equipment lessors, utility
           companies, and other parties which may hold security deposits or other security
           interests have not been listed on Schedule D. The Debtors have not listed on
           Schedule D any parties whose claims may be secured through rights of setoff,
           deposits, or advance payments posted by, or on behalf of, the Debtors, or judgment
           or statutory lien rights.


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     3.    Schedule E/F

           a.    (Part 1). The claims listed on Schedule E/F (Part 1) arose and were incurred
                 on various dates; a determination of the date upon which each claim arose
                 or was incurred would be unduly burdensome and cost prohibitive.
                 Accordingly, not all such dates are included for each claim. To the best of
                 the Debtors’ knowledge, all claims listed on Schedule E/F arose or were
                 incurred before the Petition Date.

                 The Debtors have not listed certain wage, or wage-related obligations that
                 the Debtors have paid pursuant to First Day Orders on Schedule E/F. The
                 Debtors reserve the right to dispute or challenge whether creditors listed on
                 Schedule E/F are entitled to priority status pursuant to sections 503 and 507
                 of the Bankruptcy Code.

                 Claims owing to various taxing authorities to which the Debtors potentially
                 may be liable are included on the Debtors’ Schedule E/F. Certain of such
                 claims, however, may be subject to ongoing audits and the Debtors
                 otherwise are unable to determine with certainty the amount of the
                 remaining claims listed on Schedule E/F. Therefore, the Debtors have listed
                 all such claims as disputed, contingent, and unliquidated, pending final
                 resolution of ongoing audits or other outstanding issues.

                 The Debtors reserve the right to assert that any claim listed on Schedule E/F
                 does not constitute a priority claim under the Bankruptcy Code.

           b.    (Part 2). The Debtors have exercised their commercially reasonable efforts
                 to list all liabilities on Schedule E/F of each applicable Debtor. As a result
                 of the Debtors’ consolidated operations, however, the reader should review
                 Schedule E/F for all Debtors in these cases for a complete understanding of
                 the unsecured debts of the Debtors. Certain creditors listed on Schedule E/F
                 may owe amounts to the Debtors, and, as such, the Debtors may have valid
                 setoff and recoupment rights with respect to such amounts. The amounts
                 listed on Schedule E/F may not reflect any such right of setoff or
                 recoupment, and the Debtors reserve all rights to assert the same and to
                 dispute and challenge any setoff and recoupment rights that may be asserted
                 against the Debtors by a creditor. Additionally, certain creditors may assert
                 mechanic’s, materialman’s, or other similar liens against the Debtors for
                 amounts listed on Schedule E/F. The Debtors reserve their rights to dispute
                 and challenge the validity, perfection, and immunity from avoidance of any
                 lien purported to be perfected by a creditor listed on Schedule E/F of any
                 Debtor. In addition, certain claims listed on Schedule E/F (Part 2) may be
                 entitled to priority under 11 U.S.C. § 503(b)(9).

                 The Debtors have made reasonable efforts to include all unsecured creditors
                 on Schedule E/F including, but not limited to, lease counterparties, taxing
                 authorities, trade creditors, and service providers. The amounts listed in
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                           Schedule E/F with respect to certain trade creditors are consistent with the
                           Debtors’ stipulations set forth in each such creditors’ ongoing trade
                           agreement, as applicable.1 The Debtors have made reasonable efforts to
                           include certain balances on Schedule E/F, including deferred liabilities,
                           accruals, or general reserves, but may not have included all balances where
                           impracticable. Such amounts are, however, reflected on the Debtors’ books
                           and records as required in accordance with GAAP. Such accruals primarily
                           represent general estimates of liabilities and do not represent specific claims
                           as of the Petition Date. The Debtors have made reasonable efforts to include
                           as contingent, unliquidated and disputed the claim of any party not included
                           on the Debtors’ open accounts payable that is associated with an account
                           that has an accrual or receipt not invoiced.

                           Schedule E/F also contains information regarding pending litigation
                           involving the Debtors. In certain instances, the relevant Debtor that is the
                           subject of the litigation is unclear or undetermined. To the extent that
                           litigation involving a particular Debtor has been identified, however, such
                           information is included on that Debtor’s Schedule E/F. The amounts for
                           these potential claims are listed as undetermined and marked as contingent,
                           unliquidated, and disputed in the Schedules.

                           The aggregate net intercompany payable amounts listed in Schedule E/F
                           may or may not result in allowed or enforceable claims by or against a given
                           Debtor, and listing these payables is not an admission on the part of the
                           Debtors that the Intercompany Claims are enforceable or collectable. The
                           intercompany payables also may be subject to recoupment, netting, or other
                           adjustments made pursuant to intercompany policies and arrangements not
                           reflected in the Schedules.

                           Additionally, the Bankruptcy Court has authorized the Debtors to pay, in
                           their discretion, certain unsecured claims, pursuant to the First Day Orders.
                           To the extent practicable, each Debtor’s Schedule E/F is intended to reflect
                           the balance as of the Petition Date, adjusted for postpetition payments of
                           some or all of the Bankruptcy Court-approved payments. Each Debtor’s
                           Schedule E/F will reflect some of the Debtor’s payments of certain claims
                           pursuant to the First Day Orders, and, to the extent an unsecured claim has
                           been paid or may be paid, it is possible such claim is not included on
                           Schedule E/F. Certain Debtors may pay additional claims listed on
                           Schedule E/F during these Chapter 11 cases pursuant to these and other
                           orders of the Bankruptcy Court and the Debtors reserve all of their rights to
                           update Schedule E/F to reflect such payments or to modify the claims


1
    Further information and a form of the Debtors’ ongoing trade agreements is set forth in the Debtors’ Final Order
    (I) Authorizing Debtors to Pay Certain Prepetition Claims, Lien Claims, and 503(b)(9) Claims, (II) Confirming
    Administrative Expense Priority of Undisputed Prepetition Orders, and (III) Granting Related Relief [Docket No.
    384].

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                  register to account for the satisfaction of such claim. Additionally, Schedule
                  E/F does not include potential rejection damage claims, if any, of the
                  counterparties to executory contracts and unexpired leases that have been,
                  or may be, rejected.

     4.    Schedule G. Although reasonable efforts have been made to ensure the accuracy
           of Schedule G regarding executory contracts and unexpired leases (collectively,
           the “Agreements”), review is ongoing and inadvertent errors, omissions or
           overinclusion may have occurred. The Debtors may have entered into various other
           types of Agreements in the ordinary course of their businesses, such as indemnity
           agreements, supplemental agreements, and amendments/letter agreements that may
           not be set forth in Schedule G. In addition, as described herein, certain non-
           disclosure agreements and or other confidential information have been omitted, as
           well as certain short-term purchase and sales orders given their large number and
           transitory nature.

           Omission of an agreement from Schedule G does not constitute an admission that
           such omitted agreement is not an executory contract or unexpired lease. Schedule
           G may be amended at any time to add any omitted Agreements. Likewise, the
           listing of an Agreement on Schedule G does not constitute an admission that such
           Agreement is an executory contract or unexpired lease or that such Agreement was
           in effect on the Petition Date or is valid or enforceable. The Agreements listed on
           Schedule G may have expired or may have been modified, amended, or
           supplemented from time to time by various amendments, restatements, waivers,
           estoppel certificates, letter and other documents, instruments and agreements that
           may not be listed on Schedule G. Executory agreements that are oral in nature have
           not been included in Schedule G. Any and all of the Debtors’ rights, claims and
           causes of action with respect to the Agreements listed on Schedule G are hereby
           reserved and preserved, and as such, the Debtors hereby reserve all of their rights
           to (i) dispute the validity, status, or enforceability of any Agreements set forth on
           Schedule G, (ii) dispute or challenge the characterization of the structure of any
           transaction, or any document or instrument related to a creditor’s claim, including,
           but not limited to, the Agreements listed on Schedule G and (iii) to amend or
           supplement such Schedule as necessary. Certain of the Agreements listed on
           Schedule G may have been entered into on behalf of more than one of the Debtors.
           Additionally, the specific Debtor obligors to certain of the Agreements may not
           have been specifically ascertained in every circumstance. In such cases, the
           Debtors have made reasonable efforts to identify the correct Debtor’s Schedule G
           on which to list the Agreement and, where a contract party remained uncertain,
           such Agreement may have been listed on a different Debtor’s Schedule G.

     5.    Schedule H. The Debtors are party to various debt agreements, which were
           executed by multiple Debtors. The obligations of guarantors under prepetition,
           secured credit agreements are noted on Schedule H for each individual debtor. In
           the ordinary course of their businesses, the Debtors are involved in pending or
           threatened litigation and claims arising out of the conduct of their businesses. Some
           of these matters may involve multiple plaintiffs and defendants, some or all of
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           whom may assert cross-claims and counter-claims against other parties. Because
           such claims are listed on each Debtor’s Schedule E/F and Statement 7, as
           applicable, they have not been set forth individually on Schedule H. Furthermore,
           the Debtors may not have identified certain guarantees that are embedded in the
           Debtors’ executory contracts, unexpired leases, secured financings, debt
           instruments and other such agreements. No claim set forth on the Schedules and
           Statements of any Debtor is intended to acknowledge claims of creditors that are
           otherwise satisfied or discharged by other Debtors or non-Debtors. If there are
           guarantees connected with any joint ventures to which the Debtors may be a party,
           such agreements are not identified in the Debtors’ Schedules. The Debtors reserve
           all of their rights to amend the Schedules to the extent that additional guarantees
           are identified or such guarantees are discovered to have expired or be
           unenforceable.



     Specific Notes With Respect to the Debtors’ Statements

     1.    Statement 1. Sales are reflected net of returns and allowances, discounts, and
           certain other adjustments. Negative revenue relates to discounts on gift cards sold
           through third parties.

           The Debtors’ fiscal year ends on the Saturday closest to January 31:

           FY 2017: Composed of 53 weeks ending February 3, 2018.

           FY 2018: Composed of 52 weeks ending February 2, 2019.

           FY 2019: Composed of 52 weeks ending February 1, 2020.

     2.    Statement 3. The obligations of the Debtors are primarily paid by and through
           J. Crew Operating Corp., notwithstanding the fact that certain obligations may be
           obligations of one or more of the affiliated Debtors or non-Debtor affiliates.

           The payments disclosed in Statement 3 are based on payments made by the Debtors
           with payment dates from February 4, 2020 to May 4, 2020. The actual dates that
           cash cleared the Debtors’ bank accounts may differ based on the form of payment.
           The Debtors’ accounts payable system does not include the corresponding payment
           clear dates and compiling this data would have required a significant manual review
           of individual bank statements. It is expected, however, that many payments
           included in Statement 3 have payment clear dates that are the same as payment
           dates (e.g., wires and other forms of electronic payments).

           The responses to Statement 3 exclude certain disbursements or transfers to creditors
           otherwise listed in Statement 9, Statement 11, and payments made on account of
           certain employee obligations including, but not limited to, medical costs and
           business expense reimbursements.

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     3.    Statement 4. The Debtors reserve all rights with respect to the determination or
           status of a person as an “insider” as defined in section 101(13) of the Bankruptcy
           Code. For more information regarding each Debtor’s officers and directors, see
           Statement 28 and Statement 29.

           Question 4 of the Statements does not account for merchandise that may have been
           moved between the Debtors’ locations because such transfers are recorded through
           ordinary course accounting entries.

           The payroll-related amount shown in response to this question, which includes,
           among other things, salary, wage, additional compensation, is a gross amount that
           does not include reductions for amounts including employee tax or benefit
           withholdings. In the ordinary course of business, certain corporate or personal
           credit cards may be utilized by insiders to pay for travel and business-related
           expenses for various other individuals employed by the Debtors. As it would be
           unduly burdensome for the Debtors to analyze which credit card expenses related
           to those incurred on behalf of an insider as opposed to another employee (or the
           Debtors), the Debtors have listed the aggregate amount paid for such expenses.
           Amounts still owed to creditors will appear on the Schedules for each of the
           Debtors.

     4.    Statement 5. On occasion, the Debtors may return damaged or unsatisfactory
           goods to vendors in the ordinary course of business. Other than ordinary course
           items, the Debtors are not aware of any property that has been returned to the seller.

     5.    Statement 6. The Debtors maintain certain customer programs, including return
           and refund programs pursuant to which customers may receive credits. Such
           transactions were not considered setoffs for the purpose of responding to Statement
           6, although the Debtors reserve all rights with respect thereto and make no
           admission of waiver thereby.

           The Debtors have otherwise used their reasonable efforts to reflect setoffs made by
           creditors without permission that they are aware of; however, there may be
           instances, including credits due to landlords, when such a setoff has occurred
           without the Debtors’ knowledge.

     6.    Statement 7. The Debtors reserve all of their rights and defenses with respect to
           any and all listed lawsuits and administrative proceedings. The listing of such suits
           and proceedings shall not constitute an admission by the Debtors of any liabilities
           or that the actions or proceedings were correctly filed against the Debtors or any
           affiliates of the Debtors. The Debtors also reserve their rights to assert that neither
           the Debtors nor any affiliate of the Debtors is an appropriate party to such actions
           or proceedings. Further, the Debtors operate in numerous jurisdictions and in the
           ordinary course of business may have disputed property valuations/tax assessments.
           The Debtors have not listed such disputes on Statement 7.



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     7.    Statement 10. The losses listed may exclude those incurred in the ordinary course
           of business or those where the amount is de minimis.

     8.    Statement 11. The Debtors have used reasonable efforts to identify payments for
           services of any entities who provided consultation concerning debt counseling or
           restructuring services, relief under the Bankruptcy Code or preparation of a petition
           in bankruptcy within one year immediately preceding the Petition Date, which are
           identified in J. Crew Operating Corp.’s response to Statement 11. Additional
           information regarding the Debtors’ retention of professional service firms is more
           fully described in the individual retention applications for those firms and related
           orders.

     9.    Statement 13. The Debtors may, from time to time and in the ordinary course of
           business, transfer equipment and other assets and sell certain equipment and other
           assets to third parties. These types of ordinary course transfers have not been
           disclosed in Statement 13. The Debtors further do not take any position with
           respect to whether transfers identified in response to Statement 13 are made in the
           ordinary course of business. Certain transfers listed in this response are included
           solely out of an abundance of caution.

           If the Debtors vacated store locations during the three years immediately preceding
           the Petition Date, information on these former store locations is contained in the
           Debtors’ response to Statement 14.

     10.   Statement 21. In the ordinary course of business, the Debtors’ corporate and retail
           locations contain various equipment and items owned by others including copy
           machines and computer hardware. Additionally, the Debtors utilize leased property
           in their ordinary course of business. Therefore, the Debtors hold property subject
           to leases listed on the Debtors’ Schedule G.

           Certain of the Debtors’ vendors sell inventory and fulfill orders through the
           Debtors’ e-commerce platforms (such vendors, the “Marketplace Vendors”). The
           Debtors do not physically possess the inventory at any time; however, the Debtors
           collect payment for the goods sold through their e-commerce platforms and pay the
           Marketplace Vendors on a monthly (or, at the Debtors’ option, more frequent) basis
           the proceeds of any goods sold, less a commission and other amounts due to the
           Debtors. Out of an abundance of caution, the Debtors have included the property
           of the Marketplace Vendors in the Debtors’ response to Statement 21, although the
           Debtors have indicated that the value of such property is “unknown” or
           “undetermined.” Although reasonable efforts have been made to ensure the
           accuracy of Statement 21, review is ongoing and inadvertent errors, omissions or
           overinclusion may have occurred.

     11.   Statement 26(d). The Debtors provided financial statements in the ordinary course
           of business to certain parties for business, statutory, credit, financing and other
           reasons. Recipients have included regulatory agencies, financial institutions,


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           investment banks, debtholders, and their legal and financial advisors. Financial
           statements have also been provided to other parties as requested.

     12.   Statement 27. The amounts listed in the response to Statement 27 include all
           inventory held by the Debtors in retail locations.

     13.   Statement 29. Disclosures relate specifically to terminated job titles or positions
           and are not indicative of the individuals’ current employment status with the
           Debtors.

     14.   Statement 30. Any and all known disbursements to insiders of the Debtors have
           been listed in the response to Statement 4. The items listed under Statement 30
           incorporate by reference any items listed under Statement 4, and vice versa.




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Debtor Name          J. Crew Operating Corp.
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):             20-32186



                                                                                                                                  Check if this is an
                                                                                                                                  amended filing
Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                      04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write the debtor's name and case number (if known).

Part 1:      Income



1. Gross Revenue from business


     None



     Identify the beginning and ending dates of the debtor's fiscal year, which may         Sources of Revenue                        Gross Revenue
     be a calendar year                                                                                                               (before deductions and
                                                                                                                                      exclusions)
1.1 2020 Fiscal Year                   From 2/2/2020           To      Petition Date            Operating a business                    $(50,864.13)
                                                                                                Other



1.2 2019 Fiscal Year                   From 2/3/2019           To      2/1/2020                 Operating a business                   $(428,380.37)
                                                                                                Other



1.3 2018 Fiscal Year                   From 2/4/2018           To      2/2/2019                 Operating a business                    $656,420.45
                                                                                                Other
  *Negative revenue relates to discounts on gift cards sold through 3rd parties.

2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

  X None



                                                                                            Description of sources of                 Gross Revenue from
                                                                                            revenue                                   each  source
                                                                                                                                      (before deductions and
                                                                                                                                      exclusions)




Part 2:      List Certain Transfers Made Before Filing for Bankruptcy



3. Certain payments or transfers to creditors within 90 days before filing this case
List payments of transfers - including expense reimbursements to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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     None

          Creditor's name and address            Dates                Total amount or value              Reasons for payment or transfer
                                                                                                         Check all that apply
3.1 See attached SOFA Exhibit 3                                                                                   Secured Debt
                                                                                                                   Unsecured Loan Payments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825.
(This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not
include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general
partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11
U.S.C. § 101(31).

     None

          Insider's name and address             Dates                Total amount or value              Reasons for payment or transfer
4.1 See attached SOFA Exhibit 4




     Relationship to debtor


5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

  X None

          Creditor's name and address            Description of the property                             Date           Value of property



6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor
owed a debt.

  X None



     Creditor's name and address                       Description of the action creditor took           Date action was                     Amount
                                                                                                         taken




Part 3:        Legal Actions or Assignments



7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
involved in any capacity—within 1 year before filing this case.




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     None



     Case title                              Nature of case                               Court or agency's name and address                  Status of case
7.1 Manuel Mejia v. 770 Broadway Owner Alleged Customer Injury                            Bronx Supreme Court, New York                            Pending
    LLC, J.Crew Operating Corp.,                                                          851 Grand Concourse                                      On appeal
    Structure Tone, Inc. and General                                                      The Bronx, NY 10451
    Global Construction

     Case number                                                                                                                                   Concluded
     Index No. 24173/2014E




     Case title                              Nature of case                               Court or agency's name and address                  Status of case
7.2 Ahmed Kamal v. J.Crew Operating          Alleged Fair and Accurate Credit             US District Court of New Jersey                          Pending
    Corp., et al.                            Transactions Act (FACTA)                     Martin Luther King Building & U.S.                       On appeal
                                                                                          Courthouse
     Case number                                                                          50 Walnut St                                             Concluded
     No. 15-CV-00190                                                                      Newark, NJ 07102




     Case title                              Nature of case                               Court or agency's name and address                  Status of case
7.3 Eaton Vance Management, et al. v.        Alleged Breach of the Term Loan              Supreme Court of NY, New York County                     Pending
    Wilmington Savings Fund Society,         Agreement                                    60 Centre St                                             On appeal
    FSB, as Administrative Agent and                                                      New York, NY 10007
    Collateral Agent, et al.,

     Case number                                                                                                                                   Concluded
     Index No. 654397/2017




8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands
of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

  X None



     Custodian's name and address            Description of the property                  Value




Part 4:      Certain Gifts and Charitable Contributions



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of gifts to that recipient is less than $1,000


     None




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       Recipient's name and address                   Description of the gifts or contributions         Dates given                         Value

9.1       See attached SOFA Exhibit 9
          Recipient's relationship to debtor




Part 5:        Certain Losses



10. All losses from fire, theft, or other casualty within 1 year before filing this case.


  X None



       Description of the property lost and           Amount of payments received for the loss Date of loss                         Value of property lost
       how the loss occurred                          If you have received payments to cover the
                                                      loss, for example, from insurance, government
                                                      compensation, or tort liability, list the total
                                                      received.
                                                      List unpaid claims on Official Form 106 A/B
                                                      (Schedule A/B: Assets - Real and Personal
                                                      Property).




Part 6:        Certain Payments of Transfers



11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the
filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking
bankruptcy relief, or filing a bankruptcy case.

       None



       Who was paid or who received the               If not money, describe any property               Dates                      Total amount or value
       transfer? Address                              transferred
11.1      See attached SOFA Exhibit 11
          Email or website address

          Who made the payment, if not debtor?

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
case to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

  X None



       Name of trust or device                        Describe any property transferred                 Dates transfers            Total amount or value
                                                                                                        were made




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13. Transfers not already listed on this statement
List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

  X None



       Who received transfer? Address.                  Description of property transferred or            Date transfer was           Total amount or value
                                                        payments received or debts paid in                made
                                                        exchange.




Part 7:          Previous Locations



14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

       Does not apply

          Address                                                                                        Dates of occupancy
14.1      770 Broadway                                                                                   1996-May 2019
          New York, NY 10003

Part 8:          Health Care Bankruptcies



15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?
       No Go to Part 9.
       Yes. Fill in the information below.


          Facility name and address                    Nature of the business operation, including type of services the               If debtor provides meals
                                                       debtor provides                                                                and housing, number of
                                                                                                                                       patients in debtor's care



                                                       Location where patient records are maintained                                     How are records kept?
                                                                                                                                            Electronically
                                                                                                                                            Paper

Part 9:          Personally Identifiable Information



16. Does the debtor collect and retain personally identifiable information of customers?

       No
       Yes. State the nature of the information collected and retained.


       Does the debtor have a privacy policy about that information?
            No
            Yes.




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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

     No Go to Part 10.
     Yes. Does the debtor serve as plan administrator?


           No. Go to Part 10.
           Yes. Fill in below:
            Name of plan                                                                              Employer identification number of plan
                                                                                                      EIN:
            Has the plan been terminated?
               No
                Yes


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units



18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
houses, cooperatives, associations, and other financial institutions.

  X None



     Financial institution name and address Last 4 digits of account               Type of account      Date account was closed,           Last balance before
                                            number                                                      sold, moved, or                     closing or transfer
                                                                                                        transferred
                                                                                       Checking
                                                                                       Savings
                                                                                       Money Market
                                                                                       Brokerage
                                                                                       Other




19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
case.

  X None



     Depository institution name and          Names of anyone with access to it.             Description of contents                               Does debtor
     address                                  Address                                                                                              still have it?
                                                                                                                                                        No

                                                                                                                                                        Yes




20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.


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     None



     Facility name and address            Names of anyone with access to it.       Description of contents                 Does debtor
                                          Address                                                                          still have it?
20.1 Capital Moving                       Geno DiSarcina                           Clothing samples & furniture                 No
     97 Burma Road                        225 Liberty St.
     Jersey City, NJ 07305                New York, NY 10281                                                                    Yes




     Facility name and address            Names of anyone with access to it.       Description of contents                 Does debtor
                                          Address                                                                          still have it?
20.2 UOVO                                 Geno DiSarcina                           Art work & props                             No
     Butler Building                      225 Liberty St.
     Kings Highway                        New York, NY 10281                                                                    Yes
     Orangeburg, NY 10962




     Facility name and address            Names of anyone with access to it.       Description of contents                 Does debtor
                                          Address                                                                          still have it?
20.3 The Advanced Group                   Geno DiSarcina                           Furniture, samples, props                    No
     66-35 Otto Road                      225 Liberty St.
     Glendale, NY 11385                   New York, NY 10281                                                                    Yes




     Facility name and address            Names of anyone with access to it.       Description of contents                 Does debtor
                                          Address                                                                          still have it?
20.4 Empire Furniture                     Geno DiSarcina                           Office furniture                             No
     105 Madison Ave, 15th Fl             225 Liberty St.
     New York, NY 10016                   New York, NY 10281                                                                    Yes




     Facility name and address            Names of anyone with access to it.       Description of contents                 Does debtor
                                          Address                                                                          still have it?
20.5 Iron Mountain                        Geno DiSarcina                           Documents                                    No
     One Federal Street                   225 Liberty St.
     Boston, MA 02110                     New York, NY 10281                                                                    Yes




     Facility name and address            Names of anyone with access to it.       Description of contents                 Does debtor
                                          Address                                                                          still have it?


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20.6 Rackspace Data Center                    Michael Jacobs                                Outsourced data center                                    No
     2200 Busse Road                          225 Liberty St.
     Elk Grove Village, IL 60007              New York, NY 10281                                                                                      Yes




     Facility name and address                Names of anyone with access to it.            Description of contents                             Does debtor
                                              Address                                                                                           still have it?
20.7 Rackspace                                Michael Jacobs                                Outsourced data center                                    No
     44461 Chillum Place                      225 Liberty St.
     Ashburn, VA 20147                        New York, NY 10281                                                                                      Yes




Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own



21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust.
Do not list leased or rented property.

  X None



     Owner's name and address                 Location of the property                      Description of the property                             Value




Part 12:     Details About Environmental Information

For the purpose of Part 12, the following definitions apply:
 - Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium)
 - Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
operated, or utilized.
 - Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
harmful substance.


22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
orders.

     No
     Yes. Provide details below.


     Case title                               Court or agency name and address              Nature of the case                                  Status of case
                                                                                                                                                     Pending
                                                                                                                                                     On appeal
     Case number                                                                                                                                     Concluded




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23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

       No
       Yes. Provide details below.


       Site name and address                 Governmental unit name and                  Environmental law, if known                        Date of notice
                                             address




24. Has the debtor notified any governmental unit of any release of hazardous material?

       No
       Yes. Provide details below.


       Site name and address                 Governmental unit name and                  Environmental law, if known                        Date of notice
                                             address




Part 13:       Details About the Debtor's Business or Connections to Any Business



25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

       None

         Business name and address              Describe the nature of                                Employer identification
                                                the business                                          number. Dates business
                                                                                                      existed



25.1     Grace Holmes, Inc.                     Retail                                                XX-XXXXXXX
         225 Liberty St.                                                                              1/8/1962 - Present
         New York, NY 10281

25.2     H.F.D. No. 55, Inc.                    Retail                                                XX-XXXXXXX
         225 Liberty St.                                                                              7/14/1969 - Present
         New York, NY 10281

25.3     J. Crew Inc.                           Retail                                                XX-XXXXXXX
         225 Liberty St.                                                                              3/23/1984 - Present
         New York, NY 10281

25.4     J. Crew Virginia, Inc.                 Gift card company                                     XX-XXXXXXX
         225 Liberty St.                                                                              12/18/2001 - Present



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         New York, NY 10281

25.5     Madewell Inc.                          Retail                                            XX-XXXXXXX
         225 Liberty St.                                                                          5/12/2006 - Present
         New York, NY 10281

25.6     J. Crew Global Holdings A, LLC         Retail                                            XX-XXXXXXX
         225 Liberty St.                                                                          1/31/2013 - Present
         New York, NY 10281

25.7     J. Crew Global Holdings Bermuda LP     Retail                                            XX-XXXXXXX
         225 Liberty St.                                                                          3/19/2013 - Present
         New York, NY 10281

25.8     J. Crew Cayman Limited                 Retail                                            XX-XXXXXXX
         225 Liberty St.                                                                          10/14/2016 - Present
         New York, NY 10281


26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.


       None

         Name and address                                                                         Dates of service
26a.1 Vincent Zanna                                                                               2009 - Present
      Chief Financial Officer
      225 Liberty Street
      New York, NY 10281

26a.2 Jeremy Brooks                                                                               2007 - Present
      Chief Accounting Officer
      225 Liberty Street
      New York, NY 10281


26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
statement within 2 years before filing this case.


       None

         Name and address                                                                         Dates of service
26b.1 KPMG LLP                                                                                    1997 - Present
      345 Park Avenue
      New York, NY 10080

26b.2 Ryan LLC
      Three Galleria Tower
      13155 Noel Rd, Ste 100
      Dallas, TX 75240-5090

26b.3 Deloitte Consulting LLP
      30 Rockefeller Plz, 41st Fl
      New York, NY 10112-0015

26b.4 Deloitte Tax LLP
      P.O. Box 844736
      Dallas, TX 75284-4736


26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.


       None

         Name and address                                                                         If any books of account
                                                                                                  and records are
                                                                                                  unavailable, explain why
26c.1 Vincent Zanna


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         Chief Financial Officer
         225 Liberty Street
         New York, NY 10281

26c.2 Jeremy Brooks
      Chief Accounting Officer
      225 Liberty Street
      New York, NY 10281

26c.3 KPMG LLP
      345 Park Avenue
      New York, NY 10080


26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
financial statement within 2 years before filing this case.


       None

         Name and address



26d.1 Bank of America, N.A.
      (Administrative Agent and
      Collateral Agent under
      ABL Credit Agreement)
      100 Federal St
      Boston, MA 02110

26d.2 Wilmington Savings Fund
      Society, FSB
      (Administrative Agent and
      Collateral Agent under
      Term Loan Agreement)
      500 Delaware Ave
      Wilmington, DE 19801


27. Inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?
       No
       Yes. Give the details about the two most recent inventories


       Name of the person who supervised                                                           Date of inventory       The dollar amount and basis
       the taking of the inventory                                                                                         (cost, market, or other basis)
                                                                                                                                  of each inventory


         Name and address of the person who has possession of inventory records




28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.




         Name                          Address                       Position and nature of        % of interest, if any
                                                                     any interest
28.1     Michael Nicholson                                           Chief Operating Officer,
         225 Liberty Street                                          Director
         New York, NY 10281

28.2     Vincent Zanna                                               Chief Financial Officer &
         225 Liberty Street                                          Treasurer
         New York, NY 10281



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28.3     Lynda Markoe                                                Chief Administrative
         225 Liberty Street                                          Officer, Director
         New York, NY 10281

28.4     Maria Di Lorenzo                                            Senior Vice President,
         225 Liberty Street                                          General Counsel &
         New York, NY 10281                                          Secretary, Director

28.5     Jeremy Brooks                                               Senior Vice President &
         225 Liberty Street                                          Chief Accounting Officer
         New York, NY 10281

28.6     Richard Feintuch                                            Director
         225 Liberty Street
         New York, NY 10281

28.7     Chad Leat                                                   Director
         225 Liberty Street
         New York, NY 10281

28.8     D.J. (Jan) Baker                                            Director
         225 Liberty Street
         New York, NY 10281

28.9     Seth Farbman                                                Director
         225 Liberty Street
         New York, NY 10281


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

       No
       Yes. Identify below.
         Name                          Address                       Position and nature of            Period during which
                                                                     any interest                      position or interest was held




30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.


       Name and address of recipient                  Amount of money or description and               Dates                     Reason for providing this
                                                      value of property                                                                   value
30.1     See Attached SOFA Part 2, Question 4
         Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
       Yes. Identify below.
         Name of the parent corporation                              Employer identification number of the
                                                                     parent corporation
31.1     Chinos Holdings Inc.                                        XX-XXXXXXX


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?




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     No
     Yes. Identify below.
       Name of the pension fund                                          Employer identification number of the
                                                                         pension fund



Part 14:       Signature and Declaration

  WARNING Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years or both.
  18 U.S.C. §§ 152, 1341, 1519, and 3571.

  I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
  is true and correct.

  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on.          6/12/2020
                        MM / DD / YYYY

  /s/Vincent Zanna                                                             Printed name   Vincent Zanna
  Signature of individual signing on behalf of the debtor

  Position or relationship to the debtor     Chief Financial Officer

  Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
       No

       Yes




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           STATEMENT OF FINANCIAL AFFAIRS


                                 EXHIBIT
                            PART 2, QUESTION 3

     CERTAIN PAYMENTS OR TRANSFERS TO CREDITORS
        WITHIN 90 DAYS BEFORE FILING THIS CASE
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J. Crew Operating Corp.
Case No. 20-32186
SOFA 3: Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                              Total amount             Reasons for payment
                                                                           Creditor’s name and address                                          Dates           or value                   or transfer
   1 800 Got Junk, P.O. Box 123419 Dept 3419 Dallas, TX 75312-3419                                                                              2/13/2020            $2,151.45   Services
   1 800 Got Junk, P.O. Box 123419 Dept 3419 Dallas, TX 75312-3419                                                                              2/27/2020            $3,196.42   Services
   1 800 Got Junk, P.O. Box 123419 Dept 3419 Dallas, TX 75312-3419                                                                              3/17/2020            $6,139.19   Services
           1 800 Got Junk, P.O. Box 123419 Dept 3419 Dallas, TX 75312-3419 Total                                                                                    $11,487.06
   1040 Madison Inc, 770 Lexington Ave New York, NY 10065                                                                                        2/6/2020           $59,802.10   Rent/Lease Obligations
   1040 Madison Inc, 770 Lexington Ave New York, NY 10065                                                                                       2/13/2020          $149,513.00   Rent/Lease Obligations
   1040 Madison Inc, 770 Lexington Ave New York, NY 10065                                                                                        3/5/2020           $59,802.10   Rent/Lease Obligations
           1040 Madison Inc, 770 Lexington Ave New York, NY 10065 Total                                                                                            $269,117.20
   1200 Tenant Corp, 260 Madison Ave, 12th Fl New York, NY 10016                                                                                2/10/2020           $26,666.67   Rent/Lease Obligations
   1200 Tenant Corp, 260 Madison Ave, 12th Fl New York, NY 10016                                                                                 3/4/2020           $26,666.67   Rent/Lease Obligations
           1200 Tenant Corp, 260 Madison Ave, 12th Fl New York, NY 10016 Total                                                                                      $53,333.34
   1237 1/2 Wisconsin Avenue, P.O. Box 822475 Philadelphia, PA 19182                                                                             2/4/2020           $60,146.18   Rent/Lease Obligations
   1237 1/2 Wisconsin Avenue, P.O. Box 822475 Philadelphia, PA 19182                                                                             3/3/2020           $60,146.18   Rent/Lease Obligations
           1237 1/2 Wisconsin Avenue, P.O. Box 822475 Philadelphia, PA 19182 Total                                                                                 $120,292.36
   1448 Webward Avenue LLC, 630 Woodward Ave Detroit, MI 48226                                                                                   2/3/2020              $193.91   Services
   1448 Webward Avenue LLC, 630 Woodward Ave Detroit, MI 48226                                                                                   2/6/2020              $204.45   Services
   1448 Webward Avenue LLC, 630 Woodward Ave Detroit, MI 48226                                                                                  2/27/2020            $5,557.32   Services
   1448 Webward Avenue LLC, 630 Woodward Ave Detroit, MI 48226                                                                                  3/13/2020              $173.59   Services
   1448 Webward Avenue LLC, 630 Woodward Ave Detroit, MI 48226                                                                                  3/30/2020            $8,303.35   Services
           1448 Webward Avenue LLC, 630 Woodward Ave Detroit, MI 48226 Total                                                                                        $14,432.62
   1500 BRASIL PRODUCEOS FOTOGRAFICAS, Bloco 16 Sala 225 Barra Da Tijuca Rio De Janeiro, 22640-100 Brazil                                       4/10/2020           $14,941.96   Services
           1500 BRASIL PRODUCEOS FOTOGRAFICAS, Bloco 16 Sala 225 Barra Da Tijuca Rio De Janeiro, 22640-100 Brazil Total                                             $14,941.96
   1618 14Th Street Nw LLC, 1455 Research Blvd, Ste 510 Rockville, MD 20850                                                                      2/6/2020           $25,828.82   Rent/Lease Obligations
   1618 14Th Street Nw LLC, 1455 Research Blvd, Ste 510 Rockville, MD 20850                                                                      3/6/2020           $25,828.82   Rent/Lease Obligations
           1618 14Th Street Nw LLC, 1455 Research Blvd, Ste 510 Rockville, MD 20850 Total                                                                           $51,657.64
   1716 Walnut Street LP, 430 Park Ave, Ste 201 New York, NY 10022                                                                               2/5/2020           $34,583.25   Rent/Lease Obligations
   1716 Walnut Street LP, 430 Park Ave, Ste 201 New York, NY 10022                                                                               3/3/2020           $34,583.25   Rent/Lease Obligations
           1716 Walnut Street LP, 430 Park Ave, Ste 201 New York, NY 10022 Total                                                                                    $69,166.50
   1919 14Th St LLC, 1919 14th St NW Washington, DC 20009                                                                                        2/5/2020           $31,819.99   Services
   1919 14Th St LLC, 1919 14th St NW Washington, DC 20009                                                                                        3/9/2020           $31,819.99   Services
           1919 14Th St LLC, 1919 14th St NW Washington, DC 20009 Total                                                                                             $63,639.98
   23 Cobb Island Drive LLC, 1700 East Putnam Ave, Ste 406 Old Greenwich, CT 06870                                                               2/5/2020            $1,534.08   Rent/Lease Obligations
   23 Cobb Island Drive LLC, 1700 East Putnam Ave, Ste 406 Old Greenwich, CT 06870                                                               2/5/2020           $56,471.24   Rent/Lease Obligations
   23 Cobb Island Drive LLC, 1700 East Putnam Ave, Ste 406 Old Greenwich, CT 06870                                                               3/6/2020           $56,471.24   Rent/Lease Obligations
   23 Cobb Island Drive LLC, 1700 East Putnam Ave, Ste 406 Old Greenwich, CT 06870                                                              4/16/2020              $694.45   Rent/Lease Obligations
           23 Cobb Island Drive LLC, 1700 East Putnam Ave, Ste 406 Old Greenwich, CT 06870 Total                                                                   $115,171.01
   234 W LLC, 272 Keap St, Ste 1 Brooklyn, NY 11211                                                                                              2/4/2020           $49,269.15   Services
   234 W LLC, 272 Keap St, Ste 1 Brooklyn, NY 11211                                                                                              3/3/2020           $49,269.15   Services
           234 W LLC, 272 Keap St, Ste 1 Brooklyn, NY 11211 Total                                                                                                   $98,538.30
   264 King Street LLC, 275 Madison Ave, Ste 1100 New York, NY 10016                                                                             2/6/2020          $119,718.51   Rent/Lease Obligations
   264 King Street LLC, 275 Madison Ave, Ste 1100 New York, NY 10016                                                                             3/4/2020           $43,368.06   Rent/Lease Obligations
           264 King Street LLC, 275 Madison Ave, Ste 1100 New York, NY 10016 Total                                                                                 $163,086.57
   30 East 85th Street Company LLC, Manhattan Skyline Management Corp Attn: Thomas Eschmann 103 West 55th St New York, NY 10019                  2/5/2020          $143,669.80   Rent/Lease Obligations
   30 East 85th Street Company LLC, Manhattan Skyline Management Corp Attn: Thomas Eschmann 103 West 55th St New York, NY 10019                  3/4/2020          $140,504.16   Rent/Lease Obligations
   30 East 85th Street Company LLC, Manhattan Skyline Management Corp Attn: Thomas Eschmann 103 West 55th St New York, NY 10019                 3/11/2020            $2,258.67   Rent/Lease Obligations
           30 East 85th Street Company LLC, Manhattan Skyline Management Corp Attn: Thomas Eschmann 103 West 55th St New York, NY 10019 Total                      $286,432.63
   360 Pm, 520 W 27th St, Ste 901 New York, NY 10001                                                                                            4/30/2020           $38,672.00   Services
           360 Pm, 520 W 27th St, Ste 901 New York, NY 10001 Total                                                                                                  $38,672.00
   3700 Mckinney Ltd, 2975 Regent Blvd Irving, TX 75063                                                                                          2/5/2020           $28,215.41   Rent/Lease Obligations
   3700 Mckinney Ltd, 2975 Regent Blvd Irving, TX 75063                                                                                          3/6/2020           $28,215.41   Rent/Lease Obligations
           3700 Mckinney Ltd, 2975 Regent Blvd Irving, TX 75063 Total                                                                                               $56,430.82
   4645 Fashion Valley Mall, File 53271 Los Angeles, CA 90074-3271                                                                               2/4/2020           $45,573.20   Rent/Lease Obligations
   4645 Fashion Valley Mall, File 53271 Los Angeles, CA 90074-3271                                                                               3/9/2020           $45,573.20   Rent/Lease Obligations



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                                                                                                                                                       Total amount             Reasons for payment
                                                                        Creditor’s name and address                                      Dates           or value                   or transfer
        4645 Fashion Valley Mall, File 53271 Los Angeles, CA 90074-3271 Total                                                                                $91,146.40
4676 Westchester Mall LLC, P.O. Box 643095 Pittsburgh, PA 15264-3095                                                                      2/4/2020          $134,562.87   Rent/Lease Obligations
4676 Westchester Mall LLC, P.O. Box 643095 Pittsburgh, PA 15264-3095                                                                     2/24/2020            $9,650.44   Rent/Lease Obligations
4676 Westchester Mall LLC, P.O. Box 643095 Pittsburgh, PA 15264-3095                                                                      3/5/2020          $134,562.87   Rent/Lease Obligations
        4676 Westchester Mall LLC, P.O. Box 643095 Pittsburgh, PA 15264-3095 Total                                                                          $278,776.18
4692 Spg Center LLC, File 57331 Los Angeles, CA 90074-7331                                                                                2/4/2020          $132,051.31   Rent/Lease Obligations
4692 Spg Center LLC, File 57331 Los Angeles, CA 90074-7331                                                                                3/9/2020          $132,051.31   Rent/Lease Obligations
        4692 Spg Center LLC, File 57331 Los Angeles, CA 90074-7331 Total                                                                                    $264,102.62
4693 Shops At St Johns LLC, P.O. Box 404796 Atlanta, GA 30384-4796                                                                        2/5/2020           $35,880.45   Rent/Lease Obligations
4693 Shops At St Johns LLC, P.O. Box 404796 Atlanta, GA 30384-4796                                                                        3/4/2020           $35,880.45   Rent/Lease Obligations
        4693 Shops At St Johns LLC, P.O. Box 404796 Atlanta, GA 30384-4796 Total                                                                             $71,760.90
49 East 79th Street Corp, 770 Lexington Ave New York, NY 10065                                                                            2/6/2020           $49,166.66   Rent/Lease Obligations
49 East 79th Street Corp, 770 Lexington Ave New York, NY 10065                                                                            3/4/2020           $49,166.66   Rent/Lease Obligations
        49 East 79th Street Corp, 770 Lexington Ave New York, NY 10065 Total                                                                                 $98,333.32
4919 Mayflower Cape Cod LLC, 14174 Collections Center Dr Chicago, IL 60693                                                                2/5/2020           $17,229.38   Rent/Lease Obligations
4919 Mayflower Cape Cod LLC, 14174 Collections Center Dr Chicago, IL 60693                                                                3/4/2020           $17,229.38   Rent/Lease Obligations
4919 Mayflower Cape Cod LLC, 14174 Collections Center Dr Chicago, IL 60693                                                               3/23/2020            $1,901.76   Rent/Lease Obligations
        4919 Mayflower Cape Cod LLC, 14174 Collections Center Dr Chicago, IL 60693 Total                                                                     $36,360.52
50 Hudson LLC, 14 Murray St, Ste 281 New York, NY 10007                                                                                   2/5/2020           $28,232.38   Services
50 Hudson LLC, 14 Murray St, Ste 281 New York, NY 10007                                                                                   3/4/2020           $28,232.38   Services
        50 Hudson LLC, 14 Murray St, Ste 281 New York, NY 10007 Total                                                                                        $56,464.76
55 Water LLC, 55 Water St Brooklyn, NY 11201                                                                                             2/18/2020           $31,959.05   Rent/Lease Obligations
55 Water LLC, 55 Water St Brooklyn, NY 11201                                                                                             3/16/2020           $31,107.37   Rent/Lease Obligations
55 Water LLC, 55 Water St Brooklyn, NY 11201                                                                                             4/17/2020              $898.63   Rent/Lease Obligations
        55 Water LLC, 55 Water St Brooklyn, NY 11201 Total                                                                                                   $63,965.05
730 Corp, 1665 Washington Ave Ph Miami Beach, FL 33139                                                                                   2/12/2020           $68,922.33   Rent/Lease Obligations
730 Corp, 1665 Washington Ave Ph Miami Beach, FL 33139                                                                                    3/9/2020           $68,922.33   Rent/Lease Obligations
730 Corp, 1665 Washington Ave Ph Miami Beach, FL 33139                                                                                   3/13/2020          $158,784.46   Rent/Lease Obligations
        730 Corp, 1665 Washington Ave Ph Miami Beach, FL 33139 Total                                                                                        $296,629.12
7607 Woodland Hills Mall LLC, 7693 Collection Center Dr Chicago, IL 60693                                                                 2/5/2020           $16,687.12   Rent/Lease Obligations
7607 Woodland Hills Mall LLC, 7693 Collection Center Dr Chicago, IL 60693                                                                 3/4/2020           $16,687.12   Rent/Lease Obligations
7607 Woodland Hills Mall LLC, 7693 Collection Center Dr Chicago, IL 60693                                                                3/23/2020            $6,473.22   Rent/Lease Obligations
        7607 Woodland Hills Mall LLC, 7693 Collection Center Dr Chicago, IL 60693 Total                                                                      $39,847.46
900 North Michigan LLC, 1680 Paysphere Cir Chicago, IL 60674                                                                              2/5/2020          $115,449.79   Rent/Lease Obligations
900 North Michigan LLC, 1680 Paysphere Cir Chicago, IL 60674                                                                              3/4/2020          $115,449.79   Rent/Lease Obligations
        900 North Michigan LLC, 1680 Paysphere Cir Chicago, IL 60674 Total                                                                                  $230,899.58
932 N Rush LLC, 710 W Oakdale Ave, Ste 1A Chicago, IL 60657                                                                               2/6/2020          $130,622.65   Rent/Lease Obligations
932 N Rush LLC, 710 W Oakdale Ave, Ste 1A Chicago, IL 60657                                                                              2/25/2020          $130,622.65   Rent/Lease Obligations
932 N Rush LLC, 710 W Oakdale Ave, Ste 1A Chicago, IL 60657                                                                               3/5/2020          $130,622.65   Rent/Lease Obligations
        932 N Rush LLC, 710 W Oakdale Ave, Ste 1A Chicago, IL 60657 Total                                                                                   $391,867.95
A- American Electric Inc, 25 Sheehan Rd Fletcher, NC 28732                                                                               2/28/2020           $21,820.88   Services
        A- American Electric Inc, 25 Sheehan Rd Fletcher, NC 28732 Total                                                                                     $21,820.88
A V Thomas Leather And Allied, Sdf Phase Iii Block 1,2,3 & 4, Sez Mepz Tambaram Chennai, 600045, India                                   2/13/2020            $6,841.03   Merchandise Vendors
A V Thomas Leather And Allied, Sdf Phase Iii Block 1,2,3 & 4, Sez Mepz Tambaram Chennai, 600045, India                                   3/19/2020           $12,332.76   Merchandise Vendors
        A V Thomas Leather And Allied, Sdf Phase Iii Block 1,2,3 & 4, Sez Mepz Tambaram Chennai, 600045, India Total                                         $19,173.79
A/R Retail LLC, P.O. Box 200952 Pittsburgh, PA 15251-0952 New York, NY 10023                                                              2/4/2020           $18,138.89   Rent/Lease Obligations
A/R Retail LLC, P.O. Box 200952 Pittsburgh, PA 15251-0952 New York, NY 10023                                                              2/4/2020          $247,308.59   Rent/Lease Obligations
A/R Retail LLC, P.O. Box 200952 Pittsburgh, PA 15251-0952 New York, NY 10023                                                             2/12/2020            $1,528.74   Rent/Lease Obligations
A/R Retail LLC, P.O. Box 200952 Pittsburgh, PA 15251-0952 New York, NY 10023                                                             2/12/2020            $7,783.59   Rent/Lease Obligations
A/R Retail LLC, P.O. Box 200952 Pittsburgh, PA 15251-0952 New York, NY 10023                                                              3/4/2020           $16,001.70   Rent/Lease Obligations
A/R Retail LLC, P.O. Box 200952 Pittsburgh, PA 15251-0952 New York, NY 10023                                                              3/4/2020          $241,336.16   Rent/Lease Obligations
        A/R Retail LLC, P.O. Box 200952 Pittsburgh, PA 15251-0952 New York, NY 10023 Total                                                                  $532,097.67
Aargus Industries Inc, P.O. Box 1097 Bedford Park, IL 60499-1097                                                                         3/10/2020          $120,628.80   Services
Aargus Industries Inc, P.O. Box 1097 Bedford Park, IL 60499-1097                                                                         4/21/2020           $47,920.40   Services
Aargus Industries Inc, P.O. Box 1097 Bedford Park, IL 60499-1097                                                                         4/28/2020           $28,567.75   Services
        Aargus Industries Inc, P.O. Box 1097 Bedford Park, IL 60499-1097 Total                                                                              $197,116.95
Abc Carpet Co Inc, 888 Broadway New York, NY 10003                                                                                       2/24/2020            $9,537.45   Services



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         Abc Carpet Co Inc, 888 Broadway New York, NY 10003 Total                                                                                        $9,537.45
Abm Building Services LLC, P.O. Box 419860 Boston, MA 02241-9860                                                                    2/18/2020           $41,134.94   Services
Abm Building Services LLC, P.O. Box 419860 Boston, MA 02241-9860                                                                    2/26/2020            $4,366.71   Services
Abm Building Services LLC, P.O. Box 419860 Boston, MA 02241-9860                                                                    3/10/2020           $41,134.94   Services
         Abm Building Services LLC, P.O. Box 419860 Boston, MA 02241-9860 Total                                                                         $86,636.59
Abm Industry Groups Inc, P.O. Box 419860 Boston, MA 02241-9860                                                                      2/20/2020            $5,858.50   Services
Abm Industry Groups Inc, P.O. Box 419860 Boston, MA 02241-9860                                                                      2/27/2020           $60,462.28   Services
         Abm Industry Groups Inc, P.O. Box 419860 Boston, MA 02241-9860 Total                                                                           $66,320.78
Abq Uptown LLC, 7065 Solution Center Chicago, IL 60677-7000                                                                          2/6/2020           $20,857.85   Rent/Lease Obligations
Abq Uptown LLC, 7065 Solution Center Chicago, IL 60677-7000                                                                          3/6/2020           $20,857.85   Rent/Lease Obligations
         Abq Uptown LLC, 7065 Solution Center Chicago, IL 60677-7000 Total                                                                              $41,715.70
Abraham Moon & Sons Ltd, Netherfield Mills Guiseley Leeds, LS20 9PA United Kingdom                                                   2/7/2020           $42,525.00   Merchandise Vendors
Abraham Moon & Sons Ltd, Netherfield Mills Guiseley Leeds, LS20 9PA United Kingdom                                                  2/19/2020              $254.25   Merchandise Vendors
Abraham Moon & Sons Ltd, Netherfield Mills Guiseley Leeds, LS20 9PA United Kingdom                                                  2/19/2020            $2,303.60   Merchandise Vendors
         Abraham Moon & Sons Ltd, Netherfield Mills Guiseley Leeds, LS20 9PA United Kingdom Total                                                       $45,082.85
Acadia Realty LP, P.O. Box 415980, Property 0238 Boston, MA 02241-5980                                                               2/5/2020           $53,260.46   Rent/Lease Obligations
Acadia Realty LP, P.O. Box 415980, Property 0238 Boston, MA 02241-5980                                                              2/20/2020            $1,902.16   Rent/Lease Obligations
Acadia Realty LP, P.O. Box 415980, Property 0238 Boston, MA 02241-5980                                                               3/5/2020           $55,162.62   Rent/Lease Obligations
         Acadia Realty LP, P.O. Box 415980, Property 0238 Boston, MA 02241-5980 Total                                                                  $110,325.24
Accutech Packaging Inc, P.O. Box 473 Rockland, MA 02370-0473                                                                         2/5/2020           $13,348.65   Services
Accutech Packaging Inc, P.O. Box 473 Rockland, MA 02370-0473                                                                        2/11/2020           $37,270.25   Services
Accutech Packaging Inc, P.O. Box 473 Rockland, MA 02370-0473                                                                        2/25/2020          $103,479.66   Services
Accutech Packaging Inc, P.O. Box 473 Rockland, MA 02370-0473                                                                         3/4/2020           $28,725.37   Services
Accutech Packaging Inc, P.O. Box 473 Rockland, MA 02370-0473                                                                        4/15/2020           $80,663.56   Services
Accutech Packaging Inc, P.O. Box 473 Rockland, MA 02370-0473                                                                        4/21/2020           $91,536.76   Services
         Accutech Packaging Inc, P.O. Box 473 Rockland, MA 02370-0473 Total                                                                            $355,024.25
Ace Designs Inc, 320 George Patterson Blvd Bristol, PA 19007                                                                        4/16/2020           $38,426.90   Services
Ace Designs Inc, 320 George Patterson Blvd Bristol, PA 19007                                                                        4/23/2020            $7,003.95   Services
         Ace Designs Inc, 320 George Patterson Blvd Bristol, PA 19007 Total                                                                             $45,430.85
Active Media Services Inc, 1 Blue Hill Plz Pearl River, NY 10965                                                                    2/11/2020           $20,000.00   Services
         Active Media Services Inc, 1 Blue Hill Plz Pearl River, NY 10965 Total                                                                         $20,000.00
Adamjk LLC, P.O. Box 550 Brooklyn, NY 11211                                                                                          2/5/2020           $31,203.34   Services
         Adamjk LLC, P.O. Box 550 Brooklyn, NY 11211 Total                                                                                              $31,203.34
ADDMERIT INTERNATIONAL LIMITED, 489-491 Castle Peak Rd Kowloon, Hong Kong, China                                                     3/9/2020          $178,496.25   Merchandise Vendors
         ADDMERIT INTERNATIONAL LIMITED, 489-491 Castle Peak Rd Kowloon, Hong Kong, China Total                                                        $178,496.25
Adecco Employment Services, P.O. Box 7777-W501845 Philadelphia, PA 19175                                                            2/12/2020          $409,758.62   Services
Adecco Employment Services, P.O. Box 7777-W501845 Philadelphia, PA 19175                                                            2/24/2020          $149,019.82   Services
Adecco Employment Services, P.O. Box 7777-W501845 Philadelphia, PA 19175                                                            2/26/2020           $37,320.70   Services
Adecco Employment Services, P.O. Box 7777-W501845 Philadelphia, PA 19175                                                             3/4/2020           $47,305.63   Services
Adecco Employment Services, P.O. Box 7777-W501845 Philadelphia, PA 19175                                                            4/28/2020           $74,748.07   Services
         Adecco Employment Services, P.O. Box 7777-W501845 Philadelphia, PA 19175 Total                                                                $718,152.84
Adidas Sales Inc, Dept Ch 19361 Palatine, IL 60055-9405                                                                             2/14/2020          $160,065.67   Merchandise Vendors
Adidas Sales Inc, Dept Ch 19361 Palatine, IL 60055-9405                                                                             2/24/2020              $222.27   Merchandise Vendors
Adidas Sales Inc, Dept Ch 19361 Palatine, IL 60055-9405                                                                             2/28/2020            $2,720.70   Merchandise Vendors
Adidas Sales Inc, Dept Ch 19361 Palatine, IL 60055-9405                                                                             4/30/2020           $89,789.72   Merchandise Vendors
         Adidas Sales Inc, Dept Ch 19361 Palatine, IL 60055-9405 Total                                                                                 $252,798.36
Adobe Systems Inc, 29322 Network Pl Chicago, IL 60673-1293                                                                          2/20/2020          $600,713.79   Services
         Adobe Systems Inc, 29322 Network Pl Chicago, IL 60673-1293 Total                                                                              $600,713.79
ADP Inc, 501 Boylston St. Boston, MA 02116                                                                                          3/10/2020           $80,143.93   Services
ADP Inc, 501 Boylston St. Boston, MA 02116                                                                                          4/21/2020           $92,651.68   Services
         ADP Inc, 501 Boylston St. Boston, MA 02116 Total                                                                                              $172,795.61
Ads Alliance Data Systems Inc, 4140 Solutions Center 774140 Chicago, IL 60677-4001                                                  2/13/2020          $369,724.89   Services
Ads Alliance Data Systems Inc, 4140 Solutions Center 774140 Chicago, IL 60677-4001                                                  2/20/2020          $173,259.12   Services
Ads Alliance Data Systems Inc, 4140 Solutions Center 774140 Chicago, IL 60677-4001                                                  2/27/2020        $1,230,585.45   Services
Ads Alliance Data Systems Inc, 4140 Solutions Center 774140 Chicago, IL 60677-4001                                                  4/15/2020              $586.64   Services
         Ads Alliance Data Systems Inc, 4140 Solutions Center 774140 Chicago, IL 60677-4001 Total                                                    $1,774,156.10
Aeonian Partners Lp, 2600 Camino Ramon, Ste 201 San Ramon, CA 94583                                                                  2/6/2020            $1,563.27   Services



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Aeonian Partners Lp, 2600 Camino Ramon, Ste 201 San Ramon, CA 94583                                                              2/28/2020            $7,036.31   Services
Aeonian Partners Lp, 2600 Camino Ramon, Ste 201 San Ramon, CA 94583                                                               3/5/2020            $1,563.27   Services
Aeonian Partners Lp, 2600 Camino Ramon, Ste 201 San Ramon, CA 94583                                                              3/24/2020           $10,391.57   Services
         Aeonian Partners Lp, 2600 Camino Ramon, Ste 201 San Ramon, CA 94583 Total                                                                   $20,554.42
Ahc Washtenaw LLC, P.O. Box 932716 Cleveland, OH 44193                                                                            2/5/2020           $11,468.66   Rent/Lease Obligations
Ahc Washtenaw LLC, P.O. Box 932716 Cleveland, OH 44193                                                                            3/4/2020           $11,401.77   Rent/Lease Obligations
Ahc Washtenaw LLC, P.O. Box 932716 Cleveland, OH 44193                                                                           3/11/2020               $51.11   Rent/Lease Obligations
         Ahc Washtenaw LLC, P.O. Box 932716 Cleveland, OH 44193 Total                                                                                $22,921.54
Aire LLC, 225 Rector Pl, 16D New York, NY 10280                                                                                  2/18/2020            $5,400.00   Services
Aire LLC, 225 Rector Pl, 16D New York, NY 10280                                                                                  3/23/2020            $7,200.00   Services
         Aire LLC, 225 Rector Pl, 16D New York, NY 10280 Total                                                                                       $12,600.00
AK SOURCING LIMITED, 64 Hoi Yuen Rd, Kwun Tong, KLN Hong Kong                                                                    2/11/2020          $248,856.72   Merchandise Vendors
AK SOURCING LIMITED, 64 Hoi Yuen Rd, Kwun Tong, KLN Hong Kong                                                                     3/9/2020           $45,718.85   Merchandise Vendors
         AK SOURCING LIMITED, 64 Hoi Yuen Rd, Kwun Tong, KLN Hong Kong Total                                                                        $294,575.57
AK SOURCING LTD, 64 Hoi Yuen Rd, Kwun Tong, KLN Hong Kong                                                                        2/11/2020          $220,464.00   Merchandise Vendors
         AK SOURCING LTD, 64 Hoi Yuen Rd, Kwun Tong, KLN Hong Kong Total                                                                            $220,464.00
Akamai Technologies Inc, P.O. Box 26590 New York, NY 10087-6590                                                                  2/11/2020          $126,874.07   Services
Akamai Technologies Inc, P.O. Box 26590 New York, NY 10087-6590                                                                   3/3/2020          $118,715.93   Services
Akamai Technologies Inc, P.O. Box 26590 New York, NY 10087-6590                                                                  4/16/2020          $110,548.28   Services
         Akamai Technologies Inc, P.O. Box 26590 New York, NY 10087-6590 Total                                                                      $356,138.28
AKIN GUMP STRAUSS HAUER & FELD LLP, One Bryant Park Bank Of America Tower New York, NY 10036-6745                                4/17/2020           $82,129.50   Services
AKIN GUMP STRAUSS HAUER & FELD LLP, One Bryant Park Bank Of America Tower New York, NY 10036-6745                                 5/1/2020          $300,000.00   Services
         AKIN GUMP STRAUSS HAUER & FELD LLP, One Bryant Park Bank Of America Tower New York, NY 10036-6745 Total                                    $382,129.50
Alba Hollister-Ruiz, 335 Halsey St Brooklyn, NY 11216                                                                            3/16/2020            $7,000.00   Services
Alba Hollister-Ruiz, 335 Halsey St Brooklyn, NY 11216                                                                            3/19/2020            $7,400.00   Services
Alba Hollister-Ruiz, 335 Halsey St Brooklyn, NY 11216                                                                            4/17/2020            $8,200.00   Services
         Alba Hollister-Ruiz, 335 Halsey St Brooklyn, NY 11216 Total                                                                                 $22,600.00
Albina Management Company, 755 Linda Vista Ave Pasadena, CA 91103                                                                2/26/2020           $31,983.00   Rent/Lease Obligations
Albina Management Company, 755 Linda Vista Ave Pasadena, CA 91103                                                                3/26/2020           $31,983.00   Rent/Lease Obligations
         Albina Management Company, 755 Linda Vista Ave Pasadena, CA 91103 Total                                                                     $63,966.00
Alden Shoe Co Inc, 1 Taunton St Middleton, MA 02346                                                                              2/19/2020           $27,264.00   Services
         Alden Shoe Co Inc, 1 Taunton St Middleton, MA 02346 Total                                                                                   $27,264.00
Alexander Adamov, 560 West 43Rd St, Apt 28A New York, NY 10036                                                                   2/10/2020              $618.75   Services
Alexander Adamov, 560 West 43Rd St, Apt 28A New York, NY 10036                                                                   2/19/2020            $7,768.75   Services
Alexander Adamov, 560 West 43Rd St, Apt 28A New York, NY 10036                                                                   3/17/2020              $275.00   Services
Alexander Adamov, 560 West 43Rd St, Apt 28A New York, NY 10036                                                                   3/17/2020              $550.00   Services
Alexander Adamov, 560 West 43Rd St, Apt 28A New York, NY 10036                                                                   3/17/2020            $2,268.75   Services
Alexander Adamov, 560 West 43Rd St, Apt 28A New York, NY 10036                                                                   3/30/2020            $1,581.25   Services
         Alexander Adamov, 560 West 43Rd St, Apt 28A New York, NY 10036 Total                                                                        $13,062.50
Alice + Whittles, 50 Wellington St East, Unit 400 Toronto, ON M5E 1C8 Canada                                                     2/11/2020            $5,452.84   Services
Alice + Whittles, 50 Wellington St East, Unit 400 Toronto, ON M5E 1C8 Canada                                                     3/13/2020            $1,454.53   Services
         Alice + Whittles, 50 Wellington St East, Unit 400 Toronto, ON M5E 1C8 Canada Total                                                           $6,907.37
All That She Wants LLC, 194 Elizabeth St 2Nd Fl New York, NY 10012                                                                2/7/2020           $13,463.21   Merchandise Vendors
All That She Wants LLC, 194 Elizabeth St 2Nd Fl New York, NY 10012                                                                3/4/2020            $3,197.63   Merchandise Vendors
         All That She Wants LLC, 194 Elizabeth St 2Nd Fl New York, NY 10012 Total                                                                    $16,660.84
Alliance Store Fixtures Inc, 370 New Huntington Rd Vaughan, ON L4H 0R4 Canada                                                     2/5/2020           $40,023.93   Services
Alliance Store Fixtures Inc, 370 New Huntington Rd Vaughan, ON L4H 0R4 Canada                                                    2/10/2020          $113,701.55   Services
Alliance Store Fixtures Inc, 370 New Huntington Rd Vaughan, ON L4H 0R4 Canada                                                    2/18/2020              $610.78   Services
Alliance Store Fixtures Inc, 370 New Huntington Rd Vaughan, ON L4H 0R4 Canada                                                    4/27/2020          $202,248.43   Services
         Alliance Store Fixtures Inc, 370 New Huntington Rd Vaughan, ON L4H 0R4 Canada Total                                                        $356,584.69
ALLURE SOURCING LTD, Plot-11/A, Rd-48, Block-CWN A Kemal Ataturk Ave Dhaka 1212 Bangladesh                                        2/7/2020           $27,426.12   Merchandise Vendors
ALLURE SOURCING LTD, Plot-11/A, Rd-48, Block-CWN A Kemal Ataturk Ave Dhaka 1212 Bangladesh                                       2/14/2020           $29,118.37   Merchandise Vendors
ALLURE SOURCING LTD, Plot-11/A, Rd-48, Block-CWN A Kemal Ataturk Ave Dhaka 1212 Bangladesh                                       2/28/2020           $29,100.15   Merchandise Vendors
         ALLURE SOURCING LTD, Plot-11/A, Rd-48, Block-CWN A Kemal Ataturk Ave Dhaka 1212 Bangladesh Total                                            $85,644.64
Alpha Industries Inc, 14200 Park Meadow Dr, Ste 110S Chantilly, VA 20151                                                          2/5/2020           $38,466.99   Merchandise Vendors
Alpha Industries Inc, 14200 Park Meadow Dr, Ste 110S Chantilly, VA 20151                                                          3/3/2020            $1,268.21   Merchandise Vendors
Alpha Industries Inc, 14200 Park Meadow Dr, Ste 110S Chantilly, VA 20151                                                         4/23/2020            $1,224.26   Merchandise Vendors



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         Alpha Industries Inc, 14200 Park Meadow Dr, Ste 110S Chantilly, VA 20151 Total                                                                   $40,959.46
Alteration Concept Inc, 129 Perry St Fl Cellar New York, NY 10014                                                                     2/26/2020            $6,055.00   Services
Alteration Concept Inc, 129 Perry St Fl Cellar New York, NY 10014                                                                     2/26/2020            $7,811.00   Services
Alteration Concept Inc, 129 Perry St Fl Cellar New York, NY 10014                                                                     2/26/2020            $9,959.00   Services
Alteration Concept Inc, 129 Perry St Fl Cellar New York, NY 10014                                                                     3/20/2020            $6,610.00   Services
Alteration Concept Inc, 129 Perry St Fl Cellar New York, NY 10014                                                                     3/20/2020            $8,037.00   Services
Alteration Concept Inc, 129 Perry St Fl Cellar New York, NY 10014                                                                     3/20/2020            $8,810.00   Services
         Alteration Concept Inc, 129 Perry St Fl Cellar New York, NY 10014 Total                                                                          $47,282.00
Ambassador Crossing LLC, Mr Michael C Ainbinder 2415 W Alabama, Ste 205 Houston, TX 77098                                              2/4/2020           $18,430.61   Rent/Lease Obligations
Ambassador Crossing LLC, Mr Michael C Ainbinder 2415 W Alabama, Ste 205 Houston, TX 77098                                              3/4/2020           $18,430.61   Rent/Lease Obligations
         Ambassador Crossing LLC, Mr Michael C Ainbinder 2415 W Alabama, Ste 205 Houston, TX 77098 Total                                                  $36,861.22
America Painting LLC, 41 Engle St Cresskill, NJ 07626-2222                                                                            2/20/2020            $7,200.00   Services
         America Painting LLC, 41 Engle St Cresskill, NJ 07626-2222 Total                                                                                  $7,200.00
American Assets Trust LP, 11455 El Camino Real, Ste 200 San Diego, CA 92130                                                            2/5/2020           $25,978.37   Rent/Lease Obligations
American Assets Trust LP, 11455 El Camino Real, Ste 200 San Diego, CA 92130                                                            3/4/2020           $25,978.37   Rent/Lease Obligations
         American Assets Trust LP, 11455 El Camino Real, Ste 200 San Diego, CA 92130 Total                                                                $51,956.74
American Christmas, 30 Warren Pl Mount Vernon, NY 10550                                                                               2/25/2020           $11,880.00   Services
American Christmas, 30 Warren Pl Mount Vernon, NY 10550                                                                               4/29/2020           $21,468.46   Services
         American Christmas, 30 Warren Pl Mount Vernon, NY 10550 Total                                                                                    $33,348.46
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                2/5/2020              $109.17   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                2/5/2020            $2,425.30   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                2/5/2020            $5,512.21   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               2/14/2020          $198,246.80   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               2/19/2020               $94.25   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               2/19/2020              $541.57   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               2/26/2020               $92.49   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               2/26/2020            $1,117.96   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                3/4/2020               $72.20   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                3/4/2020            $1,182.15   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                3/5/2020               $19.50   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/11/2020              $274.69   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/11/2020            $1,966.59   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/13/2020           $14,089.23   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/16/2020            $7,333.56   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/17/2020           $41,710.02   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/18/2020              $224.53   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/18/2020              $253.63   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/18/2020           $31,843.51   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/19/2020           $46,610.56   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/20/2020            $1,417.60   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/20/2020           $16,063.94   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/23/2020              $124.33   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/26/2020              $765.46   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/30/2020              $122.45   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               3/31/2020              $324.10   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                4/1/2020              $205.80   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                4/2/2020              $161.67   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                4/2/2020              $397.23   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                4/2/2020            $1,131.89   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                4/3/2020              $216.89   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                4/9/2020              $108.00   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                                4/9/2020              $535.90   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               4/16/2020                $6.43   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               4/16/2020              $126.62   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               4/20/2020              $568.11   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               4/23/2020              $134.75   Services
American Express, 200 Vesey St, New York, NY 10285-3106                                                                               4/23/2020              $163.74   Services



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American Express, 200 Vesey St, New York, NY 10285-3106                                                                            4/23/2020            $3,804.39   Services
         American Express, 200 Vesey St, New York, NY 10285-3106 Total                                                                                $380,099.22
Analytic Recruiting Inc, 144 East 44th St 3Rd Fl New York, NY 10017                                                                2/20/2020           $60,000.00   Services
         Analytic Recruiting Inc, 144 East 44th St 3Rd Fl New York, NY 10017 Total                                                                     $60,000.00
And Agency LLC, 100 W Randolph St Chicago, IL 60001                                                                                2/26/2020          $302,730.64   Services
And Agency LLC, 100 W Randolph St Chicago, IL 60001                                                                                 4/8/2020          $201,434.95   Services
And Agency LLC, 100 W Randolph St Chicago, IL 60001                                                                                 5/1/2020          $188,565.99   Services
         And Agency LLC, 100 W Randolph St Chicago, IL 60001 Total                                                                                    $692,731.58
Andersen Tax LLC, Box 200988 Pittsburgh, PA 15251-0988                                                                             4/15/2020           $87,150.00   Services
         Andersen Tax LLC, Box 200988 Pittsburgh, PA 15251-0988 Total                                                                                  $87,150.00
Angela Welsch, 2524 Medlow Ave Los Angeles, CA 90041                                                                               3/26/2020           $25,830.43   Services
         Angela Welsch, 2524 Medlow Ave Los Angeles, CA 90041 Total                                                                                    $25,830.43
AON RISK SERVICES NORTHEAST, INC., Stamford CT Office 1600 Summer St Stamford, CT 06907-4907                                       2/14/2020          $232,737.25   Services
AON RISK SERVICES NORTHEAST, INC., Stamford CT Office 1600 Summer St Stamford, CT 06907-4907                                       4/17/2020           $90,000.00   Services
         AON RISK SERVICES NORTHEAST, INC., Stamford CT Office 1600 Summer St Stamford, CT 06907-4907 Total                                           $322,737.25
Ap Edgehill Village LLC, P.O. Box 530052, Dept 1031 Atlanta, GA 30353-0052                                                          2/4/2020           $11,695.03   Rent/Lease Obligations
Ap Edgehill Village LLC, P.O. Box 530052, Dept 1031 Atlanta, GA 30353-0052                                                          3/4/2020           $11,695.03   Rent/Lease Obligations
         Ap Edgehill Village LLC, P.O. Box 530052, Dept 1031 Atlanta, GA 30353-0052 Total                                                              $23,390.06
Ap Newbury Street Reit LLC, P.O. Box 412314 Boston, MA 02241-2314                                                                   2/4/2020           $56,152.00   Rent/Lease Obligations
Ap Newbury Street Reit LLC, P.O. Box 412314 Boston, MA 02241-2314                                                                   3/4/2020           $56,152.00   Rent/Lease Obligations
         Ap Newbury Street Reit LLC, P.O. Box 412314 Boston, MA 02241-2314 Total                                                                      $112,304.00
Apply Studio, 156 N 4th St, Apt 6 Brooklyn, NY 11211                                                                               2/19/2020            $3,675.00   Services
Apply Studio, 156 N 4th St, Apt 6 Brooklyn, NY 11211                                                                               3/17/2020            $2,970.00   Services
Apply Studio, 156 N 4th St, Apt 6 Brooklyn, NY 11211                                                                                4/1/2020            $2,730.00   Services
         Apply Studio, 156 N 4th St, Apt 6 Brooklyn, NY 11211 Total                                                                                     $9,375.00
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                  2/5/2020          $633,311.23   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                  2/7/2020           $33,839.10   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                 2/12/2020          $516,144.89   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                 2/13/2020          $458,904.42   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                 2/21/2020          $356,826.61   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                  3/4/2020          $344,909.29   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                  3/5/2020          $450,085.41   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                  3/6/2020          $246,774.14   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                 3/11/2020          $194,548.45   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                 3/12/2020           $49,986.35   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                 3/13/2020          $256,527.98   Merchandise Vendors
Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius                                                                 3/18/2020           $95,554.05   Merchandise Vendors
         Aquarelle Clothing Limited, Boundary Rd, Quatre Bornes,, Mauritius Total                                                                   $3,637,411.92
AQUARELLE CLOTHING LTD, Boundary Rd Quatre Bornes, Mauritius                                                                        2/7/2020           $22,250.96   Merchandise Vendors
         AQUARELLE CLOTHING LTD, Boundary Rd Quatre Bornes, Mauritius Total                                                                            $22,250.96
Ararat Springs Inc, 84C Main St Southampton, NY 11968                                                                               2/4/2020           $17,570.63   Rent/Lease Obligations
Ararat Springs Inc, 84C Main St Southampton, NY 11968                                                                               3/4/2020           $12,916.67   Rent/Lease Obligations
         Ararat Springs Inc, 84C Main St Southampton, NY 11968 Total                                                                                   $30,487.30
Arbon Equipment Corp, 25464 Network Pl Chicago, IL 60673                                                                           2/19/2020            $9,333.80   Services
         Arbon Equipment Corp, 25464 Network Pl Chicago, IL 60673 Total                                                                                 $9,333.80
Arden Fair Associates LP, P.O. Box 849473 Los Angeles, CA 90084-9473                                                                2/4/2020           $36,248.73   Rent/Lease Obligations
Arden Fair Associates LP, P.O. Box 849473 Los Angeles, CA 90084-9473                                                               2/27/2020            $1,753.61   Rent/Lease Obligations
Arden Fair Associates LP, P.O. Box 849473 Los Angeles, CA 90084-9473                                                                3/5/2020           $38,002.34   Rent/Lease Obligations
Arden Fair Associates LP, P.O. Box 849473 Los Angeles, CA 90084-9473                                                               3/11/2020            $1,208.02   Rent/Lease Obligations
         Arden Fair Associates LP, P.O. Box 849473 Los Angeles, CA 90084-9473 Total                                                                    $77,212.70
Ariana Bohling LLC, 262 Taaffe Pl, 312 Brooklyn, NY 11205                                                                           2/3/2020            $5,076.92   Merchandise Vendors
Ariana Bohling LLC, 262 Taaffe Pl, 312 Brooklyn, NY 11205                                                                           3/6/2020            $1,331.28   Merchandise Vendors
Ariana Bohling LLC, 262 Taaffe Pl, 312 Brooklyn, NY 11205                                                                          4/21/2020            $1,212.32   Merchandise Vendors
         Ariana Bohling LLC, 262 Taaffe Pl, 312 Brooklyn, NY 11205 Total                                                                                $7,620.52
Art Dept La Inc, 2900 Colorado Ave Santa Monica, CA 90404                                                                          2/19/2020           $57,844.77   Services
Art Dept La Inc, 2900 Colorado Ave Santa Monica, CA 90404                                                                           5/1/2020          $102,358.24   Services
         Art Dept La Inc, 2900 Colorado Ave Santa Monica, CA 90404 Total                                                                              $160,203.01



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Artistic Carton Co, 1201 S Grandstaff Dr Auburn, IN 46706                                                                                    3/2/2020           $15,409.32   Services
          Artistic Carton Co, 1201 S Grandstaff Dr Auburn, IN 46706 Total                                                                                       $15,409.32
Arundel Mills LP, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204-3438                                            2/5/2020           $32,525.99   Services
Arundel Mills LP, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204-3438                                            3/4/2020           $32,525.99   Services
          Arundel Mills LP, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204-3438 Total                                               $65,051.98
Asheville Retail Associates LLC, New England Development Attn: Kelly Hart 75 Park Plz Boston, MA 02116                                       2/5/2020           $18,180.24   Rent/Lease Obligations
Asheville Retail Associates LLC, New England Development Attn: Kelly Hart 75 Park Plz Boston, MA 02116                                      2/19/2020               $20.13   Rent/Lease Obligations
Asheville Retail Associates LLC, New England Development Attn: Kelly Hart 75 Park Plz Boston, MA 02116                                       3/4/2020           $18,180.24   Rent/Lease Obligations
Asheville Retail Associates LLC, New England Development Attn: Kelly Hart 75 Park Plz Boston, MA 02116                                      3/10/2020               $20.13   Rent/Lease Obligations
          Asheville Retail Associates LLC, New England Development Attn: Kelly Hart 75 Park Plz Boston, MA 02116 Total                                          $36,400.74
Ashlee Margolis Inc, 9294 Civic Center Dr Beverly Hills, CA 90210                                                                           2/11/2020            $3,524.00   Services
Ashlee Margolis Inc, 9294 Civic Center Dr Beverly Hills, CA 90210                                                                           2/11/2020            $5,000.00   Services
Ashlee Margolis Inc, 9294 Civic Center Dr Beverly Hills, CA 90210                                                                           2/11/2020           $10,000.00   Services
Ashlee Margolis Inc, 9294 Civic Center Dr Beverly Hills, CA 90210                                                                           2/11/2020           $10,000.00   Services
Ashlee Margolis Inc, 9294 Civic Center Dr Beverly Hills, CA 90210                                                                           3/11/2020            $1,872.04   Services
Ashlee Margolis Inc, 9294 Civic Center Dr Beverly Hills, CA 90210                                                                           3/11/2020            $5,000.00   Services
Ashlee Margolis Inc, 9294 Civic Center Dr Beverly Hills, CA 90210                                                                           3/11/2020           $10,000.00   Services
Ashlee Margolis Inc, 9294 Civic Center Dr Beverly Hills, CA 90210                                                                           3/11/2020           $10,000.00   Services
          Ashlee Margolis Inc, 9294 Civic Center Dr Beverly Hills, CA 90210 Total                                                                               $55,396.04
ASO RECOVERY ACCOUNT, P.O. Box 101241 Atlanta, GA 30392-1241                                                                                2/21/2020          $161,338.75   Services
ASO RECOVERY ACCOUNT, P.O. Box 101241 Atlanta, GA 30392-1241                                                                                4/17/2020          $281,902.68   Services
          ASO RECOVERY ACCOUNT, P.O. Box 101241 Atlanta, GA 30392-1241 Total                                                                                   $443,241.43
Asset Strategies Group LLC, 501 W Schrock Rd, Ste 201 Westerville, OH 43081                                                                 2/20/2020            $3,493.75   Services
Asset Strategies Group LLC, 501 W Schrock Rd, Ste 201 Westerville, OH 43081                                                                 3/31/2020            $5,000.00   Services
Asset Strategies Group LLC, 501 W Schrock Rd, Ste 201 Westerville, OH 43081                                                                 4/14/2020          $100,320.50   Services
          Asset Strategies Group LLC, 501 W Schrock Rd, Ste 201 Westerville, OH 43081 Total                                                                    $108,814.25
At&T Global Network Services, Highfield House Headless Cross Redditch, B97 5EQ United Kingdom                                               3/19/2020            $2,467.50   Services
At&T Global Network Services, Highfield House Headless Cross Redditch, B97 5EQ United Kingdom                                               3/19/2020            $2,658.00   Services
At&T Global Network Services, Highfield House Headless Cross Redditch, B97 5EQ United Kingdom                                               3/19/2020            $8,018.36   Services
          At&T Global Network Services, Highfield House Headless Cross Redditch, B97 5EQ United Kingdom Total                                                   $13,143.86
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                               2/3/2020               $32.63   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                               2/4/2020              $833.61   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                               2/4/2020           $11,841.73   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              2/11/2020                $7.97   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              2/11/2020          $107,018.28   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              2/12/2020               $90.21   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              2/18/2020              $280.98   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              2/19/2020           $11,230.31   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              2/24/2020            $2,011.20   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              2/24/2020            $5,049.55   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              2/25/2020              $809.26   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              2/25/2020            $1,611.12   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                               3/3/2020           $15,956.89   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                               3/3/2020           $50,487.47   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                               3/4/2020               $28.48   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              3/13/2020               $90.21   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              3/13/2020              $101.03   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              3/13/2020            $1,010.01   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              3/18/2020            $5,508.29   Services
AT&T, P.O. Box 5014 Carol Stream, IL 60197-501                                                                                              3/18/2020            $6,315.49   Services
          AT&T, P.O. Box 5014 Carol Stream, IL 60197-501 Total                                                                                                 $220,314.72
Atlanta Outlet Shoppes LLC, P.O. Box 809324 Chicago, IL 60680-9324                                                                           2/6/2020           $19,067.91   Rent/Lease Obligations
Atlanta Outlet Shoppes LLC, P.O. Box 809324 Chicago, IL 60680-9324                                                                           3/4/2020           $19,067.91   Rent/Lease Obligations
          Atlanta Outlet Shoppes LLC, P.O. Box 809324 Chicago, IL 60680-9324 Total                                                                              $38,135.82
Atlanta Outlet Shoppes, LLC, c/o CBL & Associates Management, Inc CBL Center - Ste 500 2030 Hamilton Place Blvd Chattanooga, TN 37421        2/4/2020           $15,888.23   Services
Atlanta Outlet Shoppes, LLC, c/o CBL & Associates Management, Inc CBL Center - Ste 500 2030 Hamilton Place Blvd Chattanooga, TN 37421        3/4/2020           $15,760.04   Services
Atlanta Outlet Shoppes, LLC, c/o CBL & Associates Management, Inc CBL Center - Ste 500 2030 Hamilton Place Blvd Chattanooga, TN 37421       3/20/2020               $55.11   Services



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         Atlanta Outlet Shoppes, LLC, c/o CBL & Associates Management, Inc CBL Center - Ste 500 2030 Hamilton Place Blvd Chattanooga, TN 37421 Total                       $31,703.38
Atlantic Corp of Wilmington In, P.O. Box 60002 Charlotte, NC 28260                                                                                     4/20/2020           $57,067.82   Services
         Atlantic Corp of Wilmington In, P.O. Box 60002 Charlotte, NC 28260 Total                                                                                          $57,067.82
Atlanticom Systems, 2140 Highway 88 East Brick, NJ 08724                                                                                               2/21/2020            $9,098.43   Services
         Atlanticom Systems, 2140 Highway 88 East Brick, NJ 08724 Total                                                                                                     $9,098.43
Atlas Copco Compressors LLC, Dept Ch 19511 Palatine, IL 60055-9511                                                                                     2/27/2020           $11,236.12   Services
         Atlas Copco Compressors LLC, Dept Ch 19511 Palatine, IL 60055-9511 Total                                                                                          $11,236.12
Automatic Data Processing, 1 ADP Blvd Roseland, NJ 07068                                                                                               2/11/2020           $87,519.61   Services
         Automatic Data Processing, 1 ADP Blvd Roseland, NJ 07068 Total                                                                                                    $87,519.61
Aventura Mall Venture, 19501 Biscayne Blvd, Ste 450 Aventura, FL 33180 Aventura, FL 33180                                                               2/5/2020          $223,082.48   Rent/Lease Obligations
Aventura Mall Venture, 19501 Biscayne Blvd, Ste 450 Aventura, FL 33180 Aventura, FL 33180                                                               3/4/2020          $224,001.47   Rent/Lease Obligations
         Aventura Mall Venture, 19501 Biscayne Blvd, Ste 450 Aventura, FL 33180 Aventura, FL 33180 Total                                                                  $447,083.95
Avery Dennison, 15178 Collections Center Dr Chicago, IL 60693                                                                                          4/28/2020           $25,908.68   Services
         Avery Dennison, 15178 Collections Center Dr Chicago, IL 60693 Total                                                                                               $25,908.68
Ayima Inc, 270 Lafayette St, Ste 1406 New York, NY 10012                                                                                               2/28/2020           $40,000.00   Services
         Ayima Inc, 270 Lafayette St, Ste 1406 New York, NY 10012 Total                                                                                                    $40,000.00
Azione Pr Inc, 3633 Lenawee Ave 190 Los Angeles, CA 90016                                                                                              2/14/2020           $18,164.01   Services
Azione Pr Inc, 3633 Lenawee Ave 190 Los Angeles, CA 90016                                                                                               3/4/2020              $238.47   Services
         Azione Pr Inc, 3633 Lenawee Ave 190 Los Angeles, CA 90016 Total                                                                                                   $18,402.48
Baesman Group Inc, 4477 Reynolds Dr Hilliard, OH 43026                                                                                                 2/19/2020           $18,938.19   Services
         Baesman Group Inc, 4477 Reynolds Dr Hilliard, OH 43026 Total                                                                                                      $18,938.19
Baggu Corp, 2325 3Rd St No 428 San Francisco, CA 94107                                                                                                  2/7/2020           $72,900.00   Services
         Baggu Corp, 2325 3Rd St No 428 San Francisco, CA 94107 Total                                                                                                      $72,900.00
Baker And Mckenzie LLP, 300 E Randolph St Chicago, IL 60601                                                                                            3/11/2020          $136,026.34   Services
         Baker And Mckenzie LLP, 300 E Randolph St Chicago, IL 60601 Total                                                                                                $136,026.34
Baker McKenzie, 300 E Randolph St Chicago, IL 60601                                                                                                     5/1/2020          $144,069.55   Services
         Baker McKenzie, 300 E Randolph St Chicago, IL 60601 Total                                                                                                        $144,069.55
BANK CARD DEPARTMENT, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                                     2/7/2020        $1,007,493.15   Services
BANK CARD DEPARTMENT, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                                    3/10/2020          $312,146.37   Services
BANK CARD DEPARTMENT, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                                    4/10/2020        $2,501,535.02   Services
BANK CARD DEPARTMENT, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                                    4/14/2020          $183,312.18   Services
BANK CARD DEPARTMENT, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                                    4/14/2020        $1,522,933.72   Services
         BANK CARD DEPARTMENT, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255 Total                                                                      $5,527,420.44
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                            2/3/2020        $1,300,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                            2/3/2020        $2,300,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                            2/6/2020          $600,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                            2/7/2020           $28,831.98   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                            2/7/2020          $482,684.43   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/10/2020        $3,200,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/10/2020        $6,000,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/13/2020        $1,200,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/18/2020        $2,300,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/20/2020            $8,746.96   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/20/2020        $2,400,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/24/2020        $7,800,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/27/2020          $100,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/27/2020        $2,200,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/28/2020              $250.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           2/28/2020        $2,800,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                            3/2/2020        $8,000,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                            3/5/2020          $100,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                            3/9/2020        $3,700,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           3/10/2020          $200,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           3/11/2020          $500,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           3/12/2020        $4,900,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           3/13/2020        $3,400,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                           3/17/2020          $400,000.00   Secured Debt Related Payment



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                                                                                                                                                        Total amount             Reasons for payment
                                                                         Creditor’s name and address                                      Dates           or value                   or transfer
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                              3/31/2020            $3,284.85   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                              3/31/2020          $641,891.41   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                              3/31/2020       $15,000,000.00   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                              4/14/2020          $210,127.48   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                              4/24/2020            $1,549.87   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                              4/24/2020          $354,653.54   Secured Debt Related Payment
Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                              4/24/2020          $573,801.23   Secured Debt Related Payment
        Bank of America Merrill Lynch, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255 Total                                                $70,705,821.75
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020                $0.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020                $0.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020               $15.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020               $16.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020               $18.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020               $20.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020               $21.59   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020               $30.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020               $60.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020               $60.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020               $69.59   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020               $85.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $122.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $180.58   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $185.65   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $187.49   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $187.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $212.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $216.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $223.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $265.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $329.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $350.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $378.51   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $418.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $432.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $588.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $614.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $806.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $808.78   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020              $923.97   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020            $1,089.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020            $2,005.67   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020            $2,352.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020            $2,901.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020            $3,217.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020            $4,035.05   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020            $7,558.13   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020            $9,645.49   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020           $10,084.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020           $10,270.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020           $11,321.62   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020           $13,435.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020           $13,451.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020           $13,530.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020           $20,284.77   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020           $37,759.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/3/2020           $40,269.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/4/2020                $0.06   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020                $6.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020               $12.93   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020               $24.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020               $45.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020               $49.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020              $143.31   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020              $279.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020              $348.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020              $417.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020              $836.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/4/2020            $5,764.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020                $7.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020               $22.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020               $25.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020               $34.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020              $174.62   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020              $225.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020              $308.96   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020              $318.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020              $346.13   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020              $351.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020              $686.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020            $1,161.91   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020            $1,287.07   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020            $5,550.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/5/2020            $7,979.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020               $19.23   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020               $57.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020              $111.59   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020              $168.18   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020              $201.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020              $287.70   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020              $309.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020              $318.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020              $375.07   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020              $409.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020            $2,053.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020            $6,612.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020           $20,982.20   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/6/2020           $28,580.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020               $20.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020              $203.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020              $244.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020              $275.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020              $444.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020              $458.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020              $700.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020              $825.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020            $4,147.62   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020           $11,000.08   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020           $16,487.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              2/7/2020           $31,166.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020                $0.20   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020                $0.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020                $0.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020               $14.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020               $16.93   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020               $18.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020               $68.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020               $82.88   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $102.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $137.37   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $142.90   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $152.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $155.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $188.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $188.97   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $207.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $245.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $260.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $286.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $287.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $343.78   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $370.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $401.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $419.08   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $716.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $739.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020              $797.45   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $1,119.34   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $1,837.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $2,180.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $2,227.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $2,627.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $3,230.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $4,681.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $5,388.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $5,956.34   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $7,983.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020            $9,937.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020           $11,819.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020           $15,017.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020           $15,052.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/10/2020           $32,054.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/11/2020               $10.18   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/11/2020               $13.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/11/2020               $30.43   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/11/2020               $36.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/11/2020              $149.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/11/2020              $164.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/11/2020              $219.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/11/2020              $288.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/11/2020              $628.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/11/2020            $7,967.58   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020                $8.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020               $14.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020               $21.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020               $38.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020              $100.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020              $123.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020              $260.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020              $265.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020              $460.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020              $480.77   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020            $1,187.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020            $1,473.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020            $6,162.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/12/2020            $8,922.23   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020                $0.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020               $16.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020               $45.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020              $108.17   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020              $109.17   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020              $239.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020              $244.19   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020              $388.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020              $441.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020              $512.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020            $1,312.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020            $2,641.67   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020            $5,966.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020           $18,258.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/13/2020           $33,171.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020                $0.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020               $19.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020              $133.98   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020              $248.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020              $284.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020              $354.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020              $561.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020            $1,093.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020            $1,291.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020            $3,238.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020            $6,643.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020           $16,101.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/14/2020           $42,091.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020                $0.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020                $0.43   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020                $0.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020                $1.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020               $12.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020               $13.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020               $13.96   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020               $14.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020               $18.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020               $31.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020               $31.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020               $45.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020               $49.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020               $87.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $109.96   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $120.05   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $120.38   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $171.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $189.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $192.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $208.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $209.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $216.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $219.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $255.97   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $273.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $353.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $353.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $358.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $366.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $396.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $402.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020              $434.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $1,091.37   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $1,114.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $1,166.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $1,224.05   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $1,284.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $1,544.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $1,846.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $2,042.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $2,147.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $2,714.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $3,619.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $3,866.38   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $4,341.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $5,365.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020            $7,569.58   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020           $14,060.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020           $14,763.67   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020           $18,847.78   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020           $19,212.23   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/18/2020           $26,187.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020               $14.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020               $17.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020               $30.65   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020               $43.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020              $294.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020              $324.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020              $374.63   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020              $518.17   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020            $1,032.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020            $1,774.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020            $1,785.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020           $11,073.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/19/2020           $11,507.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020               $17.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020               $93.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020              $172.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020              $248.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020              $284.88   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020              $328.78   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020              $393.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020              $514.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020            $1,005.75   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020            $7,698.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020           $10,000.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020           $26,756.45   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/20/2020           $30,661.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020               $19.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020               $22.91   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020              $170.83   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020              $259.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020              $347.89   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020              $405.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020              $648.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020            $1,093.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020            $1,197.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020            $1,463.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020            $1,574.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020            $7,939.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020           $18,249.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/21/2020           $42,577.20   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020                $0.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020               $15.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020               $21.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020               $22.43   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $130.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $150.07   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $184.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $196.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $201.38   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $206.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $219.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $220.45   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $240.19   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $280.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $411.77   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $424.18   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $440.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $456.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $479.19   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $559.18   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $584.91   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $750.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020              $967.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020            $1,018.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020            $1,105.37   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020            $1,983.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020            $3,238.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020            $6,654.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020            $7,277.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020            $7,443.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020            $8,963.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020            $9,732.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020           $14,224.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020           $15,342.91   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020           $15,688.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020           $29,654.34   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020           $34,216.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/24/2020           $38,902.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/25/2020               $15.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/25/2020               $15.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/25/2020               $34.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/25/2020               $38.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/25/2020               $57.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/25/2020              $255.76   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/25/2020              $402.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/25/2020              $455.02   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/25/2020              $586.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/25/2020              $773.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020               $18.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020               $19.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020               $30.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020               $37.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020              $204.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020              $308.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020              $434.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020              $532.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020              $538.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020            $1,673.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020            $2,051.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020            $9,771.62   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/26/2020           $14,142.51   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020               $16.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020               $28.97   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020              $117.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020              $159.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020              $184.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020              $349.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020              $371.34   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020              $490.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020              $571.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020            $2,530.89   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020            $3,167.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020           $10,214.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020           $28,053.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/27/2020           $30,655.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020               $18.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020              $160.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020              $171.75   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020              $277.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020              $353.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020              $409.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020              $411.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020              $419.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020              $897.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020            $2,045.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020            $4,843.59   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020            $9,288.34   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020           $27,998.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             2/28/2020           $39,254.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020               $15.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020               $17.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020               $17.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020               $21.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020               $23.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020               $60.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020               $75.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $106.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $129.63   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $146.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $164.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $171.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $172.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $188.38   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $190.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $225.38   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $241.49   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $243.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $314.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $315.49   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $338.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $344.93   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $361.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $447.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $623.58   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $855.45   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $878.37   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $953.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $976.76   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020              $984.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020            $2,267.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020            $3,049.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020            $3,767.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020            $5,229.37   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020            $7,194.59   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020            $7,897.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020            $8,341.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020           $13,127.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020           $16,850.63   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020           $20,835.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020           $25,070.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/2/2020           $39,548.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020                $9.89   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020               $16.37   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020               $21.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020               $30.62   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020               $39.43   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020               $93.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020              $120.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020              $191.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020            $1,809.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020            $5,058.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/3/2020            $8,290.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020                $4.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020                $6.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020               $19.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020               $23.93   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020               $64.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020              $120.96   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020              $232.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020              $269.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020              $626.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020              $681.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020              $742.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020            $4,578.13   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/4/2020            $8,725.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020                $0.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020               $12.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020               $20.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020               $32.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020              $168.83   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020              $183.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020              $240.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020              $263.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020              $401.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020              $470.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020              $540.07   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020            $7,696.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020           $16,948.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/5/2020           $33,308.43   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020                $0.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020               $18.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020              $240.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020              $253.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020              $257.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020              $343.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020              $409.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020              $513.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020              $827.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020            $1,978.52   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020            $2,093.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020           $11,089.89   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020           $16,855.51   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/6/2020           $42,783.78   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020                $0.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020                $0.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020                $0.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020                $1.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020                $1.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020                $1.65   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020                $2.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020                $4.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020               $14.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020               $16.93   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020               $17.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020               $74.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $126.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $139.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $170.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $190.51   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $193.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $195.31   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $216.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $232.23   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $248.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $251.17   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $272.37   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $292.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $296.18   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $306.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $321.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $410.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $490.77   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $813.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $841.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020              $857.98   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $1,440.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $2,516.88   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $2,872.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $3,032.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $3,426.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $4,018.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $5,327.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $6,098.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $7,492.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $8,781.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020            $9,597.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020           $12,558.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020           $13,635.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020           $22,458.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              3/9/2020           $32,688.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020                $8.76   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020               $12.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020               $16.38   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020               $31.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020               $40.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020              $181.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020              $220.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020              $264.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020              $471.77   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020            $1,208.18   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/10/2020            $3,465.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020                $9.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020               $20.05   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020               $29.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020               $36.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020              $202.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020              $217.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020              $247.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020              $284.13   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020            $1,608.76   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020            $1,718.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020            $1,851.78   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020            $2,177.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/11/2020           $13,852.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020                $0.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020               $15.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020               $92.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020              $100.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020              $100.59   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020              $188.63   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020              $199.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020              $226.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020              $233.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020              $427.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020              $846.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020              $907.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020            $1,230.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020            $3,069.97   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020            $5,765.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020           $16,808.62   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/12/2020           $36,059.98   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020                $0.43   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020                $0.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020               $14.76   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020              $135.19   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020              $187.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020              $235.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020              $267.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020              $673.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020              $679.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020              $749.31   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020              $934.51   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020            $1,389.76   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020            $1,808.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020            $6,968.77   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020           $14,559.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/13/2020           $55,850.90   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020                $0.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020               $15.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020               $24.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020               $28.98   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020               $58.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020               $63.19   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $100.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $124.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $135.23   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $149.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $161.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $174.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $192.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $194.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $201.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $204.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $212.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $318.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $354.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $393.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $406.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $629.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $760.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020              $902.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $1,007.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $1,046.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $1,236.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $1,558.78   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $1,690.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $1,905.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $2,031.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $2,326.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $4,152.52   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $5,866.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $6,293.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $7,330.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $7,666.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020            $7,904.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020           $10,812.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020           $13,341.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020           $30,683.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/16/2020           $51,401.62   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020                $1.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020               $11.46   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020               $22.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020               $39.05   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020               $44.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020              $200.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020              $234.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020              $363.75   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020              $645.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020              $710.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020              $712.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020            $2,416.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/17/2020            $2,750.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020                $6.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020               $20.58   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020               $21.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020               $25.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020              $192.76   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020              $220.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020              $275.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020              $283.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020              $344.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020              $513.57   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020              $869.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020            $1,041.77   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020            $6,713.76   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/18/2020            $9,207.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020                $0.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020                $1.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020               $19.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020              $103.23   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020              $171.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020              $210.31   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020              $239.96   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020              $340.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020              $448.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020            $1,336.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020            $1,779.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020            $5,148.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020           $17,922.37   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/19/2020           $18,384.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020               $15.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020              $125.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020              $215.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020              $287.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020              $345.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020              $428.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020              $804.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020            $1,045.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020            $2,079.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020            $6,628.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020           $10,000.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020           $12,506.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020           $24,839.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020           $30,042.05   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/20/2020           $38,273.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020               $12.75   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020               $13.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020               $14.92   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020               $31.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020               $67.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020               $67.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020               $93.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020               $98.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $116.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $134.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $139.17   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $198.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $243.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $246.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $271.67   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $279.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $315.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $331.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $353.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $399.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $431.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $442.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $740.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $861.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020              $973.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020            $1,021.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020            $1,144.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020            $2,114.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020            $3,052.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020            $3,596.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020            $6,461.17   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020            $8,008.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020           $10,948.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/23/2020           $13,640.31   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020               $12.05   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020               $32.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020               $43.17   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020               $81.38   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020              $229.51   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020              $330.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020              $393.31   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020              $783.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020              $923.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020            $1,053.97   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020            $1,777.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020            $2,341.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/24/2020            $8,343.17   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020                $0.18   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020                $2.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020                $8.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020               $13.19   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020               $14.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020               $76.51   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020               $82.13   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020              $146.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020              $281.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020              $768.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020              $864.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020            $3,503.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/25/2020            $7,212.80   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020                $0.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020                $0.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020               $14.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020              $155.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020              $183.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020              $260.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020              $316.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020              $435.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020              $445.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020              $759.93   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020            $2,593.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020            $4,434.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020            $8,484.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020           $12,075.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/26/2020           $21,423.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020               $16.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020              $150.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020              $261.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020              $329.65   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020              $332.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020              $374.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020              $386.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020              $923.07   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020            $2,455.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020            $6,357.77   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020           $13,052.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/27/2020           $20,068.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020               $13.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020               $15.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020               $15.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020               $54.88   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020               $55.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $109.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $143.08   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $179.63   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $254.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $255.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $256.67   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $314.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $340.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $342.18   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $354.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $359.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $372.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $374.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $394.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $454.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $693.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $739.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $783.20   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020              $974.89   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020            $1,049.91   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020            $1,562.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020            $1,865.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020            $3,488.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020            $5,867.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020            $7,317.08   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020           $10,867.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020           $11,654.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020           $14,812.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020           $15,511.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020           $17,844.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/30/2020           $19,345.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020               $14.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020               $72.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020              $108.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020              $167.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020              $349.18   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020              $425.08   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020              $789.62   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020            $1,151.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020            $2,778.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020            $3,205.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020            $3,724.75   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020            $4,621.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             3/31/2020            $8,853.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020                $2.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020                $8.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020               $10.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020               $16.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020               $17.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020              $280.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020              $394.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020              $585.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020              $745.08   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020            $4,228.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/1/2020           $20,435.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020               $14.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020               $15.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020               $60.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020              $192.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020              $193.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020              $291.38   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020              $324.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020              $436.90   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020              $589.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020              $768.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020              $981.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020           $10,066.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020           $10,199.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/2/2020           $24,408.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020                $8.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020               $15.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020               $17.98   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020               $32.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020               $34.08   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020              $120.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020              $200.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020              $210.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020              $218.63   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020              $406.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020            $2,021.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020            $2,030.05   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020            $5,423.82   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020            $8,480.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020           $10,239.57   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020           $14,257.38   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/3/2020           $27,557.08   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020               $16.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020               $17.78   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020               $18.58   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020               $80.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $203.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $210.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $213.97   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $219.89   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $230.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $294.75   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $332.90   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $360.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $387.90   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $391.51   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $416.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $446.67   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $552.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $564.19   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020              $885.93   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020            $1,017.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020            $1,219.89   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020            $1,339.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020            $1,439.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020            $1,663.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020            $2,004.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020            $2,405.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020            $8,647.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020            $9,030.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020            $9,380.62   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020           $10,036.97   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020           $10,276.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020           $12,613.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020           $18,232.65   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020           $22,844.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/6/2020           $26,928.40   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020               $17.43   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020               $58.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020              $148.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020              $197.76   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020              $468.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020              $468.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020              $929.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020            $1,148.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020            $1,692.63   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020            $2,049.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020            $7,481.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020            $7,586.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/7/2020            $7,910.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020                $4.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020               $15.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020               $20.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020               $38.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020               $40.81   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020              $399.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020              $410.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020              $411.45   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020              $849.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020            $4,772.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/8/2020            $7,042.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020               $18.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020              $176.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020              $259.49   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020              $297.63   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020              $403.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020              $494.45   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020              $496.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020              $782.90   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020            $1,395.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020            $8,911.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020           $16,132.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                              4/9/2020           $31,825.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020               $20.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020               $39.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020              $146.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020              $368.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020              $474.20   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020              $476.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020              $514.59   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020            $1,096.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020            $1,111.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020            $1,475.08   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020            $6,459.59   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020           $27,473.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/10/2020           $30,834.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020               $21.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020               $23.71   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020               $26.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020               $97.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $164.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $189.31   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $193.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $211.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $275.37   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $300.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $420.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $440.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $445.34   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $447.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $492.38   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $543.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $562.75   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $701.31   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $737.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $807.63   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020              $871.13   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020            $1,023.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020            $1,119.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020            $1,569.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020            $3,136.76   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020            $4,324.31   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020            $6,464.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020            $7,039.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020            $7,428.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020            $7,631.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020            $8,350.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020           $13,299.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020           $14,973.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020           $21,894.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020           $27,453.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/13/2020           $30,832.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020               $21.88   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020               $65.58   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020              $133.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020              $147.08   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020              $335.13   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020              $386.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020              $964.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020              $996.51   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020            $1,059.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020            $2,030.57   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020            $5,489.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/14/2020            $7,889.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020                $0.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020                $4.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020               $15.65   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020               $15.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020               $28.90   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020               $44.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020               $71.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020              $319.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020              $386.75   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020              $856.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020            $1,136.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020            $4,163.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/15/2020            $8,474.78   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020               $26.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020              $187.61   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020              $215.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020              $290.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020              $475.20   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020              $586.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020              $600.57   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020              $722.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020            $1,022.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020            $1,081.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020            $9,862.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020           $11,637.75   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/16/2020           $29,243.68   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020                $1.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020                $1.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020                $1.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020                $3.75   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020               $25.90   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020              $116.07   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020              $242.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020              $346.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020              $440.47   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020              $486.87   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020              $992.96   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020            $1,016.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020            $1,229.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020            $1,573.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020           $13,668.45   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020           $14,073.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/17/2020           $26,316.77   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020                $0.01   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020               $20.49   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020               $22.76   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020               $25.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020               $26.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $231.37   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $286.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $302.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $315.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $322.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $391.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $415.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $421.49   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $424.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $448.84   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $462.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $499.52   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $646.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $785.81   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $893.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020              $934.19   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020            $1,037.18   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020            $1,062.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020            $1,094.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020            $1,196.32   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020            $2,385.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020            $3,383.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020            $5,395.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020           $10,191.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020           $10,612.17   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020           $14,671.09   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020           $15,387.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020           $15,759.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020           $17,898.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020           $19,623.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020           $21,214.53   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/20/2020           $26,040.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020               $18.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020              $112.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020              $112.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020              $214.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020              $430.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020              $526.47   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020              $675.96   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020              $899.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020            $1,040.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020            $3,212.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020            $5,562.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020            $8,213.36   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/21/2020           $13,437.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020                $9.00   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020                $9.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020               $15.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020               $22.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020               $22.54   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020              $187.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020              $319.97   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020              $683.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020            $1,237.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020            $4,323.63   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/22/2020            $8,456.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020                $4.21   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020               $25.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020              $333.28   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020              $359.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020              $404.15   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020              $464.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020              $628.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020            $1,028.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020            $1,114.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020           $12,909.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020           $16,549.83   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/23/2020           $17,878.13   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020               $24.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020              $196.66   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020              $314.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020              $324.19   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020              $499.80   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020              $508.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020              $678.79   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020              $685.88   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020              $884.23   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020            $1,293.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020           $12,345.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020           $13,655.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/24/2020           $22,545.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020                $0.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020                $0.23   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020                $0.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020               $21.04   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020               $23.26   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020               $25.72   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020               $63.78   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020               $88.96   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $228.05   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $229.89   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $293.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $324.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $324.07   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $376.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $376.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $377.92   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $400.97   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $630.60   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $690.12   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $739.62   Services



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                                                                                                                                                         Total amount             Reasons for payment
                                                                            Creditor’s name and address                                    Dates           or value                   or transfer
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $755.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020              $904.23   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $1,007.43   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $1,079.73   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $1,130.03   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $1,590.16   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $1,932.08   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $2,081.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $2,202.13   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $3,484.48   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $5,226.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $7,855.55   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $8,843.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020            $9,048.22   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020           $10,167.19   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020           $12,203.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020           $14,265.25   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020           $16,136.43   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/27/2020           $18,097.05   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/28/2020               $19.95   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/28/2020              $161.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/28/2020              $185.59   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/28/2020              $188.34   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/28/2020              $595.69   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/28/2020              $713.11   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/28/2020              $734.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/28/2020            $5,052.24   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/28/2020            $5,802.38   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/28/2020            $9,455.86   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020                $0.10   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020               $21.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020               $38.31   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020               $73.77   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020              $122.42   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020              $126.13   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020              $492.44   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020              $526.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020              $554.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020              $783.99   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020            $2,878.74   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020            $5,223.06   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020            $7,407.36   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020            $7,613.46   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/29/2020            $8,684.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020                $0.14   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020                $0.17   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020               $22.64   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020               $87.65   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020              $203.62   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020              $319.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020              $434.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020              $469.58   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020              $622.41   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020              $890.02   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020            $1,095.49   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020            $1,955.35   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                             4/30/2020            $7,062.49   Services



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Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                4/30/2020           $20,415.29   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                4/30/2020           $25,779.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020               $28.39   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020               $48.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020              $187.50   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020              $468.27   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020              $487.65   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020              $543.56   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020              $581.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020              $815.82   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020            $1,239.94   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020            $2,589.85   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020            $7,874.33   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020           $22,801.30   Services
Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255                                                                 5/1/2020           $23,745.85   Services
          Bank of America, Attn: Corporate Legal Dept, 100 N Tryon StCharlotte, NC 28255 Total                                                                 $4,139,481.84
BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                      3/25/2020          $322,096.33   Secured Debt Related Payment
BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                      3/25/2020        $1,000,000.00   Secured Debt Related Payment
BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                      3/30/2020        $1,000,000.00   Secured Debt Related Payment
BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                       4/6/2020        $1,000,000.00   Secured Debt Related Payment
BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                       4/7/2020            $9,284.43   Secured Debt Related Payment
BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                      4/13/2020        $1,000,000.00   Secured Debt Related Payment
BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                      4/17/2020              $371.40   Secured Debt Related Payment
BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                      4/17/2020           $10,602.18   Secured Debt Related Payment
BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                      4/20/2020        $1,000,000.00   Secured Debt Related Payment
BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255                                                      4/27/2020        $1,000,000.00   Secured Debt Related Payment
          BANK OF AMERICA, N.A. FBO, Attn: Corporate Legal Dept 100 N Tryon St Charlotte, NC 28255 Total                                                       $6,342,354.34
Barbour Inc, 55 Meadowbrook Dr Milford, NH 03055                                                                                              2/11/2020           $53,568.00   Merchandise Vendors
Barbour Inc, 55 Meadowbrook Dr Milford, NH 03055                                                                                              2/26/2020              $982.00   Merchandise Vendors
          Barbour Inc, 55 Meadowbrook Dr Milford, NH 03055 Total                                                                                                  $54,550.00
Bayer Retail Company III LLC, P.O. Box 2133 Memphis, TN 38101-7500                                                                             2/5/2020           $15,366.97   Rent/Lease Obligations
Bayer Retail Company III LLC, P.O. Box 2133 Memphis, TN 38101-7500                                                                             3/5/2020           $15,366.97   Rent/Lease Obligations
          Bayer Retail Company III LLC, P.O. Box 2133 Memphis, TN 38101-7500 Total                                                                                $30,733.94
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020              $119.64   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020              $210.91   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020              $429.74   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020            $1,433.19   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020            $1,519.44   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020            $1,845.94   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020            $2,426.49   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020            $2,819.08   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020            $3,193.61   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020            $3,696.28   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020            $3,721.99   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020            $4,410.73   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020            $5,654.72   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020           $12,122.99   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020           $12,203.61   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020           $12,248.47   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020           $38,049.79   Merchandise Vendors
Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong                                                                            4/27/2020           $46,544.66   Merchandise Vendors
          Bbase Idg Ltd, 56-60 Wong Chuk Hang Rd, Wong Chuk Hang,, Hong Kong Total                                                                               $152,651.28
Bee Line Transport Inc, 155 Airpark Dr Lynchburg, VA 24502                                                                                     4/1/2020           $73,649.25   Services
Bee Line Transport Inc, 155 Airpark Dr Lynchburg, VA 24502                                                                                    4/29/2020           $17,205.00   Services
          Bee Line Transport Inc, 155 Airpark Dr Lynchburg, VA 24502 Total                                                                                        $90,854.25
Beijing Jishide Textile Co Ltd, No 4 San Jian Fang Nan Li, Chaoyang District Beijing, 100024, China                                            2/3/2020           $36,815.45   Merchandise Vendors
          Beijing Jishide Textile Co Ltd, No 4 San Jian Fang Nan Li, Chaoyang District Beijing, 100024, China Total                                               $36,815.45



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Bellevue Square Association In, 575 Bellevue Sq Attn A/R Dept Bellevue, WA 98004                                                         2/5/2020           $69,402.96   Rent/Lease Obligations
Bellevue Square Association In, 575 Bellevue Sq Attn A/R Dept Bellevue, WA 98004                                                         3/4/2020           $69,402.96   Rent/Lease Obligations
         Bellevue Square Association In, 575 Bellevue Sq Attn A/R Dept Bellevue, WA 98004 Total                                                            $138,805.92
Benh Pham, 10610 Lanshire Dr, Unit A Austin, TX 78758                                                                                   2/10/2020            $6,856.52   Merchandise Vendors
Benh Pham, 10610 Lanshire Dr, Unit A Austin, TX 78758                                                                                   3/11/2020            $1,995.19   Merchandise Vendors
Benh Pham, 10610 Lanshire Dr, Unit A Austin, TX 78758                                                                                   4/15/2020            $1,383.37   Merchandise Vendors
         Benh Pham, 10610 Lanshire Dr, Unit A Austin, TX 78758 Total                                                                                        $10,235.08
Beswell Co Ltd, 713 Suseo Hyundai Venture Ville, Gangnam-Gu Seoul, 06349, South Korea                                                   2/24/2020           $11,550.53   Merchandise Vendors
         Beswell Co Ltd, 713 Suseo Hyundai Venture Ville, Gangnam-Gu Seoul, 06349, South Korea Total                                                        $11,550.53
BETTER COTTON INITIATIVE, Chemin De Balexert 7-9 Chatelaine Geneva, 1202 Switzerland                                                    2/25/2020           $57,718.36   Services
         BETTER COTTON INITIATIVE, Chemin De Balexert 7-9 Chatelaine Geneva, 1202 Switzerland Total                                                         $57,718.36
Better Work Switzerland, 4 Route De Morillons Geneva, 1211 Switzerland                                                                  2/18/2020           $43,100.00   Services
         Better Work Switzerland, 4 Route De Morillons Geneva, 1211 Switzerland Total                                                                       $43,100.00
Biltmore Shopping Center Partners LLC, Attn: Center Manager 2502 East Camelback Rd, Ste 216 Phoenix, AZ 85016                            2/5/2020           $19,877.56   Services
Biltmore Shopping Center Partners LLC, Attn: Center Manager 2502 East Camelback Rd, Ste 216 Phoenix, AZ 85016                            3/4/2020           $19,877.56   Services
         Biltmore Shopping Center Partners LLC, Attn: Center Manager 2502 East Camelback Rd, Ste 216 Phoenix, AZ 85016 Total                                $39,755.12
Bio Natural Inc, 949 W Marietta St Nw, Ste X-100 Atlanta, GA 30318                                                                       2/6/2020           $14,814.00   Merchandise Vendors
         Bio Natural Inc, 949 W Marietta St Nw, Ste X-100 Atlanta, GA 30318 Total                                                                           $14,814.00
Birkenstock Usa Lp, 15079 Collections Center Dr Chicago, IL 60693-0150                                                                   2/5/2020           $39,217.50   Merchandise Vendors
Birkenstock Usa Lp, 15079 Collections Center Dr Chicago, IL 60693-0150                                                                  4/29/2020           $42,460.00   Merchandise Vendors
         Birkenstock Usa Lp, 15079 Collections Center Dr Chicago, IL 60693-0150 Total                                                                       $81,677.50
BIRKENSTOCK USA,LP, 15079 Collections Center Dr Chicago, IL 60693-0150                                                                   3/2/2020           $79,567.25   Merchandise Vendors
         BIRKENSTOCK USA,LP, 15079 Collections Center Dr Chicago, IL 60693-0150 Total                                                                       $79,567.25
BJW Realty LLC, 680 Fifth Ave, 23rd Fl New York, NY 10019 New York, NY 10019                                                             2/5/2020          $134,288.63   Rent/Lease Obligations
BJW Realty LLC, 680 Fifth Ave, 23rd Fl New York, NY 10019 New York, NY 10019                                                             3/4/2020          $134,288.63   Rent/Lease Obligations
BJW Realty LLC, 680 Fifth Ave, 23rd Fl New York, NY 10019 New York, NY 10019                                                            3/11/2020            $4,150.49   Rent/Lease Obligations
BJW Realty LLC, 680 Fifth Ave, 23rd Fl New York, NY 10019 New York, NY 10019                                                            4/29/2020            $1,665.09   Rent/Lease Obligations
         BJW Realty LLC, 680 Fifth Ave, 23rd Fl New York, NY 10019 New York, NY 10019 Total                                                                $274,392.84
BLUE AMBER PRODUCTION INC., Vancouver, BC, Canada                                                                                       2/12/2020            $7,069.83   Services
BLUE AMBER PRODUCTION INC., Vancouver, BC, Canada                                                                                       2/21/2020              $928.40   Services
         BLUE AMBER PRODUCTION INC., Vancouver, BC, Canada Total                                                                                             $7,998.23
Bms Catastrophe Inc, 5718 Airport Freeway Haltom City, TX 76117-6005                                                                    2/19/2020            $8,101.55   Services
         Bms Catastrophe Inc, 5718 Airport Freeway Haltom City, TX 76117-6005 Total                                                                          $8,101.55
Bohrens Moving & Storage Inc, 3 Applegate Dr South Robbinsville, NJ 08691                                                               2/20/2020              $900.00   Services
Bohrens Moving & Storage Inc, 3 Applegate Dr South Robbinsville, NJ 08691                                                               4/22/2020            $5,694.00   Services
Bohrens Moving & Storage Inc, 3 Applegate Dr South Robbinsville, NJ 08691                                                               4/29/2020          $121,923.68   Services
         Bohrens Moving & Storage Inc, 3 Applegate Dr South Robbinsville, NJ 08691 Total                                                                   $128,517.68
Bonus Gain International Limited,                                                                                                       4/10/2020            $4,606.18   Services
Bonus Gain International Limited,                                                                                                       4/10/2020           $12,871.81   Services
         Bonus Gain International Limited, Total                                                                                                            $17,477.99
Bortstein Legal LLC, 1500 Broadway, Ste 2003 New York, NY 10036                                                                         2/21/2020           $33,612.50   Services
Bortstein Legal LLC, 1500 Broadway, Ste 2003 New York, NY 10036                                                                          5/1/2020           $35,109.00   Services
         Bortstein Legal LLC, 1500 Broadway, Ste 2003 New York, NY 10036 Total                                                                              $68,721.50
BORTSTEIN LEGAL, 1500 Broadway, Ste 2003 New York, NY 10036                                                                              5/1/2020          $148,091.00   Services
         BORTSTEIN LEGAL, 1500 Broadway, Ste 2003 New York, NY 10036 Total                                                                                 $148,091.00
Boston Properties Limited, P.O. Box 3557 Boston, MA 02241-3557                                                                           2/4/2020           $15,079.12   Rent/Lease Obligations
Boston Properties Limited, P.O. Box 3557 Boston, MA 02241-3557                                                                           2/4/2020           $58,674.65   Rent/Lease Obligations
Boston Properties Limited, P.O. Box 3557 Boston, MA 02241-3557                                                                           3/4/2020           $15,079.12   Rent/Lease Obligations
Boston Properties Limited, P.O. Box 3557 Boston, MA 02241-3557                                                                           3/4/2020           $59,721.63   Rent/Lease Obligations
         Boston Properties Limited, P.O. Box 3557 Boston, MA 02241-3557 Total                                                                              $148,554.52
Boston Properties Lp, P.O. Box 3557 Boston, MA 02241-3557                                                                                3/4/2020            $6,311.60   Rent/Lease Obligations
Boston Properties Lp, P.O. Box 3557 Boston, MA 02241-3557                                                                               3/20/2020            $5,757.12   Rent/Lease Obligations
         Boston Properties Lp, P.O. Box 3557 Boston, MA 02241-3557 Total                                                                                    $12,068.72
Bow Industrial Corp, 94-5 Karak Dong Songpa Ku, Seoul, 138-160, South Korea                                                             2/13/2020           $10,633.19   Merchandise Vendors
Bow Industrial Corp, 94-5 Karak Dong Songpa Ku, Seoul, 138-160, South Korea                                                             2/28/2020           $18,418.03   Merchandise Vendors
Bow Industrial Corp, 94-5 Karak Dong Songpa Ku, Seoul, 138-160, South Korea                                                              3/6/2020            $6,004.63   Merchandise Vendors
         Bow Industrial Corp, 94-5 Karak Dong Songpa Ku, Seoul, 138-160, South Korea Total                                                                  $35,055.85



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Bow Street Realty LLC, 241 Us Route 1 Scarborough, ME 04074                                                                                              2/7/2020           $46,570.43   Rent/Lease Obligations
Bow Street Realty LLC, 241 Us Route 1 Scarborough, ME 04074                                                                                              3/4/2020           $46,570.43   Rent/Lease Obligations
          Bow Street Realty LLC, 241 Us Route 1 Scarborough, ME 04074 Total                                                                                                 $93,140.86
Bowman Mtp Center LLC, Grove Property Fund Attn: Mr Ed Navarro 36 Welles St, Ste 200 Glastonbury, CT 06033                                               2/5/2020           $18,409.83   Rent/Lease Obligations
Bowman Mtp Center LLC, Grove Property Fund Attn: Mr Ed Navarro 36 Welles St, Ste 200 Glastonbury, CT 06033                                               3/3/2020           $18,444.83   Rent/Lease Obligations
          Bowman Mtp Center LLC, Grove Property Fund Attn: Mr Ed Navarro 36 Welles St, Ste 200 Glastonbury, CT 06033 Total                                                  $36,854.66
Bpp East Union LLC, P.O. Box 27324 San Diego, CA 92198-1324                                                                                              2/4/2020          $100,858.72   Rent/Lease Obligations
Bpp East Union LLC, P.O. Box 27324 San Diego, CA 92198-1324                                                                                              3/4/2020          $102,136.45   Rent/Lease Obligations
          Bpp East Union LLC, P.O. Box 27324 San Diego, CA 92198-1324 Total                                                                                                $202,995.17
BRE Retail Residual Owner 1 LLC, Brixmor Property Group Attn: Office of General Counsel 450 Lexington Ave, 13th Fl New York, NY 10017                    2/4/2020           $23,459.94   Rent/Lease Obligations
BRE Retail Residual Owner 1 LLC, Brixmor Property Group Attn: Office of General Counsel 450 Lexington Ave, 13th Fl New York, NY 10017                    3/4/2020           $23,459.94   Rent/Lease Obligations
          BRE Retail Residual Owner 1 LLC, Brixmor Property Group Attn: Office of General Counsel 450 Lexington Ave, 13th Fl New York, NY 10017 Total                       $46,919.88
Breton Village LLC, 50 Louis St Nw, Ste 600 Grand Rapids, MI 49503                                                                                       2/4/2020            $9,921.81   Services
Breton Village LLC, 50 Louis St Nw, Ste 600 Grand Rapids, MI 49503                                                                                       3/4/2020            $9,921.81   Services
          Breton Village LLC, 50 Louis St Nw, Ste 600 Grand Rapids, MI 49503 Total                                                                                          $19,843.62
Brett Wills Photography, 2425 Haring St 5G Brooklyn, NY 11235                                                                                            2/6/2020            $2,300.00   Services
Brett Wills Photography, 2425 Haring St 5G Brooklyn, NY 11235                                                                                           2/11/2020            $3,000.00   Services
Brett Wills Photography, 2425 Haring St 5G Brooklyn, NY 11235                                                                                           3/17/2020            $9,750.00   Services
Brett Wills Photography, 2425 Haring St 5G Brooklyn, NY 11235                                                                                           3/24/2020            $2,600.00   Services
Brett Wills Photography, 2425 Haring St 5G Brooklyn, NY 11235                                                                                           4/16/2020            $3,550.00   Services
          Brett Wills Photography, 2425 Haring St 5G Brooklyn, NY 11235 Total                                                                                               $21,200.00
Bright River Usa LLC, P.O. Box 123567 Dallas, TX 75312-3567                                                                                             2/20/2020            $5,623.65   Services
Bright River Usa LLC, P.O. Box 123567 Dallas, TX 75312-3567                                                                                             4/23/2020           $21,791.66   Services
          Bright River Usa LLC, P.O. Box 123567 Dallas, TX 75312-3567 Total                                                                                                 $27,415.31
BRIGHTIME INTERNATIONAL LIMITED, 161-167 Des Voeux Rd Central, Hong Kong, China                                                                          2/3/2020           $77,516.20   Merchandise Vendors
BRIGHTIME INTERNATIONAL LIMITED, 161-167 Des Voeux Rd Central, Hong Kong, China                                                                         2/11/2020           $22,577.30   Merchandise Vendors
BRIGHTIME INTERNATIONAL LIMITED, 161-167 Des Voeux Rd Central, Hong Kong, China                                                                         2/21/2020           $63,405.86   Merchandise Vendors
          BRIGHTIME INTERNATIONAL LIMITED, 161-167 Des Voeux Rd Central, Hong Kong, China Total                                                                            $163,499.36
BRIGHTTIME INTERNATIONAL LIMITED, 161-167 Des Voeux Rd Central, Hong Kong, China                                                                        2/11/2020           $48,083.54   Merchandise Vendors
          BRIGHTTIME INTERNATIONAL LIMITED, 161-167 Des Voeux Rd Central, Hong Kong, China Total                                                                            $48,083.54
Brilliant Gifts, 44 Montgomery St First Fl San Francisco, CA 94104                                                                                       2/4/2020           $24,465.71   Services
Brilliant Gifts, 44 Montgomery St First Fl San Francisco, CA 94104                                                                                       2/4/2020           $37,949.85   Services
Brilliant Gifts, 44 Montgomery St First Fl San Francisco, CA 94104                                                                                      2/19/2020              $440.87   Services
          Brilliant Gifts, 44 Montgomery St First Fl San Francisco, CA 94104 Total                                                                                          $62,856.43
Bryan Derballa, 73 Cornelia St, Apt 2 Brooklyn, NY 11221                                                                                                2/13/2020            $6,327.73   Services
Bryan Derballa, 73 Cornelia St, Apt 2 Brooklyn, NY 11221                                                                                                2/26/2020            $7,365.18   Services
Bryan Derballa, 73 Cornelia St, Apt 2 Brooklyn, NY 11221                                                                                                3/24/2020            $1,534.50   Services
          Bryan Derballa, 73 Cornelia St, Apt 2 Brooklyn, NY 11221 Total                                                                                                    $15,227.41
Bryant Artists Inc, 156-158 5R Ludlow St New York, NY 10002                                                                                             4/29/2020           $15,903.56   Services
          Bryant Artists Inc, 156-158 5R Ludlow St New York, NY 10002 Total                                                                                                 $15,903.56
Buncombe County Tax Collector, P.O. Box 3140 Asheville, NC 28802                                                                                         2/4/2020           $34,655.42   Tax Payment
Buncombe County Tax Collector, P.O. Box 3140 Asheville, NC 28802                                                                                         2/6/2020           $26,469.34   Tax Payment
          Buncombe County Tax Collector, P.O. Box 3140 Asheville, NC 28802 Total                                                                                            $61,124.76
Bushwood Tailors, 17 Ricketson St New Bedford, MA 02744                                                                                                 2/27/2020           $12,215.96   Services
Bushwood Tailors, 17 Ricketson St New Bedford, MA 02744                                                                                                  3/5/2020           $22,927.74   Services
          Bushwood Tailors, 17 Ricketson St New Bedford, MA 02744 Total                                                                                                     $35,143.70
Bv Centercal LLC, P.O. Box 4900, Unit 04 Portland, OR 97208                                                                                              2/5/2020           $14,119.29   Rent/Lease Obligations
Bv Centercal LLC, P.O. Box 4900, Unit 04 Portland, OR 97208                                                                                              3/5/2020           $14,119.29   Rent/Lease Obligations
          Bv Centercal LLC, P.O. Box 4900, Unit 04 Portland, OR 97208 Total                                                                                                 $28,238.58
C & J Clark America Inc, P.O. Box 415388 Boston, MA 02241-5388                                                                                          2/26/2020           $10,365.00   Merchandise Vendors
          C & J Clark America Inc, P.O. Box 415388 Boston, MA 02241-5388 Total                                                                                              $10,365.00
CaaStle Inc, 5 Penn Plz 4th Fl New York, NY 10001                                                                                                        2/5/2020            $3,946.07   Rent/Lease Obligations
CaaStle Inc, 5 Penn Plz 4th Fl New York, NY 10001                                                                                                        2/5/2020           $47,520.00   Rent/Lease Obligations
CaaStle Inc, 5 Penn Plz 4th Fl New York, NY 10001                                                                                                        3/5/2020           $47,520.00   Rent/Lease Obligations
          CaaStle Inc, 5 Penn Plz 4th Fl New York, NY 10001 Total                                                                                                           $98,986.07
Cahill Construction Inc, 6331 Fiesta Dr Columbus, OH 43235                                                                                              2/26/2020          $102,519.90   Services
          Cahill Construction Inc, 6331 Fiesta Dr Columbus, OH 43235 Total                                                                                                 $102,519.90



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Califame of Los Angeles Inc, 20934 S Santa Fe Ave Carson, CA 90810-1131                                                                 3/10/2020          $115,325.96   Merchandise Vendors
         Califame of Los Angeles Inc, 20934 S Santa Fe Ave Carson, CA 90810-1131 Total                                                                     $115,325.96
California Travel And Tourism, P.O. Box 2007, Sacramento, CA 95812-2007                                                                 4/30/2020           $11,591.44   Services
         California Travel And Tourism, P.O. Box 2007, Sacramento, CA 95812-2007 Total                                                                      $11,591.44
Capgemini America Inc, 012663 Collections Center Dr Chicago, IL 60693                                                                   2/12/2020          $155,318.75   Services
         Capgemini America Inc, 012663 Collections Center Dr Chicago, IL 60693 Total                                                                       $155,318.75
Captiv 8 Inc, 102 West 38th St 5th Fl New York, NY 10018                                                                                2/11/2020           $11,087.86   Services
         Captiv 8 Inc, 102 West 38th St 5th Fl New York, NY 10018 Total                                                                                     $11,087.86
Cardlytics Inc, 75 Remittance Dr Dept 3247 Chicago, IL 60675-3247                                                                       4/30/2020          $110,193.16   Services
         Cardlytics Inc, 75 Remittance Dr Dept 3247 Chicago, IL 60675-3247 Total                                                                           $110,193.16
CAR-FRESHNER Corporation, 21205 Little Tree Dr Watertown, NY 13601                                                                      4/30/2020           $12,623.28   Services
         CAR-FRESHNER Corporation, 21205 Little Tree Dr Watertown, NY 13601 Total                                                                           $12,623.28
Carlson Jpm Store Fixtures, P.O. Box 1450 Minneapolis, MN 55485-7334                                                                    2/18/2020               $51.07   Services
Carlson Jpm Store Fixtures, P.O. Box 1450 Minneapolis, MN 55485-7334                                                                    4/14/2020          $118,827.52   Services
         Carlson Jpm Store Fixtures, P.O. Box 1450 Minneapolis, MN 55485-7334 Total                                                                        $118,878.59
Carlson Wagonlit Travel Inc, P.O. Box 860044 Minneapolis, MN 55486-0044                                                                 2/19/2020            $9,026.16   Services
         Carlson Wagonlit Travel Inc, P.O. Box 860044 Minneapolis, MN 55486-0044 Total                                                                       $9,026.16
Carolina Container Company, Attn: General Counsel 909 Prospect St High Point, NC 27260                                                  2/19/2020           $38,793.60   Services
Carolina Container Company, Attn: General Counsel 909 Prospect St High Point, NC 27260                                                  2/27/2020           $17,126.60   Services
Carolina Container Company, Attn: General Counsel 909 Prospect St High Point, NC 27260                                                   3/5/2020           $10,722.36   Services
         Carolina Container Company, Attn: General Counsel 909 Prospect St High Point, NC 27260 Total                                                       $66,642.56
Carolina Logistics Services, 635 Vine St Winston-Salem, NC 27101                                                                         2/4/2020          $201,626.42   Services
Carolina Logistics Services, 635 Vine St Winston-Salem, NC 27101                                                                        2/11/2020          $765,449.61   Services
Carolina Logistics Services, 635 Vine St Winston-Salem, NC 27101                                                                        4/13/2020          $189,075.76   Services
Carolina Logistics Services, 635 Vine St Winston-Salem, NC 27101                                                                        4/20/2020          $389,190.60   Services
Carolina Logistics Services, 635 Vine St Winston-Salem, NC 27101                                                                        4/27/2020          $646,319.96   Services
         Carolina Logistics Services, 635 Vine St Winston-Salem, NC 27101 Total                                                                          $2,191,662.35
Carolina Premium Outlets LLC, P.O. Box 822880 Philadelphia, PA 19182                                                                     2/4/2020           $23,456.65   Rent/Lease Obligations
Carolina Premium Outlets LLC, P.O. Box 822880 Philadelphia, PA 19182                                                                     3/4/2020           $23,456.65   Rent/Lease Obligations
         Carolina Premium Outlets LLC, P.O. Box 822880 Philadelphia, PA 19182 Total                                                                         $46,913.30
CARRINGTON HULL ASSOCIATES LTD,                                                                                                          2/7/2020           $13,920.00   Services
         CARRINGTON HULL ASSOCIATES LTD, Total                                                                                                              $13,920.00
Carter Machinery Co Inc, P.O. Box 751053 Charlotte, NC 28275                                                                            2/18/2020            $8,098.72   Services
         Carter Machinery Co Inc, P.O. Box 751053 Charlotte, NC 28275 Total                                                                                  $8,098.72
Cass Information System Inc, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                    4/14/2020          $126,647.65   Services
         Cass Information System Inc, 13001 Hollenberg Dr Bridgeton, MO 63044 Total                                                                        $126,647.65
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                        2/7/2020        $4,020,956.62   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                       2/14/2020        $3,163,676.73   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                       2/21/2020        $3,171,401.20   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                        3/6/2020        $3,920,385.26   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                       3/20/2020        $3,344,892.83   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                       3/20/2020        $4,413,033.42   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                       3/26/2020        $3,040,026.76   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                        4/1/2020        $2,756,940.81   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                        4/3/2020        $2,207,682.40   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                        4/6/2020          $392,423.49   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                       4/10/2020        $2,327,658.30   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                       4/15/2020        $1,973,902.25   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                       4/22/2020        $2,354,569.98   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                       4/29/2020        $2,277,639.22   Services
CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044                                                                        5/1/2020        $2,219,577.99   Services
         CASS INFORMATION SYSTEMS, 13001 Hollenberg Dr Bridgeton, MO 63044 Total                                                                        $41,584,767.26
Causeway LLC, 370 Seventh Ave, Ste 618 New York, NY 10001                                                                                2/4/2020           $55,187.70   Rent/Lease Obligations
Causeway LLC, 370 Seventh Ave, Ste 618 New York, NY 10001                                                                                3/5/2020           $55,187.70   Rent/Lease Obligations
         Causeway LLC, 370 Seventh Ave, Ste 618 New York, NY 10001 Total                                                                                   $110,375.40
Cbl & Associates LP, P.O. Box 531768 Atlanta, GA 30353-1768                                                                              2/5/2020           $35,521.22   Services
Cbl & Associates LP, P.O. Box 531768 Atlanta, GA 30353-1768                                                                              3/4/2020           $35,521.22   Services



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         Cbl & Associates LP, P.O. Box 531768 Atlanta, GA 30353-1768 Total                                                                                      $71,042.44
Cbl-Shops At Friendly LLC, P.O. Box 5598 Carol Stream, IL 60197-5598                                                                        2/28/2020           $11,504.81   Rent/Lease Obligations
Cbl-Shops At Friendly LLC, P.O. Box 5598 Carol Stream, IL 60197-5598                                                                        3/26/2020           $11,295.74   Rent/Lease Obligations
         Cbl-Shops At Friendly LLC, P.O. Box 5598 Carol Stream, IL 60197-5598 Total                                                                             $22,800.55
Cbts LLC, 1507 Solutions Center Chicago, IL 60677                                                                                            3/5/2020           $30,762.72   Services
         Cbts LLC, 1507 Solutions Center Chicago, IL 60677 Total                                                                                                $30,762.72
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                              2/3/2020          $127,963.28   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                             2/10/2020           $47,926.08   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                             2/18/2020           $35,950.71   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                             2/25/2020           $36,616.00   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                              3/2/2020           $34,325.22   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                              3/9/2020           $34,293.27   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                             3/16/2020           $28,473.47   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                             3/23/2020           $30,993.84   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                             3/27/2020            $4,463.03   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                              4/1/2020           $32,184.85   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                              4/6/2020           $26,666.12   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                             4/13/2020           $32,784.70   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                             4/20/2020           $28,045.99   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                             4/27/2020           $75,223.53   Services
CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034                                                                              5/1/2020           $28,359.80   Services
         CDM Software, 2591 Dallas Parkway, Suite 300Frisco, Texas 75034 Total                                                                                 $604,269.89
CENTEX FABRICS EXPORT UNIT, D 217 Focal Point Phase 7, Ludhiana, 19 141010 India                                                             3/2/2020           $46,674.72   Merchandise Vendors
CENTEX FABRICS EXPORT UNIT, D 217 Focal Point Phase 7, Ludhiana, 19 141010 India                                                            4/27/2020          $111,584.45   Merchandise Vendors
         CENTEX FABRICS EXPORT UNIT, D 217 Focal Point Phase 7, Ludhiana, 19 141010 India Total                                                                $158,259.17
CENTEX FABRICS EXPORT UNIT, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                                                 3/13/2020           $25,483.35   Merchandise Vendors
CENTEX FABRICS EXPORT UNIT, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                                                 3/17/2020          $170,737.92   Merchandise Vendors
         CENTEX FABRICS EXPORT UNIT, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                                                     $196,221.27
Central Asian Craftspring, 123 7th Ave, Ste 128 Brooklyn, NY 11215                                                                          2/11/2020           $27,320.00   Merchandise Vendors
         Central Asian Craftspring, 123 7th Ave, Ste 128 Brooklyn, NY 11215 Total                                                                               $27,320.00
Century City Mall LLC, 7950 Collections Center Dr Chicago, IL 60693                                                                          2/5/2020          $151,622.36   Rent/Lease Obligations
Century City Mall LLC, 7950 Collections Center Dr Chicago, IL 60693                                                                          3/4/2020          $151,622.36   Rent/Lease Obligations
         Century City Mall LLC, 7950 Collections Center Dr Chicago, IL 60693 Total                                                                             $303,244.72
Ceridian Hcm Inc, P.O. Box 772830 Chicago, IL 60677-2830                                                                                    2/21/2020           $41,501.17   Services
Ceridian Hcm Inc, P.O. Box 772830 Chicago, IL 60677-2830                                                                                    4/30/2020          $189,924.05   Services
         Ceridian Hcm Inc, P.O. Box 772830 Chicago, IL 60677-2830 Total                                                                                        $231,425.22
Cesta Collective, 664 Lafayette Ave, Apt 2 Brooklyn, NY 11216                                                                                5/1/2020           $27,300.00   Services
         Cesta Collective, 664 Lafayette Ave, Apt 2 Brooklyn, NY 11216 Total                                                                                    $27,300.00
CH Realty VII/R Nova Promenade, LLC, Asset Manager - Anna Cooley 3819 Maple Ave Dallas, TX 75219                                             2/5/2020           $22,827.50   Services
CH Realty VII/R Nova Promenade, LLC, Asset Manager - Anna Cooley 3819 Maple Ave Dallas, TX 75219                                             3/6/2020           $22,865.85   Services
CH Realty VII/R Nova Promenade, LLC, Asset Manager - Anna Cooley 3819 Maple Ave Dallas, TX 75219                                            3/12/2020                $7.24   Services
         CH Realty VII/R Nova Promenade, LLC, Asset Manager - Anna Cooley 3819 Maple Ave Dallas, TX 75219 Total                                                 $45,700.59
Chainalytics LLC, 2500 Cumberland Parkway, Ste 550 Atlanta, GA 30339                                                                        4/24/2020           $18,400.00   Services
         Chainalytics LLC, 2500 Cumberland Parkway, Ste 550 Atlanta, GA 30339 Total                                                                             $18,400.00
Charlotte Outlets LLC, P.O. Box 826509 Philadelphia, PA 19182-6509                                                                           2/4/2020           $21,212.53   Rent/Lease Obligations
Charlotte Outlets LLC, P.O. Box 826509 Philadelphia, PA 19182-6509                                                                           3/4/2020           $21,212.53   Rent/Lease Obligations
         Charlotte Outlets LLC, P.O. Box 826509 Philadelphia, PA 19182-6509 Total                                                                               $42,425.06
Chateau Archives, P.O. Box 32 Hampton Falls, NH 03844                                                                                       2/21/2020            $7,985.00   Merchandise Vendors
         Chateau Archives, P.O. Box 32 Hampton Falls, NH 03844 Total                                                                                             $7,985.00
Chelsea Pocono Finance LLC, P.O. Box 827653 Philadelphia, PA 19182-7653                                                                      2/4/2020           $20,823.65   Rent/Lease Obligations
Chelsea Pocono Finance LLC, P.O. Box 827653 Philadelphia, PA 19182-7653                                                                      3/4/2020           $20,823.65   Rent/Lease Obligations
Chelsea Pocono Finance LLC, P.O. Box 827653 Philadelphia, PA 19182-7653                                                                     3/20/2020           $15,862.51   Rent/Lease Obligations
         Chelsea Pocono Finance LLC, P.O. Box 827653 Philadelphia, PA 19182-7653 Total                                                                          $57,509.81
Chicago Premium Outlets Expansion, LLC, Simon Property Group Attn: Premium Outlets 225 W Washington St Indianapolis, IN 46204                2/4/2020           $71,559.84   Rent/Lease Obligations
Chicago Premium Outlets Expansion, LLC, Simon Property Group Attn: Premium Outlets 225 W Washington St Indianapolis, IN 46204               2/19/2020           $21,976.16   Rent/Lease Obligations
Chicago Premium Outlets Expansion, LLC, Simon Property Group Attn: Premium Outlets 225 W Washington St Indianapolis, IN 46204               2/26/2020               $29.60   Rent/Lease Obligations
Chicago Premium Outlets Expansion, LLC, Simon Property Group Attn: Premium Outlets 225 W Washington St Indianapolis, IN 46204                3/4/2020           $71,563.54   Rent/Lease Obligations



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         Chicago Premium Outlets Expansion, LLC, Simon Property Group Attn: Premium Outlets 225 W Washington St Indianapolis, IN 46204 Total                      $165,129.14
Children Chic Inc, 12 East 88th St, Apt 5B New York, NY 10128                                                                                   2/3/2020            $3,188.29   Merchandise Vendors
Children Chic Inc, 12 East 88th St, Apt 5B New York, NY 10128                                                                                  3/11/2020           $46,882.63   Merchandise Vendors
Children Chic Inc, 12 East 88th St, Apt 5B New York, NY 10128                                                                                  4/20/2020            $2,591.00   Merchandise Vendors
         Children Chic Inc, 12 East 88th St, Apt 5B New York, NY 10128 Total                                                                                       $52,661.92
Chin Ho Knitting Factory Limited, 404 Kwun Tong Rd Kwun Tong, Guangdong, KLN Hong Kong                                                         4/27/2020          $231,692.07   Merchandise Vendors
         Chin Ho Knitting Factory Limited, 404 Kwun Tong Rd Kwun Tong, Guangdong, KLN Hong Kong Total                                                             $231,692.07
CHIN HO KNITTING FTY LTD, 404 Kwun Tong Rd Kwun Tong, Guangdong, KLN Hong Kong                                                                 2/18/2020           $83,640.05   Merchandise Vendors
         CHIN HO KNITTING FTY LTD, 404 Kwun Tong Rd Kwun Tong, Guangdong, KLN Hong Kong Total                                                                      $83,640.05
CHINA TING GARMENT MFG (GROUP) LTD, 55 King Yip St, Kwun Tong, KLN Hong Kong                                                                    3/2/2020          $607,636.52   Merchandise Vendors
CHINA TING GARMENT MFG (GROUP) LTD, 55 King Yip St, Kwun Tong, KLN Hong Kong                                                                    3/3/2020           $23,185.26   Merchandise Vendors
         CHINA TING GARMENT MFG (GROUP) LTD, 55 King Yip St, Kwun Tong, KLN Hong Kong Total                                                                       $630,821.78
China Ting Garment Mfg (Group), 55 King Yip St Kwun Tong, KLN Hong Kong                                                                        2/25/2020           $21,171.51   Merchandise Vendors
China Ting Garment Mfg (Group), 55 King Yip St Kwun Tong, KLN Hong Kong                                                                        3/10/2020            $7,928.05   Merchandise Vendors
China Ting Garment Mfg (Group), 55 King Yip St Kwun Tong, KLN Hong Kong                                                                        3/10/2020           $11,817.72   Merchandise Vendors
China Ting Garment Mfg (Group), 55 King Yip St Kwun Tong, KLN Hong Kong                                                                        3/16/2020            $9,079.72   Merchandise Vendors
China Ting Garment Mfg (Group), 55 King Yip St Kwun Tong, KLN Hong Kong                                                                        3/16/2020           $12,103.58   Merchandise Vendors
China Ting Garment Mfg (Group), 55 King Yip St Kwun Tong, KLN Hong Kong                                                                         4/3/2020           $35,199.86   Merchandise Vendors
         China Ting Garment Mfg (Group), 55 King Yip St Kwun Tong, KLN Hong Kong Total                                                                             $97,300.44
CHINA TING GARMENT MFG (GROUP), 55 King Yip St, Kwun Tong, KLN Hong Kong                                                                        3/9/2020           $91,332.39   Merchandise Vendors
         CHINA TING GARMENT MFG (GROUP), 55 King Yip St, Kwun Tong, KLN Hong Kong Total                                                                            $91,332.39
CHINA TING GARMENT MFG GROUP LTD, 55 King Yip St, Kwun Tong, KLN Hong Kong                                                                      2/3/2020           $13,167.35   Merchandise Vendors
CHINA TING GARMENT MFG GROUP LTD, 55 King Yip St, Kwun Tong, KLN Hong Kong                                                                      3/2/2020        $1,231,078.93   Merchandise Vendors
CHINA TING GARMENT MFG GROUP LTD, 55 King Yip St, Kwun Tong, KLN Hong Kong                                                                      3/3/2020           $66,794.80   Merchandise Vendors
CHINA TING GARMENT MFG GROUP LTD, 55 King Yip St, Kwun Tong, KLN Hong Kong                                                                      3/9/2020          $133,308.86   Merchandise Vendors
         CHINA TING GARMENT MFG GROUP LTD, 55 King Yip St, Kwun Tong, KLN Hong Kong Total                                                                       $1,444,349.94
CHINAMINE TRADING LTD, 2801- 2811 No 1 Hung To Rd, Kwun Tong, KLN, Hong Kong                                                                   2/10/2020          $225,552.48   Merchandise Vendors
CHINAMINE TRADING LTD, 2801- 2811 No 1 Hung To Rd, Kwun Tong, KLN, Hong Kong                                                                   2/14/2020          $159,361.84   Merchandise Vendors
CHINAMINE TRADING LTD, 2801- 2811 No 1 Hung To Rd, Kwun Tong, KLN, Hong Kong                                                                   2/20/2020          $181,801.29   Merchandise Vendors
CHINAMINE TRADING LTD, 2801- 2811 No 1 Hung To Rd, Kwun Tong, KLN, Hong Kong                                                                    3/9/2020           $91,907.51   Merchandise Vendors
         CHINAMINE TRADING LTD, 2801- 2811 No 1 Hung To Rd, Kwun Tong, KLN, Hong Kong Total                                                                       $658,623.12
Chino Dunhill Investors LLC, P.O. Box 51447 Amarillo, TX 79159                                                                                  2/7/2020           $19,466.58   Rent/Lease Obligations
Chino Dunhill Investors LLC, P.O. Box 51447 Amarillo, TX 79159                                                                                  3/4/2020           $19,466.58   Rent/Lease Obligations
         Chino Dunhill Investors LLC, P.O. Box 51447 Amarillo, TX 79159 Total                                                                                      $38,933.16
CHOATE, HALL & STEWART LLP, Attn: Kevin Simard Attn: G. Mark Edgarton Two International Pl Boston, MA 02110                                    2/14/2020          $106,775.75   Services
CHOATE, HALL & STEWART LLP, Attn: Kevin Simard Attn: G. Mark Edgarton Two International Pl Boston, MA 02110                                    4/17/2020           $16,692.34   Services
CHOATE, HALL & STEWART LLP, Attn: Kevin Simard Attn: G. Mark Edgarton Two International Pl Boston, MA 02110                                     5/1/2020        $1,000,000.00   Services
         CHOATE, HALL & STEWART LLP, Attn: Kevin Simard Attn: G. Mark Edgarton Two International Pl Boston, MA 02110 Total                                      $1,123,468.09
Cintas Corp 223, P.O. Box 729 Fletcher, NC 28732                                                                                               3/11/2020           $35,807.45   Services
         Cintas Corp 223, P.O. Box 729 Fletcher, NC 28732 Total                                                                                                    $35,807.45
Circa of America LLC, 1040 Crown Pointe Pkwy, Ste 250 Atlanta, GA 30338                                                                        2/10/2020           $43,286.75   Merchandise Vendors
Circa of America LLC, 1040 Crown Pointe Pkwy, Ste 250 Atlanta, GA 30338                                                                        2/24/2020          $260,600.86   Merchandise Vendors
Circa of America LLC, 1040 Crown Pointe Pkwy, Ste 250 Atlanta, GA 30338                                                                        2/28/2020           $14,367.26   Merchandise Vendors
         Circa of America LLC, 1040 Crown Pointe Pkwy, Ste 250 Atlanta, GA 30338 Total                                                                            $318,254.87
Clarion Retail Reit I LLC, 2705 Bee Cave Rd, Ste 230 Austin, TX 78746                                                                          2/10/2020           $29,162.00   Services
Clarion Retail Reit I LLC, 2705 Bee Cave Rd, Ste 230 Austin, TX 78746                                                                           3/9/2020           $29,162.00   Services
         Clarion Retail Reit I LLC, 2705 Bee Cave Rd, Ste 230 Austin, TX 78746 Total                                                                               $58,324.00
Clarksburg Premium Outlets, P.O. Box 772986 Chicago, IL 60677-0286                                                                              2/6/2020           $31,509.49   Rent/Lease Obligations
Clarksburg Premium Outlets, P.O. Box 772986 Chicago, IL 60677-0286                                                                              3/6/2020           $31,509.49   Rent/Lease Obligations
         Clarksburg Premium Outlets, P.O. Box 772986 Chicago, IL 60677-0286 Total                                                                                  $63,018.98
CLIENT ANALYSIS SRVC CHRG, Wells Fargo Bank Na, 161 N Concord Exchange StSt Paul, MN 55075                                                     2/11/2020                $9.85   Services
CLIENT ANALYSIS SRVC CHRG, Wells Fargo Bank Na, 161 N Concord Exchange StSt Paul, MN 55075                                                     2/11/2020               $22.02   Services
CLIENT ANALYSIS SRVC CHRG, Wells Fargo Bank Na, 161 N Concord Exchange StSt Paul, MN 55075                                                     2/11/2020            $3,324.68   Services
CLIENT ANALYSIS SRVC CHRG, Wells Fargo Bank Na, 161 N Concord Exchange StSt Paul, MN 55075                                                     3/11/2020                $3.88   Services
CLIENT ANALYSIS SRVC CHRG, Wells Fargo Bank Na, 161 N Concord Exchange StSt Paul, MN 55075                                                     3/11/2020                $9.71   Services
CLIENT ANALYSIS SRVC CHRG, Wells Fargo Bank Na, 161 N Concord Exchange StSt Paul, MN 55075                                                     3/11/2020            $3,419.14   Services
CLIENT ANALYSIS SRVC CHRG, Wells Fargo Bank Na, 161 N Concord Exchange StSt Paul, MN 55075                                                     4/13/2020                $9.84   Services



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CLIENT ANALYSIS SRVC CHRG, Wells Fargo Bank Na, 161 N Concord Exchange StSt Paul, MN 55075                                         4/13/2020            $2,307.09   Services
         CLIENT ANALYSIS SRVC CHRG, Wells Fargo Bank Na, 161 N Concord Exchange StSt Paul, MN 55075 Total                                               $9,106.21
Clpf Cc Pavilion LP, Gpo P.O. Box 30315 New York, NY 10087-0315                                                                     2/4/2020           $54,980.50   Rent/Lease Obligations
Clpf Cc Pavilion LP, Gpo P.O. Box 30315 New York, NY 10087-0315                                                                     3/4/2020           $54,980.50   Rent/Lease Obligations
         Clpf Cc Pavilion LP, Gpo P.O. Box 30315 New York, NY 10087-0315 Total                                                                        $109,961.00
Cocobelle LLC, 1150 Summer St, 1st Fl Stamford, CT 06905                                                                           2/13/2020            $2,132.93   Merchandise Vendors
Cocobelle LLC, 1150 Summer St, 1st Fl Stamford, CT 06905                                                                           3/12/2020            $2,384.72   Merchandise Vendors
Cocobelle LLC, 1150 Summer St, 1st Fl Stamford, CT 06905                                                                           4/20/2020            $3,269.13   Merchandise Vendors
         Cocobelle LLC, 1150 Summer St, 1st Fl Stamford, CT 06905 Total                                                                                 $7,786.78
Coconut Point Town Center LLC, P.O. Box 643902 Pittsburgh, PA 15264-3902                                                            2/4/2020           $11,530.08   Rent/Lease Obligations
Coconut Point Town Center LLC, P.O. Box 643902 Pittsburgh, PA 15264-3902                                                            3/5/2020           $11,530.08   Rent/Lease Obligations
         Coconut Point Town Center LLC, P.O. Box 643902 Pittsburgh, PA 15264-3902 Total                                                                $23,060.16
Colony Electric Co Inc, 178 Industrial Loop Staten Island, NY 10309                                                                 2/6/2020           $11,696.01   Services
Colony Electric Co Inc, 178 Industrial Loop Staten Island, NY 10309                                                                2/12/2020              $712.44   Services
         Colony Electric Co Inc, 178 Industrial Loop Staten Island, NY 10309 Total                                                                     $12,408.45
Colorado Mills Mall Limited, P.O. Box 403087 Atlanta, GA 30384-3087                                                                 2/5/2020           $17,636.12   Rent/Lease Obligations
Colorado Mills Mall Limited, P.O. Box 403087 Atlanta, GA 30384-3087                                                                 3/4/2020           $17,636.12   Rent/Lease Obligations
         Colorado Mills Mall Limited, P.O. Box 403087 Atlanta, GA 30384-3087 Total                                                                     $35,272.24
Color-X Inc, P.O. Box 1964 New York, NY 10156                                                                                      2/10/2020            $5,546.36   Services
Color-X Inc, P.O. Box 1964 New York, NY 10156                                                                                      2/24/2020        $1,346,440.39   Services
Color-X Inc, P.O. Box 1964 New York, NY 10156                                                                                      3/10/2020           $14,918.17   Services
Color-X Inc, P.O. Box 1964 New York, NY 10156                                                                                      4/15/2020          $237,405.93   Services
Color-X Inc, P.O. Box 1964 New York, NY 10156                                                                                      4/24/2020          $343,293.49   Services
         Color-X Inc, P.O. Box 1964 New York, NY 10156 Total                                                                                        $1,947,604.34
Columbia Omnicorp, 48 W 37th St New York, NY 10018                                                                                 2/25/2020            $8,861.91   Merchandise Vendors
         Columbia Omnicorp, 48 W 37th St New York, NY 10018 Total                                                                                       $8,861.91
Columbus Consulting, P.O. Box 78000 Dept 781713 Detroit, MI 48278                                                                  2/13/2020           $61,012.46   Services
Columbus Consulting, P.O. Box 78000 Dept 781713 Detroit, MI 48278                                                                   4/9/2020           $25,306.85   Services
         Columbus Consulting, P.O. Box 78000 Dept 781713 Detroit, MI 48278 Total                                                                       $86,319.31
Columbus Outlets LLC, P.O. Box 419369 Boston, MA 02241-9369                                                                         2/4/2020           $24,995.53   Rent/Lease Obligations
Columbus Outlets LLC, P.O. Box 419369 Boston, MA 02241-9369                                                                         3/4/2020           $24,995.53   Rent/Lease Obligations
         Columbus Outlets LLC, P.O. Box 419369 Boston, MA 02241-9369 Total                                                                             $49,991.06
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/3/2020           $62,047.62   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/4/2020              $260.78   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/4/2020           $10,927.25   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/4/2020           $28,122.59   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/4/2020           $37,958.28   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/4/2020           $52,752.48   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/5/2020               $40.37   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/5/2020              $932.99   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/5/2020           $77,128.27   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/6/2020           $44,341.52   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                  2/7/2020           $14,619.27   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/10/2020            $1,761.17   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/11/2020              $218.70   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/11/2020            $5,235.95   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/12/2020               $12.06   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/12/2020            $1,722.98   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/12/2020           $17,233.21   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/13/2020              $216.17   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/19/2020               $37.24   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/19/2020            $3,245.83   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/20/2020            $4,224.07   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/21/2020              $262.40   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/25/2020              $528.85   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/26/2020              $193.05   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                 2/26/2020           $31,364.94   Services



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Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   2/28/2020           $24,930.26   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    3/2/2020           $37,423.41   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    3/3/2020              $230.41   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    3/3/2020            $4,961.89   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    3/3/2020           $26,394.35   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    3/4/2020              $141.45   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/10/2020              $812.05   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/10/2020            $2,098.06   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/11/2020            $2,018.29   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/11/2020            $5,977.89   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/12/2020           $27,368.45   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/13/2020           $16,277.33   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/16/2020           $47,447.53   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/17/2020              $926.70   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/17/2020            $3,564.13   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/17/2020          $109,104.27   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/17/2020          $177,450.00   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/18/2020              $202.39   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/18/2020            $2,599.03   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/18/2020           $69,440.24   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/20/2020               $83.27   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/23/2020            $2,066.41   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/24/2020            $3,711.34   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/25/2020            $4,183.75   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/27/2020              $926.11   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   3/30/2020              $390.55   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    4/1/2020              $191.03   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    4/1/2020            $8,026.41   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    4/9/2020               $98.23   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    4/9/2020              $688.00   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    4/9/2020           $10,632.84   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   4/10/2020              $449.39   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   4/15/2020               $84.25   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   4/15/2020           $11,105.59   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   4/21/2020              $112.35   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                   4/30/2020            $3,798.36   Services
Comenity Bank, P.O. Box 182273, Columbus, OH 43218                                                                                    5/1/2020            $6,252.49   Services
        Comenity Bank, P.O. Box 182273, Columbus, OH 43218 Total                                                                                      $1,007,556.54
Commercial Fire Inc, 2465 St Johns Bluff Rd S Jacksonville, FL 32246                                                                 2/19/2020           $12,936.02   Services
Commercial Fire Inc, 2465 St Johns Bluff Rd S Jacksonville, FL 32246                                                                 4/29/2020          $391,788.32   Services
        Commercial Fire Inc, 2465 St Johns Bluff Rd S Jacksonville, FL 32246 Total                                                                      $404,724.34
Commonwealth Hosiery Mills Inc, 4964 Island Ford Rd P.O. Box 939 Randleman, NC 27317                                                 2/20/2020            $7,238.27   Merchandise Vendors
        Commonwealth Hosiery Mills Inc, 4964 Island Ford Rd P.O. Box 939 Randleman, NC 27317 Total                                                        $7,238.27
Computer Science Corp, 22475 Network Pl Chicago, IL 60673-1224                                                                       2/20/2020           $11,984.00   Services
        Computer Science Corp, 22475 Network Pl Chicago, IL 60673-1224 Total                                                                             $11,984.00
Concrete Media Ltd, 156-176 St John St London, EC1V4DG United Kingdom                                                                3/24/2020          $170,949.88   Services
        Concrete Media Ltd, 156-176 St John St London, EC1V4DG United Kingdom Total                                                                     $170,949.88
Concur Technologies Inc, 62157 Collections Center Dr Chicago, IL 60693                                                               2/12/2020           $23,622.30   Services
        Concur Technologies Inc, 62157 Collections Center Dr Chicago, IL 60693 Total                                                                     $23,622.30
Conde Nast, P.O. Box 5350 New York, NY 10087-5350                                                                                     3/9/2020          $150,000.25   Services
        Conde Nast, P.O. Box 5350 New York, NY 10087-5350 Total                                                                                         $150,000.25
Conrad New York Downtown, 102 N End Ave New York, NY 10282                                                                            2/4/2020          $132,912.92   Rent/Lease Obligations
        Conrad New York Downtown, 102 N End Ave New York, NY 10282 Total                                                                                $132,912.92
Construction One Inc, 101 East Town St, Ste 401 Columbus, OH 43215                                                                    3/3/2020            $5,801.08   Services
Construction One Inc, 101 East Town St, Ste 401 Columbus, OH 43215                                                                    4/7/2020          $123,009.47   Services
        Construction One Inc, 101 East Town St, Ste 401 Columbus, OH 43215 Total                                                                        $128,810.55
Copley Place Associates LLC, P.O. Box 644079 Pittsburgh, PA 15264-4079                                                                2/4/2020          $170,824.60   Rent/Lease Obligations



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Copley Place Associates LLC, P.O. Box 644079 Pittsburgh, PA 15264-4079                                                                      3/5/2020          $170,824.60   Rent/Lease Obligations
        Copley Place Associates LLC, P.O. Box 644079 Pittsburgh, PA 15264-4079 Total                                                                          $341,649.20
CORGI HOSIERY LTD, New Rd, Ammanford SA18 3DS United Kingdom                                                                               2/26/2020            $7,803.00   Merchandise Vendors
        CORGI HOSIERY LTD, New Rd, Ammanford SA18 3DS United Kingdom Total                                                                                      $7,803.00
CORNERSTONE RELOCATION GROUP LLC, 106 Allen Rd Basking Ridge, NJ 07920                                                                      2/7/2020           $19,485.33   Services
CORNERSTONE RELOCATION GROUP LLC, 106 Allen Rd Basking Ridge, NJ 07920                                                                     2/14/2020            $6,975.00   Services
CORNERSTONE RELOCATION GROUP LLC, 106 Allen Rd Basking Ridge, NJ 07920                                                                     2/21/2020           $12,847.21   Services
CORNERSTONE RELOCATION GROUP LLC, 106 Allen Rd Basking Ridge, NJ 07920                                                                     2/28/2020           $14,577.94   Services
CORNERSTONE RELOCATION GROUP LLC, 106 Allen Rd Basking Ridge, NJ 07920                                                                      4/3/2020           $58,332.78   Services
CORNERSTONE RELOCATION GROUP LLC, 106 Allen Rd Basking Ridge, NJ 07920                                                                     4/10/2020           $26,196.44   Services
        CORNERSTONE RELOCATION GROUP LLC, 106 Allen Rd Basking Ridge, NJ 07920 Total                                                                          $138,414.70
Coroc/Hilton Head I LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                              2/5/2020           $24,092.60   Rent/Lease Obligations
Coroc/Hilton Head I LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                              3/4/2020           $24,092.60   Rent/Lease Obligations
        Coroc/Hilton Head I LLC, P.O. Box 414225 Boston, MA 02241-4225 Total                                                                                   $48,185.20
Coroc/Lakes Region LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                               2/5/2020           $16,863.19   Rent/Lease Obligations
Coroc/Lakes Region LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                               3/4/2020           $16,863.19   Rent/Lease Obligations
        Coroc/Lakes Region LLC, P.O. Box 414225 Boston, MA 02241-4225 Total                                                                                    $33,726.38
Coroc/Myrtle Beach LLC, Legal Dept 3200 Northline Ave, Ste 360 Greensboro, NC 27408                                                         2/5/2020           $14,057.62   Rent/Lease Obligations
Coroc/Myrtle Beach LLC, Legal Dept 3200 Northline Ave, Ste 360 Greensboro, NC 27408                                                         3/4/2020           $14,057.62   Rent/Lease Obligations
Coroc/Myrtle Beach LLC, Legal Dept 3200 Northline Ave, Ste 360 Greensboro, NC 27408                                                        3/20/2020               $25.53   Rent/Lease Obligations
        Coroc/Myrtle Beach LLC, Legal Dept 3200 Northline Ave, Ste 360 Greensboro, NC 27408 Total                                                              $28,140.77
Coroc/Park City LLC, Legal Dept 3200 Northline Ave, Ste 360 Greensboro, NC 27408                                                            2/5/2020           $16,927.95   Rent/Lease Obligations
Coroc/Park City LLC, Legal Dept 3200 Northline Ave, Ste 360 Greensboro, NC 27408                                                            3/4/2020           $16,927.95   Rent/Lease Obligations
        Coroc/Park City LLC, Legal Dept 3200 Northline Ave, Ste 360 Greensboro, NC 27408 Total                                                                 $33,855.90
COROC/Rehoboth III LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                               2/5/2020           $37,487.67   Rent/Lease Obligations
COROC/Rehoboth III LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                               3/4/2020           $37,487.67   Rent/Lease Obligations
        COROC/Rehoboth III LLC, P.O. Box 414225 Boston, MA 02241-4225 Total                                                                                    $74,975.34
Coroc/Riviera LLC, Attn: Legal Dept 3200 Northline Ave, Ste 360 Greensboro, NC 27408                                                        2/5/2020           $12,658.22   Rent/Lease Obligations
        Coroc/Riviera LLC, Attn: Legal Dept 3200 Northline Ave, Ste 360 Greensboro, NC 27408 Total                                                             $12,658.22
CORPORATION SERVICE COMPANY, P.O. Box 13397 Philadelphia, PA 19101-3997                                                                     5/1/2020           $66,964.95   Services
        CORPORATION SERVICE COMPANY, P.O. Box 13397 Philadelphia, PA 19101-3997 Total                                                                          $66,964.95
Corte Madera Village LLC, P.O. Box 31001-2163 Pasadena, CA 91110-2163                                                                       2/5/2020           $80,197.94   Rent/Lease Obligations
Corte Madera Village LLC, P.O. Box 31001-2163 Pasadena, CA 91110-2163                                                                      2/26/2020            $1,870.80   Rent/Lease Obligations
Corte Madera Village LLC, P.O. Box 31001-2163 Pasadena, CA 91110-2163                                                                       3/4/2020           $82,068.74   Rent/Lease Obligations
        Corte Madera Village LLC, P.O. Box 31001-2163 Pasadena, CA 91110-2163 Total                                                                           $164,137.48
COSMIC GEAR LIMITED UNIT 812, 25 Wang Chiu Rd, Kowloon Bay, Kln Hong Kong                                                                  2/14/2020          $429,742.63   Merchandise Vendors
        COSMIC GEAR LIMITED UNIT 812, 25 Wang Chiu Rd, Kowloon Bay, Kln Hong Kong Total                                                                       $429,742.63
Cosmic Gear Limited, 25 Wang Chiu Rd Kowloon Bay, Kln Hong Kong                                                                            2/11/2020            $1,121.51   Merchandise Vendors
Cosmic Gear Limited, 25 Wang Chiu Rd Kowloon Bay, Kln Hong Kong                                                                             3/3/2020            $2,240.46   Merchandise Vendors
Cosmic Gear Limited, 25 Wang Chiu Rd Kowloon Bay, Kln Hong Kong                                                                            3/10/2020            $6,866.99   Merchandise Vendors
Cosmic Gear Limited, 25 Wang Chiu Rd Kowloon Bay, Kln Hong Kong                                                                            3/17/2020           $50,234.57   Merchandise Vendors
        Cosmic Gear Limited, 25 Wang Chiu Rd Kowloon Bay, Kln Hong Kong Total                                                                                  $60,463.53
COSMIC GEAR LIMITED, 25 Wang Chiu Rd, Kowloon Bay, Kln Hong Kong                                                                            2/7/2020           $31,164.38   Merchandise Vendors
COSMIC GEAR LIMITED, 25 Wang Chiu Rd, Kowloon Bay, Kln Hong Kong                                                                           2/14/2020          $819,542.34   Merchandise Vendors
COSMIC GEAR LIMITED, 25 Wang Chiu Rd, Kowloon Bay, Kln Hong Kong                                                                           2/21/2020          $312,858.05   Merchandise Vendors
COSMIC GEAR LIMITED, 25 Wang Chiu Rd, Kowloon Bay, Kln Hong Kong                                                                            3/2/2020          $604,762.64   Merchandise Vendors
COSMIC GEAR LIMITED, 25 Wang Chiu Rd, Kowloon Bay, Kln Hong Kong                                                                            3/9/2020          $812,055.34   Merchandise Vendors
        COSMIC GEAR LIMITED, 25 Wang Chiu Rd, Kowloon Bay, Kln Hong Kong Total                                                                              $2,580,382.75
COSMIC GEAR LIMITED, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                                            2/18/2020          $351,795.97   Merchandise Vendors
        COSMIC GEAR LIMITED, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                                                 $351,795.97
COSMIC GEAR LIMITED, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                                                       3/13/2020           $84,822.65   Merchandise Vendors
        COSMIC GEAR LIMITED, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                                                             $84,822.65
COSMIC GEAR LTD, 25 Wang Chiu Rd, Kowloon Bay, KLN Hong Kong                                                                               2/14/2020          $135,911.09   Merchandise Vendors
COSMIC GEAR LTD, 25 Wang Chiu Rd, Kowloon Bay, KLN Hong Kong                                                                               2/21/2020          $156,082.96   Merchandise Vendors
COSMIC GEAR LTD, 25 Wang Chiu Rd, Kowloon Bay, KLN Hong Kong                                                                                3/2/2020          $100,469.52   Merchandise Vendors
        COSMIC GEAR LTD, 25 Wang Chiu Rd, Kowloon Bay, KLN Hong Kong Total                                                                                    $392,463.57
COSMIC GEAR LTD, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                                                2/18/2020          $195,578.09   Merchandise Vendors



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          COSMIC GEAR LTD, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                                                                             $195,578.09
Cougar Shoes Inc, 2 Masonry Ct Burlington, ON L7T 4A8 Canada                                                                                                         2/11/2020           $20,794.14   Merchandise Vendors
          Cougar Shoes Inc, 2 Masonry Ct Burlington, ON L7T 4A8 Canada Total                                                                                                             $20,794.14
Country Club Plaza Kc Partners, P.O. Box 675001 Detroit, MI 48267-5001                                                                                                2/4/2020           $62,161.21   Rent/Lease Obligations
Country Club Plaza Kc Partners, P.O. Box 675001 Detroit, MI 48267-5001                                                                                                3/4/2020           $61,756.15   Rent/Lease Obligations
          Country Club Plaza Kc Partners, P.O. Box 675001 Detroit, MI 48267-5001 Total                                                                                                  $123,917.36
County of Henrico Virginia, P.O. Box 90790 Lockbox 4732 Henrico, VA 23228-0790                                                                                       2/27/2020            $4,290.92   Tax Payment
County of Henrico Virginia, P.O. Box 90790 Lockbox 4732 Henrico, VA 23228-0790                                                                                       3/19/2020            $4,505.49   Tax Payment
          County of Henrico Virginia, P.O. Box 90790 Lockbox 4732 Henrico, VA 23228-0790 Total                                                                                            $8,796.41
County of Los Angeles, P.O. Box 514818 Los Angeles, CA 90051-4818                                                                                                     3/4/2020            $1,912.81   Tax Payment
County of Los Angeles, P.O. Box 514818 Los Angeles, CA 90051-4818                                                                                                     3/4/2020            $5,308.79   Tax Payment
County of Los Angeles, P.O. Box 514818 Los Angeles, CA 90051-4818                                                                                                     3/4/2020            $5,839.65   Tax Payment
County of Los Angeles, P.O. Box 514818 Los Angeles, CA 90051-4818                                                                                                    3/13/2020            $4,986.21   Tax Payment
          County of Los Angeles, P.O. Box 514818 Los Angeles, CA 90051-4818 Total                                                                                                        $18,047.46
Coupa Software Inc, 1855 South Grant St San Mateo, CA 94402                                                                                                          2/12/2020          $227,750.00   Services
Coupa Software Inc, 1855 South Grant St San Mateo, CA 94402                                                                                                          2/26/2020            $1,017.50   Services
          Coupa Software Inc, 1855 South Grant St San Mateo, CA 94402 Total                                                                                                             $228,767.50
Cowan Liebowitz & Latman Pc, 114 W 47th St, 21st Fl New York, NY 10036-1525                                                                                          2/12/2020          $125,000.00   Services
          Cowan Liebowitz & Latman Pc, 114 W 47th St, 21st Fl New York, NY 10036-1525 Total                                                                                             $125,000.00
COWAN LIEBOWITZ & LATMAN, P.C., 114 W 47th St, 21st Fl New York, NY 10036-1525                                                                                        5/1/2020          $125,371.70   Services
          COWAN LIEBOWITZ & LATMAN, P.C., 114 W 47th St, 21st Fl New York, NY 10036-1525 Total                                                                                          $125,371.70
Cpbp Vii Associates LP, 333 Ludlow St, 8th Fl Stamford, CT 06902                                                                                                      2/5/2020           $24,677.72   Rent/Lease Obligations
Cpbp Vii Associates LP, 333 Ludlow St, 8th Fl Stamford, CT 06902                                                                                                     2/19/2020               $80.34   Rent/Lease Obligations
Cpbp Vii Associates LP, 333 Ludlow St, 8th Fl Stamford, CT 06902                                                                                                      3/4/2020           $24,677.72   Rent/Lease Obligations
          Cpbp Vii Associates LP, 333 Ludlow St, 8th Fl Stamford, CT 06902 Total                                                                                                         $49,435.78
Cpg Partners Lp, P.O. Box 822946 Philadelphia, PA 19182-2946                                                                                                         2/19/2020            $8,023.17   Services
          Cpg Partners Lp, P.O. Box 822946 Philadelphia, PA 19182-2946 Total                                                                                                              $8,023.17
Cpt Louisville I LLC, P.O. Box 743901 Atlanta, GA 30384-3901                                                                                                          2/5/2020              $333.78   Rent/Lease Obligations
Cpt Louisville I LLC, P.O. Box 743901 Atlanta, GA 30384-3901                                                                                                         2/27/2020            $6,295.68   Rent/Lease Obligations
Cpt Louisville I LLC, P.O. Box 743901 Atlanta, GA 30384-3901                                                                                                         3/23/2020            $7,351.15   Rent/Lease Obligations
          Cpt Louisville I LLC, P.O. Box 743901 Atlanta, GA 30384-3901 Total                                                                                                             $13,980.61
Craig Realty Group - Silverthorne, LLC, Attn: Manager Lease Adminstration and General Counsel 4100 MacArthur Blvd, Ste 200 Newport Beach, CA 92660                    2/4/2020           $19,616.86   Services
Craig Realty Group - Silverthorne, LLC, Attn: Manager Lease Adminstration and General Counsel 4100 MacArthur Blvd, Ste 200 Newport Beach, CA 92660                    2/4/2020           $26,561.83   Services
Craig Realty Group - Silverthorne, LLC, Attn: Manager Lease Adminstration and General Counsel 4100 MacArthur Blvd, Ste 200 Newport Beach, CA 92660                    3/5/2020           $19,616.86   Services
Craig Realty Group - Silverthorne, LLC, Attn: Manager Lease Adminstration and General Counsel 4100 MacArthur Blvd, Ste 200 Newport Beach, CA 92660                    3/5/2020           $26,561.83   Services
          Craig Realty Group - Silverthorne, LLC, Attn: Manager Lease Adminstration and General Counsel 4100 MacArthur Blvd, Ste 200 Newport Beach, CA 92660 Total                       $92,357.38
Craighill LLC, 87 Richardson St, Ste 300A Brooklyn, NY 11211                                                                                                          2/3/2020            $1,328.90   Merchandise Vendors
Craighill LLC, 87 Richardson St, Ste 300A Brooklyn, NY 11211                                                                                                         2/11/2020            $4,306.80   Merchandise Vendors
Craighill LLC, 87 Richardson St, Ste 300A Brooklyn, NY 11211                                                                                                         3/10/2020            $1,776.12   Merchandise Vendors
          Craighill LLC, 87 Richardson St, Ste 300A Brooklyn, NY 11211 Total                                                                                                              $7,411.82
Crestview Hills Town Center LLC, 3825 Edwards Rd, Ste 200 Cincinnati, OH 45209                                                                                        2/4/2020               $45.74   Rent/Lease Obligations
Crestview Hills Town Center LLC, 3825 Edwards Rd, Ste 200 Cincinnati, OH 45209                                                                                       2/28/2020            $4,705.60   Rent/Lease Obligations
Crestview Hills Town Center LLC, 3825 Edwards Rd, Ste 200 Cincinnati, OH 45209                                                                                       3/24/2020            $6,070.84   Rent/Lease Obligations
          Crestview Hills Town Center LLC, 3825 Edwards Rd, Ste 200 Cincinnati, OH 45209 Total                                                                                           $10,822.18
Crocker Park LLC, P.O. Box 72585 Cleveland, OH 44192-0002                                                                                                             2/3/2020              $210.13   Rent/Lease Obligations
Crocker Park LLC, P.O. Box 72585 Cleveland, OH 44192-0002                                                                                                             2/6/2020           $28,082.70   Rent/Lease Obligations
Crocker Park LLC, P.O. Box 72585 Cleveland, OH 44192-0002                                                                                                            2/20/2020               $12.33   Rent/Lease Obligations
Crocker Park LLC, P.O. Box 72585 Cleveland, OH 44192-0002                                                                                                             3/5/2020           $28,082.70   Rent/Lease Obligations
Crocker Park LLC, P.O. Box 72585 Cleveland, OH 44192-0002                                                                                                            3/23/2020              $209.95   Rent/Lease Obligations
          Crocker Park LLC, P.O. Box 72585 Cleveland, OH 44192-0002 Total                                                                                                                $56,597.81
Cvm Associates LP, P.O. Box 63340 Charlotte, NC 28263-3340                                                                                                            2/5/2020           $56,355.23   Services
Cvm Associates LP, P.O. Box 63340 Charlotte, NC 28263-3340                                                                                                            3/4/2020           $56,355.23   Services
          Cvm Associates LP, P.O. Box 63340 Charlotte, NC 28263-3340 Total                                                                                                              $112,710.46
Cyber Source, P.O. Box 742842 Los Angeles, CA 90074-2842                                                                                                              3/5/2020          $106,989.33   Services
          Cyber Source, P.O. Box 742842 Los Angeles, CA 90074-2842 Total                                                                                                                $106,989.33
Cyberint Technologies Ltd, 17 Hamefalsim St Petach Tikva, 4951447 Israel                                                                                             2/21/2020           $49,750.00   Services
          Cyberint Technologies Ltd, 17 Hamefalsim St Petach Tikva, 4951447 Israel Total                                                                                                 $49,750.00



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D AND J INTERNATIONAL LIMITED, 610 Nathan Rd, Mongkok, KLN Hong Kong                                                             2/18/2020          $482,799.92   Merchandise Vendors
D AND J INTERNATIONAL LIMITED, 610 Nathan Rd, Mongkok, KLN Hong Kong                                                              3/2/2020          $247,402.85   Merchandise Vendors
D AND J INTERNATIONAL LIMITED, 610 Nathan Rd, Mongkok, KLN Hong Kong                                                             3/13/2020          $419,198.79   Merchandise Vendors
         D AND J INTERNATIONAL LIMITED, 610 Nathan Rd, Mongkok, KLN Hong Kong Total                                                               $1,149,401.56
Dae Jee Metal Co Ltd, 173-5 Dae Jee Bldg, Seoul, 138-844, South Korea                                                            2/24/2020           $44,966.26   Merchandise Vendors
Dae Jee Metal Co Ltd, 173-5 Dae Jee Bldg, Seoul, 138-844, South Korea                                                            2/27/2020           $38,098.99   Merchandise Vendors
         Dae Jee Metal Co Ltd, 173-5 Dae Jee Bldg, Seoul, 138-844, South Korea Total                                                                 $83,065.25
DALIAN MODA FASHION CO LTD, Yangshufang Town Pulandian, Dalian, 70 116215 China                                                  2/10/2020          $326,258.00   Merchandise Vendors
DALIAN MODA FASHION CO LTD, Yangshufang Town Pulandian, Dalian, 70 116215 China                                                  2/14/2020          $128,376.48   Merchandise Vendors
         DALIAN MODA FASHION CO LTD, Yangshufang Town Pulandian, Dalian, 70 116215 China Total                                                      $454,634.48
DALIAN MODA FASHION CO., LTD, Yangshufang Town Pulandian, Dalian, 70 116215 China                                                4/27/2020           $54,336.69   Merchandise Vendors
         DALIAN MODA FASHION CO., LTD, Yangshufang Town Pulandian, Dalian, 70 116215 China Total                                                     $54,336.69
DALIAN YANGERTE GARMENT CO LTD, Yangshufang Town Pulandian, Dalian, China                                                        2/10/2020          $476,724.25   Merchandise Vendors
DALIAN YANGERTE GARMENT CO LTD, Yangshufang Town Pulandian, Dalian, China                                                        2/14/2020           $83,526.76   Merchandise Vendors
DALIAN YANGERTE GARMENT CO LTD, Yangshufang Town Pulandian, Dalian, China                                                        3/10/2020          $171,257.11   Merchandise Vendors
DALIAN YANGERTE GARMENT CO LTD, Yangshufang Town Pulandian, Dalian, China                                                        3/13/2020           $53,207.28   Merchandise Vendors
         DALIAN YANGERTE GARMENT CO LTD, Yangshufang Town Pulandian, Dalian, China Total                                                            $784,715.40
DALIAN YANGERTE GARMENT CO., LTD, Yangshufang Town Pulandian, Dalian, China                                                      4/27/2020          $162,089.53   Merchandise Vendors
         DALIAN YANGERTE GARMENT CO., LTD, Yangshufang Town Pulandian, Dalian, China Total                                                          $162,089.53
Dartmouth College, P.O. Box 5188 Hanover, NH 03755                                                                               2/14/2020           $11,148.48   Rent/Lease Obligations
Dartmouth College, P.O. Box 5188 Hanover, NH 03755                                                                               2/27/2020           $12,440.50   Rent/Lease Obligations
Dartmouth College, P.O. Box 5188 Hanover, NH 03755                                                                                3/6/2020           $11,148.48   Rent/Lease Obligations
         Dartmouth College, P.O. Box 5188 Hanover, NH 03755 Total                                                                                    $34,737.46
Daryanani Law Group Pc, 330 Seventh Ave, Ste 2003 New York, NY 10001                                                              2/6/2020               $50.00   Services
Daryanani Law Group Pc, 330 Seventh Ave, Ste 2003 New York, NY 10001                                                             2/20/2020            $2,500.00   Services
Daryanani Law Group Pc, 330 Seventh Ave, Ste 2003 New York, NY 10001                                                             2/27/2020              $920.00   Services
Daryanani Law Group Pc, 330 Seventh Ave, Ste 2003 New York, NY 10001                                                             2/27/2020            $2,300.00   Services
Daryanani Law Group Pc, 330 Seventh Ave, Ste 2003 New York, NY 10001                                                             2/27/2020            $6,840.00   Services
Daryanani Law Group Pc, 330 Seventh Ave, Ste 2003 New York, NY 10001                                                              3/5/2020            $2,850.00   Services
Daryanani Law Group Pc, 330 Seventh Ave, Ste 2003 New York, NY 10001                                                             3/31/2020            $2,299.00   Services
Daryanani Law Group Pc, 330 Seventh Ave, Ste 2003 New York, NY 10001                                                             4/23/2020            $3,085.00   Services
         Daryanani Law Group Pc, 330 Seventh Ave, Ste 2003 New York, NY 10001 Total                                                                  $20,844.00
Datapipe Inc, P.O. Box 36477 Newark, NJ 07188-6477                                                                               4/22/2020          $278,629.12   Services
Datapipe Inc, P.O. Box 36477 Newark, NJ 07188-6477                                                                               4/29/2020          $514,167.41   Services
         Datapipe Inc, P.O. Box 36477 Newark, NJ 07188-6477 Total                                                                                   $792,796.53
David Nice Builders Inc, 4571 Ware Creek Rd Williamsburg, VA 23188                                                                2/7/2020              $854.67   Services
David Nice Builders Inc, 4571 Ware Creek Rd Williamsburg, VA 23188                                                               2/12/2020          $164,083.23   Services
David Nice Builders Inc, 4571 Ware Creek Rd Williamsburg, VA 23188                                                               2/19/2020              $775.64   Services
David Nice Builders Inc, 4571 Ware Creek Rd Williamsburg, VA 23188                                                               2/26/2020           $91,076.33   Services
David Nice Builders Inc, 4571 Ware Creek Rd Williamsburg, VA 23188                                                               4/14/2020          $119,930.22   Services
David Nice Builders Inc, 4571 Ware Creek Rd Williamsburg, VA 23188                                                               4/22/2020          $341,371.81   Services
         David Nice Builders Inc, 4571 Ware Creek Rd Williamsburg, VA 23188 Total                                                                   $718,091.90
David Pirrotta Brand Group, 7424 1/2 W Sunset Blvd, Ste 5 Los Angeles, CA 90046                                                  2/10/2020            $3,632.22   Merchandise Vendors
David Pirrotta Brand Group, 7424 1/2 W Sunset Blvd, Ste 5 Los Angeles, CA 90046                                                  3/12/2020              $225.40   Merchandise Vendors
David Pirrotta Brand Group, 7424 1/2 W Sunset Blvd, Ste 5 Los Angeles, CA 90046                                                  3/12/2020            $3,185.46   Merchandise Vendors
David Pirrotta Brand Group, 7424 1/2 W Sunset Blvd, Ste 5 Los Angeles, CA 90046                                                  4/22/2020            $2,747.72   Merchandise Vendors
         David Pirrotta Brand Group, 7424 1/2 W Sunset Blvd, Ste 5 Los Angeles, CA 90046 Total                                                        $9,790.80
DAZHAN WOOLEN TEXTILE CO LTD, No9 Fuhui Rd Yexie Town, Songjiang Shanghai, 201609 China                                          2/14/2020           $89,743.48   Merchandise Vendors
         DAZHAN WOOLEN TEXTILE CO LTD, No9 Fuhui Rd Yexie Town, Songjiang Shanghai, 201609 China Total                                               $89,743.48
DAZHAN WOOLEN TEXTLE CO. LIMITED, No9 Fuhui Rd Yexie Town Songjiang Shanghai, 201609 China                                        2/7/2020           $35,698.99   Merchandise Vendors
         DAZHAN WOOLEN TEXTLE CO. LIMITED, No9 Fuhui Rd Yexie Town Songjiang Shanghai, 201609 China Total                                            $35,698.99
Dean Horn, 64 Sea Drift Ave Highlands, NJ 07732                                                                                  4/21/2020            $7,549.50   Services
         Dean Horn, 64 Sea Drift Ave Highlands, NJ 07732 Total                                                                                        $7,549.50
Del Amo Fashion Center Operati, P.O. Box 409657 Atlanta, GA 30384                                                                 2/5/2020            $2,646.55   Services
Del Amo Fashion Center Operati, P.O. Box 409657 Atlanta, GA 30384                                                                2/19/2020              $705.94   Services
Del Amo Fashion Center Operati, P.O. Box 409657 Atlanta, GA 30384                                                                2/27/2020           $22,630.35   Services
Del Amo Fashion Center Operati, P.O. Box 409657 Atlanta, GA 30384                                                                 3/4/2020            $2,646.55   Services



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Del Amo Fashion Center Operati, P.O. Box 409657 Atlanta, GA 30384                                                                     3/23/2020           $24,237.48   Services
         Del Amo Fashion Center Operati, P.O. Box 409657 Atlanta, GA 30384 Total                                                                          $52,866.87
Dell Marketing Lp, Attn: Contract Manager 1 Dell Way Mail Stop RRI-33                                                                 4/14/2020          $154,322.05   Services
Dell Marketing Lp, Attn: Contract Manager 1 Dell Way Mail Stop RRI-33                                                                 4/21/2020          $121,804.77   Services
         Dell Marketing Lp, Attn: Contract Manager 1 Dell Way Mail Stop RRI-33 Total                                                                     $276,126.82
Deloitte Tax LLP, 30 Rockefeller Plz, 41st Fl New York, NY 10112-0015                                                                  4/8/2020           $75,355.00   Services
         Deloitte Tax LLP, 30 Rockefeller Plz, 41st Fl New York, NY 10112-0015 Total                                                                      $75,355.00
Delshah Gansevoort 69 LLC, 114 East 13th St, Front 1 New York, NY 10003                                                                2/6/2020           $64,375.22   Rent/Lease Obligations
Delshah Gansevoort 69 LLC, 114 East 13th St, Front 1 New York, NY 10003                                                                3/4/2020           $64,375.22   Rent/Lease Obligations
         Delshah Gansevoort 69 LLC, 114 East 13th St, Front 1 New York, NY 10003 Total                                                                   $128,750.44
Delta Bogart Lingerie Ltd, No 17 Kai Cheung Rd Kowloon Bay, KLN Hong Kong                                                             2/20/2020              $456.29   Merchandise Vendors
Delta Bogart Lingerie Ltd, No 17 Kai Cheung Rd Kowloon Bay, KLN Hong Kong                                                              3/2/2020            $8,639.05   Merchandise Vendors
         Delta Bogart Lingerie Ltd, No 17 Kai Cheung Rd Kowloon Bay, KLN Hong Kong Total                                                                   $9,095.34
Delta Bogart Lingerie Ltd, No 17 Kai Cheung Rd, Kowloon Bay, KLN, Hong Kong                                                           2/14/2020          $556,885.94   Merchandise Vendors
Delta Bogart Lingerie Ltd, No 17 Kai Cheung Rd, Kowloon Bay, KLN, Hong Kong                                                            3/6/2020          $250,724.60   Merchandise Vendors
         Delta Bogart Lingerie Ltd, No 17 Kai Cheung Rd, Kowloon Bay, KLN, Hong Kong Total                                                               $807,610.54
Department of Labor & Industri, P.O. Box 34390 Seattle, WA 98124-1390                                                                 2/11/2020            $1,187.49   Services
Department of Labor & Industri, P.O. Box 34390 Seattle, WA 98124-1390                                                                 2/11/2020            $4,690.49   Services
Department of Labor & Industri, P.O. Box 34390 Seattle, WA 98124-1390                                                                 2/11/2020            $5,289.40   Services
         Department of Labor & Industri, P.O. Box 34390 Seattle, WA 98124-1390 Total                                                                      $11,167.38
Derris LLC, 48 W 25th St 11th Fl New York, NY 10010                                                                                   2/18/2020           $15,572.17   Services
         Derris LLC, 48 W 25th St 11th Fl New York, NY 10010 Total                                                                                        $15,572.17
Designer Plus Srl Unipersonale, Piazza Marco Polo Nr 2 Castlefranco Disotto, 56022 Italy                                               2/7/2020            $5,114.70   Merchandise Vendors
Designer Plus Srl Unipersonale, Piazza Marco Polo Nr 2 Castlefranco Disotto, 56022 Italy                                              2/13/2020            $3,574.50   Merchandise Vendors
Designer Plus Srl Unipersonale, Piazza Marco Polo Nr 2 Castlefranco Disotto, 56022 Italy                                              2/20/2020            $6,440.54   Merchandise Vendors
Designer Plus Srl Unipersonale, Piazza Marco Polo Nr 2 Castlefranco Disotto, 56022 Italy                                              3/10/2020            $1,104.04   Merchandise Vendors
Designer Plus Srl Unipersonale, Piazza Marco Polo Nr 2 Castlefranco Disotto, 56022 Italy                                              3/10/2020            $8,153.70   Merchandise Vendors
Designer Plus Srl Unipersonale, Piazza Marco Polo Nr 2 Castlefranco Disotto, 56022 Italy                                              3/13/2020            $3,600.00   Merchandise Vendors
         Designer Plus Srl Unipersonale, Piazza Marco Polo Nr 2 Castlefranco Disotto, 56022 Italy Total                                                   $27,987.48
DESIGNER PLUS SRL UNIPERSONALE, Piazza Marco Polo Nr 2, Castlefranco Disotto, 56022 Italy                                             2/14/2020          $144,262.83   Merchandise Vendors
DESIGNER PLUS SRL UNIPERSONALE, Piazza Marco Polo Nr 2, Castlefranco Disotto, 56022 Italy                                             2/21/2020           $13,408.91   Merchandise Vendors
         DESIGNER PLUS SRL UNIPERSONALE, Piazza Marco Polo Nr 2, Castlefranco Disotto, 56022 Italy Total                                                 $157,671.74
Devorah Sophie Arnold, 599 Springs Fireplace Rd East Hampton, NY 11937                                                                2/10/2020              $350.00   Services
Devorah Sophie Arnold, 599 Springs Fireplace Rd East Hampton, NY 11937                                                                2/10/2020              $700.00   Services
Devorah Sophie Arnold, 599 Springs Fireplace Rd East Hampton, NY 11937                                                                2/14/2020            $1,050.00   Services
Devorah Sophie Arnold, 599 Springs Fireplace Rd East Hampton, NY 11937                                                                2/25/2020              $350.00   Services
Devorah Sophie Arnold, 599 Springs Fireplace Rd East Hampton, NY 11937                                                                2/25/2020            $1,050.00   Services
Devorah Sophie Arnold, 599 Springs Fireplace Rd East Hampton, NY 11937                                                                3/25/2020            $1,400.00   Services
Devorah Sophie Arnold, 599 Springs Fireplace Rd East Hampton, NY 11937                                                                 4/2/2020            $3,150.00   Services
Devorah Sophie Arnold, 599 Springs Fireplace Rd East Hampton, NY 11937                                                                 4/7/2020            $1,050.00   Services
         Devorah Sophie Arnold, 599 Springs Fireplace Rd East Hampton, NY 11937 Total                                                                      $9,100.00
DH FTN CO. LTD, 123 Digital Ro 26Gil, Gurogu, South Korea                                                                             2/18/2020           $43,468.23   Merchandise Vendors
DH FTN CO. LTD, 123 Digital Ro 26Gil, Gurogu, South Korea                                                                              3/6/2020           $78,788.27   Merchandise Vendors
         DH FTN CO. LTD, 123 Digital Ro 26Gil, Gurogu, South Korea Total                                                                                 $122,256.50
Dhr International Inc, 121 N Jefferson St Chicago, IL 60661                                                                           4/15/2020           $92,400.00   Services
         Dhr International Inc, 121 N Jefferson St Chicago, IL 60661 Total                                                                                $92,400.00
Diana Pantic Inc, 42 Hopkins Ave Jersey City, NJ 07306                                                                                2/12/2020            $9,332.96   Services
Diana Pantic Inc, 42 Hopkins Ave Jersey City, NJ 07306                                                                                2/20/2020            $7,451.94   Services
Diana Pantic Inc, 42 Hopkins Ave Jersey City, NJ 07306                                                                                 3/4/2020            $4,462.34   Services
         Diana Pantic Inc, 42 Hopkins Ave Jersey City, NJ 07306 Total                                                                                     $21,247.24
Discount Two Way Radio, 555 W Victoria St Rancho Dominguez, CA 90220                                                                  2/13/2020           $17,984.55   Services
         Discount Two Way Radio, 555 W Victoria St Rancho Dominguez, CA 90220 Total                                                                       $17,984.55
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                      2/5/2020            $3,462.52   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                     2/10/2020            $2,101.32   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                     2/10/2020            $2,258.18   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                     2/18/2020              $253.64   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                     2/18/2020            $1,537.53   Services



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Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         2/27/2020              $920.61   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                          3/5/2020            $2,525.92   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                          3/9/2020            $5,656.69   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/11/2020            $2,617.40   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/12/2020            $3,037.41   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/16/2020              $128.81   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/16/2020            $4,156.45   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/18/2020            $4,705.39   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/19/2020            $1,777.71   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/20/2020           $19,843.96   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/23/2020              $334.54   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/23/2020              $392.30   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/23/2020            $1,793.06   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/23/2020            $8,785.67   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/26/2020              $787.79   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/26/2020              $869.28   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         3/30/2020              $938.44   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                          4/3/2020               $53.85   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                          4/6/2020               $56.27   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                          4/6/2020              $170.20   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                          4/8/2020              $384.18   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                          4/8/2020              $439.07   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                          4/8/2020              $562.61   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         4/13/2020              $218.09   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         4/13/2020              $550.91   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         4/20/2020            $1,237.20   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         4/27/2020               $12.30   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         4/27/2020              $361.93   Services
Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015                                                                                         4/27/2020            $1,671.76   Services
         Discover, 2500 Lake Cook Rd, Riverwoods, IL 60015 Total                                                                                              $74,602.99
DLA Piper LLP, Attn: Barbara A Trachtenberg, Esq 33 Arch St, 26th Fl Boston, MA 02110,                                                     5/1/2020          $286,636.70   Services
         DLA Piper LLP, Attn: Barbara A Trachtenberg, Esq 33 Arch St, 26th Fl Boston, MA 02110, Total                                                        $286,636.70
Dna Model Management LLC, 555 West 25th St 6th Fl New York, NY 10001                                                                       2/4/2020           $57,600.00   Services
Dna Model Management LLC, 555 West 25th St 6th Fl New York, NY 10001                                                                      2/25/2020           $26,124.76   Services
         Dna Model Management LLC, 555 West 25th St 6th Fl New York, NY 10001 Total                                                                           $83,724.76
DOHZHEN CO Ltd, 239 Xi Tai Rd, Shanghai, 200232, China                                                                                    2/20/2020          $166,258.47   Merchandise Vendors
DOHZHEN CO Ltd, 239 Xi Tai Rd, Shanghai, 200232, China                                                                                    2/28/2020           $20,219.54   Merchandise Vendors
DOHZHEN CO Ltd, 239 Xi Tai Rd, Shanghai, 200232, China                                                                                    3/19/2020           $63,114.52   Merchandise Vendors
         DOHZHEN CO Ltd, 239 Xi Tai Rd, Shanghai, 200232, China Total                                                                                        $249,592.53
Dolorita F Wallace Trust Uw, 170 Mason St Greenwich, CT 06830                                                                             2/12/2020           $66,511.00   Rent/Lease Obligations
Dolorita F Wallace Trust Uw, 170 Mason St Greenwich, CT 06830                                                                             3/12/2020           $66,511.00   Rent/Lease Obligations
         Dolorita F Wallace Trust Uw, 170 Mason St Greenwich, CT 06830 Total                                                                                 $133,022.00
Douglas L Or Jean K Brown, 81605 Corte Monteleon Indio, CA 92203                                                                           2/4/2020           $13,916.67   Rent/Lease Obligations
Douglas L Or Jean K Brown, 81605 Corte Monteleon Indio, CA 92203                                                                          2/14/2020              $604.66   Rent/Lease Obligations
Douglas L Or Jean K Brown, 81605 Corte Monteleon Indio, CA 92203                                                                           3/4/2020           $14,219.00   Rent/Lease Obligations
         Douglas L Or Jean K Brown, 81605 Corte Monteleon Indio, CA 92203 Total                                                                               $28,740.33
DRAGON LUCK LIMITED, 11 Yuk Yat St, Tokwawan, KLN Hong Kong                                                                               2/10/2020          $142,170.90   Merchandise Vendors
DRAGON LUCK LIMITED, 11 Yuk Yat St, Tokwawan, KLN Hong Kong                                                                                3/9/2020          $247,467.78   Merchandise Vendors
         DRAGON LUCK LIMITED, 11 Yuk Yat St, Tokwawan, KLN Hong Kong Total                                                                                   $389,638.68
Dragon Yu Bag Mfg Co Ltd, 8F No 227 Sec 1 Fuxing South Rd Taipei, Taiwan                                                                   2/6/2020           $17,049.60   Merchandise Vendors
         Dragon Yu Bag Mfg Co Ltd, 8F No 227 Sec 1 Fuxing South Rd Taipei, Taiwan Total                                                                       $17,049.60
Druthers, LLC, 592 Johnson Ave Druthers Studio Brooklyn, NY 11237                                                                          2/5/2020            $2,747.38   Merchandise Vendors
Druthers, LLC, 592 Johnson Ave Druthers Studio Brooklyn, NY 11237                                                                         3/11/2020            $2,570.23   Merchandise Vendors
Druthers, LLC, 592 Johnson Ave Druthers Studio Brooklyn, NY 11237                                                                         4/28/2020            $4,180.97   Merchandise Vendors
         Druthers, LLC, 592 Johnson Ave Druthers Studio Brooklyn, NY 11237 Total                                                                               $9,498.58
DURAMAS S.A. DE C.V., Calle Final Montecarmelo 800 Soyapango El Salvador                                                                  4/28/2020          $140,000.00   Services
         DURAMAS S.A. DE C.V., Calle Final Montecarmelo 800 Soyapango El Salvador Total                                                                      $140,000.00



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Duraseal Inc, P.O. Box 743 Forest, VA 24551                                                                                                      2/26/2020            $9,750.00   Services
          Duraseal Inc, P.O. Box 743 Forest, VA 24551 Total                                                                                                           $9,750.00
Earthsea Trading Co, 176 Charlton Ave South Orange, NJ 07079                                                                                     3/10/2020           $52,977.38   Services
          Earthsea Trading Co, 176 Charlton Ave South Orange, NJ 07079 Total                                                                                         $52,977.38
East Hampton 14 Main Street Ll, P.O. Box 87 Center Moriches, NY 11934                                                                             2/4/2020           $90,072.65   Rent/Lease Obligations
East Hampton 14 Main Street Ll, P.O. Box 87 Center Moriches, NY 11934                                                                             3/3/2020           $88,565.17   Rent/Lease Obligations
East Hampton 14 Main Street Ll, P.O. Box 87 Center Moriches, NY 11934                                                                            3/10/2020            $1,507.48   Rent/Lease Obligations
          East Hampton 14 Main Street Ll, P.O. Box 87 Center Moriches, NY 11934 Total                                                                               $180,145.30
Easton Town Center II LLC, Steiner & Associates, Inc Attn: Lease Administration 4016 Townsfair Way, Ste 201 Columbus, OH 43219                    2/5/2020           $83,649.07   Rent/Lease Obligations
Easton Town Center II LLC, Steiner & Associates, Inc Attn: Lease Administration 4016 Townsfair Way, Ste 201 Columbus, OH 43219                   2/26/2020            $4,897.98   Rent/Lease Obligations
Easton Town Center II LLC, Steiner & Associates, Inc Attn: Lease Administration 4016 Townsfair Way, Ste 201 Columbus, OH 43219                    3/4/2020           $64,802.39   Rent/Lease Obligations
Easton Town Center II LLC, Steiner & Associates, Inc Attn: Lease Administration 4016 Townsfair Way, Ste 201 Columbus, OH 43219                   3/12/2020            $1,232.69   Rent/Lease Obligations
Easton Town Center II LLC, Steiner & Associates, Inc Attn: Lease Administration 4016 Townsfair Way, Ste 201 Columbus, OH 43219                   3/23/2020              $835.18   Rent/Lease Obligations
          Easton Town Center II LLC, Steiner & Associates, Inc Attn: Lease Administration 4016 Townsfair Way, Ste 201 Columbus, OH 43219 Total                      $155,417.31
Eastview Mall LLC, P.O. Box 8000, Dept 976 Buffalo, NY 14267                                                                                      2/5/2020           $44,915.14   Rent/Lease Obligations
Eastview Mall LLC, P.O. Box 8000, Dept 976 Buffalo, NY 14267                                                                                     2/27/2020            $2,933.24   Rent/Lease Obligations
Eastview Mall LLC, P.O. Box 8000, Dept 976 Buffalo, NY 14267                                                                                      3/5/2020           $52,599.82   Rent/Lease Obligations
          Eastview Mall LLC, P.O. Box 8000, Dept 976 Buffalo, NY 14267 Total                                                                                        $100,448.20
Edens - 2356, Attn: VP of Leasing, Mid Atlantic Region 7200 Wisconsin Ave, Ste 400 Bethesda, MD 20814                                             2/4/2020           $16,347.21   Services
Edens - 2356, Attn: VP of Leasing, Mid Atlantic Region 7200 Wisconsin Ave, Ste 400 Bethesda, MD 20814                                             2/5/2020           $16,079.00   Rent/Lease Obligations
Edens - 2356, Attn: VP of Leasing, Mid Atlantic Region 7200 Wisconsin Ave, Ste 400 Bethesda, MD 20814                                             2/6/2020          $122,406.55   Rent/Lease Obligations
Edens - 2356, Attn: VP of Leasing, Mid Atlantic Region 7200 Wisconsin Ave, Ste 400 Bethesda, MD 20814                                             3/3/2020           $16,347.21   Services
Edens - 2356, Attn: VP of Leasing, Mid Atlantic Region 7200 Wisconsin Ave, Ste 400 Bethesda, MD 20814                                             3/4/2020           $15,952.95   Rent/Lease Obligations
Edens - 2356, Attn: VP of Leasing, Mid Atlantic Region 7200 Wisconsin Ave, Ste 400 Bethesda, MD 20814                                             3/4/2020           $16,079.00   Rent/Lease Obligations
          Edens - 2356, Attn: VP of Leasing, Mid Atlantic Region 7200 Wisconsin Ave, Ste 400 Bethesda, MD 20814 Total                                               $203,211.92
Edward Moore, 1439 State Route 9 16 Lake George, NY 12845                                                                                         2/4/2020           $13,277.03   Rent/Lease Obligations
Edward Moore, 1439 State Route 9 16 Lake George, NY 12845                                                                                         3/3/2020           $13,277.03   Rent/Lease Obligations
          Edward Moore, 1439 State Route 9 16 Lake George, NY 12845 Total                                                                                            $26,554.06
Elite Investigations Ltd, 2001 Central Park Ave Yonkers, NY 10710                                                                                 2/4/2020           $61,480.02   Services
Elite Investigations Ltd, 2001 Central Park Ave Yonkers, NY 10710                                                                                2/11/2020           $60,432.40   Services
Elite Investigations Ltd, 2001 Central Park Ave Yonkers, NY 10710                                                                                2/19/2020           $17,246.25   Services
Elite Investigations Ltd, 2001 Central Park Ave Yonkers, NY 10710                                                                                2/25/2020           $41,877.51   Services
          Elite Investigations Ltd, 2001 Central Park Ave Yonkers, NY 10710 Total                                                                                   $181,036.18
Elite Model Management London, 355 Strand London, WC2R 0HS United Kingdom                                                                        2/25/2020           $17,796.97   Services
          Elite Model Management London, 355 Strand London, WC2R 0HS United Kingdom Total                                                                            $17,796.97
Elm Street Realty Associates LLC, Garson & Slepian Attn: Davis Craig Slepian, Esq 72 Ruane St Fairfield, CT 06824                                 2/4/2020           $26,525.91   Services
Elm Street Realty Associates LLC, Garson & Slepian Attn: Davis Craig Slepian, Esq 72 Ruane St Fairfield, CT 06824                                 3/4/2020           $26,525.91   Services
          Elm Street Realty Associates LLC, Garson & Slepian Attn: Davis Craig Slepian, Esq 72 Ruane St Fairfield, CT 06824 Total                                    $53,051.82
Elwood Staffing Services Inc, P.O. Box 1024 Columbus, IN 47202-1024                                                                               2/4/2020           $24,360.71   Services
Elwood Staffing Services Inc, P.O. Box 1024 Columbus, IN 47202-1024                                                                              2/19/2020            $1,753.68   Services
Elwood Staffing Services Inc, P.O. Box 1024 Columbus, IN 47202-1024                                                                               3/4/2020            $5,302.41   Services
          Elwood Staffing Services Inc, P.O. Box 1024 Columbus, IN 47202-1024 Total                                                                                  $31,416.80
Empire HealthChoice Assurance Inc, P.O. Box 810 Minneapolis, MN 55440-0810                                                                        2/7/2020           $61,843.68   Services
Empire HealthChoice Assurance Inc, P.O. Box 810 Minneapolis, MN 55440-0810                                                                       3/16/2020           $63,133.22   Services
Empire HealthChoice Assurance Inc, P.O. Box 810 Minneapolis, MN 55440-0810                                                                       3/27/2020           $61,989.95   Services
          Empire HealthChoice Assurance Inc, P.O. Box 810 Minneapolis, MN 55440-0810 Total                                                                          $186,966.85
Empire Office Inc, Gpo P.O. Box 27752 New York, NY 10087-7752                                                                                    2/25/2020          $409,076.51   Services
          Empire Office Inc, Gpo P.O. Box 27752 New York, NY 10087-7752 Total                                                                                       $409,076.51
Emporium Mall LLC, P.O. Box 743331 Los Angeles, CA 90074-3331                                                                                     2/4/2020          $245,120.23   Rent/Lease Obligations
Emporium Mall LLC, P.O. Box 743331 Los Angeles, CA 90074-3331                                                                                     3/5/2020          $245,120.23   Rent/Lease Obligations
          Emporium Mall LLC, P.O. Box 743331 Los Angeles, CA 90074-3331 Total                                                                                       $490,240.46
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                      2/5/2020           $72,103.45   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                      2/7/2020           $37,399.09   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                     2/10/2020           $14,340.69   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                     2/12/2020           $61,704.77   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                     2/18/2020           $76,613.37   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                     2/21/2020           $87,500.81   Services



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ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                 2/25/2020           $39,343.35   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                 2/28/2020           $62,998.03   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                  3/2/2020           $90,573.98   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                 3/10/2020           $86,199.28   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                 3/27/2020          $204,310.67   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                  4/3/2020          $127,129.21   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                  4/8/2020          $143,424.43   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                 4/10/2020          $158,703.17   Services
ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201                                                                 4/17/2020           $75,546.54   Services
         ENGIE Insight Services Inc., 1313 North Atlantic, Ste 5000 Spokane, WA 99201 Total                                                                   $1,337,890.84
Entourage Flooring Inc, 196 West Lindsley Rd Cedar Grove, NJ 07009                                                                            2/5/2020           $16,724.81   Services
Entourage Flooring Inc, 196 West Lindsley Rd Cedar Grove, NJ 07009                                                                            3/5/2020           $18,822.15   Services
Entourage Flooring Inc, 196 West Lindsley Rd Cedar Grove, NJ 07009                                                                           3/19/2020            $4,268.00   Services
Entourage Flooring Inc, 196 West Lindsley Rd Cedar Grove, NJ 07009                                                                           4/16/2020           $56,309.98   Services
Entourage Flooring Inc, 196 West Lindsley Rd Cedar Grove, NJ 07009                                                                            5/1/2020          $112,300.68   Services
         Entourage Flooring Inc, 196 West Lindsley Rd Cedar Grove, NJ 07009 Total                                                                               $208,425.62
Envisage Group, 19161 E Walnut Dr N City Of Industry, CA 91748-1436                                                                          2/20/2020            $2,858.00   Merchandise Vendors
Envisage Group, 19161 E Walnut Dr N City Of Industry, CA 91748-1436                                                                          2/20/2020          $220,165.03   Merchandise Vendors
Envisage Group, 19161 E Walnut Dr N City Of Industry, CA 91748-1436                                                                          3/11/2020           $83,951.52   Merchandise Vendors
Envisage Group, 19161 E Walnut Dr N City Of Industry, CA 91748-1436                                                                          4/28/2020          $201,617.11   Merchandise Vendors
         Envisage Group, 19161 E Walnut Dr N City Of Industry, CA 91748-1436 Total                                                                              $508,591.66
Erica Johnson, 8 Uptom Pine Rd Lebanon, NJ 08833                                                                                             2/19/2020           $21,960.00   Services
Erica Johnson, 8 Uptom Pine Rd Lebanon, NJ 08833                                                                                             2/24/2020            $7,740.00   Services
Erica Johnson, 8 Uptom Pine Rd Lebanon, NJ 08833                                                                                              3/3/2020            $7,200.00   Services
Erica Johnson, 8 Uptom Pine Rd Lebanon, NJ 08833                                                                                             3/23/2020           $15,660.00   Services
         Erica Johnson, 8 Uptom Pine Rd Lebanon, NJ 08833 Total                                                                                                  $52,560.00
Ery Retail Podium LLC, 460 W 34th St, 8th Fl New York, NY 10001                                                                               2/4/2020              $601.74   Services
Ery Retail Podium LLC, 460 W 34th St, 8th Fl New York, NY 10001                                                                              2/25/2020           $30,537.32   Services
Ery Retail Podium LLC, 460 W 34th St, 8th Fl New York, NY 10001                                                                               3/6/2020              $601.74   Services
Ery Retail Podium LLC, 460 W 34th St, 8th Fl New York, NY 10001                                                                              3/30/2020           $24,543.16   Services
         Ery Retail Podium LLC, 460 W 34th St, 8th Fl New York, NY 10001 Total                                                                                   $56,283.96
Esella Trading Private Ltd, 08-02A Far East Finance Bldg, Singapore, 48545, Singapore                                                         2/6/2020           $31,468.80   Merchandise Vendors
         Esella Trading Private Ltd, 08-02A Far East Finance Bldg, Singapore, 48545, Singapore Total                                                             $31,468.80
Esquel Enterprises Ltd, 25 Harbour Rd Wanchai, Hong Kong                                                                                     2/13/2020            $2,790.97   Merchandise Vendors
Esquel Enterprises Ltd, 25 Harbour Rd Wanchai, Hong Kong                                                                                     2/21/2020            $2,332.80   Merchandise Vendors
Esquel Enterprises Ltd, 25 Harbour Rd Wanchai, Hong Kong                                                                                     2/21/2020            $3,866.81   Merchandise Vendors
Esquel Enterprises Ltd, 25 Harbour Rd Wanchai, Hong Kong                                                                                     2/27/2020               $60.10   Merchandise Vendors
         Esquel Enterprises Ltd, 25 Harbour Rd Wanchai, Hong Kong Total                                                                                           $9,050.68
Esther Park, 312 Washington Ave, Apt 3B Brooklyn, NY 11205                                                                                    5/1/2020            $7,500.00   Services
         Esther Park, 312 Washington Ave, Apt 3B Brooklyn, NY 11205 Total                                                                                         $7,500.00
Eurosort Inc, 55 New Plant Ct Owings Mills, MD 21117                                                                                         3/20/2020            $7,000.00   Services
         Eurosort Inc, 55 New Plant Ct Owings Mills, MD 21117 Total                                                                                               $7,000.00
Everest Textile Co Ltd, 3/F No 168 Tung Hwa North Rd Taiwan                                                                                  3/11/2020           $23,268.20   Merchandise Vendors
         Everest Textile Co Ltd, 3/F No 168 Tung Hwa North Rd Taiwan Total                                                                                       $23,268.20
Experian Marketing Solutions L, P.O. Box 881971 Los Angeles, CA 90088-1971                                                                   2/12/2020           $37,553.25   Services
Experian Marketing Solutions L, P.O. Box 881971 Los Angeles, CA 90088-1971                                                                    3/4/2020          $133,287.00   Services
         Experian Marketing Solutions L, P.O. Box 881971 Los Angeles, CA 90088-1971 Total                                                                       $170,840.25
Factory Reit LLC, P.O. Box 784395 Philadelphia, PA 19178-4395                                                                                 2/4/2020          $227,790.98   Rent/Lease Obligations
Factory Reit LLC, P.O. Box 784395 Philadelphia, PA 19178-4395                                                                                 3/3/2020          $227,790.98   Rent/Lease Obligations
         Factory Reit LLC, P.O. Box 784395 Philadelphia, PA 19178-4395 Total                                                                                    $455,581.96
Fair Harbor Clothing Inc, 6 Glenn Rd Larchmont, NY 10538                                                                                      2/5/2020            $9,437.75   Merchandise Vendors
Fair Harbor Clothing Inc, 6 Glenn Rd Larchmont, NY 10538                                                                                      3/5/2020            $3,065.41   Merchandise Vendors
Fair Harbor Clothing Inc, 6 Glenn Rd Larchmont, NY 10538                                                                                     4/15/2020            $3,933.71   Merchandise Vendors
         Fair Harbor Clothing Inc, 6 Glenn Rd Larchmont, NY 10538 Total                                                                                          $16,436.87
Fair Trade Usa, 1500 Broadway, Ste 400 Oakland, CA 94612                                                                                     2/24/2020           $97,937.50   Services
         Fair Trade Usa, 1500 Broadway, Ste 400 Oakland, CA 94612 Total                                                                                          $97,937.50
Fairfax Co of Virginia LLC, P.O. Box 67000 Detroit, MI 48267-0565                                                                             2/4/2020           $50,109.66   Rent/Lease Obligations



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Fairfax Co of Virginia LLC, P.O. Box 67000 Detroit, MI 48267-0565                                                                      2/19/2020               $21.94   Rent/Lease Obligations
Fairfax Co of Virginia LLC, P.O. Box 67000 Detroit, MI 48267-0565                                                                       3/3/2020           $51,185.93   Rent/Lease Obligations
           Fairfax Co of Virginia LLC, P.O. Box 67000 Detroit, MI 48267-0565 Total                                                                        $101,317.53
Fashion Accessories, Phase Vi Sector 37 Gurgaon Haryana, India                                                                         2/25/2020           $57,366.80   Merchandise Vendors
           Fashion Accessories, Phase Vi Sector 37 Gurgaon Haryana, India Total                                                                            $57,366.80
Fashion Centre Mall LLC, P.O. Box 402792 Atlanta, GA 30384-2792                                                                         2/5/2020           $78,400.18   Rent/Lease Obligations
Fashion Centre Mall LLC, P.O. Box 402792 Atlanta, GA 30384-2792                                                                         3/4/2020           $78,400.18   Rent/Lease Obligations
           Fashion Centre Mall LLC, P.O. Box 402792 Atlanta, GA 30384-2792 Total                                                                          $156,800.36
Fashion Outlets At Foxwoods Ll, P.O. Box 414225 Boston, MA 02241-4225                                                                   2/5/2020            $2,389.38   Rent/Lease Obligations
Fashion Outlets At Foxwoods Ll, P.O. Box 414225 Boston, MA 02241-4225                                                                  2/19/2020           $15,261.81   Rent/Lease Obligations
Fashion Outlets At Foxwoods Ll, P.O. Box 414225 Boston, MA 02241-4225                                                                  2/26/2020            $2,089.17   Rent/Lease Obligations
Fashion Outlets At Foxwoods Ll, P.O. Box 414225 Boston, MA 02241-4225                                                                   3/4/2020            $2,595.60   Rent/Lease Obligations
Fashion Outlets At Foxwoods Ll, P.O. Box 414225 Boston, MA 02241-4225                                                                  3/20/2020            $2,783.03   Rent/Lease Obligations
           Fashion Outlets At Foxwoods Ll, P.O. Box 414225 Boston, MA 02241-4225 Total                                                                     $25,118.99
Fashion Place LLC, Sds-12-2780, P.O. Box 86 Minneapolis, MN 55486-2780                                                                  2/6/2020           $45,278.60   Rent/Lease Obligations
Fashion Place LLC, Sds-12-2780, P.O. Box 86 Minneapolis, MN 55486-2780                                                                  3/5/2020           $45,278.60   Rent/Lease Obligations
           Fashion Place LLC, Sds-12-2780, P.O. Box 86 Minneapolis, MN 55486-2780 Total                                                                    $90,557.20
Fashion Place Mega LLC, Sds-12-2780, P.O. Box 86 Minneapolis, MN 55486-2945                                                             2/6/2020           $21,522.17   Rent/Lease Obligations
Fashion Place Mega LLC, Sds-12-2780, P.O. Box 86 Minneapolis, MN 55486-2945                                                             3/5/2020           $21,522.17   Rent/Lease Obligations
           Fashion Place Mega LLC, Sds-12-2780, P.O. Box 86 Minneapolis, MN 55486-2945 Total                                                               $43,044.34
Federal Merchandising Inc, 3222 East Washington Blvd Vernon, CA 90058                                                                   2/4/2020          $114,379.45   Merchandise Vendors
Federal Merchandising Inc, 3222 East Washington Blvd Vernon, CA 90058                                                                  2/19/2020           $54,881.40   Merchandise Vendors
Federal Merchandising Inc, 3222 East Washington Blvd Vernon, CA 90058                                                                  2/25/2020          $266,263.38   Merchandise Vendors
           Federal Merchandising Inc, 3222 East Washington Blvd Vernon, CA 90058 Total                                                                    $435,524.23
Federal Realty Investment Trus, P.O. Box 8500 Philadelphia, PA 19178-9320                                                               2/4/2020           $16,943.75   Services
Federal Realty Investment Trus, P.O. Box 8500 Philadelphia, PA 19178-9320                                                               3/2/2020           $16,943.75   Services
           Federal Realty Investment Trus, P.O. Box 8500 Philadelphia, PA 19178-9320 Total                                                                 $33,887.50
Fifth Avenue of L I Rlty Assoc, 2110 Northern Blvd, Ste 201 Manhasset, NY 11030                                                         2/5/2020          $168,259.95   Rent/Lease Obligations
Fifth Avenue of L I Rlty Assoc, 2110 Northern Blvd, Ste 201 Manhasset, NY 11030                                                         3/4/2020          $170,259.95   Rent/Lease Obligations
Fifth Avenue of L I Rlty Assoc, 2110 Northern Blvd, Ste 201 Manhasset, NY 11030                                                        3/10/2020           $24,000.00   Rent/Lease Obligations
           Fifth Avenue of L I Rlty Assoc, 2110 Northern Blvd, Ste 201 Manhasset, NY 11030 Total                                                          $362,519.90
Filitaly Lab Srl, Via F Lli Buricchi 1 Vaiano, PO 59021 Italy                                                                           2/6/2020           $11,898.01   Merchandise Vendors
Filitaly Lab Srl, Via F Lli Buricchi 1 Vaiano, PO 59021 Italy                                                                          2/13/2020            $2,217.64   Merchandise Vendors
           Filitaly Lab Srl, Via F Lli Buricchi 1 Vaiano, PO 59021 Italy Total                                                                             $14,115.65
Finsbury LLC, 3 Columbus Cir, 9th Fl New York, NY 10019                                                                                2/26/2020           $24,123.86   Services
Finsbury LLC, 3 Columbus Cir, 9th Fl New York, NY 10019                                                                                4/13/2020          $250,000.00   Services
Finsbury LLC, 3 Columbus Cir, 9th Fl New York, NY 10019                                                                                4/27/2020          $105,202.19   Services
Finsbury LLC, 3 Columbus Cir, 9th Fl New York, NY 10019                                                                                4/27/2020          $123,121.20   Services
Finsbury LLC, 3 Columbus Cir, 9th Fl New York, NY 10019                                                                                 5/1/2020          $840,655.29   Services
           Finsbury LLC, 3 Columbus Cir, 9th Fl New York, NY 10019 Total                                                                                $1,343,102.54
FIO INTERNATIONAL, No 737 Qiaoxing Ave Shatou St, Guangzhou City Panyu, 511400 China                                                   2/18/2020            $7,371.00   Merchandise Vendors
           FIO INTERNATIONAL, No 737 Qiaoxing Ave Shatou St, Guangzhou City Panyu, 511400 China Total                                                       $7,371.00
First Glory Limited, 2 Cheung Yue St Cheung Sha Wan, Kln Hong Kong                                                                     2/12/2020              $512.73   Merchandise Vendors
First Glory Limited, 2 Cheung Yue St Cheung Sha Wan, Kln Hong Kong                                                                     2/24/2020           $28,549.70   Merchandise Vendors
First Glory Limited, 2 Cheung Yue St Cheung Sha Wan, Kln Hong Kong                                                                      3/2/2020              $563.18   Merchandise Vendors
First Glory Limited, 2 Cheung Yue St Cheung Sha Wan, Kln Hong Kong                                                                      3/2/2020              $736.66   Merchandise Vendors
First Glory Limited, 2 Cheung Yue St Cheung Sha Wan, Kln Hong Kong                                                                      3/2/2020            $1,506.28   Merchandise Vendors
First Glory Limited, 2 Cheung Yue St Cheung Sha Wan, Kln Hong Kong                                                                     3/16/2020           $56,491.75   Merchandise Vendors
           First Glory Limited, 2 Cheung Yue St Cheung Sha Wan, Kln Hong Kong Total                                                                        $88,360.30
FIRST GLORY LIMITED, 2 Cheung Yue St, Cheung Sha Wan, Kln Hong Kong                                                                    2/10/2020          $532,819.20   Merchandise Vendors
FIRST GLORY LIMITED, 2 Cheung Yue St, Cheung Sha Wan, Kln Hong Kong                                                                    2/14/2020          $319,210.54   Merchandise Vendors
FIRST GLORY LIMITED, 2 Cheung Yue St, Cheung Sha Wan, Kln Hong Kong                                                                    2/18/2020          $120,966.07   Merchandise Vendors
FIRST GLORY LIMITED, 2 Cheung Yue St, Cheung Sha Wan, Kln Hong Kong                                                                    2/24/2020          $611,543.20   Merchandise Vendors
FIRST GLORY LIMITED, 2 Cheung Yue St, Cheung Sha Wan, Kln Hong Kong                                                                     3/6/2020          $148,984.69   Merchandise Vendors
FIRST GLORY LIMITED, 2 Cheung Yue St, Cheung Sha Wan, Kln Hong Kong                                                                     3/9/2020           $35,260.66   Merchandise Vendors
           FIRST GLORY LIMITED, 2 Cheung Yue St, Cheung Sha Wan, Kln Hong Kong Total                                                                    $1,768,784.36
FIRST GLORY LIMITED, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                                                   3/10/2020          $273,688.83   Merchandise Vendors



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                                                                    Creditor’s name and address                                    Dates           or value                   or transfer
         FIRST GLORY LIMITED, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                                                   $273,688.83
Fisher And Baker LLC, 610 Se Ninth St, Ste 201 Minneapolis, MN 55414                                                               2/14/2020            $9,407.16   Merchandise Vendors
Fisher And Baker LLC, 610 Se Ninth St, Ste 201 Minneapolis, MN 55414                                                               3/12/2020            $1,529.85   Merchandise Vendors
         Fisher And Baker LLC, 610 Se Ninth St, Ste 201 Minneapolis, MN 55414 Total                                                                    $10,937.01
Flaunt Model Management Inc, 35 West 35th St, Ste 901 New York, NY 10001                                                           2/11/2020              $600.00   Services
Flaunt Model Management Inc, 35 West 35th St, Ste 901 New York, NY 10001                                                           2/19/2020            $9,525.00   Services
         Flaunt Model Management Inc, 35 West 35th St, Ste 901 New York, NY 10001 Total                                                                $10,125.00
Floor Care Specialists Inc, 525 Wilson St Danville, VA 24541                                                                       4/17/2020           $10,500.00   Services
         Floor Care Specialists Inc, 525 Wilson St Danville, VA 24541 Total                                                                            $10,500.00
Floor Ready Services Inc, 94 Glenn Bridge Rd Arden, NC 28704                                                                        2/4/2020           $19,542.10   Services
Floor Ready Services Inc, 94 Glenn Bridge Rd Arden, NC 28704                                                                       2/12/2020           $27,830.52   Services
Floor Ready Services Inc, 94 Glenn Bridge Rd Arden, NC 28704                                                                       2/19/2020           $23,294.18   Services
Floor Ready Services Inc, 94 Glenn Bridge Rd Arden, NC 28704                                                                       2/26/2020           $19,748.06   Services
Floor Ready Services Inc, 94 Glenn Bridge Rd Arden, NC 28704                                                                        3/4/2020           $42,109.07   Services
Floor Ready Services Inc, 94 Glenn Bridge Rd Arden, NC 28704                                                                       3/31/2020           $15,093.30   Services
Floor Ready Services Inc, 94 Glenn Bridge Rd Arden, NC 28704                                                                        4/7/2020           $48,322.28   Services
Floor Ready Services Inc, 94 Glenn Bridge Rd Arden, NC 28704                                                                       4/14/2020            $9,086.44   Services
Floor Ready Services Inc, 94 Glenn Bridge Rd Arden, NC 28704                                                                       4/21/2020            $7,919.87   Services
         Floor Ready Services Inc, 94 Glenn Bridge Rd Arden, NC 28704 Total                                                                           $212,945.82
Flo-Tech LLC, 2845 N Omaha St Mesa, AZ 85215                                                                                       4/28/2020          $409,366.49   Services
         Flo-Tech LLC, 2845 N Omaha St Mesa, AZ 85215 Total                                                                                           $409,366.49
Forbes Cohen Florida Propertie, 16156 Collections Center Dr Chicago, IL 60693                                                       2/5/2020           $31,707.34   Rent/Lease Obligations
Forbes Cohen Florida Propertie, 16156 Collections Center Dr Chicago, IL 60693                                                      2/24/2020            $1,958.26   Rent/Lease Obligations
Forbes Cohen Florida Propertie, 16156 Collections Center Dr Chicago, IL 60693                                                       3/4/2020           $32,701.87   Rent/Lease Obligations
         Forbes Cohen Florida Propertie, 16156 Collections Center Dr Chicago, IL 60693 Total                                                           $66,367.47
Forbes Taubman Orlando LLC, 16286 Collections Center Dr Chicago, IL 60693                                                           2/5/2020           $35,669.71   Rent/Lease Obligations
Forbes Taubman Orlando LLC, 16286 Collections Center Dr Chicago, IL 60693                                                           3/4/2020           $35,747.71   Rent/Lease Obligations
         Forbes Taubman Orlando LLC, 16286 Collections Center Dr Chicago, IL 60693 Total                                                               $71,417.42
Ford Models Inc, 11 East 26th St 14th Fl New York, NY 10010                                                                         2/4/2020           $16,800.00   Services
         Ford Models Inc, 11 East 26th St 14th Fl New York, NY 10010 Total                                                                             $16,800.00
Forecast Horizon Inc, 6116 Telegraph Ave, Ste 306 Oakland, CA 94609                                                                3/18/2020           $48,000.00   Services
         Forecast Horizon Inc, 6116 Telegraph Ave, Ste 306 Oakland, CA 94609 Total                                                                     $48,000.00
Fortna, 333 Buttonwood St West Reading, PA 19611                                                                                   4/17/2020           $15,054.65   Services
         Fortna, 333 Buttonwood St West Reading, PA 19611 Total                                                                                        $15,054.65
FORTUNE CATHAY TRADING LTD, 681 4188 Ln Jiason Mid Rord, Shanghai, 201700 China                                                    2/14/2020           $72,294.68   Merchandise Vendors
FORTUNE CATHAY TRADING LTD, 681 4188 Ln Jiason Mid Rord, Shanghai, 201700 China                                                    2/18/2020          $263,339.16   Merchandise Vendors
FORTUNE CATHAY TRADING LTD, 681 4188 Ln Jiason Mid Rord, Shanghai, 201700 China                                                     3/2/2020           $82,563.34   Merchandise Vendors
         FORTUNE CATHAY TRADING LTD, 681 4188 Ln Jiason Mid Rord, Shanghai, 201700 China Total                                                        $418,197.18
Four Corners Media, 275 Conover St, Ste 4P Brooklyn, NY 11231                                                                      2/19/2020            $5,000.00   Services
Four Corners Media, 275 Conover St, Ste 4P Brooklyn, NY 11231                                                                      4/28/2020           $40,000.00   Services
         Four Corners Media, 275 Conover St, Ste 4P Brooklyn, NY 11231 Total                                                                           $45,000.00
Four State Properties LLC, Sds-12-2891, P.O. Box 86 Minneapolis, MN 55486-2891                                                      2/4/2020           $30,577.20   Rent/Lease Obligations
Four State Properties LLC, Sds-12-2891, P.O. Box 86 Minneapolis, MN 55486-2891                                                      2/5/2020           $28,797.12   Rent/Lease Obligations
Four State Properties LLC, Sds-12-2891, P.O. Box 86 Minneapolis, MN 55486-2891                                                      2/6/2020           $59,260.56   Rent/Lease Obligations
Four State Properties LLC, Sds-12-2891, P.O. Box 86 Minneapolis, MN 55486-2891                                                     2/26/2020           $10,255.05   Rent/Lease Obligations
Four State Properties LLC, Sds-12-2891, P.O. Box 86 Minneapolis, MN 55486-2891                                                      3/5/2020           $59,260.56   Rent/Lease Obligations
Four State Properties LLC, Sds-12-2891, P.O. Box 86 Minneapolis, MN 55486-2891                                                      3/6/2020           $28,797.12   Rent/Lease Obligations
Four State Properties LLC, Sds-12-2891, P.O. Box 86 Minneapolis, MN 55486-2891                                                      3/6/2020           $30,577.20   Rent/Lease Obligations
Four State Properties LLC, Sds-12-2891, P.O. Box 86 Minneapolis, MN 55486-2891                                                     3/23/2020           $11,195.22   Rent/Lease Obligations
         Four State Properties LLC, Sds-12-2891, P.O. Box 86 Minneapolis, MN 55486-2891 Total                                                         $258,720.03
Fourlaps LLC, 110 E 25th St New York, NY 10010                                                                                     2/11/2020            $5,854.98   Merchandise Vendors
Fourlaps LLC, 110 E 25th St New York, NY 10010                                                                                      3/3/2020            $2,050.49   Merchandise Vendors
         Fourlaps LLC, 110 E 25th St New York, NY 10010 Total                                                                                           $7,905.47
Fr Westgate Mall LLC, P.O. Box 846073 Los Angeles, CA 90084-6073                                                                    2/4/2020           $19,118.75   Rent/Lease Obligations
Fr Westgate Mall LLC, P.O. Box 846073 Los Angeles, CA 90084-6073                                                                    3/4/2020           $19,118.75   Rent/Lease Obligations
         Fr Westgate Mall LLC, P.O. Box 846073 Los Angeles, CA 90084-6073 Total                                                                        $38,237.50
Frit San Jose Town & Country, c/o Federal Realty Inv Trust City Of Industry, CA 91716                                               2/5/2020           $27,296.89   Rent/Lease Obligations



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Frit San Jose Town & Country, c/o Federal Realty Inv Trust City Of Industry, CA 91716                                                     3/4/2020           $27,296.89   Rent/Lease Obligations
Frit San Jose Town & Country, c/o Federal Realty Inv Trust City Of Industry, CA 91716                                                    3/20/2020            $1,761.38   Rent/Lease Obligations
          Frit San Jose Town & Country, c/o Federal Realty Inv Trust City Of Industry, CA 91716 Total                                                        $56,355.16
Fritz Farm Retail Company LLC, Bayer Properties, LLC Attn: General Counsel 2222 Arlington Ave Birmingham, AL 35205                        2/5/2020            $8,790.73   Rent/Lease Obligations
Fritz Farm Retail Company LLC, Bayer Properties, LLC Attn: General Counsel 2222 Arlington Ave Birmingham, AL 35205                        3/5/2020            $8,790.73   Rent/Lease Obligations
          Fritz Farm Retail Company LLC, Bayer Properties, LLC Attn: General Counsel 2222 Arlington Ave Birmingham, AL 35205 Total                           $17,581.46
FSH Associates LP, P.O. Box 414225 Boston, MA 02241-4225                                                                                  2/5/2020           $10,622.33   Rent/Lease Obligations
FSH Associates LP, P.O. Box 414225 Boston, MA 02241-4225                                                                                  3/4/2020           $10,622.33   Rent/Lease Obligations
          FSH Associates LP, P.O. Box 414225 Boston, MA 02241-4225 Total                                                                                     $21,244.66
Fti Consulting Inc, 555 12th St NW, Ste 700 Washington, DC 20004                                                                         4/30/2020          $142,440.50   Services
          Fti Consulting Inc, 555 12th St NW, Ste 700 Washington, DC 20004 Total                                                                            $142,440.50
Fuchuen Enterprises Hk Co Ltd, 2-4 Sheung Hei St 2Nd Fl San Po Kong, KLN Hong Kong                                                        3/3/2020           $11,539.15   Merchandise Vendors
          Fuchuen Enterprises Hk Co Ltd, 2-4 Sheung Hei St 2Nd Fl San Po Kong, KLN Hong Kong Total                                                           $11,539.15
Futurite International Co LTD, P.O. Box 3151 Rd Town Tortola, VG1110 British Virgin Islands                                               2/7/2020          $276,826.01   Merchandise Vendors
Futurite International Co LTD, P.O. Box 3151 Rd Town Tortola, VG1110 British Virgin Islands                                              2/28/2020          $183,299.84   Merchandise Vendors
          Futurite International Co LTD, P.O. Box 3151 Rd Town Tortola, VG1110 British Virgin Islands Total                                                 $460,125.85
Garda Cl Atlantic Inc, 3209 Momentum Pl Chicago, IL 60689-0001                                                                           2/26/2020           $38,512.64   Services
Garda Cl Atlantic Inc, 3209 Momentum Pl Chicago, IL 60689-0001                                                                           4/23/2020           $71,054.26   Services
          Garda Cl Atlantic Inc, 3209 Momentum Pl Chicago, IL 60689-0001 Total                                                                              $109,566.90
Gartner, Inc, 56 Top Gallant Rd Stamford, CT 06902                                                                                        3/2/2020           $15,979.38   Services
          Gartner, Inc, 56 Top Gallant Rd Stamford, CT 06902 Total                                                                                           $15,979.38
Gateway Knollwood LLC, 5353 Wayzata Blvd, Ste 650 Minneapolis, MN 55416                                                                   2/5/2020           $20,868.99   Rent/Lease Obligations
Gateway Knollwood LLC, 5353 Wayzata Blvd, Ste 650 Minneapolis, MN 55416                                                                   3/9/2020           $21,423.93   Rent/Lease Obligations
          Gateway Knollwood LLC, 5353 Wayzata Blvd, Ste 650 Minneapolis, MN 55416 Total                                                                      $42,292.92
Gateway Square LLC, P.O. Box 404133 Atlanta, GA 30384-4133                                                                                2/5/2020           $16,744.38   Rent/Lease Obligations
Gateway Square LLC, P.O. Box 404133 Atlanta, GA 30384-4133                                                                                3/4/2020           $16,744.38   Rent/Lease Obligations
          Gateway Square LLC, P.O. Box 404133 Atlanta, GA 30384-4133 Total                                                                                   $33,488.76
Gateway Woodside Inc, File 55770 Los Angeles, CA 90074-5770                                                                               2/4/2020           $22,000.93   Rent/Lease Obligations
Gateway Woodside Inc, File 55770 Los Angeles, CA 90074-5770                                                                               3/9/2020           $22,000.93   Rent/Lease Obligations
          Gateway Woodside Inc, File 55770 Los Angeles, CA 90074-5770 Total                                                                                  $44,001.86
GAURAV INTERNATIONAL, Plot No 236 Udyog Vihar, Gurgaon, 7 India                                                                           2/3/2020           $69,742.56   Merchandise Vendors
GAURAV INTERNATIONAL, Plot No 236 Udyog Vihar, Gurgaon, 7 India                                                                          2/18/2020           $55,063.68   Merchandise Vendors
GAURAV INTERNATIONAL, Plot No 236 Udyog Vihar, Gurgaon, 7 India                                                                          2/21/2020           $40,337.28   Merchandise Vendors
GAURAV INTERNATIONAL, Plot No 236 Udyog Vihar, Gurgaon, 7 India                                                                          2/24/2020           $50,649.60   Merchandise Vendors
GAURAV INTERNATIONAL, Plot No 236 Udyog Vihar, Gurgaon, 7 India                                                                           3/2/2020          $175,355.08   Merchandise Vendors
          GAURAV INTERNATIONAL, Plot No 236 Udyog Vihar, Gurgaon, 7 India Total                                                                             $391,148.20
Georgia Pacific Corrugated LLC, P.O. Box 409221 Atlanta, GA 30384-9221                                                                    2/5/2020           $35,786.93   Services
Georgia Pacific Corrugated LLC, P.O. Box 409221 Atlanta, GA 30384-9221                                                                   2/12/2020           $23,954.09   Services
Georgia Pacific Corrugated LLC, P.O. Box 409221 Atlanta, GA 30384-9221                                                                   2/19/2020           $22,085.92   Services
Georgia Pacific Corrugated LLC, P.O. Box 409221 Atlanta, GA 30384-9221                                                                   2/27/2020            $1,022.45   Services
Georgia Pacific Corrugated LLC, P.O. Box 409221 Atlanta, GA 30384-9221                                                                    3/4/2020           $11,006.93   Services
Georgia Pacific Corrugated LLC, P.O. Box 409221 Atlanta, GA 30384-9221                                                                   3/10/2020           $44,465.52   Services
Georgia Pacific Corrugated LLC, P.O. Box 409221 Atlanta, GA 30384-9221                                                                   4/20/2020           $46,782.01   Services
Georgia Pacific Corrugated LLC, P.O. Box 409221 Atlanta, GA 30384-9221                                                                   4/27/2020           $30,745.37   Services
          Georgia Pacific Corrugated LLC, P.O. Box 409221 Atlanta, GA 30384-9221 Total                                                                      $215,849.22
Gfm LLC, P.O. Box 31001-1534 Pasadena, CA 91110-1534                                                                                      2/4/2020          $384,364.87   Rent/Lease Obligations
Gfm LLC, P.O. Box 31001-1534 Pasadena, CA 91110-1534                                                                                     2/20/2020           $56,516.40   Rent/Lease Obligations
Gfm LLC, P.O. Box 31001-1534 Pasadena, CA 91110-1534                                                                                      3/4/2020          $412,623.07   Rent/Lease Obligations
Gfm LLC, P.O. Box 31001-1534 Pasadena, CA 91110-1534                                                                                     3/10/2020            $6,973.93   Rent/Lease Obligations
          Gfm LLC, P.O. Box 31001-1534 Pasadena, CA 91110-1534 Total                                                                                        $860,478.27
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                          2/4/2020           $48,460.16   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                          2/5/2020           $44,998.22   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                          2/5/2020           $54,864.32   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                          2/6/2020              $866.57   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                          2/6/2020           $32,238.28   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                          2/7/2020           $62,522.40   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                         2/19/2020           $67,353.91   Rent/Lease Obligations



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Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                        3/5/2020           $32,238.28   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                        3/5/2020           $54,864.32   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                        3/6/2020              $866.57   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                        3/6/2020           $44,998.22   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                        3/6/2020           $62,522.40   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                       3/12/2020               $25.00   Rent/Lease Obligations
Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110                                                       3/12/2020           $48,460.16   Rent/Lease Obligations
        Ggp Cpp Plaza Frontenac LLC, Sds-12-3110, P.O. Box 86 Minneapolis, MN 55486-3110 Total                                                            $555,278.81
Ggp/Homart Ii LLC, P.O. Box 860667 Minneapolis, MN 55486-0667                                                                           2/5/2020           $62,815.71   Rent/Lease Obligations
Ggp/Homart Ii LLC, P.O. Box 860667 Minneapolis, MN 55486-0667                                                                          2/26/2020            $9,725.04   Rent/Lease Obligations
Ggp/Homart Ii LLC, P.O. Box 860667 Minneapolis, MN 55486-0667                                                                           3/9/2020           $64,415.71   Rent/Lease Obligations
        Ggp/Homart Ii LLC, P.O. Box 860667 Minneapolis, MN 55486-0667 Total                                                                               $136,956.46
Ggplp LLC, 7846 Solution Center Chicago, IL 60677-7008                                                                                  2/6/2020           $32,475.69   Rent/Lease Obligations
Ggplp LLC, 7846 Solution Center Chicago, IL 60677-7008                                                                                  2/7/2020           $17,333.33   Rent/Lease Obligations
Ggplp LLC, 7846 Solution Center Chicago, IL 60677-7008                                                                                 2/19/2020            $2,558.19   Rent/Lease Obligations
Ggplp LLC, 7846 Solution Center Chicago, IL 60677-7008                                                                                  3/5/2020           $56,572.09   Rent/Lease Obligations
Ggplp LLC, 7846 Solution Center Chicago, IL 60677-7008                                                                                  3/6/2020           $17,333.33   Rent/Lease Obligations
        Ggplp LLC, 7846 Solution Center Chicago, IL 60677-7008 Total                                                                                      $126,272.63
Ggplp Real Estate Inc, 2701 Solution Center Chicago, IL 60677-2007                                                                      2/5/2020           $12,496.31   Rent/Lease Obligations
Ggplp Real Estate Inc, 2701 Solution Center Chicago, IL 60677-2007                                                                      2/7/2020           $34,611.01   Rent/Lease Obligations
Ggplp Real Estate Inc, 2701 Solution Center Chicago, IL 60677-2007                                                                      2/7/2020           $56,353.09   Rent/Lease Obligations
Ggplp Real Estate Inc, 2701 Solution Center Chicago, IL 60677-2007                                                                      3/6/2020           $12,496.31   Rent/Lease Obligations
Ggplp Real Estate Inc, 2701 Solution Center Chicago, IL 60677-2007                                                                      3/6/2020           $34,611.01   Rent/Lease Obligations
Ggplp Real Estate Inc, 2701 Solution Center Chicago, IL 60677-2007                                                                      3/6/2020           $56,506.75   Rent/Lease Obligations
        Ggplp Real Estate Inc, 2701 Solution Center Chicago, IL 60677-2007 Total                                                                          $207,074.48
Ggp-Trs LLC, P.O. Box 86 Minneapolis, MN 55486-3080                                                                                     2/5/2020           $21,610.96   Rent/Lease Obligations
Ggp-Trs LLC, P.O. Box 86 Minneapolis, MN 55486-3080                                                                                     2/5/2020          $102,774.39   Rent/Lease Obligations
Ggp-Trs LLC, P.O. Box 86 Minneapolis, MN 55486-3080                                                                                     3/6/2020           $21,610.96   Rent/Lease Obligations
Ggp-Trs LLC, P.O. Box 86 Minneapolis, MN 55486-3080                                                                                     3/6/2020           $43,332.47   Rent/Lease Obligations
        Ggp-Trs LLC, P.O. Box 86 Minneapolis, MN 55486-3080 Total                                                                                         $189,328.78
GHIM LI GLOBAL PTE LTD, 21 Jalan Mesin Singapore, 368819 Singapore                                                                      2/7/2020           $13,745.60   Merchandise Vendors
        GHIM LI GLOBAL PTE LTD, 21 Jalan Mesin Singapore, 368819 Singapore Total                                                                           $13,745.60
Glimcher Properties, Huntington National Bank L-3581 Columbus, OH 43260                                                                 2/4/2020           $14,151.07   Rent/Lease Obligations
Glimcher Properties, Huntington National Bank L-3581 Columbus, OH 43260                                                                 2/4/2020           $44,056.41   Rent/Lease Obligations
Glimcher Properties, Huntington National Bank L-3581 Columbus, OH 43260                                                                2/27/2020            $1,889.64   Rent/Lease Obligations
Glimcher Properties, Huntington National Bank L-3581 Columbus, OH 43260                                                                 3/4/2020           $14,151.07   Rent/Lease Obligations
Glimcher Properties, Huntington National Bank L-3581 Columbus, OH 43260                                                                 3/5/2020           $45,953.75   Rent/Lease Obligations
        Glimcher Properties, Huntington National Bank L-3581 Columbus, OH 43260 Total                                                                     $120,201.94
Global Facility Management And, 525 Broadhollow Rd, Ste 100 Melville, NY 11747                                                         2/11/2020           $40,396.77   Services
Global Facility Management And, 525 Broadhollow Rd, Ste 100 Melville, NY 11747                                                         2/25/2020           $39,013.75   Services
Global Facility Management And, 525 Broadhollow Rd, Ste 100 Melville, NY 11747                                                          3/3/2020           $38,229.84   Services
        Global Facility Management And, 525 Broadhollow Rd, Ste 100 Melville, NY 11747 Total                                                              $117,640.36
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    3/19/2020           $38,216.09   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020               $33.12   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020               $46.69   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020               $56.68   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020              $437.18   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020              $587.06   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020              $680.40   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020              $969.70   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020            $1,146.82   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020            $1,757.03   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020            $2,341.59   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020            $2,897.28   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020            $3,148.85   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020            $4,066.56   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                    4/27/2020            $4,296.36   Merchandise Vendors



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Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                                        4/27/2020            $4,994.78   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                                        4/27/2020            $6,009.86   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                                        4/27/2020            $6,914.40   Merchandise Vendors
Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong                                                                        4/27/2020            $8,640.78   Merchandise Vendors
         Global One Headwear Ltd, 26-28 Au Pui Wan St Fotan Shatin, Hong Kong, NT, Hong Kong Total                                                                             $87,241.23
GLOBAL SHOES SARL, Imm F2 Etage 2 N8, Mohammedia, 20800 Morocco                                                                                             3/6/2020          $280,493.92   Merchandise Vendors
         GLOBAL SHOES SARL, Imm F2 Etage 2 N8, Mohammedia, 20800 Morocco Total                                                                                                $280,493.92
GOLDEN HORIZON TRADING CO, No 127 Chang Shou Rd Huizhou, 190 516100 China                                                                                  2/28/2020            $8,029.00   Merchandise Vendors
         GOLDEN HORIZON TRADING CO, No 127 Chang Shou Rd Huizhou, 190 516100 China Total                                                                                        $8,029.00
Gpt Longmeadow LLC, Grove Property Fund Attn: Mr Ed Navarro 36 Welles St, Ste 200 Glastonbury, CT 06033                                                     2/5/2020           $17,172.25   Rent/Lease Obligations
Gpt Longmeadow LLC, Grove Property Fund Attn: Mr Ed Navarro 36 Welles St, Ste 200 Glastonbury, CT 06033                                                     3/3/2020           $17,172.25   Rent/Lease Obligations
         Gpt Longmeadow LLC, Grove Property Fund Attn: Mr Ed Navarro 36 Welles St, Ste 200 Glastonbury, CT 06033 Total                                                         $34,344.50
GRAINGER PALATINE IL, Dept 648-809172273 Palatine, IL 60038-0001                                                                                           2/20/2020            $3,516.37   Services
GRAINGER PALATINE IL, Dept 648-809172273 Palatine, IL 60038-0001                                                                                           4/22/2020           $15,914.46   Services
         GRAINGER PALATINE IL, Dept 648-809172273 Palatine, IL 60038-0001 Total                                                                                                $19,430.83
Grand Prairie Premium Outlets, P.O. Box 748315 Los Angeles, CA 90074-8315                                                                                   2/4/2020           $22,753.57   Rent/Lease Obligations
Grand Prairie Premium Outlets, P.O. Box 748315 Los Angeles, CA 90074-8315                                                                                  2/28/2020               $16.47   Rent/Lease Obligations
Grand Prairie Premium Outlets, P.O. Box 748315 Los Angeles, CA 90074-8315                                                                                   3/5/2020           $22,753.57   Rent/Lease Obligations
         Grand Prairie Premium Outlets, P.O. Box 748315 Los Angeles, CA 90074-8315 Total                                                                                       $45,523.61
Granite Telecommunications, 2975 W Corporate Lakes Blvd Weston, FL 33331                                                                                   2/14/2020                $6.54   Services
Granite Telecommunications, 2975 W Corporate Lakes Blvd Weston, FL 33331                                                                                    3/2/2020           $80,586.96   Services
Granite Telecommunications, 2975 W Corporate Lakes Blvd Weston, FL 33331                                                                                   3/17/2020           $77,385.13   Services
         Granite Telecommunications, 2975 W Corporate Lakes Blvd Weston, FL 33331 Total                                                                                       $157,978.63
Grant Barnett & Co Ltd, 55-61 South St Bishops Stortford, HT CM23 3AL United Kingdom                                                                       2/10/2020           $81,812.25   Merchandise Vendors
Grant Barnett & Co Ltd, 55-61 South St Bishops Stortford, HT CM23 3AL United Kingdom                                                                       2/27/2020           $46,260.75   Merchandise Vendors
Grant Barnett & Co Ltd, 55-61 South St Bishops Stortford, HT CM23 3AL United Kingdom                                                                       2/27/2020           $56,826.07   Merchandise Vendors
         Grant Barnett & Co Ltd, 55-61 South St Bishops Stortford, HT CM23 3AL United Kingdom Total                                                                           $184,899.07
Grant Stone LLC, 9007 First St Baroda, MI 49101                                                                                                            2/12/2020           $10,818.57   Merchandise Vendors
Grant Stone LLC, 9007 First St Baroda, MI 49101                                                                                                            3/12/2020            $4,285.52   Merchandise Vendors
Grant Stone LLC, 9007 First St Baroda, MI 49101                                                                                                            4/15/2020            $3,600.70   Merchandise Vendors
         Grant Stone LLC, 9007 First St Baroda, MI 49101 Total                                                                                                                 $18,704.79
Grant Thornton LLP, 33562 Treasury Center Chicago, IL 60694-3500                                                                                           2/20/2020           $22,670.50   Services
Grant Thornton LLP, 33562 Treasury Center Chicago, IL 60694-3500                                                                                            3/4/2020           $28,224.50   Services
Grant Thornton LLP, 33562 Treasury Center Chicago, IL 60694-3500                                                                                           4/29/2020           $15,771.47   Services
Grant Thornton LLP, 33562 Treasury Center Chicago, IL 60694-3500                                                                                            5/1/2020           $50,997.00   Services
         Grant Thornton LLP, 33562 Treasury Center Chicago, IL 60694-3500 Total                                                                                               $117,663.47
Grapevine Mills Mall Limited, P.O. Box 198189 Atlanta, GA 30384-8189                                                                                        2/5/2020           $23,557.94   Rent/Lease Obligations
Grapevine Mills Mall Limited, P.O. Box 198189 Atlanta, GA 30384-8189                                                                                        3/4/2020           $23,557.94   Rent/Lease Obligations
         Grapevine Mills Mall Limited, P.O. Box 198189 Atlanta, GA 30384-8189 Total                                                                                            $47,115.88
Great American Group Advisory, 21255 Burbank Blvd, Ste 4Oo Woodland Hills, CA 91367                                                                        4/21/2020           $37,500.00   Services
         Great American Group Advisory, 21255 Burbank Blvd, Ste 4Oo Woodland Hills, CA 91367 Total                                                                             $37,500.00
Green Hills Mall TRG LLC, Attn: General Counsel c/o The Taubman Company LL 200 East Long Lake Rd, Ste 300 Bloomfield Hills, MI 48304-2324                   2/4/2020           $90,504.15   Rent/Lease Obligations
Green Hills Mall TRG LLC, Attn: General Counsel c/o The Taubman Company LL 200 East Long Lake Rd, Ste 300 Bloomfield Hills, MI 48304-2324                  2/25/2020            $5,050.86   Rent/Lease Obligations
Green Hills Mall TRG LLC, Attn: General Counsel c/o The Taubman Company LL 200 East Long Lake Rd, Ste 300 Bloomfield Hills, MI 48304-2324                   3/3/2020           $92,814.93   Rent/Lease Obligations
         Green Hills Mall TRG LLC, Attn: General Counsel c/o The Taubman Company LL 200 East Long Lake Rd, Ste 300 Bloomfield Hills, MI 48304-2324 Total                      $188,369.94
Grove City Factory Shops LP, P.O. Box 776260 Chicago, IL 60677-6260                                                                                         2/6/2020           $32,468.40   Rent/Lease Obligations
Grove City Factory Shops LP, P.O. Box 776260 Chicago, IL 60677-6260                                                                                        2/21/2020              $384.00   Rent/Lease Obligations
Grove City Factory Shops LP, P.O. Box 776260 Chicago, IL 60677-6260                                                                                         3/6/2020           $32,468.40   Rent/Lease Obligations
         Grove City Factory Shops LP, P.O. Box 776260 Chicago, IL 60677-6260 Total                                                                                             $65,320.80
Gulf Coast Factory Shops, P.O. Box 776266 Chicago, IL 60677                                                                                                 2/6/2020           $22,500.49   Rent/Lease Obligations
Gulf Coast Factory Shops, P.O. Box 776266 Chicago, IL 60677                                                                                                 3/6/2020           $22,500.49   Rent/Lease Obligations
         Gulf Coast Factory Shops, P.O. Box 776266 Chicago, IL 60677 Total                                                                                                     $45,000.98
Gulfport Factory Shops, P.O. Box 776257 Chicago, IL 60677-6257                                                                                              2/6/2020           $16,840.14   Rent/Lease Obligations
Gulfport Factory Shops, P.O. Box 776257 Chicago, IL 60677-6257                                                                                             2/21/2020              $611.77   Rent/Lease Obligations
Gulfport Factory Shops, P.O. Box 776257 Chicago, IL 60677-6257                                                                                              3/6/2020           $17,441.56   Rent/Lease Obligations
         Gulfport Factory Shops, P.O. Box 776257 Chicago, IL 60677-6257 Total                                                                                                  $34,893.47
Gx Bridge Inc, 2855 Rue Centre 414 Montreal, QC H3K 3C4 Canada                                                                                             2/25/2020            $7,694.00   Services



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         Gx Bridge Inc, 2855 Rue Centre 414 Montreal, QC H3K 3C4 Canada Total                                                                            $7,694.00
H Kuntzler Industria De, Avenida Sao Miguel 95 Dois Irmaos, RS 93950 000 Brazil                                                     3/19/2020            $5,214.25   Merchandise Vendors
H Kuntzler Industria De, Avenida Sao Miguel 95 Dois Irmaos, RS 93950 000 Brazil                                                     3/19/2020            $6,658.50   Merchandise Vendors
         H Kuntzler Industria De, Avenida Sao Miguel 95 Dois Irmaos, RS 93950 000 Brazil Total                                                          $11,872.75
H. KUNTZLER INDUSTRIA DE CALCADOS, Avenida Sao Miguel 95, Dois Irmaos, RS 93950 000 Brazil                                           3/9/2020          $110,301.31   Merchandise Vendors
         H. KUNTZLER INDUSTRIA DE CALCADOS, Avenida Sao Miguel 95, Dois Irmaos, RS 93950 000 Brazil Total                                              $110,301.31
H.KUNTZLER INDUSTRIA DE CALCADOS, Avenida Sao Miguel 95, Dois Irmaos, RS 93950 000 Brazil                                           3/17/2020           $38,257.73   Merchandise Vendors
         H.KUNTZLER INDUSTRIA DE CALCADOS, Avenida Sao Miguel 95, Dois Irmaos, RS 93950 000 Brazil Total                                                $38,257.73
Hachette Book Group Usa, P.O. Box 8828 Boston, MA 02114-8828                                                                        2/20/2020           $56,361.20   Services
Hachette Book Group Usa, P.O. Box 8828 Boston, MA 02114-8828                                                                         3/2/2020              $251.40   Services
         Hachette Book Group Usa, P.O. Box 8828 Boston, MA 02114-8828 Total                                                                             $56,612.60
HANA FINANCIAL INC, 1000 Wilshire Blvd., 20th Floor Los Angeles, CA. 90017-2407                                                     3/12/2020          $293,312.14   Services
HANA FINANCIAL INC, 1000 Wilshire Blvd., 20th Floor Los Angeles, CA. 90017-2407                                                     4/28/2020          $783,009.15   Services
         HANA FINANCIAL INC, 1000 Wilshire Blvd., 20th Floor Los Angeles, CA. 90017-2407 Total                                                       $1,076,321.29
Hana Textile Co, Danji Gil 21 Seongji Eup Seongji Gun Gyungbuk, South Korea                                                         2/18/2020           $14,747.10   Merchandise Vendors
         Hana Textile Co, Danji Gil 21 Seongji Eup Seongji Gun Gyungbuk, South Korea Total                                                              $14,747.10
Hanro Usa Inc, 34 Industrial Way East, Ste 3 Eatontown, NJ 07724                                                                    2/10/2020           $16,594.29   Merchandise Vendors
Hanro Usa Inc, 34 Industrial Way East, Ste 3 Eatontown, NJ 07724                                                                     3/9/2020            $7,958.26   Merchandise Vendors
Hanro Usa Inc, 34 Industrial Way East, Ste 3 Eatontown, NJ 07724                                                                    4/20/2020            $7,395.03   Merchandise Vendors
         Hanro Usa Inc, 34 Industrial Way East, Ste 3 Eatontown, NJ 07724 Total                                                                         $31,947.58
Harbor East Parcel D Retail 2, P.O. Box 742224 Atlanta, GA 30374-2224                                                                2/5/2020           $27,798.12   Services
Harbor East Parcel D Retail 2, P.O. Box 742224 Atlanta, GA 30374-2224                                                               2/27/2020              $619.62   Services
Harbor East Parcel D Retail 2, P.O. Box 742224 Atlanta, GA 30374-2224                                                                3/4/2020           $25,153.56   Services
Harbor East Parcel D Retail 2, P.O. Box 742224 Atlanta, GA 30374-2224                                                               3/10/2020              $811.23   Services
Harbor East Parcel D Retail 2, P.O. Box 742224 Atlanta, GA 30374-2224                                                               3/23/2020              $325.52   Services
         Harbor East Parcel D Retail 2, P.O. Box 742224 Atlanta, GA 30374-2224 Total                                                                    $54,708.05
Hari Mari, 208 South Haskell Ave Dallas, TX 75226                                                                                    2/5/2020            $3,308.63   Merchandise Vendors
Hari Mari, 208 South Haskell Ave Dallas, TX 75226                                                                                    3/5/2020            $1,255.60   Merchandise Vendors
Hari Mari, 208 South Haskell Ave Dallas, TX 75226                                                                                   4/15/2020            $3,087.77   Merchandise Vendors
         Hari Mari, 208 South Haskell Ave Dallas, TX 75226 Total                                                                                         $7,652.00
Hatch Collection LLC, 412 Broadway 5th Fl New York, NY 10013                                                                         2/7/2020           $11,195.63   Services
Hatch Collection LLC, 412 Broadway 5th Fl New York, NY 10013                                                                        2/20/2020           $40,374.00   Services
Hatch Collection LLC, 412 Broadway 5th Fl New York, NY 10013                                                                         3/4/2020           $12,587.03   Services
Hatch Collection LLC, 412 Broadway 5th Fl New York, NY 10013                                                                        4/27/2020            $7,463.79   Services
         Hatch Collection LLC, 412 Broadway 5th Fl New York, NY 10013 Total                                                                             $71,620.45
HAYSTACK NEEDLE LLC, 2280 Eighth Avenue New York, NY, 10027                                                                          5/1/2020           $42,000.00   Services
         HAYSTACK NEEDLE LLC, 2280 Eighth Avenue New York, NY, 10027 Total                                                                              $42,000.00
Hc2 Inc, 360 Lexington Ave 11th Fl New York, NY 10017                                                                                2/7/2020            $7,800.00   Services
Hc2 Inc, 360 Lexington Ave 11th Fl New York, NY 10017                                                                               4/17/2020           $27,000.00   Services
         Hc2 Inc, 360 Lexington Ave 11th Fl New York, NY 10017 Total                                                                                    $34,800.00
HCL AMERICA INC., 330 Portreo Ave Sunnyvale, CA 94085                                                                               4/10/2020           $42,063.73   Services
HCL AMERICA INC., 330 Portreo Ave Sunnyvale, CA 94085                                                                               4/10/2020          $290,867.28   Services
         HCL AMERICA INC., 330 Portreo Ave Sunnyvale, CA 94085 Total                                                                                   $332,931.01
HCL AMERICA INC., 360 Lexington Ave 11th Fl New York, NY 10017                                                                       2/7/2020            $3,402.00   Services
HCL AMERICA INC., 360 Lexington Ave 11th Fl New York, NY 10017                                                                       2/7/2020          $586,727.88   Services
         HCL AMERICA INC., 360 Lexington Ave 11th Fl New York, NY 10017 Total                                                                          $590,129.88
HCL America Solutions Inc, 330 Portreo Ave Sunnyvale, CA 94085                                                                      2/21/2020            $8,960.00   Services
         HCL America Solutions Inc, 330 Portreo Ave Sunnyvale, CA 94085 Total                                                                            $8,960.00
HEADS UP INTERNATIONAL CORP, 12-1 31st Rd, Taichung Ind Dist, Taichung, 407, Taiwan                                                  3/6/2020          $511,022.16   Merchandise Vendors
         HEADS UP INTERNATIONAL CORP, 12-1 31st Rd, Taichung Ind Dist, Taichung, 407, Taiwan Total                                                     $511,022.16
HEADS UP INTERNATIONAL CORPORATION, 12-1 31st Rd, Taichung Ind Dist, Taichung, 407 Taiwan                                            3/6/2020           $19,831.15   Merchandise Vendors
         HEADS UP INTERNATIONAL CORPORATION, 12-1 31st Rd, Taichung Ind Dist, Taichung, 407 Taiwan Total                                                $19,831.15
Hedley & Bennett, 3864 S Santa Fe Ave Vernon, CA 90058                                                                              2/26/2020           $13,726.50   Services
         Hedley & Bennett, 3864 S Santa Fe Ave Vernon, CA 90058 Total                                                                                   $13,726.50
Help Ii LLC, 650 S Exeter St, Ste 200 Baltimore, MD 21202                                                                            2/3/2020              $116.13   Rent/Lease Obligations
Help Ii LLC, 650 S Exeter St, Ste 200 Baltimore, MD 21202                                                                            2/6/2020           $15,575.66   Rent/Lease Obligations
Help Ii LLC, 650 S Exeter St, Ste 200 Baltimore, MD 21202                                                                            3/2/2020              $325.52   Rent/Lease Obligations



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Help Ii LLC, 650 S Exeter St, Ste 200 Baltimore, MD 21202                                                                            3/6/2020           $15,380.18   Rent/Lease Obligations
          Help Ii LLC, 650 S Exeter St, Ste 200 Baltimore, MD 21202 Total                                                                               $31,397.49
Heroes Model Management Inc, 50 Greene St 2Nd Fl New York, NY 10013                                                                  2/3/2020            $5,300.00   Services
Heroes Model Management Inc, 50 Greene St 2Nd Fl New York, NY 10013                                                                 2/21/2020           $19,200.00   Services
Heroes Model Management Inc, 50 Greene St 2Nd Fl New York, NY 10013                                                                 4/30/2020           $45,581.36   Services
          Heroes Model Management Inc, 50 Greene St 2Nd Fl New York, NY 10013 Total                                                                     $70,081.36
Hg Galleria LLC, 2088 Paysphere Cir Chicago, IL 60674                                                                                2/5/2020           $45,698.07   Rent/Lease Obligations
          Hg Galleria LLC, 2088 Paysphere Cir Chicago, IL 60674 Total                                                                                   $45,698.07
Hgreit Ii Edmonson Road LLC, Hines Interests LP 255 East Fifth St, Ste 200 Cincinnati, OH 45202                                      2/5/2020           $24,147.21   Rent/Lease Obligations
Hgreit Ii Edmonson Road LLC, Hines Interests LP 255 East Fifth St, Ste 200 Cincinnati, OH 45202                                      3/5/2020           $24,125.50   Rent/Lease Obligations
Hgreit Ii Edmonson Road LLC, Hines Interests LP 255 East Fifth St, Ste 200 Cincinnati, OH 45202                                     3/12/2020               $17.63   Rent/Lease Obligations
          Hgreit Ii Edmonson Road LLC, Hines Interests LP 255 East Fifth St, Ste 200 Cincinnati, OH 45202 Total                                         $48,290.34
Hi Jewel Co Ltd, 126-13 Sandangupyeong Gil, Iksan City, 54524, South Korea                                                          3/19/2020           $70,770.09   Merchandise Vendors
          Hi Jewel Co Ltd, 126-13 Sandangupyeong Gil, Iksan City, 54524, South Korea Total                                                              $70,770.09
Highland Village Limited, P.O. Box 732719 Dallas, TX 75373-2719                                                                      2/6/2020           $77,355.16   Rent/Lease Obligations
Highland Village Limited, P.O. Box 732719 Dallas, TX 75373-2719                                                                      3/5/2020           $77,355.16   Rent/Lease Obligations
          Highland Village Limited, P.O. Box 732719 Dallas, TX 75373-2719 Total                                                                        $154,710.32
Hilldale Shopping Center LLC, P.O. Box 856572 Minneapolis, MN 55485-6572                                                             2/5/2020           $12,997.56   Rent/Lease Obligations
Hilldale Shopping Center LLC, P.O. Box 856572 Minneapolis, MN 55485-6572                                                             3/6/2020           $12,997.56   Rent/Lease Obligations
          Hilldale Shopping Center LLC, P.O. Box 856572 Minneapolis, MN 55485-6572 Total                                                                $25,995.12
Hing Shing Looping Manufacturi, Flat B, 10/F, Wing Tai Centre 12 Hing Yip St Kwun Tong, KLN Hong Kong                                3/4/2020            $1,043.98   Services
Hing Shing Looping Manufacturi, Flat B, 10/F, Wing Tai Centre 12 Hing Yip St Kwun Tong, KLN Hong Kong                                3/4/2020            $1,977.27   Services
Hing Shing Looping Manufacturi, Flat B, 10/F, Wing Tai Centre 12 Hing Yip St Kwun Tong, KLN Hong Kong                                3/4/2020            $2,392.31   Services
Hing Shing Looping Manufacturi, Flat B, 10/F, Wing Tai Centre 12 Hing Yip St Kwun Tong, KLN Hong Kong                                3/4/2020            $3,132.00   Services
Hing Shing Looping Manufacturi, Flat B, 10/F, Wing Tai Centre 12 Hing Yip St Kwun Tong, KLN Hong Kong                                3/4/2020            $5,742.40   Services
          Hing Shing Looping Manufacturi, Flat B, 10/F, Wing Tai Centre 12 Hing Yip St Kwun Tong, KLN Hong Kong Total                                   $14,287.96
HING SHING LOOPING MANUFACTURING C, Flat B, 10/F, Wing Tai Centre 12 Hing Yip St Kwun Tong, Kln Hong Kong                           2/18/2020            $1,368.59   Merchandise Vendors
HING SHING LOOPING MANUFACTURING C, Flat B, 10/F, Wing Tai Centre 12 Hing Yip St Kwun Tong, Kln Hong Kong                           2/19/2020           $13,023.24   Merchandise Vendors
          HING SHING LOOPING MANUFACTURING C, Flat B, 10/F, Wing Tai Centre 12 Hing Yip St Kwun Tong, Kln Hong Kong Total                               $14,391.83
HING SHING LOOPING MANUFACTURING CO, LTD, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong                     4/27/2020          $355,823.44   Merchandise Vendors
          HING SHING LOOPING MANUFACTURING CO, LTD, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong Total                        $355,823.44
HING SHING LOOPING MANUFACTURING, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong                             2/11/2020          $270,715.30   Merchandise Vendors
HING SHING LOOPING MANUFACTURING, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong                             3/17/2020          $206,709.17   Merchandise Vendors
          HING SHING LOOPING MANUFACTURING, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong Total                                $477,424.47
HING SHING LOOPING MFG CO LIMITED, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong                            2/11/2020           $66,075.26   Merchandise Vendors
HING SHING LOOPING MFG CO LIMITED, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong                            2/18/2020          $211,106.19   Merchandise Vendors
          HING SHING LOOPING MFG CO LIMITED, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong Total                               $277,181.45
HING SHING LOOPING MFG CO LTD, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong                                 2/3/2020          $382,160.25   Merchandise Vendors
HING SHING LOOPING MFG CO LTD, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong                                2/18/2020          $250,224.24   Merchandise Vendors
HING SHING LOOPING MFG CO LTD, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong                                 3/3/2020           $49,495.95   Merchandise Vendors
HING SHING LOOPING MFG CO LTD, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong                                 3/9/2020          $340,697.64   Merchandise Vendors
          HING SHING LOOPING MFG CO LTD, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong Total                                 $1,022,578.08
HING SHING LOOPING, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong                                            2/3/2020          $308,717.04   Merchandise Vendors
          HING SHING LOOPING, Flat B, 10/F, Wing Tai Centre, 12 Hing Yip St Kwun Tong, KlnHong Kong Total                                              $308,717.04
Hmr Jewelry Co Ltd, 63 Gil 8 Shunhua Ro Iksan City, Jeonbuk, 54629, South Korea                                                      2/6/2020           $28,359.00   Merchandise Vendors
Hmr Jewelry Co Ltd, 63 Gil 8 Shunhua Ro Iksan City, Jeonbuk, 54629, South Korea                                                     2/24/2020          $161,105.30   Merchandise Vendors
Hmr Jewelry Co Ltd, 63 Gil 8 Shunhua Ro Iksan City, Jeonbuk, 54629, South Korea                                                     2/27/2020           $37,375.25   Merchandise Vendors
          Hmr Jewelry Co Ltd, 63 Gil 8 Shunhua Ro Iksan City, Jeonbuk, 54629, South Korea Total                                                        $226,839.55
Hoi Meng Sourcing, No 371 Edificio Keng Ou 14 Andar D, Em Macau, Macau                                                              2/10/2020          $230,477.44   Merchandise Vendors
Hoi Meng Sourcing, No 371 Edificio Keng Ou 14 Andar D, Em Macau, Macau                                                              2/21/2020          $526,045.16   Merchandise Vendors
Hoi Meng Sourcing, No 371 Edificio Keng Ou 14 Andar D, Em Macau, Macau                                                              2/27/2020          $409,349.07   Merchandise Vendors
Hoi Meng Sourcing, No 371 Edificio Keng Ou 14 Andar D, Em Macau, Macau                                                               3/5/2020          $204,973.01   Merchandise Vendors
Hoi Meng Sourcing, No 371 Edificio Keng Ou 14 Andar D, Em Macau, Macau                                                               3/6/2020          $667,085.33   Merchandise Vendors
          Hoi Meng Sourcing, No 371 Edificio Keng Ou 14 Andar D, Em Macau, Macau Total                                                               $2,037,930.01
Honeydo Family LLC, 159 Main St Westport, CT 06880                                                                                   2/7/2020           $30,560.02   Rent/Lease Obligations
Honeydo Family LLC, 159 Main St Westport, CT 06880                                                                                   3/4/2020           $30,560.02   Rent/Lease Obligations
          Honeydo Family LLC, 159 Main St Westport, CT 06880 Total                                                                                      $61,120.04



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HONG KONG SALES KNITWEAR LIMITED, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                            3/2/2020           $17,316.77   Merchandise Vendors
          HONG KONG SALES KNITWEAR LIMITED, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                               $17,316.77
HONGKONG SALES (KNITWEAR) LIMITED, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                          2/14/2020          $349,714.88   Merchandise Vendors
HONGKONG SALES (KNITWEAR) LIMITED, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                          4/27/2020          $303,387.81   Merchandise Vendors
          HONGKONG SALES (KNITWEAR) LIMITED, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                             $653,102.69
HONGKONG SALES (KNITWEAR) LTD, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                              2/14/2020          $472,381.63   Merchandise Vendors
HONGKONG SALES (KNITWEAR) LTD, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                              2/21/2020           $37,061.74   Merchandise Vendors
HONGKONG SALES (KNITWEAR) LTD, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                              3/10/2020          $349,543.82   Merchandise Vendors
          HONGKONG SALES (KNITWEAR) LTD, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                                 $858,987.19
HONGKONG SALES KNITWEAR LIMITED, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                             2/4/2020           $76,741.16   Merchandise Vendors
HONGKONG SALES KNITWEAR LIMITED, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                             3/9/2020            $8,229.52   Merchandise Vendors
          HONGKONG SALES KNITWEAR LIMITED, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                                $84,970.68
Hrc Corporation, 156 Fifth Ave New York, NY 10010                                                                                       2/4/2020          $249,329.85   Rent/Lease Obligations
Hrc Corporation, 156 Fifth Ave New York, NY 10010                                                                                       3/4/2020          $249,329.85   Rent/Lease Obligations
Hrc Corporation, 156 Fifth Ave New York, NY 10010                                                                                      3/11/2020            $1,075.41   Rent/Lease Obligations
          Hrc Corporation, 156 Fifth Ave New York, NY 10010 Total                                                                                         $499,735.11
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                         2/3/2020          $145,485.49   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                         2/5/2020           $10,243.39   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                         2/6/2020            $2,473.19   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        2/10/2020          $345,237.31   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        2/13/2020            $6,684.16   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        2/14/2020          $217,906.37   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        2/24/2020          $122,907.90   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        2/25/2020           $74,139.52   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        2/26/2020          $186,343.92   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                         3/6/2020           $22,529.60   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                         3/6/2020           $51,859.43   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                         3/9/2020           $21,005.77   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        3/12/2020          $421,444.70   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        3/13/2020        $1,546,147.49   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        3/18/2020           $38,553.60   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        3/19/2020           $25,038.72   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        3/23/2020          $529,796.03   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        3/24/2020           $36,897.86   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        3/26/2020           $32,398.08   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        3/27/2020           $89,004.35   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        3/30/2020          $246,875.90   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                         4/6/2020           $32,035.33   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                         4/7/2020           $38,887.89   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                         4/9/2020          $105,615.37   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        4/10/2020           $15,653.93   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        4/17/2020            $3,276.48   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        4/21/2020           $39,060.87   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                        4/30/2020            $7,351.88   Secured Debt Related Payment
HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom                                                                         5/1/2020          $370,746.12   Secured Debt Related Payment
          HSBC BANK USA, 1 Centenary Sq Birmingham, B1 1HQ United Kingdom Total                                                                         $4,785,600.65
Huaren Linen Hk Co Ltd, Unit 16/F Treasure Centre 42 Hung To Rd Kwun Tong, KLN Hong Kong                                               3/11/2020           $73,014.85   Merchandise Vendors
Huaren Linen Hk Co Ltd, Unit 16/F Treasure Centre 42 Hung To Rd Kwun Tong, KLN Hong Kong                                               3/25/2020              $194.00   Merchandise Vendors
          Huaren Linen Hk Co Ltd, Unit 16/F Treasure Centre 42 Hung To Rd Kwun Tong, KLN Hong Kong Total                                                   $73,208.85
Icr LLC, 761 Main Ave Norwalk, CT 06851                                                                                                3/10/2020           $62,274.49   Services
          Icr LLC, 761 Main Ave Norwalk, CT 06851 Total                                                                                                    $62,274.49
Ikigai Inc, 11 Poplar Dr Cranbury, NJ 08512                                                                                             3/5/2020          $133,223.65   Services
          Ikigai Inc, 11 Poplar Dr Cranbury, NJ 08512 Total                                                                                               $133,223.65
Illume Holding Co LLC, P.O. Box 74008742 Chicago, IL 60674-8742                                                                         2/5/2020           $27,195.20   Services
Illume Holding Co LLC, P.O. Box 74008742 Chicago, IL 60674-8742                                                                        2/20/2020           $12,518.00   Services
          Illume Holding Co LLC, P.O. Box 74008742 Chicago, IL 60674-8742 Total                                                                            $39,713.20
Img Models, 304 Park Ave South New York, NY 10010                                                                                       2/6/2020           $14,400.00   Services



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Img Models, 304 Park Ave South New York, NY 10010                                                                                        2/13/2020           $51,642.51   Services
Img Models, 304 Park Ave South New York, NY 10010                                                                                         3/5/2020           $12,742.00   Services
Img Models, 304 Park Ave South New York, NY 10010                                                                                        3/11/2020            $4,800.00   Services
          Img Models, 304 Park Ave South New York, NY 10010 Total                                                                                            $83,584.51
Imi Msw LLC, P.O. Box 846133 Dallas, TX 75284-6133                                                                                        2/5/2020           $43,971.47   Rent/Lease Obligations
Imi Msw LLC, P.O. Box 846133 Dallas, TX 75284-6133                                                                                        3/6/2020           $43,971.47   Rent/Lease Obligations
          Imi Msw LLC, P.O. Box 846133 Dallas, TX 75284-6133 Total                                                                                           $87,942.94
In Vision App Inc, P.O. Box 32126 New York, NY 10087                                                                                     4/23/2020           $27,975.00   Services
          In Vision App Inc, P.O. Box 32126 New York, NY 10087 Total                                                                                         $27,975.00
INDELE TECH CO., LIMITED, 105-111 Thomson Rd Wan Chai Hong Kong, China                                                               2020/02/07               $2,442.50   Services
          INDELE TECH CO., LIMITED, 105-111 Thomson Rd Wan Chai Hong Kong, China Total                                                                        $2,442.50
INDRA LARSSEN, LLC, 228 Park Ave S, Ste 34985 New York, NY 10003                                                                          2/7/2020           $10,140.00   Merchandise Vendors
INDRA LARSSEN, LLC, 228 Park Ave S, Ste 34985 New York, NY 10003                                                                         2/21/2020            $6,960.00   Merchandise Vendors
INDRA LARSSEN, LLC, 228 Park Ave S, Ste 34985 New York, NY 10003                                                                         2/28/2020            $6,150.00   Merchandise Vendors
          INDRA LARSSEN, LLC, 228 Park Ave S, Ste 34985 New York, NY 10003 Total                                                                             $23,250.00
INFINITY BLUE TRADING HK LTD, 307-8 Dominion Ctr, 43-59 Queen Rd E WanchaiHong Kong                                                       2/7/2020           $26,757.19   Merchandise Vendors
          INFINITY BLUE TRADING HK LTD, 307-8 Dominion Ctr, 43-59 Queen Rd E WanchaiHong Kong Total                                                          $26,757.19
Infoarmor Inc, P.O. Box 123189 Dallas, TX 75312-3189                                                                                      4/1/2020           $10,310.40   Services
          Infoarmor Inc, P.O. Box 123189 Dallas, TX 75312-3189 Total                                                                                         $10,310.40
Inmar Supply Chain Solutions L, 1821 County Line Rd, Plant City, FL 33566                                                                2/18/2020           $61,393.83   Services
          Inmar Supply Chain Solutions L, 1821 County Line Rd, Plant City, FL 33566 Total                                                                    $61,393.83
Int, S.A., Calzada Roosevelt 22-43 Zona 11 Edificio Tikal Futura Guatemala City Guatemala                                                2/14/2020           $67,745.64   Services
Int, S.A., Calzada Roosevelt 22-43 Zona 11 Edificio Tikal Futura Guatemala City Guatemala                                                2/21/2020        $1,256,363.08   Services
Int, S.A., Calzada Roosevelt 22-43 Zona 11 Edificio Tikal Futura Guatemala City Guatemala                                                4/28/2020          $637,742.65   Services
          Int, S.A., Calzada Roosevelt 22-43 Zona 11 Edificio Tikal Futura Guatemala City Guatemala Total                                                 $1,961,851.37
Intertek Testing Services Hong Kon, 2/F, Garment Centre 576 Castle Peak Rd Cheung Sha Wan Hong Kong                                  2020/02/21                 $523.00   Services
          Intertek Testing Services Hong Kon, 2/F, Garment Centre 576 Castle Peak Rd Cheung Sha Wan Hong Kong Total                                             $523.00
INTEX, A 61, Turn Road, Okhla Phase II, S-13 Okhla Industrial Area New Delhi, 110020India                                                2/10/2020           $43,430.40   Merchandise Vendors
          INTEX, A 61, Turn Road, Okhla Phase II, S-13 Okhla Industrial Area New Delhi, 110020India Total                                                    $43,430.40
INTEX, Blk A-D 3/F Wah Hing Ind Mansions, 36 Tai Yau St Sanpokong, KowloonHong Kong                                                      2/18/2020          $239,126.40   Merchandise Vendors
          INTEX, Blk A-D 3/F Wah Hing Ind Mansions, 36 Tai Yau St Sanpokong, KowloonHong Kong Total                                                         $239,126.40
Intimates Online Inc, 48 W 38th St 10th Fl New York, NY 10018                                                                             2/4/2020            $6,767.79   Merchandise Vendors
Intimates Online Inc, 48 W 38th St 10th Fl New York, NY 10018                                                                             2/4/2020           $11,862.27   Merchandise Vendors
          Intimates Online Inc, 48 W 38th St 10th Fl New York, NY 10018 Total                                                                                $18,630.06
Inx Techonologies Inc, 515 Plainfield Ave 2 Edison, NJ 08817                                                                             2/19/2020           $37,848.00   Services
          Inx Techonologies Inc, 515 Plainfield Ave 2 Edison, NJ 08817 Total                                                                                 $37,848.00
Ips Packaging Corp, P.O. Box 2009 Fountain Inn, SC 29644                                                                                 3/10/2020           $48,044.18   Services
          Ips Packaging Corp, P.O. Box 2009 Fountain Inn, SC 29644 Total                                                                                     $48,044.18
Iris Taborsky Tasa LLC, 100 Greenpoint Ave, Apt 3R Brooklyn, NY 11222                                                                    2/13/2020            $4,541.03   Services
Iris Taborsky Tasa LLC, 100 Greenpoint Ave, Apt 3R Brooklyn, NY 11222                                                                    3/23/2020            $2,574.75   Services
          Iris Taborsky Tasa LLC, 100 Greenpoint Ave, Apt 3R Brooklyn, NY 11222 Total                                                                         $7,115.78
Iron Mountain, P.O. Box 27129 New York, NY 10087-7129                                                                                    2/20/2020           $11,437.58   Services
          Iron Mountain, P.O. Box 27129 New York, NY 10087-7129 Total                                                                                        $11,437.58
Isp Painting Inc, 4003 Plainfield - Naperville Rd Naperville, IL 60564                                                                   2/20/2020           $71,259.53   Services
          Isp Painting Inc, 4003 Plainfield - Naperville Rd Naperville, IL 60564 Total                                                                       $71,259.53
Ispa Woodworking Inc, 114 Armstrong Ave Georgetown, ON L7G 4S2 Canada                                                                    2/11/2020           $17,225.95   Services
Ispa Woodworking Inc, 114 Armstrong Ave Georgetown, ON L7G 4S2 Canada                                                                    2/28/2020              $857.70   Services
          Ispa Woodworking Inc, 114 Armstrong Ave Georgetown, ON L7G 4S2 Canada Total                                                                        $18,083.65
Ist Management Services Inc, 934 Glenwood Ave, Ste 250 Atlanta, GA 30316-1816                                                            2/19/2020           $11,440.88   Services
Ist Management Services Inc, 934 Glenwood Ave, Ste 250 Atlanta, GA 30316-1816                                                            4/15/2020          $159,885.07   Services
          Ist Management Services Inc, 934 Glenwood Ave, Ste 250 Atlanta, GA 30316-1816 Total                                                               $171,325.95
Jacobson Group Usa LLC, 530 7th Ave, Ste 1404 New York, NY 10018                                                                         2/14/2020            $7,780.88   Merchandise Vendors
Jacobson Group Usa LLC, 530 7th Ave, Ste 1404 New York, NY 10018                                                                          3/6/2020            $1,685.21   Merchandise Vendors
Jacobson Group Usa LLC, 530 7th Ave, Ste 1404 New York, NY 10018                                                                         3/13/2020            $2,337.36   Merchandise Vendors
          Jacobson Group Usa LLC, 530 7th Ave, Ste 1404 New York, NY 10018 Total                                                                             $11,803.45
JADE KNITTING AND GARMENT FTY LTD, Blk A-D 3/F Wah Hing Ind Mansions, 36 Tai Yau St Sanpokong, KowloonHong Kong                           2/3/2020          $155,529.51   Merchandise Vendors
JADE KNITTING AND GARMENT FTY LTD, Blk A-D 3/F Wah Hing Ind Mansions, 36 Tai Yau St Sanpokong, KowloonHong Kong                          2/18/2020          $268,447.31   Merchandise Vendors



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JADE KNITTING AND GARMENT FTY LTD, Blk A-D 3/F Wah Hing Ind Mansions, 36 Tai Yau St Sanpokong, KowloonHong Kong                  2/28/2020          $156,436.28   Merchandise Vendors
JADE KNITTING AND GARMENT FTY LTD, Blk A-D 3/F Wah Hing Ind Mansions, 36 Tai Yau St Sanpokong, KowloonHong Kong                   3/6/2020           $17,051.58   Merchandise Vendors
        JADE KNITTING AND GARMENT FTY LTD, Blk A-D 3/F Wah Hing Ind Mansions, 36 Tai Yau St Sanpokong, KowloonHong Kong Total                       $597,464.68
Jag Models Inc, 154 West 14th St 2Nd Fl New York, NY 10011                                                                       2/10/2020           $14,327.22   Services
Jag Models Inc, 154 West 14th St 2Nd Fl New York, NY 10011                                                                       2/12/2020           $10,800.00   Services
        Jag Models Inc, 154 West 14th St 2Nd Fl New York, NY 10011 Total                                                                             $25,127.22
James Ryang, 60 S 8th St 512 Brooklyn, NY 11249                                                                                  2/19/2020            $8,400.00   Services
James Ryang, 60 S 8th St 512 Brooklyn, NY 11249                                                                                  3/23/2020           $16,800.00   Services
James Ryang, 60 S 8th St 512 Brooklyn, NY 11249                                                                                  4/21/2020           $14,000.00   Services
        James Ryang, 60 S 8th St 512 Brooklyn, NY 11249 Total                                                                                        $39,200.00
Jamestown Pcm Master Tenant LP, P.O. Box 531614 Atlanta, GA 30353-1614                                                            2/5/2020           $23,067.07   Rent/Lease Obligations
Jamestown Pcm Master Tenant LP, P.O. Box 531614 Atlanta, GA 30353-1614                                                           2/26/2020           $15,711.69   Rent/Lease Obligations
Jamestown Pcm Master Tenant LP, P.O. Box 531614 Atlanta, GA 30353-1614                                                            3/4/2020           $23,067.07   Rent/Lease Obligations
Jamestown Pcm Master Tenant LP, P.O. Box 531614 Atlanta, GA 30353-1614                                                           3/23/2020           $19,104.04   Rent/Lease Obligations
        Jamestown Pcm Master Tenant LP, P.O. Box 531614 Atlanta, GA 30353-1614 Total                                                                 $80,949.87
Jamestown Premier Berkeley Grotto, LP, c/o Asset Manager 1700 Montgomery, Ste 100 San Francisco, CA 94111                         2/5/2020           $20,732.53   Services
Jamestown Premier Berkeley Grotto, LP, c/o Asset Manager 1700 Montgomery, Ste 100 San Francisco, CA 94111                         3/4/2020           $20,754.58   Services
        Jamestown Premier Berkeley Grotto, LP, c/o Asset Manager 1700 Montgomery, Ste 100 San Francisco, CA 94111 Total                              $41,487.11
Jbc Connect Ca LLC, 108 West 39th St, 7th Fl New York, NY 10018                                                                  4/15/2020          $104,631.12   Services
Jbc Connect Ca LLC, 108 West 39th St, 7th Fl New York, NY 10018                                                                  4/23/2020           $76,594.64   Services
        Jbc Connect Ca LLC, 108 West 39th St, 7th Fl New York, NY 10018 Total                                                                       $181,225.76
Jda Software Inc, P.O. Box 202621 Dallas, TX 75320-2621                                                                          4/15/2020           $33,751.45   Services
        Jda Software Inc, P.O. Box 202621 Dallas, TX 75320-2621 Total                                                                                $33,751.45
Jemal's Atlantic LLC, Douglas Development Corp 702 H St, Ste 400 Washington, DC 20001                                             2/4/2020           $53,649.29   Services
Jemal's Atlantic LLC, Douglas Development Corp 702 H St, Ste 400 Washington, DC 20001                                             3/4/2020           $53,649.29   Services
        Jemal's Atlantic LLC, Douglas Development Corp 702 H St, Ste 400 Washington, DC 20001 Total                                                 $107,298.58
Jenn Karakkal Consulting LLC, 105 Duane St 51D New York, NY 10007                                                                2/20/2020           $15,810.00   Services
        Jenn Karakkal Consulting LLC, 105 Duane St 51D New York, NY 10007 Total                                                                      $15,810.00
Jeremy Jacob Schlangen, 174 Franklin St, Apt 3 Brooklyn, NY 11222                                                                2/26/2020           $15,423.93   Services
Jeremy Jacob Schlangen, 174 Franklin St, Apt 3 Brooklyn, NY 11222                                                                3/23/2020           $10,285.90   Services
        Jeremy Jacob Schlangen, 174 Franklin St, Apt 3 Brooklyn, NY 11222 Total                                                                      $25,709.83
Jersey Shore Premium Outlets L, P.O. Box 776307 Chicago, IL 60677-6307                                                            2/6/2020           $86,264.73   Rent/Lease Obligations
Jersey Shore Premium Outlets L, P.O. Box 776307 Chicago, IL 60677-6307                                                            3/6/2020           $86,335.74   Rent/Lease Obligations
        Jersey Shore Premium Outlets L, P.O. Box 776307 Chicago, IL 60677-6307 Total                                                                $172,600.47
JIANGYIN NENGJIA TEXTILE TECHNOLOG, No 17 Beihuan Rd Jiangyin, 100 214404 China                                                   2/7/2020            $6,850.91   Merchandise Vendors
        JIANGYIN NENGJIA TEXTILE TECHNOLOG, No 17 Beihuan Rd Jiangyin, 100 214404 China Total                                                         $6,850.91
JIING SHENG KNITTING CO LTD, 11F, 376 Jen Ai Rd, Sec 4, Taipei, 10693 Taiwan                                                     2/14/2020           $52,274.40   Merchandise Vendors
JIING SHENG KNITTING CO LTD, 11F, 376 Jen Ai Rd, Sec 4, Taipei, 10693 Taiwan                                                     2/28/2020           $29,558.75   Merchandise Vendors
JIING SHENG KNITTING CO LTD, 11F, 376 Jen Ai Rd, Sec 4, Taipei, 10693 Taiwan                                                      3/6/2020           $52,250.54   Merchandise Vendors
        JIING SHENG KNITTING CO LTD, 11F, 376 Jen Ai Rd, Sec 4, Taipei, 10693 Taiwan Total                                                          $134,083.69
JIING SHENG KNITTING CO LTD, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                                     3/13/2020           $23,002.02   Merchandise Vendors
        JIING SHENG KNITTING CO LTD, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                                           $23,002.02
JINTAI CHITUAN (THAILAND) CO LTD, 7 Ramkhamhaeng Rd, Hua mak, Bang kapi, 10240 Thailand                                           2/3/2020           $24,748.20   Merchandise Vendors
        JINTAI CHITUAN (THAILAND) CO LTD, 7 Ramkhamhaeng Rd, Hua mak, Bang kapi, 10240 Thailand Total                                                $24,748.20
JN CASTING AND PRODUCTION, 27 Cowper St, Old St London, EC2A 4AP United Kingdom                                                   2/7/2020           $13,926.01   Services
        JN CASTING AND PRODUCTION, 27 Cowper St, Old St London, EC2A 4AP United Kingdom Total                                                        $13,926.01
Joanna Goddard Inc, 47 Bergen St Fl Three Brooklyn, NY 11201                                                                     3/13/2020           $30,000.00   Services
        Joanna Goddard Inc, 47 Bergen St Fl Three Brooklyn, NY 11201 Total                                                                           $30,000.00
John Scott Gilbreath, 20 Exchange Pl 2507 New York, NY 10005                                                                     2/25/2020              $350.00   Services
John Scott Gilbreath, 20 Exchange Pl 2507 New York, NY 10005                                                                     3/23/2020            $1,750.00   Services
John Scott Gilbreath, 20 Exchange Pl 2507 New York, NY 10005                                                                     4/22/2020            $7,525.00   Services
        John Scott Gilbreath, 20 Exchange Pl 2507 New York, NY 10005 Total                                                                            $9,625.00
JONES LANG LASALLE AMERICAS, INC., Attn: President & CEO, Reta 3344 Peachtree Rd NE, Ste 1200 Atlanta, GA 30326                  4/27/2020           $26,565.36   Services
        JONES LANG LASALLE AMERICAS, INC., Attn: President & CEO, Reta 3344 Peachtree Rd NE, Ste 1200 Atlanta, GA 30326 Total                        $26,565.36
Josephine Heilpern, 471 Van Brunt St Brooklyn, NY 11231                                                                           2/3/2020           $21,761.00   Merchandise Vendors
        Josephine Heilpern, 471 Van Brunt St Brooklyn, NY 11231 Total                                                                                $21,761.00
Josh Dotson Studio Inc, 210 West 21st St, 6Fw New York, NY 10011                                                                 4/21/2020           $11,255.60   Services



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Josh Dotson Studio Inc, 210 West 21st St, 6Fw New York, NY 10011                                                                         4/23/2020            $5,814.32   Services
         Josh Dotson Studio Inc, 210 West 21st St, 6Fw New York, NY 10011 Total                                                                              $17,069.92
Jpma Global Inc, 7335 Henri Bourassa East Montreal, QC H1E 3T5 Canada                                                                    2/10/2020            $4,806.76   Services
Jpma Global Inc, 7335 Henri Bourassa East Montreal, QC H1E 3T5 Canada                                                                    2/18/2020          $120,449.48   Services
Jpma Global Inc, 7335 Henri Bourassa East Montreal, QC H1E 3T5 Canada                                                                     3/6/2020           $18,264.32   Services
         Jpma Global Inc, 7335 Henri Bourassa East Montreal, QC H1E 3T5 Canada Total                                                                        $143,520.56
Jppf Dc Holding Reit Inc, P.O. Box 37722 Baltimore, MD 21297-3722                                                                         2/5/2020          $152,576.93   Rent/Lease Obligations
Jppf Dc Holding Reit Inc, P.O. Box 37722 Baltimore, MD 21297-3722                                                                         3/4/2020          $151,109.08   Rent/Lease Obligations
         Jppf Dc Holding Reit Inc, P.O. Box 37722 Baltimore, MD 21297-3722 Total                                                                            $303,686.01
Jsp Electrical Contracting Cor, 178 Industrial Loop Staten Island, NY 10309                                                              2/19/2020           $73,145.40   Services
         Jsp Electrical Contracting Cor, 178 Industrial Loop Staten Island, NY 10309 Total                                                                   $73,145.40
KAREN CLEMENT , 225 Liberty St New York, NY 10281                                                                                         2/7/2020            $1,769.31   Services
KAREN CLEMENT , 225 Liberty St New York, NY 10281                                                                                         3/6/2020            $1,769.31   Services
KAREN CLEMENT , 225 Liberty St New York, NY 10281                                                                                         4/1/2020            $1,769.31   Services
KAREN CLEMENT , 225 Liberty St New York, NY 10281                                                                                        4/16/2020            $1,769.31   Services
         KAREN CLEMENT , 225 Liberty St New York, NY 10281 Total                                                                                              $7,077.24
Karen Walker Collaborations Ltd, P.O. Box 6694 Wellesley St Auckland North Island, 1141 New Zealand                                       2/7/2020           $10,738.00   Merchandise Vendors
         Karen Walker Collaborations Ltd, P.O. Box 6694 Wellesley St Auckland North Island, 1141 New Zealand Total                                           $10,738.00
Kathryn A Sturino, 433 W 21st St, Apt 12D New York, NY 10011                                                                             2/12/2020           $10,000.00   Services
Kathryn A Sturino, 433 W 21st St, Apt 12D New York, NY 10011                                                                              3/9/2020            $1,950.00   Services
Kathryn A Sturino, 433 W 21st St, Apt 12D New York, NY 10011                                                                             3/25/2020            $2,600.00   Services
Kathryn A Sturino, 433 W 21st St, Apt 12D New York, NY 10011                                                                             4/23/2020            $8,250.00   Services
         Kathryn A Sturino, 433 W 21st St, Apt 12D New York, NY 10011 Total                                                                                  $22,800.00
Kayu Design Inc, 1513 S Claremont St San Mateo, CA 94402                                                                                  2/5/2020            $3,196.61   Merchandise Vendors
Kayu Design Inc, 1513 S Claremont St San Mateo, CA 94402                                                                                  3/5/2020            $3,985.95   Merchandise Vendors
Kayu Design Inc, 1513 S Claremont St San Mateo, CA 94402                                                                                 4/16/2020            $5,991.63   Merchandise Vendors
         Kayu Design Inc, 1513 S Claremont St San Mateo, CA 94402 Total                                                                                      $13,174.19
Keane, P.O. Box 1508 Southeastern, PA 19399-1508                                                                                         2/19/2020            $6,500.00   Services
Keane, P.O. Box 1508 Southeastern, PA 19399-1508                                                                                         4/29/2020           $23,189.95   Services
         Keane, P.O. Box 1508 Southeastern, PA 19399-1508 Total                                                                                              $29,689.95
Keil Sonoma Corp, 244 Kearny St, 3rd Fl San Francisco, CA 94108                                                                           2/5/2020           $24,982.67   Services
Keil Sonoma Corp, 244 Kearny St, 3rd Fl San Francisco, CA 94108                                                                           3/4/2020           $24,982.67   Services
         Keil Sonoma Corp, 244 Kearny St, 3rd Fl San Francisco, CA 94108 Total                                                                               $49,965.34
Kelly Services Inc, P.O. Box 820405 Philadelphia, PA 19182-0405                                                                          2/26/2020           $40,276.89   Services
Kelly Services Inc, P.O. Box 820405 Philadelphia, PA 19182-0405                                                                           3/6/2020            $7,787.44   Services
Kelly Services Inc, P.O. Box 820405 Philadelphia, PA 19182-0405                                                                          4/30/2020           $20,335.01   Services
         Kelly Services Inc, P.O. Box 820405 Philadelphia, PA 19182-0405 Total                                                                               $68,399.34
Kepler Group LLC, 6 E 32Nd St 9th Fl New York, NY 10016                                                                                   2/5/2020        $2,519,049.71   Services
Kepler Group LLC, 6 E 32Nd St 9th Fl New York, NY 10016                                                                                  2/11/2020        $2,715,951.01   Services
Kepler Group LLC, 6 E 32Nd St 9th Fl New York, NY 10016                                                                                  3/25/2020        $3,731,909.37   Services
Kepler Group LLC, 6 E 32Nd St 9th Fl New York, NY 10016                                                                                  4/29/2020          $609,033.29   Services
Kepler Group LLC, 6 E 32Nd St 9th Fl New York, NY 10016                                                                                   5/1/2020        $2,841,896.69   Services
         Kepler Group LLC, 6 E 32Nd St 9th Fl New York, NY 10016 Total                                                                                   $12,417,840.07
Keystone Florida Property, P.O. Box 71345 Chicago, IL 60694-1345                                                                          2/5/2020            $2,207.54   Rent/Lease Obligations
Keystone Florida Property, P.O. Box 71345 Chicago, IL 60694-1345                                                                         2/27/2020            $4,633.51   Rent/Lease Obligations
Keystone Florida Property, P.O. Box 71345 Chicago, IL 60694-1345                                                                          3/4/2020            $2,207.54   Rent/Lease Obligations
Keystone Florida Property, P.O. Box 71345 Chicago, IL 60694-1345                                                                         3/20/2020            $5,355.04   Rent/Lease Obligations
         Keystone Florida Property, P.O. Box 71345 Chicago, IL 60694-1345 Total                                                                              $14,403.63
Kierland Commons Investment Ll, P.O. Box 31001-2151 Pasadena, CA 91110-2151                                                               2/5/2020           $22,923.35   Services
Kierland Commons Investment Ll, P.O. Box 31001-2151 Pasadena, CA 91110-2151                                                               3/4/2020           $22,923.35   Services
         Kierland Commons Investment Ll, P.O. Box 31001-2151 Pasadena, CA 91110-2151 Total                                                                   $45,846.70
King of Prussia Associates, 160 North Gulph Rd King Of Prussia, PA 19406                                                                  2/4/2020          $127,147.49   Services
King of Prussia Associates, 160 North Gulph Rd King Of Prussia, PA 19406                                                                 2/25/2020           $15,306.58   Services
King of Prussia Associates, 160 North Gulph Rd King Of Prussia, PA 19406                                                                  3/4/2020          $128,417.05   Services
King of Prussia Associates, 160 North Gulph Rd King Of Prussia, PA 19406                                                                 3/31/2020           $41,874.24   Services
King of Prussia Associates, 160 North Gulph Rd King Of Prussia, PA 19406                                                                 4/13/2020           $37,893.60   Services
King of Prussia Associates, 160 North Gulph Rd King Of Prussia, PA 19406                                                                 4/14/2020           $34,761.96   Services



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King of Prussia Associates, 160 North Gulph Rd King Of Prussia, PA 19406                                                         4/22/2020           $17,465.47   Services
         King of Prussia Associates, 160 North Gulph Rd King Of Prussia, PA 19406 Total                                                             $402,866.39
KIRKLAND & ELLIS LLP DEPOSITORY, 300 N LaSalle St Chicago, IL 60654                                                               5/1/2020          $445,325.90   Services
         KIRKLAND & ELLIS LLP DEPOSITORY, 300 N LaSalle St Chicago, IL 60654 Total                                                                  $445,325.90
Kittery Premium Outlets LLC, P.O. Box 827730 Philadelphia, PA 19182-7730                                                          2/4/2020           $61,077.50   Rent/Lease Obligations
Kittery Premium Outlets LLC, P.O. Box 827730 Philadelphia, PA 19182-7730                                                         2/19/2020            $2,035.86   Rent/Lease Obligations
Kittery Premium Outlets LLC, P.O. Box 827730 Philadelphia, PA 19182-7730                                                          3/4/2020           $61,077.50   Rent/Lease Obligations
         Kittery Premium Outlets LLC, P.O. Box 827730 Philadelphia, PA 19182-7730 Total                                                             $124,190.86
Km Artist Agency LLC, 217 Centre St 7th Fl New York, NY 10013                                                                    2/25/2020            $8,400.00   Services
         Km Artist Agency LLC, 217 Centre St 7th Fl New York, NY 10013 Total                                                                          $8,400.00
Kmo-361 Manhasset LLC, P.O. Box 304, Dept 5000 Emerson, NJ 07630                                                                  2/4/2020           $24,729.19   Rent/Lease Obligations
Kmo-361 Manhasset LLC, P.O. Box 304, Dept 5000 Emerson, NJ 07630                                                                 2/20/2020              $516.07   Rent/Lease Obligations
Kmo-361 Manhasset LLC, P.O. Box 304, Dept 5000 Emerson, NJ 07630                                                                  3/4/2020           $25,245.26   Rent/Lease Obligations
         Kmo-361 Manhasset LLC, P.O. Box 304, Dept 5000 Emerson, NJ 07630 Total                                                                      $50,490.52
Kneeland Co, 1405 Macbeth St Los Angeles, CA 90026                                                                                2/4/2020            $8,000.00   Merchandise Vendors
         Kneeland Co, 1405 Macbeth St Los Angeles, CA 90026 Total                                                                                     $8,000.00
KNIT SOURCES (INTERNATIONAL) LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                           2/14/2020          $314,895.96   Merchandise Vendors
KNIT SOURCES (INTERNATIONAL) LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                           2/21/2020          $481,956.68   Merchandise Vendors
KNIT SOURCES (INTERNATIONAL) LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                            3/9/2020           $32,382.22   Merchandise Vendors
         KNIT SOURCES (INTERNATIONAL) LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong Total                                               $829,234.86
KNIT SOURCES (INTERNATIONAL) LTD., 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                           2/4/2020           $54,486.10   Merchandise Vendors
KNIT SOURCES (INTERNATIONAL) LTD., 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                          2/14/2020          $564,099.74   Merchandise Vendors
KNIT SOURCES (INTERNATIONAL) LTD., 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                          3/10/2020          $306,789.65   Merchandise Vendors
         KNIT SOURCES (INTERNATIONAL) LTD., 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong Total                                              $925,375.49
Knit Sources International Ltd, 8 Cheung Yue St Cheung Sha Wan, Hong Kong Hong Kong                                               3/6/2020              $282.98   Merchandise Vendors
Knit Sources International Ltd, 8 Cheung Yue St Cheung Sha Wan, Hong Kong Hong Kong                                               3/6/2020              $932.15   Merchandise Vendors
Knit Sources International Ltd, 8 Cheung Yue St Cheung Sha Wan, Hong Kong Hong Kong                                               3/6/2020            $1,057.04   Merchandise Vendors
Knit Sources International Ltd, 8 Cheung Yue St Cheung Sha Wan, Hong Kong Hong Kong                                               3/6/2020            $3,610.25   Merchandise Vendors
Knit Sources International Ltd, 8 Cheung Yue St Cheung Sha Wan, Hong Kong Hong Kong                                               3/6/2020           $12,975.90   Merchandise Vendors
         Knit Sources International Ltd, 8 Cheung Yue St Cheung Sha Wan, Hong Kong Hong Kong Total                                                   $18,858.32
KNIT SOURCES(INTERNATIONAL) LTD., 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                           4/27/2020          $133,243.29   Merchandise Vendors
         KNIT SOURCES(INTERNATIONAL) LTD., 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong Total                                               $133,243.29
Knock Out Media LLC, 32 Lakeside Dr Weston, CT 06883                                                                              2/5/2020           $26,694.00   Services
         Knock Out Media LLC, 32 Lakeside Dr Weston, CT 06883 Total                                                                                  $26,694.00
KNT Ltd, 120-124 Texaco Rd, Tsuen Wan, NT 999077, Hong Kong                                                                       2/3/2020          $101,411.20   Merchandise Vendors
KNT Ltd, 120-124 Texaco Rd, Tsuen Wan, NT 999077, Hong Kong                                                                      2/20/2020          $369,406.49   Merchandise Vendors
KNT Ltd, 120-124 Texaco Rd, Tsuen Wan, NT 999077, Hong Kong                                                                      2/28/2020          $264,803.37   Merchandise Vendors
KNT Ltd, 120-124 Texaco Rd, Tsuen Wan, NT 999077, Hong Kong                                                                       3/6/2020          $413,665.45   Merchandise Vendors
         KNT Ltd, 120-124 Texaco Rd, Tsuen Wan, NT 999077, Hong Kong Total                                                                        $1,149,286.51
Koio Collective Inc, 41 Wooster St 3Rd Fl New York, NY 10013                                                                      2/7/2020           $15,096.75   Merchandise Vendors
Koio Collective Inc, 41 Wooster St 3Rd Fl New York, NY 10013                                                                      3/4/2020            $1,051.30   Merchandise Vendors
Koio Collective Inc, 41 Wooster St 3Rd Fl New York, NY 10013                                                                     3/27/2020            $9,520.33   Merchandise Vendors
         Koio Collective Inc, 41 Wooster St 3Rd Fl New York, NY 10013 Total                                                                          $25,668.38
Komar Intimates LLC, P.O. Box 5227 New York, NY 10087-5227                                                                        2/4/2020           $65,959.25   Merchandise Vendors
         Komar Intimates LLC, P.O. Box 5227 New York, NY 10087-5227 Total                                                                            $65,959.25
Kong Fong Textile Group Co Ltd, No 1471 Gumei Rd, Ste 305 Shanghai, 201102 China                                                 3/27/2020           $13,253.35   Merchandise Vendors
         Kong Fong Textile Group Co Ltd, No 1471 Gumei Rd, Ste 305 Shanghai, 201102 China Total                                                      $13,253.35
Kre Colonie Owner LLC, P.O. Box 28477 New York, NY 10087-8477                                                                     2/4/2020           $18,729.99   Services
Kre Colonie Owner LLC, P.O. Box 28477 New York, NY 10087-8477                                                                     3/4/2020           $18,729.99   Services
         Kre Colonie Owner LLC, P.O. Box 28477 New York, NY 10087-8477 Total                                                                         $37,459.98
Krg Rivers Edge LLC, P.O. Box 752 Indianapolis, IN 46206                                                                          2/4/2020           $23,123.84   Rent/Lease Obligations
Krg Rivers Edge LLC, P.O. Box 752 Indianapolis, IN 46206                                                                         3/23/2020           $23,123.84   Rent/Lease Obligations
         Krg Rivers Edge LLC, P.O. Box 752 Indianapolis, IN 46206 Total                                                                              $46,247.68
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu Seoul, South Korea                                                                  4/30/2020            $3,262.06   Merchandise Vendors
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu Seoul, South Korea                                                                  4/30/2020           $19,335.19   Merchandise Vendors
         Kyung Seung Co Ltd, 408 Samseongro Gangnamgu Seoul, South Korea Total                                                                       $22,597.25
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                 2/3/2020          $870,739.26   Merchandise Vendors



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Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                        2/7/2020          $488,161.25   Merchandise Vendors
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                       2/14/2020          $629,027.85   Merchandise Vendors
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                       2/21/2020          $513,876.95   Merchandise Vendors
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                       2/21/2020          $523,987.77   Merchandise Vendors
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                       2/27/2020           $37,092.66   Merchandise Vendors
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                       2/27/2020          $127,456.26   Merchandise Vendors
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                       2/28/2020           $94,413.27   Merchandise Vendors
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                       2/28/2020          $654,002.96   Merchandise Vendors
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                        3/6/2020          $138,611.53   Merchandise Vendors
Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea                                                                       3/13/2020           $39,332.89   Merchandise Vendors
          Kyung Seung Co Ltd, 408 Samseongro Gangnamgu, Seoul,, South Korea Total                                                                        $4,116,702.65
Kyungwon Trading Corp, 860 Palbong-Dong Iksan City, Jeollabuk-Do Korea, 570-998, South Korea                                            2/14/2020           $23,155.20   Merchandise Vendors
Kyungwon Trading Corp, 860 Palbong-Dong Iksan City, Jeollabuk-Do Korea, 570-998, South Korea                                            2/21/2020           $55,371.73   Merchandise Vendors
Kyungwon Trading Corp, 860 Palbong-Dong Iksan City, Jeollabuk-Do Korea, 570-998, South Korea                                            2/24/2020           $69,207.67   Merchandise Vendors
Kyungwon Trading Corp, 860 Palbong-Dong Iksan City, Jeollabuk-Do Korea, 570-998, South Korea                                             3/6/2020          $183,138.14   Merchandise Vendors
          Kyungwon Trading Corp, 860 Palbong-Dong Iksan City, Jeollabuk-Do Korea, 570-998, South Korea Total                                               $330,872.74
La Cantera Retail Ltd Partners, Sds-12-2532, P.O. Box 86 Minneapolis, MN 55486-2532                                                      2/5/2020           $64,921.57   Rent/Lease Obligations
La Cantera Retail Ltd Partners, Sds-12-2532, P.O. Box 86 Minneapolis, MN 55486-2532                                                      3/5/2020           $64,921.57   Rent/Lease Obligations
          La Cantera Retail Ltd Partners, Sds-12-2532, P.O. Box 86 Minneapolis, MN 55486-2532 Total                                                        $129,843.14
Lacoste, P.O. Box 27237 New York, NY 10087-7237                                                                                         2/12/2020          $460,836.00   Merchandise Vendors
Lacoste, P.O. Box 27237 New York, NY 10087-7237                                                                                         2/26/2020          $184,591.00   Merchandise Vendors
          Lacoste, P.O. Box 27237 New York, NY 10087-7237 Total                                                                                            $645,427.00
Lai Wing Kee Cloth Factory Ltd, 66-82 Chai Wan Kok St Tsuen Wan, NT Hong Kong                                                            2/3/2020            $3,600.00   Services
Lai Wing Kee Cloth Factory Ltd, 66-82 Chai Wan Kok St Tsuen Wan, NT Hong Kong                                                            2/6/2020            $2,160.00   Services
Lai Wing Kee Cloth Factory Ltd, 66-82 Chai Wan Kok St Tsuen Wan, NT Hong Kong                                                           2/10/2020            $1,440.00   Services
          Lai Wing Kee Cloth Factory Ltd, 66-82 Chai Wan Kok St Tsuen Wan, NT Hong Kong Total                                                                $7,200.00
Lalibelo LLC, 247 Centre St 6th Fl, Ste 14 New York, NY 10013                                                                           3/18/2020            $7,599.74   Merchandise Vendors
Lalibelo LLC, 247 Centre St 6th Fl, Ste 14 New York, NY 10013                                                                           4/15/2020           $28,655.25   Merchandise Vendors
          Lalibelo LLC, 247 Centre St 6th Fl, Ste 14 New York, NY 10013 Total                                                                               $36,254.99
Lalire March Architects LLP, 630 9th Ave, Ste 900 New York, NY 10036                                                                    2/12/2020          $115,229.60   Services
Lalire March Architects LLP, 630 9th Ave, Ste 900 New York, NY 10036                                                                     3/6/2020           $45,619.52   Services
Lalire March Architects LLP, 630 9th Ave, Ste 900 New York, NY 10036                                                                    4/22/2020           $76,450.67   Services
          Lalire March Architects LLP, 630 9th Ave, Ste 900 New York, NY 10036 Total                                                                       $237,299.79
LANIFICIO BISENTINO SPA, Via Lombarda 72, Comeana, PO 59015 Italy                                                                       2/11/2020          $196,881.41   Merchandise Vendors
LANIFICIO BISENTINO SPA, Via Lombarda 72, Comeana, PO 59015 Italy                                                                       2/18/2020          $165,929.47   Merchandise Vendors
          LANIFICIO BISENTINO SPA, Via Lombarda 72, Comeana, PO 59015 Italy Total                                                                          $362,810.88
Lanificio Nello Gori Spa, Via Palermo 35 Montemurlo, PO 59013 Italy                                                                     2/24/2020            $7,127.87   Merchandise Vendors
          Lanificio Nello Gori Spa, Via Palermo 35 Montemurlo, PO 59013 Italy Total                                                                          $7,127.87
Las Vegas North Outlets LLC, P.O. Box 827724 Philadelphia, PA 19182-7724                                                                 2/4/2020           $29,167.93   Rent/Lease Obligations
Las Vegas North Outlets LLC, P.O. Box 827724 Philadelphia, PA 19182-7724                                                                 3/6/2020           $29,167.93   Rent/Lease Obligations
Las Vegas North Outlets LLC, P.O. Box 827724 Philadelphia, PA 19182-7724                                                                3/10/2020           $10,763.82   Rent/Lease Obligations
          Las Vegas North Outlets LLC, P.O. Box 827724 Philadelphia, PA 19182-7724 Total                                                                    $69,099.68
Lauren Wells, 289 W 2Nd St No 1 Boston, MA 02127                                                                                        2/28/2020           $18,734.80   Services
          Lauren Wells, 289 W 2Nd St No 1 Boston, MA 02127 Total                                                                                            $18,734.80
Le Parfumeur SAS, 17 Ave Theophile Gauthier Paris, 75116 France                                                                         2/14/2020            $7,545.00   Merchandise Vendors
          Le Parfumeur SAS, 17 Ave Theophile Gauthier Paris, 75116 France Total                                                                              $7,545.00
Lectra Usa Inc, 5000 Highlands Pkwy Se, Ste 250 Smyrna, GA 30082                                                                         2/3/2020           $59,364.00   Services
          Lectra Usa Inc, 5000 Highlands Pkwy Se, Ste 250 Smyrna, GA 30082 Total                                                                            $59,364.00
Legacy Place Properties LLC, P.O. Box 782697 Philadelphia, PA 19178-2697                                                                 2/6/2020           $47,999.06   Rent/Lease Obligations
Legacy Place Properties LLC, P.O. Box 782697 Philadelphia, PA 19178-2697                                                                3/10/2020           $47,999.06   Rent/Lease Obligations
          Legacy Place Properties LLC, P.O. Box 782697 Philadelphia, PA 19178-2697 Total                                                                    $95,998.12
Legacy West Investors LP, 60 South Market St, Ste 1120 San Jose, CA 95113                                                                2/5/2020               $29.17   Rent/Lease Obligations
Legacy West Investors LP, 60 South Market St, Ste 1120 San Jose, CA 95113                                                               2/20/2020           $32,044.17   Rent/Lease Obligations
Legacy West Investors LP, 60 South Market St, Ste 1120 San Jose, CA 95113                                                               3/11/2020           $10,257.75   Rent/Lease Obligations
          Legacy West Investors LP, 60 South Market St, Ste 1120 San Jose, CA 95113 Total                                                                   $42,331.09
Lele Sadoughi Designs LLC, 520 W 27th St, Ste 801 New York, NY 10001                                                                     2/6/2020           $82,498.00   Services
          Lele Sadoughi Designs LLC, 520 W 27th St, Ste 801 New York, NY 10001 Total                                                                        $82,498.00



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Lemon LLC, 424 Nw 45th St Seattle, WA 98107                                                                                          2/21/2020            $3,260.33   Services
Lemon LLC, 424 Nw 45th St Seattle, WA 98107                                                                                          4/29/2020           $24,386.54   Services
         Lemon LLC, 424 Nw 45th St Seattle, WA 98107 Total                                                                                               $27,646.87
LEONARD GREEN & PARTNERS, L.P., 11111 Santa Monica Blvd, Ste 2000 Los Angeles, CA 90025                                              2/21/2020           $12,122.34   Services
         LEONARD GREEN & PARTNERS, L.P., 11111 Santa Monica Blvd, Ste 2000 Los Angeles, CA 90025 Total                                                   $12,122.34
Lexmark Int'L, 740 New Cir Rd Nw Lexington, KY 40550                                                                                 2/12/2020            $8,279.15   Services
Lexmark Int'L, 740 New Cir Rd Nw Lexington, KY 40550                                                                                 3/23/2020            $1,631.23   Services
Lexmark Int'L, 740 New Cir Rd Nw Lexington, KY 40550                                                                                 4/28/2020           $10,687.91   Services
         Lexmark Int'L, 740 New Cir Rd Nw Lexington, KY 40550 Total                                                                                      $20,598.29
LF CENTENNIAL PTE LTD, 10 Raeburn Park 03-08 Block A Singapore, 088702 Singapore                                                      2/7/2020           $11,824.20   Merchandise Vendors
LF CENTENNIAL PTE LTD, 10 Raeburn Park 03-08 Block A Singapore, 088702 Singapore                                                      2/7/2020           $25,387.20   Merchandise Vendors
LF CENTENNIAL PTE LTD, 10 Raeburn Park 03-08 Block A Singapore, 088702 Singapore                                                     2/14/2020           $74,117.71   Services
LF CENTENNIAL PTE LTD, 10 Raeburn Park 03-08 Block A Singapore, 088702 Singapore                                                     2/28/2020           $46,830.05   Merchandise Vendors
LF CENTENNIAL PTE LTD, 10 Raeburn Park 03-08 Block A Singapore, 088702 Singapore                                                     4/24/2020        $1,111,314.35   Merchandise Vendors
         LF CENTENNIAL PTE LTD, 10 Raeburn Park 03-08 Block A Singapore, 088702 Singapore Total                                                       $1,269,473.51
Liberty Mutual Group, P.O. Box 7247-0109 Philadelphia, PA 19170-0109                                                                 2/27/2020           $67,307.27   Services
         Liberty Mutual Group, P.O. Box 7247-0109 Philadelphia, PA 19170-0109 Total                                                                      $67,307.27
Liberty Place Retail Associate, 24408 Network Pl Chicago, IL 60673-1408                                                               2/7/2020           $55,181.42   Rent/Lease Obligations
Liberty Place Retail Associate, 24408 Network Pl Chicago, IL 60673-1408                                                              3/12/2020           $55,562.64   Rent/Lease Obligations
Liberty Place Retail Associate, 24408 Network Pl Chicago, IL 60673-1408                                                              3/13/2020            $3,650.16   Rent/Lease Obligations
         Liberty Place Retail Associate, 24408 Network Pl Chicago, IL 60673-1408 Total                                                                  $114,394.22
Liberty Realty Outlets LLC, 150 Great Neck Rd, Ste 304 Great Neck, NY 11021                                                          2/10/2020           $11,352.38   Rent/Lease Obligations
Liberty Realty Outlets LLC, 150 Great Neck Rd, Ste 304 Great Neck, NY 11021                                                          2/24/2020              $979.82   Rent/Lease Obligations
Liberty Realty Outlets LLC, 150 Great Neck Rd, Ste 304 Great Neck, NY 11021                                                          3/13/2020           $12,332.20   Rent/Lease Obligations
         Liberty Realty Outlets LLC, 150 Great Neck Rd, Ste 304 Great Neck, NY 11021 Total                                                               $24,664.40
Lighthouse Place Premium Outle, P.O. Box 827749 Philadelphia, PA 19182-7749                                                           2/4/2020           $24,288.68   Services
Lighthouse Place Premium Outle, P.O. Box 827749 Philadelphia, PA 19182-7749                                                          3/10/2020           $24,288.68   Services
         Lighthouse Place Premium Outle, P.O. Box 827749 Philadelphia, PA 19182-7749 Total                                                               $48,577.36
Lih Shyuan Enterprises Co Ltd, 4148 3F, 96 Chang Shou St San Chung City Taipei, 241 Taiwan                                           3/17/2020            $7,095.74   Merchandise Vendors
         Lih Shyuan Enterprises Co Ltd, 4148 3F, 96 Chang Shou St San Chung City Taipei, 241 Taiwan Total                                                 $7,095.74
LIH SHYUAN ENTERPRISES CO LTD, 4148 3F, 96 Chang Shou St, San Chung City Taipei, 241 Taiwan                                          2/18/2020          $298,170.85   Merchandise Vendors
LIH SHYUAN ENTERPRISES CO LTD, 4148 3F, 96 Chang Shou St, San Chung City Taipei, 241 Taiwan                                           3/9/2020           $48,227.59   Merchandise Vendors
         LIH SHYUAN ENTERPRISES CO LTD, 4148 3F, 96 Chang Shou St, San Chung City Taipei, 241 Taiwan Total                                              $346,398.44
Lindsay Thompson Company LLC, 30 Irving Pl, 8th Fl New York, NY 10003                                                                 2/3/2020           $40,561.24   Services
         Lindsay Thompson Company LLC, 30 Irving Pl, 8th Fl New York, NY 10003 Total                                                                     $40,561.24
Linkedin Corp, Dept Ch 19165 Palatine, IL 60055-9165                                                                                  2/5/2020          $203,334.29   Services
         Linkedin Corp, Dept Ch 19165 Palatine, IL 60055-9165 Total                                                                                     $203,334.29
Lisa Dotson Inc, 210 West 21st St, 6Fw New York, NY 10011                                                                             2/7/2020            $4,000.00   Services
Lisa Dotson Inc, 210 West 21st St, 6Fw New York, NY 10011                                                                            2/25/2020            $2,000.00   Services
Lisa Dotson Inc, 210 West 21st St, 6Fw New York, NY 10011                                                                            2/25/2020            $3,000.00   Services
Lisa Dotson Inc, 210 West 21st St, 6Fw New York, NY 10011                                                                             3/2/2020            $3,000.00   Services
Lisa Dotson Inc, 210 West 21st St, 6Fw New York, NY 10011                                                                            3/20/2020            $1,000.00   Services
Lisa Dotson Inc, 210 West 21st St, 6Fw New York, NY 10011                                                                            4/23/2020            $1,000.00   Services
Lisa Dotson Inc, 210 West 21st St, 6Fw New York, NY 10011                                                                            4/23/2020            $3,000.00   Services
         Lisa Dotson Inc, 210 West 21st St, 6Fw New York, NY 10011 Total                                                                                 $17,000.00
Little Rock Development Co LLC, P.O. Box 95603 Las Vegas, NV 89193-5603                                                               2/6/2020           $29,936.73   Rent/Lease Obligations
Little Rock Development Co LLC, P.O. Box 95603 Las Vegas, NV 89193-5603                                                               3/5/2020           $29,936.73   Rent/Lease Obligations
         Little Rock Development Co LLC, P.O. Box 95603 Las Vegas, NV 89193-5603 Total                                                                   $59,873.46
Live Person Inc, 27260 Network Pl Chicago, IL 60673-1272                                                                             2/20/2020            $8,640.00   Services
Live Person Inc, 27260 Network Pl Chicago, IL 60673-1272                                                                             2/27/2020            $8,640.00   Services
         Live Person Inc, 27260 Network Pl Chicago, IL 60673-1272 Total                                                                                  $17,280.00
Livermore Premium Outlets LLC, 2696 Solution Center Chicago, IL 60677-2006                                                            2/6/2020           $32,915.72   Rent/Lease Obligations
Livermore Premium Outlets LLC, 2696 Solution Center Chicago, IL 60677-2006                                                           2/27/2020               $37.00   Rent/Lease Obligations
Livermore Premium Outlets LLC, 2696 Solution Center Chicago, IL 60677-2006                                                            3/6/2020           $32,915.72   Rent/Lease Obligations
         Livermore Premium Outlets LLC, 2696 Solution Center Chicago, IL 60677-2006 Total                                                                $65,868.44
Lk Jewelry Co Ltd, 628 OPUSB/D, 611-26 Guro-Dong Guro-Gu, Seoul, 152-865, South Korea                                                2/24/2020           $54,947.56   Merchandise Vendors
         Lk Jewelry Co Ltd, 628 OPUSB/D, 611-26 Guro-Dong Guro-Gu, Seoul, 152-865, South Korea Total                                                     $54,947.56



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Locknet LLC, 800 John C Watts Nicholasville, KY 40356                                                                                             2/19/2020            $9,145.90   Services
Locknet LLC, 800 John C Watts Nicholasville, KY 40356                                                                                             3/10/2020            $3,806.24   Services
          Locknet LLC, 800 John C Watts Nicholasville, KY 40356 Total                                                                                                 $12,952.14
Loeb & Loeb LLP - General Account, 345 Park Ave New York, NY, 10154                                                                                5/1/2020           $17,000.00   Services
          Loeb & Loeb LLP - General Account, 345 Park Ave New York, NY, 10154 Total                                                                                   $17,000.00
Loro Piana Spa, 108 West 39th St New York, NY 10018                                                                                                3/9/2020           $25,000.00   Merchandise Vendors
          Loro Piana Spa, 108 West 39th St New York, NY 10018 Total                                                                                                   $25,000.00
Louisville Outlet Shoppes LLC, P.O. Box 809264 Chicago, IL 60680-9264                                                                              2/5/2020           $18,197.19   Rent/Lease Obligations
Louisville Outlet Shoppes LLC, P.O. Box 809264 Chicago, IL 60680-9264                                                                              3/4/2020           $17,876.07   Rent/Lease Obligations
          Louisville Outlet Shoppes LLC, P.O. Box 809264 Chicago, IL 60680-9264 Total                                                                                 $36,073.26
LRC Northway Mall Acquisitions LLC, Attn: Frank A Licata 1585 Frederick Blvd Akron, OH 44320                                                      2/10/2020              $655.15   Services
LRC Northway Mall Acquisitions LLC, Attn: Frank A Licata 1585 Frederick Blvd Akron, OH 44320                                                      2/10/2020           $23,821.92   Services
LRC Northway Mall Acquisitions LLC, Attn: Frank A Licata 1585 Frederick Blvd Akron, OH 44320                                                       3/5/2020           $23,675.43   Services
          LRC Northway Mall Acquisitions LLC, Attn: Frank A Licata 1585 Frederick Blvd Akron, OH 44320 Total                                                          $48,152.50
Luen Thai Overseas Macao Commercial Offshore Co Ltd, Rms 1001-1005,10/F, Nanyang Plz, 57 Hung To Rd Kwun Tong, KowloonHong Kong                   4/27/2020          $510,277.48   Merchandise Vendors
          Luen Thai Overseas Macao Commercial Offshore Co Ltd, Rms 1001-1005,10/F, Nanyang Plz, 57 Hung To Rd Kwun Tong, KowloonHong Kong Total                      $510,277.48
LUEN THAI OVERSEAS MACAO COMMERCIAL, Rms 1001-1005,10/F, Nanyang Plz, 57 Hung To Rd Kwun Tong, KowloonHong Kong                                   2/18/2020          $752,709.74   Merchandise Vendors
          LUEN THAI OVERSEAS MACAO COMMERCIAL, Rms 1001-1005,10/F, Nanyang Plz, 57 Hung To Rd Kwun Tong, KowloonHong Kong Total                                      $752,709.74
LUEN THAI OVERSEAS MACAO, Rms 1001-1005,10/F, Nanyang Plz, 57 Hung To Rd Kwun Tong, KowloonHong Kong                                              2/18/2020           $59,954.11   Merchandise Vendors
          LUEN THAI OVERSEAS MACAO, Rms 1001-1005,10/F, Nanyang Plz, 57 Hung To Rd Kwun Tong, KowloonHong Kong Total                                                  $59,954.11
Lunya Co, 1032 Broadway Santa Monica, CA 90401                                                                                                    2/18/2020            $2,588.10   Services
Lunya Co, 1032 Broadway Santa Monica, CA 90401                                                                                                     3/5/2020              $123.84   Services
Lunya Co, 1032 Broadway Santa Monica, CA 90401                                                                                                    3/10/2020            $7,822.21   Services
          Lunya Co, 1032 Broadway Santa Monica, CA 90401 Total                                                                                                        $10,534.15
Lynchburg Public Warehouse LLC, 554 Craghead St, Ste 100 Danville, VA 24541                                                                       2/12/2020           $25,307.00   Services
          Lynchburg Public Warehouse LLC, 554 Craghead St, Ste 100 Danville, VA 24541 Total                                                                           $25,307.00
M AND V MACAO COMMERCIAL OFFSHORE, Centro Financeiro Rua De Pequim, Macau, China                                                                   3/9/2020           $64,618.94   Merchandise Vendors
          M AND V MACAO COMMERCIAL OFFSHORE, Centro Financeiro Rua De Pequim, Macau, China Total                                                                      $64,618.94
M AND V MACAO COMMERCIAL, Centro Financeiro Rua De Pequim, Macau, China                                                                           2/10/2020           $71,364.96   Merchandise Vendors
M AND V MACAO COMMERCIAL, Centro Financeiro Rua De Pequim, Macau, China                                                                           2/18/2020          $361,559.71   Merchandise Vendors
M AND V MACAO COMMERCIAL, Centro Financeiro Rua De Pequim, Macau, China                                                                           2/21/2020           $59,950.80   Merchandise Vendors
          M AND V MACAO COMMERCIAL, Centro Financeiro Rua De Pequim, Macau, China Total                                                                              $492,875.47
Mabo Clothier Inc, 925 East 900 South 101 Salt Lake City, UT 84108                                                                                 2/5/2020            $5,387.82   Services
Mabo Clothier Inc, 925 East 900 South 101 Salt Lake City, UT 84108                                                                                3/10/2020            $4,274.03   Services
Mabo Clothier Inc, 925 East 900 South 101 Salt Lake City, UT 84108                                                                                4/17/2020            $4,459.93   Services
          Mabo Clothier Inc, 925 East 900 South 101 Salt Lake City, UT 84108 Total                                                                                    $14,121.78
Macerich HHF Broadway Plaza LLC, Mangement Office Attn: Center Manager 1275 Broadway Plz Walnut Creek, CA 94596                                    2/5/2020          $116,572.10   Rent/Lease Obligations
Macerich HHF Broadway Plaza LLC, Mangement Office Attn: Center Manager 1275 Broadway Plz Walnut Creek, CA 94596                                    3/5/2020          $116,572.10   Rent/Lease Obligations
Macerich HHF Broadway Plaza LLC, Mangement Office Attn: Center Manager 1275 Broadway Plz Walnut Creek, CA 94596                                   3/24/2020              $576.05   Rent/Lease Obligations
          Macerich HHF Broadway Plaza LLC, Mangement Office Attn: Center Manager 1275 Broadway Plz Walnut Creek, CA 94596 Total                                      $233,720.25
Macerich Hhf Centers LLC, P.O. Box 511308 Los Angeles, CA 90051-7863                                                                               2/5/2020           $23,086.84   Rent/Lease Obligations
Macerich Hhf Centers LLC, P.O. Box 511308 Los Angeles, CA 90051-7863                                                                               2/5/2020           $35,362.38   Rent/Lease Obligations
Macerich Hhf Centers LLC, P.O. Box 511308 Los Angeles, CA 90051-7863                                                                               3/3/2020           $23,086.84   Rent/Lease Obligations
Macerich Hhf Centers LLC, P.O. Box 511308 Los Angeles, CA 90051-7863                                                                               3/3/2020           $35,362.38   Rent/Lease Obligations
          Macerich Hhf Centers LLC, P.O. Box 511308 Los Angeles, CA 90051-7863 Total                                                                                 $116,898.44
Macerich Oaks Lp, c/o Macerich Company P.O. Box 2172 401 Wilshire Blvd, Ste 700 Santa Monica, CA 90407                                             2/4/2020           $10,267.64   Rent/Lease Obligations
Macerich Oaks Lp, c/o Macerich Company P.O. Box 2172 401 Wilshire Blvd, Ste 700 Santa Monica, CA 90407                                            2/27/2020              $366.69   Rent/Lease Obligations
Macerich Oaks Lp, c/o Macerich Company P.O. Box 2172 401 Wilshire Blvd, Ste 700 Santa Monica, CA 90407                                             3/5/2020           $10,634.33   Rent/Lease Obligations
          Macerich Oaks Lp, c/o Macerich Company P.O. Box 2172 401 Wilshire Blvd, Ste 700 Santa Monica, CA 90407 Total                                                $21,268.66
Macerich Property Management Company LLC, Fashion Outlets of Niagara Falls 1900 Military Rd Niagara Falls, NY 14304                                2/4/2020           $23,176.28   Services
Macerich Property Management Company LLC, Fashion Outlets of Niagara Falls 1900 Military Rd Niagara Falls, NY 14304                                3/6/2020           $23,176.28   Services
Macerich Property Management Company LLC, Fashion Outlets of Niagara Falls 1900 Military Rd Niagara Falls, NY 14304                               3/11/2020              $489.63   Services
          Macerich Property Management Company LLC, Fashion Outlets of Niagara Falls 1900 Military Rd Niagara Falls, NY 14304 Total                                   $46,842.19
Macerich Twenty Ninth St LLC, P.O. Box 511308 Los Angeles, CA 90051-7863                                                                           2/5/2020           $10,316.47   Rent/Lease Obligations
Macerich Twenty Ninth St LLC, P.O. Box 511308 Los Angeles, CA 90051-7863                                                                           3/5/2020           $10,316.47   Rent/Lease Obligations
          Macerich Twenty Ninth St LLC, P.O. Box 511308 Los Angeles, CA 90051-7863 Total                                                                              $20,632.94
Mall At Chestnut Hill LLC, P.O. Box 643748 Pittsburgh, PA 15264-3748                                                                               2/4/2020          $108,732.15   Rent/Lease Obligations



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Mall At Chestnut Hill LLC, P.O. Box 643748 Pittsburgh, PA 15264-3748                                                             2/24/2020           $10,531.24   Rent/Lease Obligations
Mall At Chestnut Hill LLC, P.O. Box 643748 Pittsburgh, PA 15264-3748                                                              3/5/2020          $108,732.15   Rent/Lease Obligations
         Mall At Chestnut Hill LLC, P.O. Box 643748 Pittsburgh, PA 15264-3748 Total                                                                 $227,995.54
Mall At Concord Mills Limited, P.O. Box 100451 Atlanta, GA 30384-0451                                                             2/5/2020           $22,704.89   Rent/Lease Obligations
Mall At Concord Mills Limited, P.O. Box 100451 Atlanta, GA 30384-0451                                                             3/4/2020           $22,704.89   Rent/Lease Obligations
         Mall At Concord Mills Limited, P.O. Box 100451 Atlanta, GA 30384-0451 Total                                                                 $45,409.78
Mall At Katy Mills LP, P.O. Box 100554 Atlanta, GA 30384-0554                                                                     2/5/2020           $21,601.19   Rent/Lease Obligations
Mall At Katy Mills LP, P.O. Box 100554 Atlanta, GA 30384-0554                                                                    2/12/2020            $1,301.30   Rent/Lease Obligations
Mall At Katy Mills LP, P.O. Box 100554 Atlanta, GA 30384-0554                                                                     3/4/2020           $21,601.19   Rent/Lease Obligations
         Mall At Katy Mills LP, P.O. Box 100554 Atlanta, GA 30384-0554 Total                                                                         $44,503.68
Mall At Potomac Mills LLC, P.O. Box 277866 Atlanta, GA 30384-7866                                                                 2/5/2020           $26,055.76   Rent/Lease Obligations
Mall At Potomac Mills LLC, P.O. Box 277866 Atlanta, GA 30384-7866                                                                 3/4/2020           $26,055.76   Rent/Lease Obligations
         Mall At Potomac Mills LLC, P.O. Box 277866 Atlanta, GA 30384-7866 Total                                                                     $52,111.52
Mall At Summit LLC, P.O. Box 644271 Pittsburgh, PA 15264-4271                                                                     2/4/2020           $27,376.04   Rent/Lease Obligations
Mall At Summit LLC, P.O. Box 644271 Pittsburgh, PA 15264-4271                                                                    2/24/2020            $2,362.82   Rent/Lease Obligations
Mall At Summit LLC, P.O. Box 644271 Pittsburgh, PA 15264-4271                                                                     3/4/2020           $29,738.86   Rent/Lease Obligations
         Mall At Summit LLC, P.O. Box 644271 Pittsburgh, PA 15264-4271 Total                                                                         $59,477.72
MAN YAN GARMENT TEXTILES CO LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                            2/18/2020          $567,940.40   Merchandise Vendors
         MAN YAN GARMENT TEXTILES CO LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong Total                                                $567,940.40
Man Yan Garment Textiles Co Ltd, 883 Cheung Sha Wan Rd Kowloon, Hong Kong                                                        2/27/2020            $3,201.24   Merchandise Vendors
Man Yan Garment Textiles Co Ltd, 883 Cheung Sha Wan Rd Kowloon, Hong Kong                                                         3/2/2020              $786.54   Merchandise Vendors
Man Yan Garment Textiles Co Ltd, 883 Cheung Sha Wan Rd Kowloon, Hong Kong                                                         3/6/2020            $1,032.40   Merchandise Vendors
Man Yan Garment Textiles Co Ltd, 883 Cheung Sha Wan Rd Kowloon, Hong Kong                                                         3/6/2020            $3,286.28   Merchandise Vendors
Man Yan Garment Textiles Co Ltd, 883 Cheung Sha Wan Rd Kowloon, Hong Kong                                                        3/20/2020            $9,340.61   Merchandise Vendors
         Man Yan Garment Textiles Co Ltd, 883 Cheung Sha Wan Rd Kowloon, Hong Kong Total                                                             $17,647.07
MAN YAN GARMENT TEXTILES CO LTD, 883 Cheung Sha Wan Rd, Kowloon, Hong Kong                                                       2/10/2020          $249,100.93   Merchandise Vendors
MAN YAN GARMENT TEXTILES CO LTD, 883 Cheung Sha Wan Rd, Kowloon, Hong Kong                                                       2/28/2020          $207,518.59   Merchandise Vendors
MAN YAN GARMENT TEXTILES CO LTD, 883 Cheung Sha Wan Rd, Kowloon, Hong Kong                                                        3/2/2020          $131,997.51   Merchandise Vendors
MAN YAN GARMENT TEXTILES CO LTD, 883 Cheung Sha Wan Rd, Kowloon, Hong Kong                                                        3/9/2020          $362,941.08   Merchandise Vendors
         MAN YAN GARMENT TEXTILES CO LTD, 883 Cheung Sha Wan Rd, Kowloon, Hong Kong Total                                                           $951,558.11
Manchu Times Fashion Limited, North Blockway Skyway House 3 Sham Mong Rd, Tai Kok Tsui Kowloon Sn Hong Kong                      2/25/2020            $2,952.65   Merchandise Vendors
Manchu Times Fashion Limited, North Blockway Skyway House 3 Sham Mong Rd, Tai Kok Tsui Kowloon Sn Hong Kong                      2/27/2020            $4,365.52   Merchandise Vendors
Manchu Times Fashion Limited, North Blockway Skyway House 3 Sham Mong Rd, Tai Kok Tsui Kowloon Sn Hong Kong                       3/4/2020              $440.70   Merchandise Vendors
Manchu Times Fashion Limited, North Blockway Skyway House 3 Sham Mong Rd, Tai Kok Tsui Kowloon Sn Hong Kong                      3/10/2020           $41,008.64   Merchandise Vendors
Manchu Times Fashion Limited, North Blockway Skyway House 3 Sham Mong Rd, Tai Kok Tsui Kowloon Sn Hong Kong                      4/14/2020           $57,000.00   Merchandise Vendors
         Manchu Times Fashion Limited, North Blockway Skyway House 3 Sham Mong Rd, Tai Kok Tsui Kowloon Sn Hong Kong Total                          $105,767.51
MANCHU TIMES FASHION LIMITED, North Blockway Skyway House 3, Sham Mong Rd, Tai Kok Tsui Kowloon SnHong Kong                       2/3/2020          $234,249.21   Merchandise Vendors
MANCHU TIMES FASHION LIMITED, North Blockway Skyway House 3, Sham Mong Rd, Tai Kok Tsui Kowloon SnHong Kong                      2/24/2020          $835,599.93   Merchandise Vendors
MANCHU TIMES FASHION LIMITED, North Blockway Skyway House 3, Sham Mong Rd, Tai Kok Tsui Kowloon SnHong Kong                       3/2/2020          $390,697.85   Merchandise Vendors
         MANCHU TIMES FASHION LIMITED, North Blockway Skyway House 3, Sham Mong Rd, Tai Kok Tsui Kowloon SnHong Kong Total                        $1,460,546.99
Mandarin Enterprises Intl, Tsing Yi Industrial Centre Phase 2 1-33 Cheung Tat Rd Tsing Yi Island Hong Kong                        2/7/2020           $14,538.64   Merchandise Vendors
Mandarin Enterprises Intl, Tsing Yi Industrial Centre Phase 2 1-33 Cheung Tat Rd Tsing Yi Island Hong Kong                        2/7/2020           $47,251.40   Merchandise Vendors
Mandarin Enterprises Intl, Tsing Yi Industrial Centre Phase 2 1-33 Cheung Tat Rd Tsing Yi Island Hong Kong                        3/5/2020           $56,360.45   Merchandise Vendors
         Mandarin Enterprises Intl, Tsing Yi Industrial Centre Phase 2 1-33 Cheung Tat Rd Tsing Yi Island Hong Kong Total                           $118,150.49
Mane Enterprises Inc, 49-29 30th Pl Long Island City, NY 11101                                                                    2/4/2020           $31,481.18   Merchandise Vendors
Mane Enterprises Inc, 49-29 30th Pl Long Island City, NY 11101                                                                   2/19/2020           $41,441.50   Merchandise Vendors
         Mane Enterprises Inc, 49-29 30th Pl Long Island City, NY 11101 Total                                                                        $72,922.68
Manhattan Associates Inc, P.O. Box 405696 Atlanta, GA 30384-5696                                                                 2/27/2020            $4,875.50   Services
Manhattan Associates Inc, P.O. Box 405696 Atlanta, GA 30384-5696                                                                 4/20/2020          $647,978.34   Services
         Manhattan Associates Inc, P.O. Box 405696 Atlanta, GA 30384-5696 Total                                                                     $652,853.84
Manifattura Di Carmignano Srl, Via Fausto Coppi N 2 Agliana, PT 51031 Italy                                                      2/14/2020            $1,817.23   Merchandise Vendors
Manifattura Di Carmignano Srl, Via Fausto Coppi N 2 Agliana, PT 51031 Italy                                                      2/21/2020            $2,720.65   Merchandise Vendors
Manifattura Di Carmignano Srl, Via Fausto Coppi N 2 Agliana, PT 51031 Italy                                                      3/16/2020            $3,380.90   Merchandise Vendors
Manifattura Di Carmignano Srl, Via Fausto Coppi N 2 Agliana, PT 51031 Italy                                                      3/27/2020              $609.92   Merchandise Vendors
         Manifattura Di Carmignano Srl, Via Fausto Coppi N 2 Agliana, PT 51031 Italy Total                                                            $8,528.70
Maria Seccia LLC, 417 Grand St, D1001 New York, NY 10002                                                                         2/20/2020            $3,843.00   Services
Maria Seccia LLC, 417 Grand St, D1001 New York, NY 10002                                                                         2/21/2020            $2,555.49   Services



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Maria Seccia LLC, 417 Grand St, D1001 New York, NY 10002                                                                                           2/25/2020            $1,908.00   Services
Maria Seccia LLC, 417 Grand St, D1001 New York, NY 10002                                                                                            3/5/2020            $3,843.00   Services
         Maria Seccia LLC, 417 Grand St, D1001 New York, NY 10002 Total                                                                                                $12,149.49
Marilyn Model Management Inc, 32 Union Sq East Penthouse New York, NY 10003                                                                         3/3/2020           $16,400.00   Services
         Marilyn Model Management Inc, 32 Union Sq East Penthouse New York, NY 10003 Total                                                                             $16,400.00
Market Street Retail South LLC, c/o WS Asset Management, Inc 33 Boylston, Ste 3000 Chestnut Hill, MA 02467                                          2/5/2020           $17,223.76   Rent/Lease Obligations
Market Street Retail South LLC, c/o WS Asset Management, Inc 33 Boylston, Ste 3000 Chestnut Hill, MA 02467                                          3/4/2020           $17,223.76   Rent/Lease Obligations
         Market Street Retail South LLC, c/o WS Asset Management, Inc 33 Boylston, Ste 3000 Chestnut Hill, MA 02467 Total                                              $34,447.52
Marubeni America Corp, P.O. Box 776843 Chicago, IL 60677-6843                                                                                       2/5/2020            $7,172.50   Services
Marubeni America Corp, P.O. Box 776843 Chicago, IL 60677-6843                                                                                      3/16/2020            $9,438.55   Services
         Marubeni America Corp, P.O. Box 776843 Chicago, IL 60677-6843 Total                                                                                           $16,611.05
Matthew Spade, 23 Beechfield Ave Blackpool, LA FY3 9JE United Kingdom                                                                              2/24/2020           $12,505.21   Services
         Matthew Spade, 23 Beechfield Ave Blackpool, LA FY3 9JE United Kingdom Total                                                                                   $12,505.21
Mavacon Usa LLC, 101 Plz Real South, Unit 216 Boca Raton, FL 33432                                                                                  2/3/2020            $4,725.00   Services
Mavacon Usa LLC, 101 Plz Real South, Unit 216 Boca Raton, FL 33432                                                                                  2/3/2020          $193,279.20   Services
Mavacon Usa LLC, 101 Plz Real South, Unit 216 Boca Raton, FL 33432                                                                                 4/17/2020          $139,134.00   Services
         Mavacon Usa LLC, 101 Plz Real South, Unit 216 Boca Raton, FL 33432 Total                                                                                     $337,138.20
Max Trade Ltd, 209-211 Wai Yip St, Kwun Tong,, Hong Kong                                                                                           2/28/2020           $58,339.71   Merchandise Vendors
Max Trade Ltd, 209-211 Wai Yip St, Kwun Tong,, Hong Kong                                                                                            3/6/2020           $10,446.18   Merchandise Vendors
Max Trade Ltd, 209-211 Wai Yip St, Kwun Tong,, Hong Kong                                                                                           3/16/2020           $30,822.24   Merchandise Vendors
         Max Trade Ltd, 209-211 Wai Yip St, Kwun Tong,, Hong Kong Total                                                                                                $99,608.13
Mayfair, Attn: General Manager 2500 North Mayfair Rd Wauwatosa, WI 53226                                                                            2/7/2020           $18,816.48   Services
Mayfair, Attn: General Manager 2500 North Mayfair Rd Wauwatosa, WI 53226                                                                            3/6/2020           $18,816.48   Services
         Mayfair, Attn: General Manager 2500 North Mayfair Rd Wauwatosa, WI 53226 Total                                                                                $37,632.96
Mckay Investment Co LLC, 2350 Oakmont Way, Ste 204 Eugene, OR 97401                                                                                 2/6/2020           $17,678.83   Rent/Lease Obligations
Mckay Investment Co LLC, 2350 Oakmont Way, Ste 204 Eugene, OR 97401                                                                                 3/5/2020           $17,672.95   Rent/Lease Obligations
Mckay Investment Co LLC, 2350 Oakmont Way, Ste 204 Eugene, OR 97401                                                                                3/12/2020                $5.66   Rent/Lease Obligations
         Mckay Investment Co LLC, 2350 Oakmont Way, Ste 204 Eugene, OR 97401 Total                                                                                     $35,357.44
Mcp English Village LLC, P.O. Box 6124 Hicksville, NY 11802-6124                                                                                    2/5/2020           $20,181.33   Rent/Lease Obligations
Mcp English Village LLC, P.O. Box 6124 Hicksville, NY 11802-6124                                                                                    3/3/2020           $20,119.38   Rent/Lease Obligations
Mcp English Village LLC, P.O. Box 6124 Hicksville, NY 11802-6124                                                                                   3/10/2020               $29.24   Rent/Lease Obligations
         Mcp English Village LLC, P.O. Box 6124 Hicksville, NY 11802-6124 Total                                                                                        $40,329.95
Melissa Green, 11 High Meadows Rd Mount Kisco, NY 10549                                                                                            2/19/2020            $3,000.00   Services
Melissa Green, 11 High Meadows Rd Mount Kisco, NY 10549                                                                                            3/17/2020            $3,000.00   Services
Melissa Green, 11 High Meadows Rd Mount Kisco, NY 10549                                                                                            4/23/2020            $3,000.00   Services
         Melissa Green, 11 High Meadows Rd Mount Kisco, NY 10549 Total                                                                                                  $9,000.00
Mept Edgemoor Operating LP, P.O. Box 932886 Cleveland, OH 44193                                                                                     2/6/2020           $19,706.94   Rent/Lease Obligations
Mept Edgemoor Operating LP, P.O. Box 932886 Cleveland, OH 44193                                                                                     3/4/2020           $19,706.94   Rent/Lease Obligations
         Mept Edgemoor Operating LP, P.O. Box 932886 Cleveland, OH 44193 Total                                                                                         $39,413.88
Meri Meri Inc, 111 Anza Blvd, Ste 100 Burlingame, CA 94010                                                                                         2/20/2020           $15,645.62   Merchandise Vendors
         Meri Meri Inc, 111 Anza Blvd, Ste 100 Burlingame, CA 94010 Total                                                                                              $15,645.62
Meridian Centercal LLC, P.O. Box 5000 Portland, OR 97208-5000                                                                                       2/5/2020               $20.00   Rent/Lease Obligations
Meridian Centercal LLC, P.O. Box 5000 Portland, OR 97208-5000                                                                                      2/27/2020            $7,302.33   Rent/Lease Obligations
Meridian Centercal LLC, P.O. Box 5000 Portland, OR 97208-5000                                                                                       3/5/2020               $20.00   Rent/Lease Obligations
Meridian Centercal LLC, P.O. Box 5000 Portland, OR 97208-5000                                                                                      3/23/2020           $10,586.29   Rent/Lease Obligations
         Meridian Centercal LLC, P.O. Box 5000 Portland, OR 97208-5000 Total                                                                                           $17,928.62
MERIT TAT INTERNATIONAL LTD, Flat G-H 5th Fl, Tung Kin Factory Bldg, 200-202 Tsat Tse Mui Rd, North PointHong Kong                                 2/14/2020           $55,743.72   Merchandise Vendors
         MERIT TAT INTERNATIONAL LTD, Flat G-H 5th Fl, Tung Kin Factory Bldg, 200-202 Tsat Tse Mui Rd, North PointHong Kong Total                                      $55,743.72
Merrick Park LLC, Sds-12-3090, P.O. Box 86 Minneapolis, MN 55486-3090                                                                               2/5/2020          $125,923.25   Rent/Lease Obligations
Merrick Park LLC, Sds-12-3090, P.O. Box 86 Minneapolis, MN 55486-3090                                                                               3/6/2020          $126,581.69   Rent/Lease Obligations
         Merrick Park LLC, Sds-12-3090, P.O. Box 86 Minneapolis, MN 55486-3090 Total                                                                                  $252,504.94
Merrimack Premium Outlets Center, LLC, Simon Property Group, Inc Attn: Premium Outlets 225 W Washington St Indianapolis, IN 46204                   2/6/2020           $15,172.17   Rent/Lease Obligations
Merrimack Premium Outlets Center, LLC, Simon Property Group, Inc Attn: Premium Outlets 225 W Washington St Indianapolis, IN 46204                   2/6/2020           $18,448.11   Rent/Lease Obligations
Merrimack Premium Outlets Center, LLC, Simon Property Group, Inc Attn: Premium Outlets 225 W Washington St Indianapolis, IN 46204                   3/6/2020           $15,172.17   Rent/Lease Obligations
Merrimack Premium Outlets Center, LLC, Simon Property Group, Inc Attn: Premium Outlets 225 W Washington St Indianapolis, IN 46204                   3/6/2020           $18,448.11   Rent/Lease Obligations
         Merrimack Premium Outlets Center, LLC, Simon Property Group, Inc Attn: Premium Outlets 225 W Washington St Indianapolis, IN 46204 Total                       $67,240.56
Metropolitan Life Insurance Co, P.O. Box 360905 Pittsburgh, PA 15251-6905                                                                          4/29/2020          $166,413.65   Services



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          Metropolitan Life Insurance Co, P.O. Box 360905 Pittsburgh, PA 15251-6905 Total                                                                  $166,413.65
MGF SOURCING US LLC, 4200 Regent St, Ste 205 Columbus, OH 43219                                                                          2/7/2020          $108,943.10   Merchandise Vendors
MGF SOURCING US LLC, 4200 Regent St, Ste 205 Columbus, OH 43219                                                                         2/21/2020           $95,587.44   Merchandise Vendors
MGF SOURCING US LLC, 4200 Regent St, Ste 205 Columbus, OH 43219                                                                         2/28/2020          $216,336.90   Merchandise Vendors
MGF SOURCING US LLC, 4200 Regent St, Ste 205 Columbus, OH 43219                                                                         4/24/2020          $314,943.01   Merchandise Vendors
          MGF SOURCING US LLC, 4200 Regent St, Ste 205 Columbus, OH 43219 Total                                                                            $735,810.45
Michael Fine, 438 Sackett St 2 Brooklyn, NY 11231                                                                                        2/3/2020           $17,800.00   Services
Michael Fine, 438 Sackett St 2 Brooklyn, NY 11231                                                                                       2/25/2020            $6,000.00   Services
          Michael Fine, 438 Sackett St 2 Brooklyn, NY 11231 Total                                                                                           $23,800.00
Micro Graphic Information, 244 Saddle River Rd Saddle Brook, NJ 07663                                                                   2/19/2020           $10,440.87   Services
          Micro Graphic Information, 244 Saddle River Rd Saddle Brook, NJ 07663 Total                                                                       $10,440.87
Mid-South Outlet Holdings LLC, P.O. Box 419258 Boston, MA 02241-9258                                                                     2/4/2020           $17,395.85   Rent/Lease Obligations
          Mid-South Outlet Holdings LLC, P.O. Box 419258 Boston, MA 02241-9258 Total                                                                        $17,395.85
Midway Cc Venture I LP, 800 Town & Country Blvd, Ste 200 Houston, TX 77024                                                               2/6/2020           $15,601.50   Rent/Lease Obligations
Midway Cc Venture I LP, 800 Town & Country Blvd, Ste 200 Houston, TX 77024                                                               3/5/2020           $15,541.50   Rent/Lease Obligations
          Midway Cc Venture I LP, 800 Town & Country Blvd, Ste 200 Houston, TX 77024 Total                                                                  $31,143.00
MIKAS STOCKHOLM KB, Birger Jarlsgatan 37 Stockholm, 111 45 Sweden                                                                       2/21/2020           $16,560.68   Services
          MIKAS STOCKHOLM KB, Birger Jarlsgatan 37 Stockholm, 111 45 Sweden Total                                                                           $16,560.68
Milk Makeup LLC, 450 West 15th St, Ste 200 New York, NY 10011                                                                            2/5/2020           $10,252.55   Merchandise Vendors
          Milk Makeup LLC, 450 West 15th St, Ste 200 New York, NY 10011 Total                                                                               $10,252.55
Milpitas Mills Limited Partner, P.O. Box 409714 Atlanta, GA 30384-9714                                                                   2/5/2020           $36,099.25   Services
Milpitas Mills Limited Partner, P.O. Box 409714 Atlanta, GA 30384-9714                                                                  2/19/2020            $7,286.49   Services
Milpitas Mills Limited Partner, P.O. Box 409714 Atlanta, GA 30384-9714                                                                   3/4/2020           $36,099.25   Services
          Milpitas Mills Limited Partner, P.O. Box 409714 Atlanta, GA 30384-9714 Total                                                                      $79,484.99
Mini Title Inc, 20 Jay St 816 Brooklyn, NY 11201                                                                                        2/13/2020           $14,100.00   Services
          Mini Title Inc, 20 Jay St 816 Brooklyn, NY 11201 Total                                                                                            $14,100.00
Minnow Swim LLC, 108 Live Oak Dr Mount Pleasant, SC 29464                                                                               3/10/2020            $2,128.21   Merchandise Vendors
Minnow Swim LLC, 108 Live Oak Dr Mount Pleasant, SC 29464                                                                               3/10/2020            $4,454.61   Merchandise Vendors
Minnow Swim LLC, 108 Live Oak Dr Mount Pleasant, SC 29464                                                                               4/28/2020            $3,769.26   Merchandise Vendors
Minnow Swim LLC, 108 Live Oak Dr Mount Pleasant, SC 29464                                                                               4/28/2020            $5,154.33   Merchandise Vendors
          Minnow Swim LLC, 108 Live Oak Dr Mount Pleasant, SC 29464 Total                                                                                   $15,506.41
Miroglio Lana, Via Corte 48 Valli Del Pasubio, VI 36030 Italy                                                                           2/27/2020              $802.19   Merchandise Vendors
Miroglio Lana, Via Corte 48 Valli Del Pasubio, VI 36030 Italy                                                                           3/11/2020            $9,313.62   Merchandise Vendors
          Miroglio Lana, Via Corte 48 Valli Del Pasubio, VI 36030 Italy Total                                                                               $10,115.81
Miromar Outlet West LLC, 10801 Corkscrew Rd, Ste 305 Estero, FL 33928                                                                    2/6/2020           $31,730.54   Rent/Lease Obligations
Miromar Outlet West LLC, 10801 Corkscrew Rd, Ste 305 Estero, FL 33928                                                                    3/4/2020           $31,789.16   Rent/Lease Obligations
          Miromar Outlet West LLC, 10801 Corkscrew Rd, Ste 305 Estero, FL 33928 Total                                                                       $63,519.70
Moac Mall Holdings LLC, Attn: Mall of America Management Office 2131 Lindau Ln, Ste 500 Bloomington, MN 55425-2640                       2/5/2020           $36,942.62   Rent/Lease Obligations
Moac Mall Holdings LLC, Attn: Mall of America Management Office 2131 Lindau Ln, Ste 500 Bloomington, MN 55425-2640                       3/6/2020           $36,942.62   Rent/Lease Obligations
          Moac Mall Holdings LLC, Attn: Mall of America Management Office 2131 Lindau Ln, Ste 500 Bloomington, MN 55425-2640 Total                          $73,885.24
Mobile Media, P.O. Box 177 Pine Bush, NY 12566                                                                                          2/25/2020           $28,697.79   Services
Mobile Media, P.O. Box 177 Pine Bush, NY 12566                                                                                          4/20/2020           $31,755.13   Services
          Mobile Media, P.O. Box 177 Pine Bush, NY 12566 Total                                                                                              $60,452.92
Mollusk Surf Shop, 1283 42Nd Ave San Francisco, CA 94122                                                                                2/19/2020            $7,095.00   Merchandise Vendors
          Mollusk Surf Shop, 1283 42Nd Ave San Francisco, CA 94122 Total                                                                                     $7,095.00
MONEY MARKET, 400 California St San, CA 94104                                                                                           2/28/2020          $810,104.16   Services
MONEY MARKET, 400 California St San, CA 94104                                                                                           3/31/2020          $953,746.67   Services
          MONEY MARKET, 400 California St San, CA 94104 Total                                                                                            $1,763,850.83
Montgomery Mall Owner LLC, Legal Dept 2049 Century Park E, 41st Fl Los Angeles, CA 90067                                                 2/4/2020          $100,515.57   Rent/Lease Obligations
Montgomery Mall Owner LLC, Legal Dept 2049 Century Park E, 41st Fl Los Angeles, CA 90067                                                 3/5/2020           $99,921.04   Rent/Lease Obligations
          Montgomery Mall Owner LLC, Legal Dept 2049 Century Park E, 41st Fl Los Angeles, CA 90067 Total                                                   $200,436.61
Muse Management Inc, 150 Broadway 1101 New York, NY 10038                                                                               2/19/2020           $10,800.00   Services
Muse Management Inc, 150 Broadway 1101 New York, NY 10038                                                                                3/3/2020            $9,600.00   Services
          Muse Management Inc, 150 Broadway 1101 New York, NY 10038 Total                                                                                   $20,400.00
Nalya Spa, Via Coppie Bartali 20 Cantagallo, PO 59025 Italy                                                                              2/3/2020           $17,278.10   Merchandise Vendors
          Nalya Spa, Via Coppie Bartali 20 Cantagallo, PO 59025 Italy Total                                                                                 $17,278.10
NAM DINH GARMENT JOINT STOCK CO, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                                   2/18/2020          $191,684.28   Merchandise Vendors



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         NAM DINH GARMENT JOINT STOCK CO, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong Total                                                 $191,684.28
NAM DINH GARMENT JOINT STOCK CO, Lot H1 H5, Pham Ngu Lao Rd, Hoa Xa Ip Nam Dinh City 420000Vietnam                                2/11/2020           $83,985.23   Merchandise Vendors
NAM DINH GARMENT JOINT STOCK CO, Lot H1 H5, Pham Ngu Lao Rd, Hoa Xa Ip Nam Dinh City 420000Vietnam                                 3/9/2020          $297,381.82   Merchandise Vendors
         NAM DINH GARMENT JOINT STOCK CO, Lot H1 H5, Pham Ngu Lao Rd, Hoa Xa Ip Nam Dinh City 420000Vietnam Total                                    $381,367.05
National Hanger Co, P.O. Box 818, Water St North Bennington, VT 05257                                                             4/21/2020           $17,260.07   Services
         National Hanger Co, P.O. Box 818, Water St North Bennington, VT 05257 Total                                                                  $17,260.07
Native Union, 7365 Commercial Way, Ste 115 Henderson, NV 89011                                                                     2/5/2020            $3,418.11   Merchandise Vendors
Native Union, 7365 Commercial Way, Ste 115 Henderson, NV 89011                                                                     3/6/2020            $1,214.84   Merchandise Vendors
Native Union, 7365 Commercial Way, Ste 115 Henderson, NV 89011                                                                    3/11/2020            $1,018.05   Merchandise Vendors
Native Union, 7365 Commercial Way, Ste 115 Henderson, NV 89011                                                                    4/15/2020            $1,470.50   Merchandise Vendors
         Native Union, 7365 Commercial Way, Ste 115 Henderson, NV 89011 Total                                                                          $7,121.50
Neo Haijoo Co Ltd, 136-138 Austin Rd, Kowloon,, Hong Kong                                                                         2/20/2020           $32,422.46   Merchandise Vendors
Neo Haijoo Co Ltd, 136-138 Austin Rd, Kowloon,, Hong Kong                                                                         2/27/2020           $55,944.51   Merchandise Vendors
Neo Haijoo Co Ltd, 136-138 Austin Rd, Kowloon,, Hong Kong                                                                          3/5/2020            $7,107.36   Merchandise Vendors
         Neo Haijoo Co Ltd, 136-138 Austin Rd, Kowloon,, Hong Kong Total                                                                              $95,474.33
Nest Inc, 501 5th Ave 1608 New York, NY 10017                                                                                     2/25/2020           $60,000.00   Services
         Nest Inc, 501 5th Ave 1608 New York, NY 10017 Total                                                                                          $60,000.00
New Balance Athletic Shoe Inc, P.O. Box 415206 Boston, MA 02241-5206                                                              4/30/2020          $254,803.00   Merchandise Vendors
         New Balance Athletic Shoe Inc, P.O. Box 415206 Boston, MA 02241-5206 Total                                                                  $254,803.00
New Fashion Products Inc, 13344 S Main St, Ste B, Los Angeles, CA 90061,                                                           2/7/2020           $34,736.25   Merchandise Vendors
New Fashion Products Inc, 13344 S Main St, Ste B, Los Angeles, CA 90061,                                                           2/7/2020           $86,883.74   Merchandise Vendors
New Fashion Products Inc, 13344 S Main St, Ste B, Los Angeles, CA 90061,                                                          2/14/2020           $43,610.40   Merchandise Vendors
New Fashion Products Inc, 13344 S Main St, Ste B, Los Angeles, CA 90061,                                                           3/5/2020          $138,347.28   Merchandise Vendors
New Fashion Products Inc, 13344 S Main St, Ste B, Los Angeles, CA 90061,                                                          3/19/2020           $25,565.76   Merchandise Vendors
         New Fashion Products Inc, 13344 S Main St, Ste B, Los Angeles, CA 90061, Total                                                              $329,143.43
New York City Dept of Consumer, 42 Broadway 5th Fl New York, NY 10004                                                             3/24/2020            $9,593.07   Services
         New York City Dept of Consumer, 42 Broadway 5th Fl New York, NY 10004 Total                                                                   $9,593.07
Newmack LLC, 209 Munson Rd Middlebury, CT 06762                                                                                   3/11/2020           $59,347.47   Services
         Newmack LLC, 209 Munson Rd Middlebury, CT 06762 Total                                                                                        $59,347.47
Next Management LLC, 15 Watts St 6th Fl New York, NY 10013                                                                         2/6/2020           $10,800.00   Services
Next Management LLC, 15 Watts St 6th Fl New York, NY 10013                                                                        2/11/2020           $17,400.00   Services
         Next Management LLC, 15 Watts St 6th Fl New York, NY 10013 Total                                                                             $28,200.00
Nike Communications Inc, 75 Broad St, Ste 185 New York, NY 10004                                                                  2/19/2020            $7,500.00   Services
         Nike Communications Inc, 75 Broad St, Ste 185 New York, NY 10004 Total                                                                        $7,500.00
Noble Industry Co Ltd, 49 Ogeum-Ro 46 Gil Songpa-Gu, Seoul, 138-162, South Korea                                                  2/27/2020          $267,536.45   Merchandise Vendors
Noble Industry Co Ltd, 49 Ogeum-Ro 46 Gil Songpa-Gu, Seoul, 138-162, South Korea                                                  2/27/2020          $295,276.19   Merchandise Vendors
Noble Industry Co Ltd, 49 Ogeum-Ro 46 Gil Songpa-Gu, Seoul, 138-162, South Korea                                                   3/9/2020           $13,895.52   Merchandise Vendors
Noble Industry Co Ltd, 49 Ogeum-Ro 46 Gil Songpa-Gu, Seoul, 138-162, South Korea                                                   3/9/2020          $620,430.79   Merchandise Vendors
Noble Industry Co Ltd, 49 Ogeum-Ro 46 Gil Songpa-Gu, Seoul, 138-162, South Korea                                                  3/16/2020           $41,137.92   Merchandise Vendors
Noble Industry Co Ltd, 49 Ogeum-Ro 46 Gil Songpa-Gu, Seoul, 138-162, South Korea                                                  3/16/2020          $179,755.70   Merchandise Vendors
         Noble Industry Co Ltd, 49 Ogeum-Ro 46 Gil Songpa-Gu, Seoul, 138-162, South Korea Total                                                    $1,418,032.57
North 6th Street Dry Goods LLC, 134 West 29th St, 4th Fl New York, NY 10001                                                        2/6/2020           $18,959.93   Services
North 6th Street Dry Goods LLC, 134 West 29th St, 4th Fl New York, NY 10001                                                       2/18/2020              $568.79   Services
North 6th Street Dry Goods LLC, 134 West 29th St, 4th Fl New York, NY 10001                                                        3/5/2020           $18,959.93   Services
         North 6th Street Dry Goods LLC, 134 West 29th St, 4th Fl New York, NY 10001 Total                                                            $38,488.65
North 6Th Street Realty LLC, 1827 Flushing Ave Ridgewood, NY 11385                                                                 2/4/2020           $11,099.85   Rent/Lease Obligations
North 6Th Street Realty LLC, 1827 Flushing Ave Ridgewood, NY 11385                                                                 3/3/2020           $11,068.86   Rent/Lease Obligations
North 6Th Street Realty LLC, 1827 Flushing Ave Ridgewood, NY 11385                                                                3/23/2020            $1,035.72   Rent/Lease Obligations
North 6Th Street Realty LLC, 1827 Flushing Ave Ridgewood, NY 11385                                                                 5/1/2020           $11,068.86   Rent/Lease Obligations
         North 6Th Street Realty LLC, 1827 Flushing Ave Ridgewood, NY 11385 Total                                                                     $34,273.29
Northbrook Court, Attn: General Manager 2171 Northbrook Court Northbrook, IL 60062                                                 2/6/2020           $56,462.25   Rent/Lease Obligations
Northbrook Court, Attn: General Manager 2171 Northbrook Court Northbrook, IL 60062                                                2/21/2020            $4,873.22   Rent/Lease Obligations
Northbrook Court, Attn: General Manager 2171 Northbrook Court Northbrook, IL 60062                                                 3/5/2020           $61,335.47   Rent/Lease Obligations
         Northbrook Court, Attn: General Manager 2171 Northbrook Court Northbrook, IL 60062 Total                                                    $122,670.94
Northpark Partners LP, P.O. Box 226864 Dallas, TX 75222-6864                                                                       2/4/2020          $160,894.65   Rent/Lease Obligations
Northpark Partners LP, P.O. Box 226864 Dallas, TX 75222-6864                                                                       3/4/2020          $159,443.46   Rent/Lease Obligations
Northpark Partners LP, P.O. Box 226864 Dallas, TX 75222-6864                                                                      3/11/2020              $957.60   Rent/Lease Obligations



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         Northpark Partners LP, P.O. Box 226864 Dallas, TX 75222-6864 Total                                                                              $321,295.71
Northwood Pl Holdings Lp, P.O. Box 208281 Dallas, TX 75320-8281                                                                        2/5/2020           $26,955.04   Services
Northwood Pl Holdings Lp, P.O. Box 208281 Dallas, TX 75320-8281                                                                        3/4/2020           $26,955.04   Services
         Northwood Pl Holdings Lp, P.O. Box 208281 Dallas, TX 75320-8281 Total                                                                            $53,910.08
Np Creation Sas, 9 Bis Rue De La Tuilerie Arbent, 1100 France                                                                         2/11/2020            $5,940.00   Merchandise Vendors
Np Creation Sas, 9 Bis Rue De La Tuilerie Arbent, 1100 France                                                                         2/11/2020           $10,629.31   Merchandise Vendors
Np Creation Sas, 9 Bis Rue De La Tuilerie Arbent, 1100 France                                                                          3/3/2020            $9,021.59   Merchandise Vendors
Np Creation Sas, 9 Bis Rue De La Tuilerie Arbent, 1100 France                                                                          3/3/2020           $24,486.00   Merchandise Vendors
         Np Creation Sas, 9 Bis Rue De La Tuilerie Arbent, 1100 France Total                                                                              $50,076.90
NST APPAREL (HONGKONG) LIMITED, Offshore Incorporation Centre, Roadtown Tortola, VG1120 British Virgin Islands                        2/11/2020           $58,304.85   Merchandise Vendors
         NST APPAREL (HONGKONG) LIMITED, Offshore Incorporation Centre, Roadtown Tortola, VG1120 British Virgin Islands Total                             $58,304.85
Oak Brook Urban Venture LP, Sda-12 2892, P.O. Box 86 Minneapolis, MN 55486-2892                                                        2/5/2020          $130,148.35   Rent/Lease Obligations
Oak Brook Urban Venture LP, Sda-12 2892, P.O. Box 86 Minneapolis, MN 55486-2892                                                        3/5/2020          $130,148.35   Rent/Lease Obligations
         Oak Brook Urban Venture LP, Sda-12 2892, P.O. Box 86 Minneapolis, MN 55486-2892 Total                                                           $260,296.70
Ocf Holdings LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                                2/5/2020           $10,822.28   Rent/Lease Obligations
Ocf Holdings LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                                3/4/2020           $10,822.28   Rent/Lease Obligations
         Ocf Holdings LLC, P.O. Box 414225 Boston, MA 02241-4225 Total                                                                                    $21,644.56
Odette New York LLC, 473 Bedford Center Rd Bedford, NY 10506                                                                          2/10/2020           $21,851.84   Merchandise Vendors
Odette New York LLC, 473 Bedford Center Rd Bedford, NY 10506                                                                           4/1/2020            $7,308.12   Merchandise Vendors
Odette New York LLC, 473 Bedford Center Rd Bedford, NY 10506                                                                           4/2/2020            $2,720.56   Merchandise Vendors
Odette New York LLC, 473 Bedford Center Rd Bedford, NY 10506                                                                          4/29/2020            $8,189.59   Merchandise Vendors
         Odette New York LLC, 473 Bedford Center Rd Bedford, NY 10506 Total                                                                               $40,070.11
Ody Accessories, 29 West 36th St, Ste 402 New York, NY 10018                                                                           2/6/2020            $6,705.00   Merchandise Vendors
Ody Accessories, 29 West 36th St, Ste 402 New York, NY 10018                                                                          2/20/2020           $34,708.50   Merchandise Vendors
Ody Accessories, 29 West 36th St, Ste 402 New York, NY 10018                                                                          2/26/2020           $12,808.80   Merchandise Vendors
         Ody Accessories, 29 West 36th St, Ste 402 New York, NY 10018 Total                                                                               $54,222.30
Ohio Dept of Taxation, 4485 Northland Ridge Blvd, Columbus, OH 43229                                                                  2/14/2020           $50,649.87   Services
         Ohio Dept of Taxation, 4485 Northland Ridge Blvd, Columbus, OH 43229 Total                                                                       $50,649.87
Ok City Outlets LLC, 10275 West Higgins Rd, Ste 560 Rosemont, IL 60018                                                                2/10/2020           $19,767.45   Rent/Lease Obligations
Ok City Outlets LLC, 10275 West Higgins Rd, Ste 560 Rosemont, IL 60018                                                                 3/5/2020           $19,767.45   Rent/Lease Obligations
Ok City Outlets LLC, 10275 West Higgins Rd, Ste 560 Rosemont, IL 60018                                                                 4/2/2020              $422.34   Rent/Lease Obligations
         Ok City Outlets LLC, 10275 West Higgins Rd, Ste 560 Rosemont, IL 60018 Total                                                                     $39,957.24
Olapic Inc, P.O. Box 392306 Pittsburgh, NY 15251-9306                                                                                 2/24/2020           $48,993.76   Services
         Olapic Inc, P.O. Box 392306 Pittsburgh, NY 15251-9306 Total                                                                                      $48,993.76
Old Orchard Urban Limited, P.O. Box 743657 Los Angeles, CA 90074-3657                                                                  2/4/2020          $110,512.73   Rent/Lease Obligations
Old Orchard Urban Limited, P.O. Box 743657 Los Angeles, CA 90074-3657                                                                  3/5/2020          $110,512.73   Rent/Lease Obligations
         Old Orchard Urban Limited, P.O. Box 743657 Los Angeles, CA 90074-3657 Total                                                                     $221,025.46
Omaha Outlets Spe LLC, P.O. Box 8432 Des Moines, IA 50301                                                                              2/4/2020            $2,403.30   Rent/Lease Obligations
Omaha Outlets Spe LLC, P.O. Box 8432 Des Moines, IA 50301                                                                             2/26/2020            $4,870.67   Rent/Lease Obligations
Omaha Outlets Spe LLC, P.O. Box 8432 Des Moines, IA 50301                                                                              3/5/2020            $2,403.30   Rent/Lease Obligations
Omaha Outlets Spe LLC, P.O. Box 8432 Des Moines, IA 50301                                                                             3/23/2020            $8,296.98   Rent/Lease Obligations
         Omaha Outlets Spe LLC, P.O. Box 8432 Des Moines, IA 50301 Total                                                                                  $17,974.25
One Diversified LLC, 37 Market St Kenilworth, NJ 07033                                                                                2/25/2020           $85,252.43   Services
         One Diversified LLC, 37 Market St Kenilworth, NJ 07033 Total                                                                                     $85,252.43
One Warm Coat, 2443 Fillmore St 380-5363 San Francisco, CA 94115                                                                      2/27/2020           $25,000.00   Services
         One Warm Coat, 2443 Fillmore St 380-5363 San Francisco, CA 94115 Total                                                                           $25,000.00
Ones Co Ltd, Kwangjin-Ku, Seoul,, South Korea                                                                                          2/7/2020           $32,393.18   Merchandise Vendors
Ones Co Ltd, Kwangjin-Ku, Seoul,, South Korea                                                                                         2/14/2020          $167,389.05   Merchandise Vendors
Ones Co Ltd, Kwangjin-Ku, Seoul,, South Korea                                                                                         2/27/2020           $60,832.82   Merchandise Vendors
Ones Co Ltd, Kwangjin-Ku, Seoul,, South Korea                                                                                          3/6/2020           $44,116.99   Merchandise Vendors
         Ones Co Ltd, Kwangjin-Ku, Seoul,, South Korea Total                                                                                             $304,732.04
ONES COMPANY LTD., Kwangjin-Ku Seoul, South Korea                                                                                      2/5/2020           $21,253.35   Merchandise Vendors
ONES COMPANY LTD., Kwangjin-Ku Seoul, South Korea                                                                                     2/28/2020           $13,339.52   Merchandise Vendors
         ONES COMPANY LTD., Kwangjin-Ku Seoul, South Korea Total                                                                                          $34,592.87
Onsite Media Solutions LLC, P.O. Box 682675 Park City, UT 84068                                                                       2/20/2020              $513.09   Services
Onsite Media Solutions LLC, P.O. Box 682675 Park City, UT 84068                                                                        3/2/2020            $4,807.80   Services
Onsite Media Solutions LLC, P.O. Box 682675 Park City, UT 84068                                                                       4/20/2020           $16,572.99   Services



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         Onsite Media Solutions LLC, P.O. Box 682675 Park City, UT 84068 Total                                                                              $21,893.88
Ontario Mills LP, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204-3438                                        2/5/2020           $28,087.04   Rent/Lease Obligations
Ontario Mills LP, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204-3438                                       2/19/2020            $2,424.19   Rent/Lease Obligations
Ontario Mills LP, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204-3438                                        3/4/2020           $30,511.23   Rent/Lease Obligations
         Ontario Mills LP, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204-3438 Total                                            $61,022.46
Onx Usa LLC, 4842 Solution Center Chicago, IL 60677-4008                                                                                 3/5/2020           $16,465.00   Services
         Onx Usa LLC, 4842 Solution Center Chicago, IL 60677-4008 Total                                                                                     $16,465.00
Opry Mills Mall LP, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204                                           2/5/2020           $30,937.81   Rent/Lease Obligations
Opry Mills Mall LP, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204                                           3/4/2020           $30,937.81   Rent/Lease Obligations
         Opry Mills Mall LP, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204 Total                                               $61,875.62
Oracle America Inc, P.O. Box 44471 San Francisco, CA 94144-4471                                                                         2/19/2020           $12,271.00   Services
Oracle America Inc, P.O. Box 44471 San Francisco, CA 94144-4471                                                                          3/4/2020           $63,943.00   Services
Oracle America Inc, P.O. Box 44471 San Francisco, CA 94144-4471                                                                         3/11/2020          $471,443.40   Services
Oracle America Inc, P.O. Box 44471 San Francisco, CA 94144-4471                                                                          4/8/2020          $102,646.46   Services
         Oracle America Inc, P.O. Box 44471 San Francisco, CA 94144-4471 Total                                                                             $650,303.86
ORIENT CRAFT LIMITED, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India                                             2/12/2020          $259,575.26   Merchandise Vendors
ORIENT CRAFT LIMITED, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India                                             2/24/2020           $21,916.44   Merchandise Vendors
ORIENT CRAFT LIMITED, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India                                              3/2/2020          $292,830.11   Merchandise Vendors
ORIENT CRAFT LIMITED, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India                                              3/3/2020           $32,192.45   Merchandise Vendors
ORIENT CRAFT LIMITED, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India                                             3/13/2020          $189,475.68   Merchandise Vendors
ORIENT CRAFT LIMITED, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India                                             4/27/2020          $434,004.38   Merchandise Vendors
         ORIENT CRAFT LIMITED, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India Total                                               $1,229,994.32
ORIENT CRAFT LTD, Centro Financeiro Rua De Pequim, Macau, China                                                                         2/21/2020        $1,154,199.57   Merchandise Vendors
         ORIENT CRAFT LTD, Centro Financeiro Rua De Pequim, Macau, China Total                                                                           $1,154,199.57
ORIENT CRAFT LTD, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                                                       3/10/2020          $203,517.86   Merchandise Vendors
         ORIENT CRAFT LTD, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                                                           $203,517.86
Orient Craft Ltd, lot No. 80P, Sector-34 Near Hero Honda Chowk Gurgagon, 7 122001 India                                                 2/10/2020           $12,101.49   Merchandise Vendors
         Orient Craft Ltd, lot No. 80P, Sector-34 Near Hero Honda Chowk Gurgagon, 7 122001 India Total                                                      $12,101.49
ORIENT CRAFT LTD, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India                                                  2/4/2020          $132,884.98   Merchandise Vendors
ORIENT CRAFT LTD, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India                                                 2/11/2020          $158,419.59   Merchandise Vendors
ORIENT CRAFT LTD, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India                                                  3/6/2020          $161,058.48   Merchandise Vendors
         ORIENT CRAFT LTD, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India Total                                                     $452,363.05
ORIENT CRAFT LTD.,, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India                                                3/5/2020          $451,911.82   Merchandise Vendors
         ORIENT CRAFT LTD.,, lot No. 80P, Sector-34, Near Hero Honda Chowk Gurgagon, 7 122001India Total                                                   $451,911.82
Origal Llp, 244 Leonia Ave Bogota, NJ 07603                                                                                              2/4/2020           $28,523.36   Merchandise Vendors
Origal Llp, 244 Leonia Ave Bogota, NJ 07603                                                                                             3/13/2020            $1,692.52   Merchandise Vendors
Origal Llp, 244 Leonia Ave Bogota, NJ 07603                                                                                              4/6/2020              $154.00   Merchandise Vendors
Origal Llp, 244 Leonia Ave Bogota, NJ 07603                                                                                             4/30/2020              $589.61   Merchandise Vendors
         Origal Llp, 244 Leonia Ave Bogota, NJ 07603 Total                                                                                                  $30,959.49
Outdoor Voices Inc, 1637 East 2Nd St Austin, TX 78702                                                                                    2/5/2020           $14,850.00   Services
         Outdoor Voices Inc, 1637 East 2Nd St Austin, TX 78702 Total                                                                                        $14,850.00
Outlets At Traverse Mountain L, P.O. Box 301028 Los Angeles, CA 90030-1028                                                               2/5/2020           $25,334.30   Services
Outlets At Traverse Mountain L, P.O. Box 301028 Los Angeles, CA 90030-1028                                                              3/31/2020           $25,334.30   Services
         Outlets At Traverse Mountain L, P.O. Box 301028 Los Angeles, CA 90030-1028 Total                                                                   $50,668.60
Owen & Fred Corp, 42 West St, Ste 106 Brooklyn, NY 11222                                                                                 2/5/2020            $5,197.95   Services
Owen & Fred Corp, 42 West St, Ste 106 Brooklyn, NY 11222                                                                                3/10/2020            $1,596.59   Services
Owen & Fred Corp, 42 West St, Ste 106 Brooklyn, NY 11222                                                                                4/27/2020            $1,374.14   Services
         Owen & Fred Corp, 42 West St, Ste 106 Brooklyn, NY 11222 Total                                                                                      $8,168.68
Owen Barry Ltd, The Tanyard St, No 3 Somerset, BA16 OHD United Kingdom                                                                   2/6/2020              $867.98   Merchandise Vendors
Owen Barry Ltd, The Tanyard St, No 3 Somerset, BA16 OHD United Kingdom                                                                   2/6/2020            $7,446.00   Merchandise Vendors
         Owen Barry Ltd, The Tanyard St, No 3 Somerset, BA16 OHD United Kingdom Total                                                                        $8,313.98
Pacific Premier Retail Trust L, P.O. Box 849471 Los Angeles, CA 90084-9471                                                               2/6/2020           $26,968.27   Rent/Lease Obligations
Pacific Premier Retail Trust L, P.O. Box 849471 Los Angeles, CA 90084-9471                                                              2/27/2020            $2,164.40   Rent/Lease Obligations
Pacific Premier Retail Trust L, P.O. Box 849471 Los Angeles, CA 90084-9471                                                               3/5/2020           $29,132.67   Rent/Lease Obligations
         Pacific Premier Retail Trust L, P.O. Box 849471 Los Angeles, CA 90084-9471 Total                                                                   $58,265.34
Packaging Corp of Ameri, P.O. Box 532058 Atlanta, GA 30353                                                                              2/26/2020              $800.00   Services
Packaging Corp of Ameri, P.O. Box 532058 Atlanta, GA 30353                                                                              4/17/2020           $24,953.25   Services



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Packaging Corp of Ameri, P.O. Box 532058 Atlanta, GA 30353                                                                          4/28/2020           $24,049.72   Services
        Packaging Corp of Ameri, P.O. Box 532058 Atlanta, GA 30353 Total                                                                                $49,802.97
Pagosa Ii 2017 LLC, 5307 W Loop 289, Ste 302 Lubbock, TX 79414                                                                       2/7/2020           $15,414.70   Rent/Lease Obligations
Pagosa Ii 2017 LLC, 5307 W Loop 289, Ste 302 Lubbock, TX 79414                                                                       3/6/2020           $15,414.70   Rent/Lease Obligations
        Pagosa Ii 2017 LLC, 5307 W Loop 289, Ste 302 Lubbock, TX 79414 Total                                                                            $30,829.40
Palisades Village Co LLC, 101 The Grove Dr Los Ageles, CA 90036                                                                     2/27/2020           $10,141.62   Services
Palisades Village Co LLC, 101 The Grove Dr Los Ageles, CA 90036                                                                     4/17/2020            $8,705.18   Services
        Palisades Village Co LLC, 101 The Grove Dr Los Ageles, CA 90036 Total                                                                           $18,846.80
Palm Beach Outlets I LLC, P.O. Box 9468 New York, NY 10087-9468                                                                      2/4/2020           $29,286.24   Rent/Lease Obligations
Palm Beach Outlets I LLC, P.O. Box 9468 New York, NY 10087-9468                                                                     2/20/2020              $204.81   Rent/Lease Obligations
Palm Beach Outlets I LLC, P.O. Box 9468 New York, NY 10087-9468                                                                      3/4/2020           $29,286.24   Rent/Lease Obligations
        Palm Beach Outlets I LLC, P.O. Box 9468 New York, NY 10087-9468 Total                                                                           $58,777.29
Palmer Square LP, 40 Nassau St Princeton, NJ 08542                                                                                   2/5/2020           $38,514.81   Services
Palmer Square LP, 40 Nassau St Princeton, NJ 08542                                                                                   3/4/2020           $38,514.81   Services
        Palmer Square LP, 40 Nassau St Princeton, NJ 08542 Total                                                                                        $77,029.62
Pan Pacific Co Ltd, 12 Digital Ro 31 Gil Guro Gu Seoul, South Korea                                                                  2/7/2020           $50,074.12   Merchandise Vendors
        Pan Pacific Co Ltd, 12 Digital Ro 31 Gil Guro Gu Seoul, South Korea Total                                                                       $50,074.12
PAN PACIFIC CO LTD, 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea                                                                 2/3/2020           $14,276.17   Merchandise Vendors
PAN PACIFIC CO LTD, 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea                                                                 3/9/2020          $826,362.35   Merchandise Vendors
        PAN PACIFIC CO LTD, 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea Total                                                                     $840,638.52
PAN PACIFIC CO LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                                            2/18/2020          $445,080.63   Merchandise Vendors
        PAN PACIFIC CO LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong Total                                                                 $445,080.63
PAN PACIFIC CO. LTD, 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea                                                               3/10/2020           $26,114.98   Merchandise Vendors
        PAN PACIFIC CO. LTD, 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea Total                                                                     $26,114.98
PAN PACIFIC CO. LTD., 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea                                                              2/18/2020           $45,193.44   Merchandise Vendors
        PAN PACIFIC CO. LTD., 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea Total                                                                    $45,193.44
PAN-PACIFIC CO LTD, 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea                                                                2/11/2020          $113,772.05   Merchandise Vendors
PAN-PACIFIC CO LTD, 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea                                                                2/18/2020          $140,171.39   Merchandise Vendors
PAN-PACIFIC CO LTD, 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea                                                                 3/9/2020          $374,097.90   Merchandise Vendors
        PAN-PACIFIC CO LTD, 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea Total                                                                     $628,041.34
PAN-PACIFIC CO.,LTD., 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea                                                               3/9/2020           $35,271.63   Merchandise Vendors
        PAN-PACIFIC CO.,LTD., 12 Digital Ro 31 Gil, Guro Gu Seoul, South Korea Total                                                                    $35,271.63
Paperg Inc, 350 Sansome St, Ste 815 San Francisco, CA 94101                                                                         2/25/2020            $7,000.00   Services
        Paperg Inc, 350 Sansome St, Ste 815 San Francisco, CA 94101 Total                                                                                $7,000.00
PAQUETA CALCADOS LTDA, Avenue 20 De Setembro 4411 Bairro Centro Sapiranga, Rio Grande Do Sul, 93800-000 Brazil                      2/14/2020          $207,256.71   Merchandise Vendors
PAQUETA CALCADOS LTDA, Avenue 20 De Setembro 4411 Bairro Centro Sapiranga, Rio Grande Do Sul, 93800-000 Brazil                      2/21/2020           $67,042.56   Merchandise Vendors
PAQUETA CALCADOS LTDA, Avenue 20 De Setembro 4411 Bairro Centro Sapiranga, Rio Grande Do Sul, 93800-000 Brazil                      2/28/2020           $77,500.80   Merchandise Vendors
        PAQUETA CALCADOS LTDA, Avenue 20 De Setembro 4411 Bairro Centro Sapiranga, Rio Grande Do Sul, 93800-000 Brazil Total                           $351,800.07
Parawin Industries Limited, Hoi Luen Industrial Centre 55 Hoi Yuen Rd Kwun Tong Kln Hong Kong, China                                 3/2/2020           $13,115.07   Merchandise Vendors
        Parawin Industries Limited, Hoi Luen Industrial Centre 55 Hoi Yuen Rd Kwun Tong Kln Hong Kong, China Total                                      $13,115.07
PARAWIN INDUSTRIES LIMITED, Hoi Luen Industrial Centre, 55 Hoi Yuen Rd Kwun Tong Kln Hong Kong,China                                2/11/2020          $568,817.53   Merchandise Vendors
PARAWIN INDUSTRIES LIMITED, Hoi Luen Industrial Centre, 55 Hoi Yuen Rd Kwun Tong Kln Hong Kong,China                                 3/2/2020          $251,279.98   Merchandise Vendors
PARAWIN INDUSTRIES LIMITED, Hoi Luen Industrial Centre, 55 Hoi Yuen Rd Kwun Tong Kln Hong Kong,China                                 3/9/2020           $13,661.40   Merchandise Vendors
        PARAWIN INDUSTRIES LIMITED, Hoi Luen Industrial Centre, 55 Hoi Yuen Rd Kwun Tong Kln Hong Kong,China Total                                     $833,758.91
Parker Hanski LLC, 40 North St 10th Fl New York, NY 10013                                                                           2/20/2020           $49,000.00   Services
        Parker Hanski LLC, 40 North St 10th Fl New York, NY 10013 Total                                                                                 $49,000.00
PAUL WEISS RIFKIND WHARTON & GARRIS, 1285 Ave of the Americas New York, NY 10019-6064                                               4/10/2020           $39,287.18   Services
PAUL WEISS RIFKIND WHARTON & GARRIS, 1285 Ave of the Americas New York, NY 10019-6064                                                5/1/2020          $435,316.84   Services
        PAUL WEISS RIFKIND WHARTON & GARRIS, 1285 Ave of the Americas New York, NY 10019-6064 Total                                                    $474,604.02
Paulmann Enterprises LLC, 6278 N Federal Highway, Ste 187 Fort Lauderdale, FL 33308                                                 2/27/2020           $16,833.65   Merchandise Vendors
        Paulmann Enterprises LLC, 6278 N Federal Highway, Ste 187 Fort Lauderdale, FL 33308 Total                                                       $16,833.65
PAYPOOL LLC, 800 Maine Ave. SW, Suite 650 Washington D.C. 20024                                                                      2/5/2020          $875,405.88   Tax Payment
PAYPOOL LLC, 800 Maine Ave. SW, Suite 650 Washington D.C. 20024                                                                     2/13/2020           $31,155.07   Tax Payment
PAYPOOL LLC, 800 Maine Ave. SW, Suite 650 Washington D.C. 20024                                                                     2/18/2020        $5,425,353.96   Tax Payment
PAYPOOL LLC, 800 Maine Ave. SW, Suite 650 Washington D.C. 20024                                                                      3/5/2020          $180,260.00   Tax Payment
PAYPOOL LLC, 800 Maine Ave. SW, Suite 650 Washington D.C. 20024                                                                     3/12/2020        $1,241,020.20   Tax Payment
PAYPOOL LLC, 800 Maine Ave. SW, Suite 650 Washington D.C. 20024                                                                     3/18/2020        $7,326,532.95   Tax Payment



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PAYPOOL LLC, 800 Maine Ave. SW, Suite 650 Washington D.C. 20024                                                                         4/3/2020          $168,573.00   Tax Payment
PAYPOOL LLC, 800 Maine Ave. SW, Suite 650 Washington D.C. 20024                                                                        4/13/2020        $1,201,189.27   Tax Payment
PAYPOOL LLC, 800 Maine Ave. SW, Suite 650 Washington D.C. 20024                                                                        4/17/2020        $5,598,387.47   Tax Payment
         PAYPOOL LLC, 800 Maine Ave. SW, Suite 650 Washington D.C. 20024 Total                                                                         $22,047,877.80
Pehr Designs Inc, 320 Davenport Rd, Ste 300 Toronto, ON M5R 1K6 Canada                                                                 2/10/2020            $7,154.09   Services
Pehr Designs Inc, 320 Davenport Rd, Ste 300 Toronto, ON M5R 1K6 Canada                                                                  3/5/2020            $4,171.84   Services
Pehr Designs Inc, 320 Davenport Rd, Ste 300 Toronto, ON M5R 1K6 Canada                                                                 4/28/2020            $3,326.10   Services
         Pehr Designs Inc, 320 Davenport Rd, Ste 300 Toronto, ON M5R 1K6 Canada Total                                                                      $14,652.03
Peloton Group LLC, One Post Office Sq, 5th Fl Boston, MA 02109                                                                         2/25/2020            $7,770.25   Services
         Peloton Group LLC, One Post Office Sq, 5th Fl Boston, MA 02109 Total                                                                               $7,770.25
Pembroke Square Associates LLC, 4460 Corporation Ln, Ste 300 Virginia Beach, VA 23462                                                   2/6/2020                $8.65   Rent/Lease Obligations
Pembroke Square Associates LLC, 4460 Corporation Ln, Ste 300 Virginia Beach, VA 23462                                                   2/6/2020           $17,958.80   Rent/Lease Obligations
Pembroke Square Associates LLC, 4460 Corporation Ln, Ste 300 Virginia Beach, VA 23462                                                   3/5/2020           $17,958.80   Rent/Lease Obligations
Pembroke Square Associates LLC, 4460 Corporation Ln, Ste 300 Virginia Beach, VA 23462                                                  3/31/2020                $6.02   Rent/Lease Obligations
         Pembroke Square Associates LLC, 4460 Corporation Ln, Ste 300 Virginia Beach, VA 23462 Total                                                       $35,932.27
Penn Ross Joint Venture, 1326 Paysphere Cir Chicago, IL 60674                                                                           2/5/2020           $68,358.02   Rent/Lease Obligations
Penn Ross Joint Venture, 1326 Paysphere Cir Chicago, IL 60674                                                                          2/20/2020           $13,670.85   Rent/Lease Obligations
Penn Ross Joint Venture, 1326 Paysphere Cir Chicago, IL 60674                                                                           3/4/2020           $68,358.02   Rent/Lease Obligations
Penn Ross Joint Venture, 1326 Paysphere Cir Chicago, IL 60674                                                                          3/23/2020              $606.52   Rent/Lease Obligations
         Penn Ross Joint Venture, 1326 Paysphere Cir Chicago, IL 60674 Total                                                                              $150,993.41
Penn Square Mall LP, 32122 Collections Center Dr Chicago, IL 60693                                                                      2/5/2020           $48,347.70   Rent/Lease Obligations
Penn Square Mall LP, 32122 Collections Center Dr Chicago, IL 60693                                                                      3/4/2020           $48,347.70   Rent/Lease Obligations
         Penn Square Mall LP, 32122 Collections Center Dr Chicago, IL 60693 Total                                                                          $96,695.40
Peoples Development Company In, P.O. Box 11505 Knoxville, TN 37939                                                                      2/4/2020            $7,612.51   Services
Peoples Development Company In, P.O. Box 11505 Knoxville, TN 37939                                                                      3/4/2020            $7,612.51   Services
         Peoples Development Company In, P.O. Box 11505 Knoxville, TN 37939 Total                                                                          $15,225.02
Peoria New Mall LLC, P.O. Box 74991 Chicago, IL 60675-4991                                                                             2/11/2020           $16,604.59   Services
Peoria New Mall LLC, P.O. Box 74991 Chicago, IL 60675-4991                                                                              3/6/2020           $20,821.86   Services
Peoria New Mall LLC, P.O. Box 74991 Chicago, IL 60675-4991                                                                             3/24/2020               $45.62   Services
         Peoria New Mall LLC, P.O. Box 74991 Chicago, IL 60675-4991 Total                                                                                  $37,472.07
Perimeter Mall LLC, P.O. Box 860381 Minneapolis, MN 55486-0381                                                                          2/6/2020           $26,685.29   Rent/Lease Obligations
Perimeter Mall LLC, P.O. Box 860381 Minneapolis, MN 55486-0381                                                                         2/26/2020           $11,282.67   Rent/Lease Obligations
Perimeter Mall LLC, P.O. Box 860381 Minneapolis, MN 55486-0381                                                                          3/5/2020           $26,685.29   Rent/Lease Obligations
Perimeter Mall LLC, P.O. Box 860381 Minneapolis, MN 55486-0381                                                                         3/23/2020           $14,799.12   Rent/Lease Obligations
         Perimeter Mall LLC, P.O. Box 860381 Minneapolis, MN 55486-0381 Total                                                                              $79,452.37
Perkins Coie LLP General Account, 1201 Third Ave, Ste 4800 Seattle, WA 98101-3099                                                       5/1/2020           $60,266.25   Services
         Perkins Coie LLP General Account, 1201 Third Ave, Ste 4800 Seattle, WA 98101-3099 Total                                                           $60,266.25
Perkins Coie LLP, 1201 Third Ave, Ste 4800 Seattle, WA 98101-3099                                                                      4/16/2020           $42,031.00   Services
         Perkins Coie LLP, 1201 Third Ave, Ste 4800 Seattle, WA 98101-3099 Total                                                                           $42,031.00
Pes Partners LLC, P.O. Box 849967 Los Angeles, CA 90084-9967                                                                           2/26/2020            $6,332.98   Rent/Lease Obligations
Pes Partners LLC, P.O. Box 849967 Los Angeles, CA 90084-9967                                                                           3/20/2020            $5,622.34   Rent/Lease Obligations
         Pes Partners LLC, P.O. Box 849967 Los Angeles, CA 90084-9967 Total                                                                                $11,955.32
Petite Aj Inc, 1240 S Boyle Ave Lps Angeles, CA 90023                                                                                   2/6/2020            $5,004.28   Services
Petite Aj Inc, 1240 S Boyle Ave Lps Angeles, CA 90023                                                                                  3/17/2020            $1,920.61   Services
Petite Aj Inc, 1240 S Boyle Ave Lps Angeles, CA 90023                                                                                  4/14/2020            $1,618.24   Services
         Petite Aj Inc, 1240 S Boyle Ave Lps Angeles, CA 90023 Total                                                                                        $8,543.13
Petite Plume LLC, 389 Ridge Ave Winnetka, IL 60093                                                                                      2/4/2020           $27,248.21   Merchandise Vendors
Petite Plume LLC, 389 Ridge Ave Winnetka, IL 60093                                                                                      3/9/2020            $6,386.51   Merchandise Vendors
Petite Plume LLC, 389 Ridge Ave Winnetka, IL 60093                                                                                     4/14/2020            $7,812.49   Merchandise Vendors
         Petite Plume LLC, 389 Ridge Ave Winnetka, IL 60093 Total                                                                                          $41,447.21
Philadelphia Premium Outlets L, P.O. Box 822464 Phladelphia, PA 19182-2905                                                              2/4/2020           $48,022.81   Services
Philadelphia Premium Outlets L, P.O. Box 822464 Phladelphia, PA 19182-2905                                                             2/19/2020               $83.60   Rent/Lease Obligations
Philadelphia Premium Outlets L, P.O. Box 822464 Phladelphia, PA 19182-2905                                                              3/4/2020           $48,022.81   Rent/Lease Obligations
         Philadelphia Premium Outlets L, P.O. Box 822464 Phladelphia, PA 19182-2905 Total                                                                  $96,129.22
Phoenix Premium Outlets LLC, 7517 Solution Center Chicago, IL 60677-7005                                                                2/6/2020           $24,132.33   Rent/Lease Obligations
Phoenix Premium Outlets LLC, 7517 Solution Center Chicago, IL 60677-7005                                                                3/6/2020           $24,132.33   Rent/Lease Obligations
         Phoenix Premium Outlets LLC, 7517 Solution Center Chicago, IL 60677-7005 Total                                                                    $48,264.66



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                                                                       Creditor’s name and address                               Dates           or value                   or transfer
Pinori Filati Spa, Via Eugenio Gestri, 19 Prato, 59100 Italy                                                                     2/19/2020              $742.08   Merchandise Vendors
Pinori Filati Spa, Via Eugenio Gestri, 19 Prato, 59100 Italy                                                                     2/24/2020            $8,121.07   Merchandise Vendors
          Pinori Filati Spa, Via Eugenio Gestri, 19 Prato, 59100 Italy Total                                                                          $8,863.15
Pioneer Property Partners, P.O. Box 638989 Cincinnati, OH 45263-8989                                                              2/5/2020           $26,054.67   Rent/Lease Obligations
Pioneer Property Partners, P.O. Box 638989 Cincinnati, OH 45263-8989                                                              3/4/2020           $26,054.67   Rent/Lease Obligations
          Pioneer Property Partners, P.O. Box 638989 Cincinnati, OH 45263-8989 Total                                                                 $52,109.34
Pipp Mobile Storage Systems In, Dept Ch 19246 Palatine, IL 60055-9246                                                            2/14/2020            $9,909.22   Services
          Pipp Mobile Storage Systems In, Dept Ch 19246 Palatine, IL 60055-9246 Total                                                                 $9,909.22
Pittsford Plaza Spe LLC, P.O. Box 8000 Buffalo, NY 14267                                                                          2/5/2020           $16,016.53   Rent/Lease Obligations
Pittsford Plaza Spe LLC, P.O. Box 8000 Buffalo, NY 14267                                                                          3/5/2020           $16,016.53   Rent/Lease Obligations
Pittsford Plaza Spe LLC, P.O. Box 8000 Buffalo, NY 14267                                                                         3/23/2020              $120.82   Rent/Lease Obligations
          Pittsford Plaza Spe LLC, P.O. Box 8000 Buffalo, NY 14267 Total                                                                             $32,153.88
Place Nationale, 13 Friday St Henley On Thames, OX RG9 1AN United Kingdom                                                         3/3/2020           $14,430.00   Services
          Place Nationale, 13 Friday St Henley On Thames, OX RG9 1AN United Kingdom Total                                                            $14,430.00
Pleasant Prairie Premium Outle, P.O. Box 776288 Chicago, IL 60677-6288                                                            2/6/2020           $41,657.99   Services
Pleasant Prairie Premium Outle, P.O. Box 776288 Chicago, IL 60677-6288                                                            3/6/2020           $41,657.99   Services
          Pleasant Prairie Premium Outle, P.O. Box 776288 Chicago, IL 60677-6288 Total                                                               $83,315.98
Pmg Worldwide LLC, 2845 W 7th St Fort Worth, TX 76107                                                                            2/13/2020        $3,457,836.12   Services
          Pmg Worldwide LLC, 2845 W 7th St Fort Worth, TX 76107 Total                                                                             $3,457,836.12
PMG WORLDWIDE, LLC, 2821 W 7th St Fort Worth, TX 76107                                                                           3/27/2020        $1,355,347.17   Services
PMG WORLDWIDE, LLC, 2821 W 7th St Fort Worth, TX 76107                                                                           4/10/2020        $1,081,718.30   Services
PMG WORLDWIDE, LLC, 2821 W 7th St Fort Worth, TX 76107                                                                           4/17/2020        $1,395,855.80   Services
          PMG WORLDWIDE, LLC, 2821 W 7th St Fort Worth, TX 76107 Total                                                                            $3,832,921.27
Pool Represents LLC, 401 Broadway, Ste 1400 New York, NY 10013                                                                   2/24/2020           $18,000.00   Services
Pool Represents LLC, 401 Broadway, Ste 1400 New York, NY 10013                                                                   3/12/2020            $9,600.00   Services
          Pool Represents LLC, 401 Broadway, Ste 1400 New York, NY 10013 Total                                                                       $27,600.00
Poongin Trading Co Ltd, 1820/F Ace High Teck City Uni 55-20 Mullae-Dong 3 ga Yeoungdeungpo-Gu South Korea                        3/10/2020           $25,387.20   Services
          Poongin Trading Co Ltd, 1820/F Ace High Teck City Uni 55-20 Mullae-Dong 3 ga Yeoungdeungpo-Gu South Korea Total                            $25,387.20
Posterscope Usa Inc, P.O. Box 28003 New York, NY 10087-8003                                                                      2/20/2020          $100,000.00   Services
Posterscope Usa Inc, P.O. Box 28003 New York, NY 10087-8003                                                                      4/30/2020          $300,000.00   Services
          Posterscope Usa Inc, P.O. Box 28003 New York, NY 10087-8003 Total                                                                         $400,000.00
Ppp LLC, P.O. Box 72165 Cleveland, OH 44192-0002                                                                                 2/26/2020           $10,267.35   Rent/Lease Obligations
Ppp LLC, P.O. Box 72165 Cleveland, OH 44192-0002                                                                                 3/23/2020           $11,059.42   Rent/Lease Obligations
          Ppp LLC, P.O. Box 72165 Cleveland, OH 44192-0002 Total                                                                                     $21,326.77
Ppsa LLC, P.O. Box 509015 San Diego, CA 92150-9015                                                                               2/13/2020           $89,342.95   Rent/Lease Obligations
          Ppsa LLC, P.O. Box 509015 San Diego, CA 92150-9015 Total                                                                                   $89,342.95
PR Woodland LP, P.O. Box 73858 Cleveland, OH 44193                                                                                2/6/2020            $1,567.29   Services
PR Woodland LP, P.O. Box 73858 Cleveland, OH 44193                                                                               2/27/2020            $9,193.78   Services
PR Woodland LP, P.O. Box 73858 Cleveland, OH 44193                                                                               3/12/2020            $1,722.56   Services
PR Woodland LP, P.O. Box 73858 Cleveland, OH 44193                                                                               3/23/2020            $9,596.64   Services
          PR Woodland LP, P.O. Box 73858 Cleveland, OH 44193 Total                                                                                   $22,080.27
Preit Associates Lp, P.O. Box 373747 Cleveland, OH 44193-3747                                                                     2/6/2020           $20,004.67   Rent/Lease Obligations
Preit Associates Lp, P.O. Box 373747 Cleveland, OH 44193-3747                                                                     2/6/2020           $25,434.30   Rent/Lease Obligations
Preit Associates Lp, P.O. Box 373747 Cleveland, OH 44193-3747                                                                     2/6/2020           $30,146.17   Rent/Lease Obligations
Preit Associates Lp, P.O. Box 373747 Cleveland, OH 44193-3747                                                                    2/27/2020            $2,195.22   Rent/Lease Obligations
Preit Associates Lp, P.O. Box 373747 Cleveland, OH 44193-3747                                                                     3/4/2020           $30,146.17   Rent/Lease Obligations
Preit Associates Lp, P.O. Box 373747 Cleveland, OH 44193-3747                                                                     3/5/2020           $40,948.42   Rent/Lease Obligations
          Preit Associates Lp, P.O. Box 373747 Cleveland, OH 44193-3747 Total                                                                       $148,874.95
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020            $4,937.85   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $10,933.87   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $19,171.69   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $22,087.38   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $28,676.41   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $31,151.18   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $33,685.56   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $36,879.21   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $38,343.75   Rent/Lease Obligations



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                                                                       Creditor’s name and address                               Dates           or value                   or transfer
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $38,970.97   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $47,908.50   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $54,624.32   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $57,419.17   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020           $80,820.67   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020          $108,902.11   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           2/4/2020          $171,708.73   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                          2/19/2020               $51.94   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                          2/19/2020               $92.10   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                          2/19/2020            $5,059.38   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                          2/26/2020              $309.41   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020            $4,937.85   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $19,171.69   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $22,087.38   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $28,676.41   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $31,151.18   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $33,685.56   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $36,879.21   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $38,343.75   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $39,084.99   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $47,908.50   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $54,624.32   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $57,419.17   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020           $80,820.67   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020          $108,902.11   Rent/Lease Obligations
Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905                                                           3/4/2020          $171,708.73   Rent/Lease Obligations
         Premium Outlet Partners LP, P.O. Box 822873 Philadelphia, PA 19182-2905 Total                                                            $1,567,135.72
Previously Unreleased, 123 Pierrepont St 2A Brooklyn, NY 11201                                                                   2/20/2020           $11,300.00   Services
Previously Unreleased, 123 Pierrepont St 2A Brooklyn, NY 11201                                                                    5/1/2020           $25,950.00   Services
         Previously Unreleased, 123 Pierrepont St 2A Brooklyn, NY 11201 Total                                                                        $37,250.00
Primary Kids Inc, 158 W 7th St Fl 6 New York, NY 10001                                                                            2/4/2020            $7,990.40   Services
Primary Kids Inc, 158 W 7th St Fl 6 New York, NY 10001                                                                            3/4/2020              $764.41   Services
         Primary Kids Inc, 158 W 7th St Fl 6 New York, NY 10001 Total                                                                                 $8,754.81
Principal Life Insurance Co, P.O. Box 310300, Property 026810 Des Moines, IA 50331-0300                                           2/4/2020           $74,880.78   Rent/Lease Obligations
Principal Life Insurance Co, P.O. Box 310300, Property 026810 Des Moines, IA 50331-0300                                           3/4/2020           $74,880.78   Rent/Lease Obligations
         Principal Life Insurance Co, P.O. Box 310300, Property 026810 Des Moines, IA 50331-0300 Total                                              $149,761.56
Prisa Lhc LLC, P.O. Box 732937 Dallas, TX 75303                                                                                   2/6/2020           $27,898.70   Rent/Lease Obligations
Prisa Lhc LLC, P.O. Box 732937 Dallas, TX 75303                                                                                   2/6/2020           $34,810.56   Rent/Lease Obligations
Prisa Lhc LLC, P.O. Box 732937 Dallas, TX 75303                                                                                  2/27/2020            $1,650.20   Rent/Lease Obligations
Prisa Lhc LLC, P.O. Box 732937 Dallas, TX 75303                                                                                  2/27/2020            $8,712.19   Rent/Lease Obligations
Prisa Lhc LLC, P.O. Box 732937 Dallas, TX 75303                                                                                   3/4/2020           $28,723.80   Rent/Lease Obligations
Prisa Lhc LLC, P.O. Box 732937 Dallas, TX 75303                                                                                   3/5/2020           $34,810.56   Rent/Lease Obligations
Prisa Lhc LLC, P.O. Box 732937 Dallas, TX 75303                                                                                  3/12/2020            $1,120.44   Rent/Lease Obligations
         Prisa Lhc LLC, P.O. Box 732937 Dallas, TX 75303 Total                                                                                      $137,726.45
PRO SPORTS GIAO THUY JSC, 4A Area Ngo Dong Town, Nam Dinh Province, 10000 Vietnam                                                2/11/2020          $436,951.45   Merchandise Vendors
PRO SPORTS GIAO THUY JSC, 4A Area Ngo Dong Town, Nam Dinh Province, 10000 Vietnam                                                 3/6/2020          $144,137.19   Merchandise Vendors
PRO SPORTS GIAO THUY JSC, 4A Area Ngo Dong Town, Nam Dinh Province, 10000 Vietnam                                                 3/9/2020          $767,451.20   Merchandise Vendors
         PRO SPORTS GIAO THUY JSC, 4A Area Ngo Dong Town, Nam Dinh Province, 10000 Vietnam Total                                                  $1,348,539.84
PRO SPORTS GIAO THUY JSC, Centro Financeiro Rua De Pequim, Macau, China                                                          2/21/2020          $665,876.53   Merchandise Vendors
         PRO SPORTS GIAO THUY JSC, Centro Financeiro Rua De Pequim, Macau, China Total                                                              $665,876.53
Procore Technologies Inc, Dept Ch 10757 Palatine, IL 60055                                                                        3/2/2020           $35,689.24   Services
         Procore Technologies Inc, Dept Ch 10757 Palatine, IL 60055 Total                                                                            $35,689.24
Procquisto LLC, 2 Winged Foot Dr Larchmont, NY 10538                                                                              2/5/2020           $14,192.00   Services
Procquisto LLC, 2 Winged Foot Dr Larchmont, NY 10538                                                                             2/24/2020           $42,576.00   Services
Procquisto LLC, 2 Winged Foot Dr Larchmont, NY 10538                                                                              3/4/2020           $28,384.00   Services
Procquisto LLC, 2 Winged Foot Dr Larchmont, NY 10538                                                                             3/13/2020           $42,576.00   Services
Procquisto LLC, 2 Winged Foot Dr Larchmont, NY 10538                                                                              4/8/2020           $28,384.00   Services



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Procquisto LLC, 2 Winged Foot Dr Larchmont, NY 10538                                                                          4/29/2020           $42,576.00   Services
Procquisto LLC, 2 Winged Foot Dr Larchmont, NY 10538                                                                          4/29/2020           $42,576.00   Services
Procquisto LLC, 2 Winged Foot Dr Larchmont, NY 10538                                                                          4/29/2020           $42,576.00   Services
           Procquisto LLC, 2 Winged Foot Dr Larchmont, NY 10538 Total                                                                            $283,840.00
PRODUCTION SUPPORT SERVICES, LLC,                                                                                             2/21/2020           $33,141.75   Services
           PRODUCTION SUPPORT SERVICES, LLC, Total                                                                                                $33,141.75
PROFITS FUND FASHION M LTD, 88 Container Port Rd, Kwai Chung, NT Hong Kong                                                    2/10/2020          $254,412.10   Merchandise Vendors
           PROFITS FUND FASHION M LTD, 88 Container Port Rd, Kwai Chung, NT Hong Kong Total                                                      $254,412.10
PROFITS FUND FASHION MANUFACTURING, 88 Container Port Rd, Kwai Chung, NT Hong Kong                                            2/10/2020           $73,287.70   Merchandise Vendors
PROFITS FUND FASHION MANUFACTURING, 88 Container Port Rd, Kwai Chung, NT Hong Kong                                            2/24/2020          $471,487.85   Merchandise Vendors
           PROFITS FUND FASHION MANUFACTURING, 88 Container Port Rd, Kwai Chung, NT Hong Kong Total                                              $544,775.55
Profits Fund Fashion, 88 Container Port Rd Kwai Chung, NT Hong Kong                                                            2/6/2020           $80,978.98   Merchandise Vendors
           Profits Fund Fashion, 88 Container Port Rd Kwai Chung, NT Hong Kong Total                                                              $80,978.98
Protiviti Inc, 12269 Collections Center Dr Chicago, IL 60693                                                                   3/4/2020           $46,357.99   Services
           Protiviti Inc, 12269 Collections Center Dr Chicago, IL 60693 Total                                                                     $46,357.99
Purgo Jewelry Hk Co, No 14-24 Au Pui Wan St Fotan, Hong Kong,, Hong Kong                                                      2/14/2020           $25,470.60   Merchandise Vendors
Purgo Jewelry Hk Co, No 14-24 Au Pui Wan St Fotan, Hong Kong,, Hong Kong                                                       3/5/2020           $82,654.98   Merchandise Vendors
Purgo Jewelry Hk Co, No 14-24 Au Pui Wan St Fotan, Hong Kong,, Hong Kong                                                      3/19/2020           $43,191.63   Merchandise Vendors
           Purgo Jewelry Hk Co, No 14-24 Au Pui Wan St Fotan, Hong Kong,, Hong Kong Total                                                        $151,317.21
Pyramid Walden Company LP, P.O. Box 8000, Dept 496 Buffalo, NY 14267                                                           2/5/2020           $42,866.84   Services
Pyramid Walden Company LP, P.O. Box 8000, Dept 496 Buffalo, NY 14267                                                           3/4/2020           $42,422.75   Services
           Pyramid Walden Company LP, P.O. Box 8000, Dept 496 Buffalo, NY 14267 Total                                                             $85,289.59
QINGDAO DREAM CASSIC FASHION, No 11 Xiecheng Rd Chengyang District Qingdao, 266108 China                                       2/4/2020            $6,602.76   Merchandise Vendors
           QINGDAO DREAM CASSIC FASHION, No 11 Xiecheng Rd Chengyang District Qingdao, 266108 China Total                                          $6,602.76
QINGDAO DREAM CLASSIC FASHION, No 11 Xiecheng Rd, Chengyang District Qingdao, 266108 China                                     3/6/2020           $28,252.58   Merchandise Vendors
           QINGDAO DREAM CLASSIC FASHION, No 11 Xiecheng Rd, Chengyang District Qingdao, 266108 China Total                                       $28,252.58
QINGDAO IFASHION JEWELRY, Tongh St, Jimo District Qingdao, 120 China                                                          2/21/2020          $102,346.79   Merchandise Vendors
           QINGDAO IFASHION JEWELRY, Tongh St, Jimo District Qingdao, 120 China Total                                                            $102,346.79
Qingdao Moda Jewelry Co Ltd, Li Yang Lu Nan Cheng Yang-Qu, Qingdao, 120 266109, China                                          3/5/2020            $7,598.88   Merchandise Vendors
           Qingdao Moda Jewelry Co Ltd, Li Yang Lu Nan Cheng Yang-Qu, Qingdao, 120 266109, China Total                                             $7,598.88
Quad Graphics Inc, P.O. Box 842858 Boston, MA 02284-2858                                                                      2/12/2020           $28,946.46   Services
           Quad Graphics Inc, P.O. Box 842858 Boston, MA 02284-2858 Total                                                                         $28,946.46
Queena Yan, 246 7th Ave, Apt 5 Brooklyn, NY 11215                                                                             2/18/2020            $3,000.00   Services
Queena Yan, 246 7th Ave, Apt 5 Brooklyn, NY 11215                                                                             2/27/2020            $2,400.00   Services
Queena Yan, 246 7th Ave, Apt 5 Brooklyn, NY 11215                                                                              3/9/2020            $5,400.00   Services
           Queena Yan, 246 7th Ave, Apt 5 Brooklyn, NY 11215 Total                                                                                $10,800.00
Quiet Town Inc, 98 4th St, Ste 408 Brooklyn, NY 11231                                                                         2/27/2020           $10,800.00   Services
           Quiet Town Inc, 98 4th St, Ste 408 Brooklyn, NY 11231 Total                                                                            $10,800.00
Quinn Emanuel Urquhart & Sullivan, 5115 10th Ave S Minneapolis, MN 55417                                                       5/1/2020          $300,000.00   Services
           Quinn Emanuel Urquhart & Sullivan, 5115 10th Ave S Minneapolis, MN 55417 Total                                                        $300,000.00
R E Crawford Construction LLC, 6650 Professional Pkwy W Sarasota, FL 34240                                                    4/29/2020          $101,576.10   Services
           R E Crawford Construction LLC, 6650 Professional Pkwy W Sarasota, FL 34240 Total                                                      $101,576.10
R K Industries Iv, No A 7&8 Thiru-Vi-Ka Indl Chennai, 600032 India                                                             3/2/2020            $7,180.26   Merchandise Vendors
R K Industries Iv, No A 7&8 Thiru-Vi-Ka Indl Chennai, 600032 India                                                             3/5/2020               $91.75   Merchandise Vendors
R K Industries Iv, No A 7&8 Thiru-Vi-Ka Indl Chennai, 600032 India                                                             3/5/2020              $228.27   Merchandise Vendors
R K Industries Iv, No A 7&8 Thiru-Vi-Ka Indl Chennai, 600032 India                                                            3/23/2020               $85.92   Merchandise Vendors
           R K Industries Iv, No A 7&8 Thiru-Vi-Ka Indl Chennai, 600032 India Total                                                                $7,586.20
R R Mann Fencing Co Inc, 19327 Leesville Rd, Ste D Lynchburg, VA 24502                                                        2/19/2020            $7,703.00   Services
           R R Mann Fencing Co Inc, 19327 Leesville Rd, Ste D Lynchburg, VA 24502 Total                                                            $7,703.00
R.K INDUSTRIES IV, No A 7&8 Thiru-Vi-Ka Indl, Chennai, 600032 India                                                            2/7/2020           $49,318.08   Merchandise Vendors
R.K INDUSTRIES IV, No A 7&8 Thiru-Vi-Ka Indl, Chennai, 600032 India                                                           2/14/2020          $172,101.79   Merchandise Vendors
           R.K INDUSTRIES IV, No A 7&8 Thiru-Vi-Ka Indl, Chennai, 600032 India Total                                                             $221,419.87
R.K.INDUSTRIES IV, No A 7&8 Thiru-Vi-Ka Indl, Chennai, 600032 India                                                            2/3/2020          $123,068.91   Merchandise Vendors
           R.K.INDUSTRIES IV, No A 7&8 Thiru-Vi-Ka Indl, Chennai, 600032 India Total                                                             $123,068.91
Rackspace Us Inc, P.O. Box 730759 Dallas, TX 75373-0759                                                                        4/9/2020          $431,432.98   Services
Rackspace Us Inc, P.O. Box 730759 Dallas, TX 75373-0759                                                                       4/22/2020          $236,025.74   Services
Rackspace Us Inc, P.O. Box 730759 Dallas, TX 75373-0759                                                                       4/29/2020          $843,481.44   Services



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         Rackspace Us Inc, P.O. Box 730759 Dallas, TX 75373-0759 Total                                                                            $1,510,940.16
RAINBOW TEXTILES INC, 1-9-1 Edobori Nishi-Ku Osaka 550-0002, Japan                                                                2/7/2020            $7,755.32   Merchandise Vendors
RAINBOW TEXTILES INC, 1-9-1 Edobori Nishi-Ku Osaka 550-0002, Japan                                                               2/21/2020            $2,925.00   Merchandise Vendors
         RAINBOW TEXTILES INC, 1-9-1 Edobori Nishi-Ku Osaka 550-0002, Japan Total                                                                    $10,680.32
Rains Usa Inc, 292 Lafayette St Gr Fl New York, NY 10012                                                                         2/13/2020            $6,025.27   Merchandise Vendors
Rains Usa Inc, 292 Lafayette St Gr Fl New York, NY 10012                                                                          3/6/2020              $388.05   Merchandise Vendors
Rains Usa Inc, 292 Lafayette St Gr Fl New York, NY 10012                                                                         3/13/2020            $2,688.95   Merchandise Vendors
         Rains Usa Inc, 292 Lafayette St Gr Fl New York, NY 10012 Total                                                                               $9,102.27
Ratti Spa, 150 East 42Nd St 28th Fl New York, NY 10018                                                                            2/5/2020           $34,252.59   Merchandise Vendors
Ratti Spa, 150 East 42Nd St 28th Fl New York, NY 10018                                                                           2/21/2020            $3,691.23   Merchandise Vendors
Ratti Spa, 150 East 42Nd St 28th Fl New York, NY 10018                                                                           2/26/2020            $6,164.44   Merchandise Vendors
Ratti Spa, 150 East 42Nd St 28th Fl New York, NY 10018                                                                           4/30/2020            $1,832.67   Merchandise Vendors
         Ratti Spa, 150 East 42Nd St 28th Fl New York, NY 10018 Total                                                                                $45,940.93
Raymond Hom Photography Inc, 7020 Ridgecrest Terrace Brooklyn, NY 11209                                                          2/19/2020              $650.00   Services
Raymond Hom Photography Inc, 7020 Ridgecrest Terrace Brooklyn, NY 11209                                                           3/2/2020            $1,300.00   Services
Raymond Hom Photography Inc, 7020 Ridgecrest Terrace Brooklyn, NY 11209                                                           3/9/2020            $1,300.00   Services
Raymond Hom Photography Inc, 7020 Ridgecrest Terrace Brooklyn, NY 11209                                                          3/24/2020            $1,300.00   Services
Raymond Hom Photography Inc, 7020 Ridgecrest Terrace Brooklyn, NY 11209                                                          3/31/2020            $3,250.00   Services
Raymond Hom Photography Inc, 7020 Ridgecrest Terrace Brooklyn, NY 11209                                                           4/8/2020            $1,300.00   Services
Raymond Hom Photography Inc, 7020 Ridgecrest Terrace Brooklyn, NY 11209                                                          4/17/2020              $325.00   Services
         Raymond Hom Photography Inc, 7020 Ridgecrest Terrace Brooklyn, NY 11209 Total                                                                $9,425.00
Rcpi Cleaning Services LLC, P.O. Box 30156 New York, NY 10087-0156                                                               4/16/2020           $21,232.70   Services
         Rcpi Cleaning Services LLC, P.O. Box 30156 New York, NY 10087-0156 Total                                                                    $21,232.70
Rcpi Landmark Properties LLC, P.O. Box 33173 Newark, NJ 07188-3173                                                                2/4/2020          $446,854.80   Rent/Lease Obligations
Rcpi Landmark Properties LLC, P.O. Box 33173 Newark, NJ 07188-3173                                                                3/3/2020          $443,523.91   Rent/Lease Obligations
         Rcpi Landmark Properties LLC, P.O. Box 33173 Newark, NJ 07188-3173 Total                                                                   $890,378.71
Real Fun Wow, 229 N Arnaz St Ojai, CA 93023                                                                                      4/30/2020            $7,500.00   Services
         Real Fun Wow, 229 N Arnaz St Ojai, CA 93023 Total                                                                                            $7,500.00
Recycling Equipment Inc, P.O. Box 1474 Hickory, NC 28603-1474                                                                    2/24/2020            $9,082.71   Services
         Recycling Equipment Inc, P.O. Box 1474 Hickory, NC 28603-1474 Total                                                                          $9,082.71
Red Wing Brands of America, 24062 Network Pl Chicago, IL 60673-1240                                                              2/27/2020           $32,175.00   Merchandise Vendors
         Red Wing Brands of America, 24062 Network Pl Chicago, IL 60673-1240 Total                                                                   $32,175.00
Reebok International Ltd, 25 Drydock Ave Boston, MA 02210                                                                        2/12/2020              $754.00   Merchandise Vendors
Reebok International Ltd, 25 Drydock Ave Boston, MA 02210                                                                        4/10/2020           $30,765.00   Merchandise Vendors
         Reebok International Ltd, 25 Drydock Ave Boston, MA 02210 Total                                                                             $31,519.00
Reed Smith Llp, 10 Wacker Dr Chicago, IL 60606-7507                                                                              2/21/2020            $9,017.30   Services
         Reed Smith Llp, 10 Wacker Dr Chicago, IL 60606-7507 Total                                                                                    $9,017.30
Reliantjobfairs, 8665 Sudley Rd, Ste 195 Manassas, VA 20110                                                                       5/1/2020          $403,492.19   Services
         Reliantjobfairs, 8665 Sudley Rd, Ste 195 Manassas, VA 20110 Total                                                                          $403,492.19
RETAIL CONSTRUCTION SERVICES, INC., 11343 39th St North Lake Elmo, MN 55042-9586                                                  5/1/2020          $236,466.51   Services
         RETAIL CONSTRUCTION SERVICES, INC., 11343 39th St North Lake Elmo, MN 55042-9586 Total                                                     $236,466.51
Retail Value Investment Progra, Dept 102728209703392 P.O. Box 92361 Cleveland, OH 44193                                           2/5/2020           $27,017.06   Services
Retail Value Investment Progra, Dept 102728209703392 P.O. Box 92361 Cleveland, OH 44193                                           3/4/2020           $27,017.06   Services
Retail Value Investment Progra, Dept 102728209703392 P.O. Box 92361 Cleveland, OH 44193                                          3/20/2020            $1,220.11   Services
         Retail Value Investment Progra, Dept 102728209703392 P.O. Box 92361 Cleveland, OH 44193 Total                                               $55,254.23
Rexel Inc, P.O. Box 418453 Boston, MA 02241-8453                                                                                 4/27/2020          $460,398.44   Services
         Rexel Inc, P.O. Box 418453 Boston, MA 02241-8453 Total                                                                                     $460,398.44
Rgm Fashion Ltd, 88 Lei Muk Rd Kwai Chung, NT Hong Kong                                                                           3/3/2020            $5,141.00   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd Kwai Chung, NT Hong Kong                                                                           3/4/2020            $6,155.10   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd Kwai Chung, NT Hong Kong                                                                           3/4/2020           $11,755.42   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd Kwai Chung, NT Hong Kong                                                                          3/24/2020            $1,237.29   Merchandise Vendors
         Rgm Fashion Ltd, 88 Lei Muk Rd Kwai Chung, NT Hong Kong Total                                                                               $24,288.81
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                         2/3/2020           $60,201.54   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                         2/3/2020           $90,530.46   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                         2/7/2020          $191,303.30   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/10/2020           $52,855.71   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/10/2020          $679,622.20   Merchandise Vendors



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Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/14/2020          $156,022.41   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/14/2020          $177,255.77   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/20/2020            $4,267.24   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/20/2020           $38,062.94   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/21/2020           $12,966.50   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/21/2020          $709,990.05   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/24/2020          $103,503.96   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/24/2020          $805,413.98   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/27/2020          $113,470.89   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        2/27/2020          $876,369.45   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                         3/6/2020          $127,787.56   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                         3/6/2020          $203,558.01   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                         3/9/2020          $375,740.50   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                         3/9/2020          $406,924.31   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        3/12/2020           $10,959.84   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        3/12/2020           $44,462.24   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        4/24/2020           $10,514.28   Merchandise Vendors
Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong                                                                        4/24/2020          $581,464.98   Merchandise Vendors
         Rgm Fashion Ltd, 88 Lei Muk Rd, Kwai Chung, NT, Hong Kong Total                                                                          $5,833,248.12
Rhone Apparel, 12217 Lone Peak Pkwy, Ste 200 Draper, UT 84020                                                                     2/7/2020           $11,059.00   Merchandise Vendors
Rhone Apparel, 12217 Lone Peak Pkwy, Ste 200 Draper, UT 84020                                                                     3/9/2020            $2,951.96   Merchandise Vendors
Rhone Apparel, 12217 Lone Peak Pkwy, Ste 200 Draper, UT 84020                                                                    4/20/2020            $3,608.01   Merchandise Vendors
         Rhone Apparel, 12217 Lone Peak Pkwy, Ste 200 Draper, UT 84020 Total                                                                         $17,618.97
Richa Global Exports Pvt Ltd, 219 Udyog Vihar, Gurugram, 7 122016, India                                                         2/13/2020           $36,182.83   Merchandise Vendors
Richa Global Exports Pvt Ltd, 219 Udyog Vihar, Gurugram, 7 122016, India                                                         2/21/2020           $22,537.63   Merchandise Vendors
Richa Global Exports Pvt Ltd, 219 Udyog Vihar, Gurugram, 7 122016, India                                                         2/24/2020           $68,072.68   Merchandise Vendors
         Richa Global Exports Pvt Ltd, 219 Udyog Vihar, Gurugram, 7 122016, India Total                                                             $126,793.14
Richard D Feintuch, 16259 Andalucia Ln Delray Beach, FL 33446                                                                    4/29/2020           $31,250.00   Services
         Richard D Feintuch, 16259 Andalucia Ln Delray Beach, FL 33446 Total                                                                         $31,250.00
Riches Galore Ltd, Wickham Bay Rd Town, Tortola, VG1 110, British Virgin Islands                                                  3/6/2020          $143,383.83   Merchandise Vendors
         Riches Galore Ltd, Wickham Bay Rd Town, Tortola, VG1 110, British Virgin Islands Total                                                     $143,383.83
RICHTER CONSULTING, INC, 200 South Wacker Dr, Ste 3100 Chicago, IL 60606                                                          5/1/2020           $77,331.00   Services
         RICHTER CONSULTING, INC, 200 South Wacker Dr, Ste 3100 Chicago, IL 60606 Total                                                              $77,331.00
Riggs Associates LLC, P.O. Box 5 Mt Pleasant, SC 29465                                                                           2/20/2020           $16,518.59   Rent/Lease Obligations
Riggs Associates LLC, P.O. Box 5 Mt Pleasant, SC 29465                                                                            3/6/2020           $16,518.59   Rent/Lease Obligations
         Riggs Associates LLC, P.O. Box 5 Mt Pleasant, SC 29465 Total                                                                                $33,037.18
RIO APPAREL (HK), LTD, 77 Mody Rd, Ste 1019 1Oth Fl Tsimshatsui East, KLN Hong Kong                                               2/7/2020            $1,511.14   Merchandise Vendors
RIO APPAREL (HK), LTD, 77 Mody Rd, Ste 1019 1Oth Fl Tsimshatsui East, KLN Hong Kong                                               2/7/2020           $94,176.69   Merchandise Vendors
RIO APPAREL (HK), LTD, 77 Mody Rd, Ste 1019 1Oth Fl Tsimshatsui East, KLN Hong Kong                                              2/14/2020          $356,530.57   Merchandise Vendors
RIO APPAREL (HK), LTD, 77 Mody Rd, Ste 1019 1Oth Fl Tsimshatsui East, KLN Hong Kong                                              2/21/2020        $1,248,121.48   Merchandise Vendors
RIO APPAREL (HK), LTD, 77 Mody Rd, Ste 1019 1Oth Fl Tsimshatsui East, KLN Hong Kong                                              2/28/2020          $185,807.98   Merchandise Vendors
         RIO APPAREL (HK), LTD, 77 Mody Rd, Ste 1019 1Oth Fl Tsimshatsui East, KLN Hong Kong Total                                                $1,886,147.86
Ritz Awning Co Inc, 2048 Evington Rd Evington, VA 24550                                                                          4/29/2020           $12,893.78   Services
         Ritz Awning Co Inc, 2048 Evington Rd Evington, VA 24550 Total                                                                               $12,893.78
Riverside Square LP, c/o MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204-3438                          2/5/2020           $30,600.99   Services
         Riverside Square LP, c/o MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204-3438 Total                              $30,600.99
Rize Design, P.O. Box 201 Woden, ACT 2606 Australia                                                                              2/12/2020            $7,437.50   Merchandise Vendors
         Rize Design, P.O. Box 201 Woden, ACT 2606 Australia Total                                                                                    $7,437.50
Rkb Handyman Services Inc, 330 Motor Parkway, Ste 306 Hauppauge, NY 11788                                                        2/26/2020           $23,912.81   Services
         Rkb Handyman Services Inc, 330 Motor Parkway, Ste 306 Hauppauge, NY 11788 Total                                                             $23,912.81
Ronis Bros, 39 Harriet Pl Lynbrook, NY 11563                                                                                     2/28/2020            $2,690.72   Services
Ronis Bros, 39 Harriet Pl Lynbrook, NY 11563                                                                                     4/15/2020           $68,603.97   Services
         Ronis Bros, 39 Harriet Pl Lynbrook, NY 11563 Total                                                                                          $71,294.69
Ropa Siete Leguas Inc, 1831 E Mills Ave, El Paso, TX 79901,                                                                      3/12/2020           $39,003.45   Merchandise Vendors
         Ropa Siete Leguas Inc, 1831 E Mills Ave, El Paso, TX 79901, Total                                                                           $39,003.45
Ropes & Gray LLP, 1211 Avenue of The Americas New York, NY 10036-8704                                                             5/1/2020          $199,019.92   Services
         Ropes & Gray LLP, 1211 Avenue of The Americas New York, NY 10036-8704 Total                                                                $199,019.92



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Rosedale Center, 29974 Network Pl Chicago, IL 60673-1299                                                                      2/27/2020           $10,820.20   Rent/Lease Obligations
         Rosedale Center, 29974 Network Pl Chicago, IL 60673-1299 Total                                                                           $10,820.20
Rosen Saba LLP, 9350 Wilshire Blvd, Ste 250 Beverly Hills, CA 90212                                                           3/10/2020           $83,682.50   Services
Rosen Saba LLP, 9350 Wilshire Blvd, Ste 250 Beverly Hills, CA 90212                                                           3/10/2020          $148,422.50   Services
         Rosen Saba LLP, 9350 Wilshire Blvd, Ste 250 Beverly Hills, CA 90212 Total                                                               $232,105.00
Roseville Fountains LP, 540 Fulton Ave Sacramento, CA 95825                                                                    2/4/2020           $23,826.83   Rent/Lease Obligations
Roseville Fountains LP, 540 Fulton Ave Sacramento, CA 95825                                                                    3/5/2020           $23,826.83   Rent/Lease Obligations
         Roseville Fountains LP, 540 Fulton Ave Sacramento, CA 95825 Total                                                                        $47,653.66
Round Rock Premium Outlets LP, P.O. Box 822312 Philadelphia, PA 19182-2312                                                     2/4/2020           $26,266.25   Rent/Lease Obligations
Round Rock Premium Outlets LP, P.O. Box 822312 Philadelphia, PA 19182-2312                                                    2/19/2020            $5,899.74   Rent/Lease Obligations
Round Rock Premium Outlets LP, P.O. Box 822312 Philadelphia, PA 19182-2312                                                     3/4/2020           $26,266.25   Rent/Lease Obligations
         Round Rock Premium Outlets LP, P.O. Box 822312 Philadelphia, PA 19182-2312 Total                                                         $58,432.24
Rouse Providence LLC, P.O. Box 86 Minneapolis, MN 55486-3060                                                                   2/6/2020           $72,294.70   Rent/Lease Obligations
Rouse Providence LLC, P.O. Box 86 Minneapolis, MN 55486-3060                                                                  2/26/2020           $78,230.92   Rent/Lease Obligations
Rouse Providence LLC, P.O. Box 86 Minneapolis, MN 55486-3060                                                                   3/6/2020           $97,131.35   Rent/Lease Obligations
         Rouse Providence LLC, P.O. Box 86 Minneapolis, MN 55486-3060 Total                                                                      $247,656.97
Route 35 Shrewsbury Limited, P.O. Box 780856 Philadelphia, PA 19178-0856                                                       2/4/2020           $63,086.81   Rent/Lease Obligations
Route 35 Shrewsbury Limited, P.O. Box 780856 Philadelphia, PA 19178-0856                                                      3/27/2020           $62,725.91   Rent/Lease Obligations
         Route 35 Shrewsbury Limited, P.O. Box 780856 Philadelphia, PA 19178-0856 Total                                                          $125,812.72
Rpai Southwest Management LLC - 15105, 15105 Collections Ctr Dr Chicago, IL 60693-5105                                         2/5/2020           $16,965.84   Services
Rpai Southwest Management LLC - 15105, 15105 Collections Ctr Dr Chicago, IL 60693-5105                                         2/5/2020           $24,091.95   Services
Rpai Southwest Management LLC - 15105, 15105 Collections Ctr Dr Chicago, IL 60693-5105                                        2/12/2020            $1,846.75   Services
Rpai Southwest Management LLC - 15105, 15105 Collections Ctr Dr Chicago, IL 60693-5105                                         3/4/2020           $17,182.46   Services
Rpai Southwest Management LLC - 15105, 15105 Collections Ctr Dr Chicago, IL 60693-5105                                         3/4/2020           $24,091.95   Services
         Rpai Southwest Management LLC - 15105, 15105 Collections Ctr Dr Chicago, IL 60693-5105 Total                                             $84,178.95
Rpai Us Management LLC, 13068 Collection Center Dr Chicago, IL 60693                                                          3/11/2020           $13,085.27   Rent/Lease Obligations
         Rpai Us Management LLC, 13068 Collection Center Dr Chicago, IL 60693 Total                                                               $13,085.27
Rpi Fig Garden LP, P.O. Box 860457 Minneapolis, MN 55486-0457                                                                  2/5/2020           $10,276.51   Rent/Lease Obligations
Rpi Fig Garden LP, P.O. Box 860457 Minneapolis, MN 55486-0457                                                                  3/6/2020           $10,276.51   Rent/Lease Obligations
         Rpi Fig Garden LP, P.O. Box 860457 Minneapolis, MN 55486-0457 Total                                                                      $20,553.02
Rsg Landscaping & Lawn Care In, P.O. Box 110 Concord, VA 24538                                                                2/19/2020            $6,486.32   Services
Rsg Landscaping & Lawn Care In, P.O. Box 110 Concord, VA 24538                                                                2/27/2020              $406.40   Services
         Rsg Landscaping & Lawn Care In, P.O. Box 110 Concord, VA 24538 Total                                                                      $6,892.72
Ruggles Sign, P.O. Box 349 Versailles, KY 40383                                                                                2/3/2020              $479.65   Services
Ruggles Sign, P.O. Box 349 Versailles, KY 40383                                                                               2/13/2020           $56,371.44   Services
Ruggles Sign, P.O. Box 349 Versailles, KY 40383                                                                               4/15/2020           $61,846.57   Services
         Ruggles Sign, P.O. Box 349 Versailles, KY 40383 Total                                                                                   $118,697.66
Sa Galleria Iv LP, 1481 Paysphere Cir Chicago, IL 60674                                                                        2/5/2020           $19,999.48   Rent/Lease Obligations
Sa Galleria Iv LP, 1481 Paysphere Cir Chicago, IL 60674                                                                        3/4/2020           $15,398.17   Rent/Lease Obligations
         Sa Galleria Iv LP, 1481 Paysphere Cir Chicago, IL 60674 Total                                                                            $35,397.65
Sa Galleria LLC, 1481 Paysphere Cir Chicago, IL 60674                                                                          2/5/2020           $14,625.26   Rent/Lease Obligations
Sa Galleria LLC, 1481 Paysphere Cir Chicago, IL 60674                                                                          3/4/2020           $14,625.26   Rent/Lease Obligations
         Sa Galleria LLC, 1481 Paysphere Cir Chicago, IL 60674 Total                                                                              $29,250.52
SAITEX INTERNATIONAL DONG NAI VN, Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam                                  2/7/2020          $227,476.75   Merchandise Vendors
         SAITEX INTERNATIONAL DONG NAI VN, Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam Total                                     $227,476.75
SAITEX INTERNATIONAL DONG NAI, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                     2/14/2020          $268,865.74   Merchandise Vendors
         SAITEX INTERNATIONAL DONG NAI, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                         $268,865.74
SAITEX INTERNATIONAL DONG NAI, Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam                                     2/7/2020          $115,069.68   Merchandise Vendors
SAITEX INTERNATIONAL DONG NAI, Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam                                    2/10/2020           $42,315.20   Merchandise Vendors
SAITEX INTERNATIONAL DONG NAI, Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam                                    4/28/2020          $400,317.67   Merchandise Vendors
         SAITEX INTERNATIONAL DONG NAI, Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam Total                                        $557,702.55
SAITEX INTERNATIONAL DONG NAI, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                                3/13/2020          $232,482.40   Merchandise Vendors
         SAITEX INTERNATIONAL DONG NAI, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                                    $232,482.40
SAITEX INTERNATIONAL DONGNAI (VN), Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam                                 2/4/2020          $335,850.80   Merchandise Vendors
SAITEX INTERNATIONAL DONGNAI (VN), Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam                                2/14/2020          $373,152.64   Merchandise Vendors
SAITEX INTERNATIONAL DONGNAI (VN), Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam                                2/21/2020          $401,537.88   Merchandise Vendors
SAITEX INTERNATIONAL DONGNAI (VN), Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam                                 3/6/2020           $27,800.69   Merchandise Vendors



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        SAITEX INTERNATIONAL DONGNAI (VN), Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam Total                                        $1,138,342.01
SAITEX INTERNATIONAL DONGNAI, Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam                                           3/6/2020          $303,583.30   Merchandise Vendors
        SAITEX INTERNATIONAL DONGNAI, Amata Ind Park Long Binh Ward, Bien Hoa City, 81000 Vietnam Total                                               $303,583.30
SALESFORCE.COM INC (AR), P.O. Box 203141 Dallas, TX 75320                                                                           5/1/2020        $3,967,526.93   Services
        SALESFORCE.COM INC (AR), P.O. Box 203141 Dallas, TX 75320 Total                                                                             $3,967,526.93
SalesforceCom Inc, P.O. Box 203141 Dallas, TX 75320                                                                                2/20/2020           $39,305.00   Services
SalesforceCom Inc, P.O. Box 203141 Dallas, TX 75320                                                                                 3/6/2020          $112,670.00   Services
         SalesforceCom Inc, P.O. Box 203141 Dallas, TX 75320 Total                                                                                    $151,975.00
San Marcos Premium Outlets LP, P.O. Box 776300 Chicago, IL 60677-6300                                                               2/6/2020           $18,370.63   Rent/Lease Obligations
San Marcos Premium Outlets LP, P.O. Box 776300 Chicago, IL 60677-6300                                                              2/21/2020            $5,264.77   Rent/Lease Obligations
San Marcos Premium Outlets LP, P.O. Box 776300 Chicago, IL 60677-6300                                                              2/27/2020           $10,631.75   Rent/Lease Obligations
San Marcos Premium Outlets LP, P.O. Box 776300 Chicago, IL 60677-6300                                                               3/6/2020           $18,370.63   Rent/Lease Obligations
         San Marcos Premium Outlets LP, P.O. Box 776300 Chicago, IL 60677-6300 Total                                                                   $52,637.78
Santa Fe Lofts LLC, 1200 S Santa Fe Ave, Ste 327 Los Angeles, CA 90021                                                              2/5/2020            $8,488.02   Services
Santa Fe Lofts LLC, 1200 S Santa Fe Ave, Ste 327 Los Angeles, CA 90021                                                              3/5/2020            $8,488.02   Services
         Santa Fe Lofts LLC, 1200 S Santa Fe Ave, Ste 327 Los Angeles, CA 90021 Total                                                                  $16,976.04
Sap Industries Inc, P.O. Box 822986 Philadelphia, PA 19182-2986                                                                    2/25/2020        $1,127,409.68   Services
         Sap Industries Inc, P.O. Box 822986 Philadelphia, PA 19182-2986 Total                                                                      $1,127,409.68
Saul Holdings LP, P.O. Box 38042 Baltimore, MD 21297-8042                                                                           2/5/2020           $18,801.00   Services
Saul Holdings LP, P.O. Box 38042 Baltimore, MD 21297-8042                                                                           3/4/2020           $18,801.00   Services
         Saul Holdings LP, P.O. Box 38042 Baltimore, MD 21297-8042 Total                                                                               $37,602.00
Sawgrass Mills Phase Ii LP, P.O. Box 277861 Atlanta, GA 30384-7861                                                                  2/5/2020           $65,438.97   Rent/Lease Obligations
Sawgrass Mills Phase Ii LP, P.O. Box 277861 Atlanta, GA 30384-7861                                                                 2/19/2020           $15,441.40   Rent/Lease Obligations
Sawgrass Mills Phase Ii LP, P.O. Box 277861 Atlanta, GA 30384-7861                                                                  3/4/2020           $65,438.97   Rent/Lease Obligations
         Sawgrass Mills Phase Ii LP, P.O. Box 277861 Atlanta, GA 30384-7861 Total                                                                     $146,319.34
Sayre Enterprises Inc, 324 East 32Nd St Buena Vista, VA 24416                                                                       3/5/2020          $140,369.00   Services
Sayre Enterprises Inc, 324 East 32Nd St Buena Vista, VA 24416                                                                      4/14/2020           $23,221.24   Services
         Sayre Enterprises Inc, 324 East 32Nd St Buena Vista, VA 24416 Total                                                                          $163,590.24
Scg City Centre One LLC, P.O. Box 847031 Dallas, TX 75284-7031                                                                      2/5/2020           $23,905.39   Rent/Lease Obligations
Scg City Centre One LLC, P.O. Box 847031 Dallas, TX 75284-7031                                                                      3/6/2020           $23,905.39   Rent/Lease Obligations
         Scg City Centre One LLC, P.O. Box 847031 Dallas, TX 75284-7031 Total                                                                          $47,810.78
Schindler Elevator Corp, P.O. Box 70433 Chicago, IL 60673-0433                                                                     2/27/2020           $12,351.38   Services
         Schindler Elevator Corp, P.O. Box 70433 Chicago, IL 60673-0433 Total                                                                          $12,351.38
Schreiber Pulvirenti LLC, 160 Mountain Ave Park Ridge, NJ 07656                                                                    2/24/2020            $9,830.00   Services
Schreiber Pulvirenti LLC, 160 Mountain Ave Park Ridge, NJ 07656                                                                    4/14/2020           $17,620.00   Services
         Schreiber Pulvirenti LLC, 160 Mountain Ave Park Ridge, NJ 07656 Total                                                                         $27,450.00
Schulz & Lyman Turnkey Service, 115 Water St, Ste B Hallowell, ME 04347                                                            2/26/2020            $9,761.74   Services
         Schulz & Lyman Turnkey Service, 115 Water St, Ste B Hallowell, ME 04347 Total                                                                  $9,761.74
Scottsdale Fashion Square LLC, Macerich Attn: Legal Dept 401 Wilshire Blvd, Ste 700 Santa Monica, CA 90401                          2/5/2020           $33,885.18   Services
Scottsdale Fashion Square LLC, Macerich Attn: Legal Dept 401 Wilshire Blvd, Ste 700 Santa Monica, CA 90401                          3/4/2020           $33,885.18   Services
         Scottsdale Fashion Square LLC, Macerich Attn: Legal Dept 401 Wilshire Blvd, Ste 700 Santa Monica, CA 90401 Total                              $67,770.36
Sdg Fashion Mall Lp, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204                                     2/6/2020           $95,968.06   Rent/Lease Obligations
Sdg Fashion Mall Lp, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204                                     3/6/2020           $95,968.06   Rent/Lease Obligations
         Sdg Fashion Mall Lp, MS Management Associates Inc 225 West Washington St Indianapolis, IN 46204 Total                                        $191,936.12
Sdi Industries Inc, 13000 Pierce St Pacoima, CA 91331                                                                              4/30/2020          $158,835.24   Services
         Sdi Industries Inc, 13000 Pierce St Pacoima, CA 91331 Total                                                                                  $158,835.24
Sedgwick Claims Management Services, 144 E 84th St New York, NY 10028                                                              2/12/2020           $69,928.64   Services
Sedgwick Claims Management Services, 144 E 84th St New York, NY 10028                                                              2/14/2020           $44,718.05   Services
Sedgwick Claims Management Services, 144 E 84th St New York, NY 10028                                                               3/6/2020           $30,068.94   Services
         Sedgwick Claims Management Services, 144 E 84th St New York, NY 10028 Total                                                                  $144,715.63
SELECT SERVICES A PRODUCTION COMPAN, 733 Ne 74th St Miami, FL 33138                                                                 2/4/2020           $30,898.73   Services
         SELECT SERVICES A PRODUCTION COMPAN, 733 Ne 74th St Miami, FL 33138 Total                                                                     $30,898.73
Service Transport Inc, P.O. Box 2267 Greer, SC 29652                                                                               2/12/2020           $20,766.26   Services
         Service Transport Inc, P.O. Box 2267 Greer, SC 29652 Total                                                                                    $20,766.26
Settlers R1 Inc, 2 Common Ct, Unit C13 North Conway, NH 03860                                                                       2/7/2020           $10,863.83   Rent/Lease Obligations
Settlers R1 Inc, 2 Common Ct, Unit C13 North Conway, NH 03860                                                                      2/14/2020            $1,716.97   Rent/Lease Obligations
Settlers R1 Inc, 2 Common Ct, Unit C13 North Conway, NH 03860                                                                      2/21/2020              $937.64   Rent/Lease Obligations



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Settlers R1 Inc, 2 Common Ct, Unit C13 North Conway, NH 03860                                                                                 3/6/2020           $11,801.47   Rent/Lease Obligations
         Settlers R1 Inc, 2 Common Ct, Unit C13 North Conway, NH 03860 Total                                                                                     $25,319.91
Seven Hundred Realty Corp, 15499 W Dixie Hwy North Miami Beach, FL 33162                                                                     2/19/2020           $58,980.58   Rent/Lease Obligations
Seven Hundred Realty Corp, 15499 W Dixie Hwy North Miami Beach, FL 33162                                                                      3/5/2020           $58,980.58   Rent/Lease Obligations
         Seven Hundred Realty Corp, 15499 W Dixie Hwy North Miami Beach, FL 33162 Total                                                                         $117,961.16
Seward & Kissel LLP Central Account, Attn: Gregg S. Bateman Attn: John R. Ashmead 1 Battery Park Plz New York, NY 10004                       5/1/2020           $68,102.26   Services
         Seward & Kissel LLP Central Account, Attn: Gregg S. Bateman Attn: John R. Ashmead 1 Battery Park Plz New York, NY 10004 Total                           $68,102.26
Seyfarth Shaw LLP, Attn: Marc J Gurell, Esq 620 Eighth Ave New York, NY 10018                                                                 2/4/2020            $3,524.19   Services
Seyfarth Shaw LLP, Attn: Marc J Gurell, Esq 620 Eighth Ave New York, NY 10018                                                                 3/5/2020            $3,524.19   Services
         Seyfarth Shaw LLP, Attn: Marc J Gurell, Esq 620 Eighth Ave New York, NY 10018 Total                                                                      $7,048.38
SGT Limited, 37-39 Hung To Rd Kwun Tong, KLN Hong Kong                                                                                   2020/02/14               $1,995.00   Services
         SGT Limited, 37-39 Hung To Rd Kwun Tong, KLN Hong Kong Total                                                                                             $1,995.00
SHANGHAI BROADWAY INTL TRADING COR, No83 Lou Shan Guan Rd Shanghai, 200336 China                                                             2/14/2020            $6,607.89   Merchandise Vendors
SHANGHAI BROADWAY INTL TRADING COR, No83 Lou Shan Guan Rd Shanghai, 200336 China                                                             2/28/2020            $5,121.55   Merchandise Vendors
         SHANGHAI BROADWAY INTL TRADING COR, No83 Lou Shan Guan Rd Shanghai, 200336 China Total                                                                  $11,729.44
Sharco Enterprises, H-117 Sector 63 Noida Uttar Pradesh, 201301 India                                                                        4/28/2020           $10,000.00   Services
         Sharco Enterprises, H-117 Sector 63 Noida Uttar Pradesh, 201301 India Total                                                                             $10,000.00
Sheer Id Inc, 620 Sw 5th Ave, Ste 400 Portland, OR 97204                                                                                      5/1/2020          $180,219.75   Services
         Sheer Id Inc, 620 Sw 5th Ave, Ste 400 Portland, OR 97204 Total                                                                                         $180,219.75
Sherman Oaks Fashion Assoc LP, P.O. Box 56991 Los Angeles, CA 90074-6991                                                                      2/4/2020           $10,100.00   Services
Sherman Oaks Fashion Assoc LP, P.O. Box 56991 Los Angeles, CA 90074-6991                                                                      3/5/2020           $10,100.00   Services
         Sherman Oaks Fashion Assoc LP, P.O. Box 56991 Los Angeles, CA 90074-6991 Total                                                                          $20,200.00
Shift Advantage Inc, 5925 Ne 18th Ave Portland, OR 97211                                                                                     4/29/2020           $44,800.00   Services
         Shift Advantage Inc, 5925 Ne 18th Ave Portland, OR 97211 Total                                                                                          $44,800.00
Shin Il Tex Co Ltd, Jungri Dong Seogu 1083 Daegu, South Korea                                                                                 2/6/2020            $6,495.40   Merchandise Vendors
Shin Il Tex Co Ltd, Jungri Dong Seogu 1083 Daegu, South Korea                                                                                 2/6/2020           $19,880.05   Merchandise Vendors
Shin Il Tex Co Ltd, Jungri Dong Seogu 1083 Daegu, South Korea                                                                                2/11/2020           $46,944.50   Merchandise Vendors
         Shin Il Tex Co Ltd, Jungri Dong Seogu 1083 Daegu, South Korea Total                                                                                     $73,319.95
Shinkong Textile Co., Ltd., 11/F No 123 Sec 2 Nanking E Rd Taipe, 10485 Taiwan                                                               2/21/2020           $16,291.25   Merchandise Vendors
         Shinkong Textile Co., Ltd., 11/F No 123 Sec 2 Nanking E Rd Taipe, 10485 Taiwan Total                                                                    $16,291.25
Shops At Mission Viejo LLC, 7415 Solution Center Chicago, IL 60677-7004                                                                       2/6/2020           $46,810.96   Rent/Lease Obligations
Shops At Mission Viejo LLC, 7415 Solution Center Chicago, IL 60677-7004                                                                       3/6/2020           $46,810.96   Rent/Lease Obligations
         Shops At Mission Viejo LLC, 7415 Solution Center Chicago, IL 60677-7004 Total                                                                           $93,621.92
Shops At Summerlin North LP, P.O. Box 205206, Dept 205202 Dallas, TX 75320-5206                                                              2/27/2020            $7,943.13   Rent/Lease Obligations
Shops At Summerlin North LP, P.O. Box 205206, Dept 205202 Dallas, TX 75320-5206                                                              3/24/2020           $11,942.81   Rent/Lease Obligations
         Shops At Summerlin North LP, P.O. Box 205206, Dept 205202 Dallas, TX 75320-5206 Total                                                                   $19,885.94
Short Hills Associates LLC, P.O. Box 67000 Detroit, MI 48267-0535                                                                             2/3/2020          $246,923.58   Rent/Lease Obligations
Short Hills Associates LLC, P.O. Box 67000 Detroit, MI 48267-0535                                                                            2/19/2020           $12,551.12   Rent/Lease Obligations
Short Hills Associates LLC, P.O. Box 67000 Detroit, MI 48267-0535                                                                             3/3/2020          $259,498.03   Rent/Lease Obligations
Short Hills Associates LLC, P.O. Box 67000 Detroit, MI 48267-0535                                                                            3/12/2020               $24.79   Rent/Lease Obligations
Short Hills Associates LLC, P.O. Box 67000 Detroit, MI 48267-0535                                                                            3/20/2020               $45.43   Rent/Lease Obligations
         Short Hills Associates LLC, P.O. Box 67000 Detroit, MI 48267-0535 Total                                                                                $519,042.95
Short Pump Town Center LLC, P.O. Box 72054 Cleveland, OH 44192-0054                                                                           2/5/2020           $55,951.50   Rent/Lease Obligations
Short Pump Town Center LLC, P.O. Box 72054 Cleveland, OH 44192-0054                                                                           3/4/2020           $55,951.50   Rent/Lease Obligations
         Short Pump Town Center LLC, P.O. Box 72054 Cleveland, OH 44192-0054 Total                                                                              $111,903.00
Shun Seng Hop Yick Co Ltd, 63-65 Hung To Rd Kwun Tong, KLN Hong Kong                                                                         2/26/2020              $565.28   Merchandise Vendors
Shun Seng Hop Yick Co Ltd, 63-65 Hung To Rd Kwun Tong, KLN Hong Kong                                                                          3/6/2020           $21,640.02   Merchandise Vendors
Shun Seng Hop Yick Co Ltd, 63-65 Hung To Rd Kwun Tong, KLN Hong Kong                                                                          3/9/2020               $45.85   Merchandise Vendors
Shun Seng Hop Yick Co Ltd, 63-65 Hung To Rd Kwun Tong, KLN Hong Kong                                                                          3/9/2020              $126.80   Merchandise Vendors
         Shun Seng Hop Yick Co Ltd, 63-65 Hung To Rd Kwun Tong, KLN Hong Kong Total                                                                              $22,377.95
Shun Seng Hop Yick Co. Ltd., 63-65 Hung To Rd, Kwun Tong, KLN Hong Kong                                                                      4/27/2020          $349,781.33   Merchandise Vendors
         Shun Seng Hop Yick Co. Ltd., 63-65 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                                          $349,781.33
SHUN SENG HOP YICK COMPANY LIMITED, 63-65 Hung To Rd, Kwun Tong, KLN Hong Kong                                                               2/18/2020          $234,583.86   Merchandise Vendors
SHUN SENG HOP YICK COMPANY LIMITED, 63-65 Hung To Rd, Kwun Tong, KLN Hong Kong                                                                3/6/2020          $165,330.44   Merchandise Vendors
         SHUN SENG HOP YICK COMPANY LIMITED, 63-65 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                                   $399,914.30
Silver Sands Gl I LLC Mall, 7282 Solution Center Chicago, IL 60677-7002                                                                       2/6/2020           $51,004.13   Rent/Lease Obligations
Silver Sands Gl I LLC Mall, 7282 Solution Center Chicago, IL 60677-7002                                                                       3/6/2020           $51,004.13   Rent/Lease Obligations



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Silver Sands Gl I LLC Mall, 7282 Solution Center Chicago, IL 60677-7002                                                         3/13/2020           $13,304.07   Rent/Lease Obligations
          Silver Sands Gl I LLC Mall, 7282 Solution Center Chicago, IL 60677-7002 Total                                                            $115,312.33
Simon Management Associates Ll, 60 Columbia Rd Bldg B 3Rd Fl Morristown, NJ 07960                                                2/6/2020           $40,000.00   Rent/Lease Obligations
Simon Management Associates Ll, 60 Columbia Rd Bldg B 3Rd Fl Morristown, NJ 07960                                               2/20/2020           $17,500.00   Rent/Lease Obligations
          Simon Management Associates Ll, 60 Columbia Rd Bldg B 3Rd Fl Morristown, NJ 07960 Total                                                   $57,500.00
Simon Preit Gloucester, P.O. Box 776118 Chicago, IL 60677-6118                                                                   2/6/2020           $27,510.13   Rent/Lease Obligations
Simon Preit Gloucester, P.O. Box 776118 Chicago, IL 60677-6118                                                                   3/6/2020           $27,510.13   Rent/Lease Obligations
          Simon Preit Gloucester, P.O. Box 776118 Chicago, IL 60677-6118 Total                                                                      $55,020.26
Simon Property Group (Texas) L, 867620 Reliable Parkway Chicago, IL 60686-0076                                                   2/7/2020           $29,115.17   Rent/Lease Obligations
Simon Property Group (Texas) L, 867620 Reliable Parkway Chicago, IL 60686-0076                                                   3/6/2020           $29,115.17   Rent/Lease Obligations
          Simon Property Group (Texas) L, 867620 Reliable Parkway Chicago, IL 60686-0076 Total                                                      $58,230.34
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  2/4/2020           $24,354.74   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  2/5/2020          $139,220.17   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  2/6/2020           $13,437.98   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  2/6/2020           $16,877.89   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  2/6/2020           $19,088.85   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  2/6/2020           $19,273.35   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  2/6/2020           $32,344.94   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  2/6/2020           $47,021.02   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  2/7/2020           $26,634.76   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                 2/19/2020            $2,102.05   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                 2/21/2020               $13.39   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                 2/21/2020            $1,456.71   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                 2/21/2020            $1,625.98   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                 2/21/2020            $4,757.08   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                 2/26/2020            $3,354.90   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                 2/27/2020                $8.18   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                 2/27/2020               $46.43   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  3/4/2020           $26,456.79   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  3/4/2020          $139,220.17   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  3/6/2020           $18,334.60   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  3/6/2020           $19,273.35   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  3/6/2020           $20,714.83   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  3/6/2020           $26,634.76   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  3/6/2020           $32,660.48   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                  3/6/2020           $47,021.02   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                 3/20/2020            $3,868.23   Rent/Lease Obligations
Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276                                                                 4/10/2020           $22,000.00   Rent/Lease Obligations
          Simon Property Group Lp, P.O. Box 409276 Atlanta, GA 30384-9276 Total                                                                    $707,802.65
Simon Property Group Texas Lp, P.O. Box 822693 Philadelphia, PA 19182-2693                                                       2/4/2020           $34,952.40   Rent/Lease Obligations
Simon Property Group Texas Lp, P.O. Box 822693 Philadelphia, PA 19182-2693                                                      2/19/2020              $776.00   Rent/Lease Obligations
Simon Property Group Texas Lp, P.O. Box 822693 Philadelphia, PA 19182-2693                                                       3/4/2020           $34,952.40   Rent/Lease Obligations
          Simon Property Group Texas Lp, P.O. Box 822693 Philadelphia, PA 19182-2693 Total                                                          $70,680.80
Skillnet Solutions Inc, 1901 S Bascom Ave, Ste 600 Campbell, CA 95008                                                            2/3/2020           $68,572.00   Services
          Skillnet Solutions Inc, 1901 S Bascom Ave, Ste 600 Campbell, CA 95008 Total                                                               $68,572.00
Snowe Inc, 181 Canal St 3Rd Fl New York, NY 10013                                                                                2/6/2020           $17,590.91   Merchandise Vendors
Snowe Inc, 181 Canal St 3Rd Fl New York, NY 10013                                                                                3/4/2020            $3,779.87   Merchandise Vendors
Snowe Inc, 181 Canal St 3Rd Fl New York, NY 10013                                                                               4/23/2020            $2,167.53   Merchandise Vendors
          Snowe Inc, 181 Canal St 3Rd Fl New York, NY 10013 Total                                                                                   $23,538.31
SOILA AGUILAR, El Maestro Ita Barcenas Villa Neuva, Guatemala                                                                    2/7/2020            $2,460.86   Services
SOILA AGUILAR, El Maestro Ita Barcenas Villa Neuva, Guatemala                                                                   3/20/2020            $2,250.00   Services
SOILA AGUILAR, El Maestro Ita Barcenas Villa Neuva, Guatemala                                                                   4/10/2020            $2,250.00   Services
          SOILA AGUILAR, El Maestro Ita Barcenas Villa Neuva, Guatemala Total                                                                        $6,960.86
Soko, 10 Arkansas St, Ste A San Francisco, CA 94107                                                                              2/5/2020            $8,502.60   Services
Soko, 10 Arkansas St, Ste A San Francisco, CA 94107                                                                              3/4/2020            $4,975.26   Services
Soko, 10 Arkansas St, Ste A San Francisco, CA 94107                                                                             4/21/2020            $4,828.92   Services
          Soko, 10 Arkansas St, Ste A San Francisco, CA 94107 Total                                                                                 $18,306.78



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Sokol Packaging Group, 213 W 35th St, Ste 801 New York, NY 10001                                                                    2/21/2020           $42,951.72   Services
         Sokol Packaging Group, 213 W 35th St, Ste 801 New York, NY 10001 Total                                                                         $42,951.72
Solutions Management Inc, P.O. Box 1027 Remsenburg, NY 11960                                                                         3/4/2020           $52,856.59   Services
         Solutions Management Inc, P.O. Box 1027 Remsenburg, NY 11960 Total                                                                             $52,856.59
Somerset Collection Limited, 16129 Collections Center Dr Chicago, IL 60693                                                           2/5/2020          $120,866.35   Rent/Lease Obligations
Somerset Collection Limited, 16129 Collections Center Dr Chicago, IL 60693                                                          2/20/2020            $1,283.57   Rent/Lease Obligations
Somerset Collection Limited, 16129 Collections Center Dr Chicago, IL 60693                                                           3/4/2020          $120,866.35   Rent/Lease Obligations
Somerset Collection Limited, 16129 Collections Center Dr Chicago, IL 60693                                                          3/23/2020            $1,300.03   Rent/Lease Obligations
         Somerset Collection Limited, 16129 Collections Center Dr Chicago, IL 60693 Total                                                              $244,316.30
Sonny Merryman Inc, P.O. Box 495 Rustburg, VA 24588-0495                                                                            2/12/2020            $2,505.78   Services
Sonny Merryman Inc, P.O. Box 495 Rustburg, VA 24588-0495                                                                            4/28/2020            $7,517.34   Services
         Sonny Merryman Inc, P.O. Box 495 Rustburg, VA 24588-0495 Total                                                                                 $10,023.12
Soundtrack Your Brand, P.O. Box 35146 1798 Seattle, WA 98124-5146                                                                    2/4/2020            $8,088.31   Services
Soundtrack Your Brand, P.O. Box 35146 1798 Seattle, WA 98124-5146                                                                    3/9/2020            $8,088.31   Services
Soundtrack Your Brand, P.O. Box 35146 1798 Seattle, WA 98124-5146                                                                   4/21/2020            $9,208.17   Services
         Soundtrack Your Brand, P.O. Box 35146 1798 Seattle, WA 98124-5146 Total                                                                        $25,384.79
South Coast Plaza, Attn: Chief Financial Officer 3315 Fairview Rd Costa Mesa, CA 92626                                               2/4/2020          $296,765.65   Rent/Lease Obligations
South Coast Plaza, Attn: Chief Financial Officer 3315 Fairview Rd Costa Mesa, CA 92626                                               3/5/2020          $224,545.82   Rent/Lease Obligations
South Coast Plaza, Attn: Chief Financial Officer 3315 Fairview Rd Costa Mesa, CA 92626                                              3/23/2020           $12,017.70   Rent/Lease Obligations
         South Coast Plaza, Attn: Chief Financial Officer 3315 Fairview Rd Costa Mesa, CA 92626 Total                                                  $533,329.17
SOUTH PACIFIC FASHIONS LIMITED, 108 Howming St, Kwun Tong Kowloon, Hong Kong                                                         2/3/2020          $104,327.74   Merchandise Vendors
SOUTH PACIFIC FASHIONS LIMITED, 108 Howming St, Kwun Tong Kowloon, Hong Kong                                                        2/24/2020          $459,788.48   Merchandise Vendors
SOUTH PACIFIC FASHIONS LIMITED, 108 Howming St, Kwun Tong Kowloon, Hong Kong                                                         3/3/2020          $209,697.56   Merchandise Vendors
         SOUTH PACIFIC FASHIONS LIMITED, 108 Howming St, Kwun Tong Kowloon, Hong Kong Total                                                            $773,813.78
South Pacific Fashions Ltd, 108 Howming St Kwun Tong Kowloon, Hong Kong                                                             2/28/2020            $9,043.45   Merchandise Vendors
South Pacific Fashions Ltd, 108 Howming St Kwun Tong Kowloon, Hong Kong                                                              3/5/2020            $1,044.10   Merchandise Vendors
South Pacific Fashions Ltd, 108 Howming St Kwun Tong Kowloon, Hong Kong                                                             3/10/2020               $71.55   Merchandise Vendors
         South Pacific Fashions Ltd, 108 Howming St Kwun Tong Kowloon, Hong Kong Total                                                                  $10,159.10
Southdale Center LLC, P.O. Box 404874 Atlanta, GA 30384-4874                                                                         2/5/2020           $69,206.13   Rent/Lease Obligations
Southdale Center LLC, P.O. Box 404874 Atlanta, GA 30384-4874                                                                         3/4/2020           $69,206.13   Rent/Lease Obligations
         Southdale Center LLC, P.O. Box 404874 Atlanta, GA 30384-4874 Total                                                                            $138,412.26
Specialty Lighting Group, 74 Pickering St Portland, CT 06480                                                                        2/12/2020           $38,814.86   Services
Specialty Lighting Group, 74 Pickering St Portland, CT 06480                                                                        4/14/2020           $61,924.80   Services
         Specialty Lighting Group, 74 Pickering St Portland, CT 06480 Total                                                                            $100,739.66
Spencer Technologies, P.O. Box 844071 Boston, MA 02284-4071                                                                         3/10/2020           $29,234.68   Services
Spencer Technologies, P.O. Box 844071 Boston, MA 02284-4071                                                                         4/27/2020           $20,192.92   Services
         Spencer Technologies, P.O. Box 844071 Boston, MA 02284-4071 Total                                                                              $49,427.60
St Johns Town Center 2, P.O. Box 100177 Atlanta, GA 30384-0177                                                                       2/5/2020           $24,931.00   Rent/Lease Obligations
St Johns Town Center 2, P.O. Box 100177 Atlanta, GA 30384-0177                                                                       3/4/2020           $24,931.00   Rent/Lease Obligations
         St Johns Town Center 2, P.O. Box 100177 Atlanta, GA 30384-0177 Total                                                                           $49,862.00
St Laurent Agency Inc, 129 Grand St New York, NY 10013                                                                              2/25/2020            $2,880.00   Services
St Laurent Agency Inc, 129 Grand St New York, NY 10013                                                                              3/17/2020              $720.00   Services
St Laurent Agency Inc, 129 Grand St New York, NY 10013                                                                              3/17/2020            $2,160.00   Services
St Laurent Agency Inc, 129 Grand St New York, NY 10013                                                                              3/18/2020            $1,080.00   Services
St Laurent Agency Inc, 129 Grand St New York, NY 10013                                                                              3/18/2020            $1,800.00   Services
St Laurent Agency Inc, 129 Grand St New York, NY 10013                                                                               4/2/2020            $1,080.00   Services
         St Laurent Agency Inc, 129 Grand St New York, NY 10013 Total                                                                                    $9,720.00
St Louis Premium Outlets LLC, P.O. Box 775857 Chicago, IL 60677-5857                                                                 2/6/2020            $2,069.97   Rent/Lease Obligations
St Louis Premium Outlets LLC, P.O. Box 775857 Chicago, IL 60677-5857                                                                2/27/2020            $3,625.41   Rent/Lease Obligations
St Louis Premium Outlets LLC, P.O. Box 775857 Chicago, IL 60677-5857                                                                 3/6/2020            $2,069.97   Rent/Lease Obligations
St Louis Premium Outlets LLC, P.O. Box 775857 Chicago, IL 60677-5857                                                                3/23/2020            $4,970.84   Rent/Lease Obligations
         St Louis Premium Outlets LLC, P.O. Box 775857 Chicago, IL 60677-5857 Total                                                                     $12,736.19
Stanley Convergent Security, Dept Ch 10651 Palatine, IL 60055                                                                        3/2/2020           $29,861.27   Services
         Stanley Convergent Security, Dept Ch 10651 Palatine, IL 60055 Total                                                                            $29,861.27
Staples Business Advantage, P.O. Box 70242 Philadelphia, PA 19176-0242                                                              2/12/2020           $36,606.36   Services
Staples Business Advantage, P.O. Box 70242 Philadelphia, PA 19176-0242                                                              2/21/2020           $15,447.30   Services
Staples Business Advantage, P.O. Box 70242 Philadelphia, PA 19176-0242                                                              3/16/2020           $29,571.05   Services



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         Staples Business Advantage, P.O. Box 70242 Philadelphia, PA 19176-0242 Total                                                          $81,624.71
Statement Artists Management I, 71 West 23Rd St, Ste 302 New York, NY 10010                                                2/20/2020            $3,044.09   Services
Statement Artists Management I, 71 West 23Rd St, Ste 302 New York, NY 10010                                                 5/1/2020           $17,820.44   Services
         Statement Artists Management I, 71 West 23Rd St, Ste 302 New York, NY 10010 Total                                                     $20,864.53
Stefanini Inc, 27100 West 11 Mile Rd Tower 100 Southfield, MI 48034                                                        4/14/2020          $265,965.48   Services
         Stefanini Inc, 27100 West 11 Mile Rd Tower 100 Southfield, MI 48034 Total                                                            $265,965.48
STERLING APPAREL LIMITED, 9 Sheung Hei St, San Po Kong, KLN Hong Kong                                                       2/3/2020           $86,844.45   Merchandise Vendors
STERLING APPAREL LIMITED, 9 Sheung Hei St, San Po Kong, KLN Hong Kong                                                      2/10/2020          $124,923.29   Merchandise Vendors
STERLING APPAREL LIMITED, 9 Sheung Hei St, San Po Kong, KLN Hong Kong                                                      2/24/2020           $70,088.55   Merchandise Vendors
STERLING APPAREL LIMITED, 9 Sheung Hei St, San Po Kong, KLN Hong Kong                                                      4/28/2020          $213,430.40   Merchandise Vendors
         STERLING APPAREL LIMITED, 9 Sheung Hei St, San Po Kong, KLN Hong Kong Total                                                          $495,286.69
STERLING APPAREL LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                                 2/18/2020          $126,367.77   Merchandise Vendors
         STERLING APPAREL LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong Total                                                     $126,367.77
STERLING APPAREL LTD, 9 Sheung Hei St, San Po Kong, KLN Hong Kong                                                          2/24/2020        $1,650,290.89   Merchandise Vendors
STERLING APPAREL LTD, 9 Sheung Hei St, San Po Kong, KLN Hong Kong                                                          2/25/2020          $225,711.74   Merchandise Vendors
STERLING APPAREL LTD, 9 Sheung Hei St, San Po Kong, KLN Hong Kong                                                           3/9/2020          $421,934.68   Merchandise Vendors
STERLING APPAREL LTD, 9 Sheung Hei St, San Po Kong, KLN Hong Kong                                                          4/28/2020          $764,049.28   Merchandise Vendors
         STERLING APPAREL LTD, 9 Sheung Hei St, San Po Kong, KLN Hong Kong Total                                                            $3,061,986.59
Stored Value Solutions, 3802 Reliable Parkway Chicago, IL 60686-0038                                                        2/3/2020           $32,948.57   Services
Stored Value Solutions, 3802 Reliable Parkway Chicago, IL 60686-0038                                                       3/13/2020           $28,052.40   Services
         Stored Value Solutions, 3802 Reliable Parkway Chicago, IL 60686-0038 Total                                                            $61,000.97
Storq Inc, 3330 20th St San Francisco, CA 94110                                                                            3/18/2020            $4,807.91   Merchandise Vendors
Storq Inc, 3330 20th St San Francisco, CA 94110                                                                            4/21/2020            $6,241.24   Merchandise Vendors
         Storq Inc, 3330 20th St San Francisco, CA 94110 Total                                                                                 $11,049.15
Street Retail Inc, Lockbox 9320, P.O. Box 8500 Philadelphia, PA 19178-9320                                                  2/4/2020           $15,429.36   Rent/Lease Obligations
Street Retail Inc, Lockbox 9320, P.O. Box 8500 Philadelphia, PA 19178-9320                                                  2/4/2020           $27,733.87   Rent/Lease Obligations
Street Retail Inc, Lockbox 9320, P.O. Box 8500 Philadelphia, PA 19178-9320                                                 2/19/2020           $63,159.24   Rent/Lease Obligations
Street Retail Inc, Lockbox 9320, P.O. Box 8500 Philadelphia, PA 19178-9320                                                 2/25/2020               $46.74   Rent/Lease Obligations
Street Retail Inc, Lockbox 9320, P.O. Box 8500 Philadelphia, PA 19178-9320                                                  3/2/2020           $15,337.04   Rent/Lease Obligations
Street Retail Inc, Lockbox 9320, P.O. Box 8500 Philadelphia, PA 19178-9320                                                  3/4/2020           $27,733.87   Rent/Lease Obligations
Street Retail Inc, Lockbox 9320, P.O. Box 8500 Philadelphia, PA 19178-9320                                                 3/11/2020          $130,074.90   Rent/Lease Obligations
         Street Retail Inc, Lockbox 9320, P.O. Box 8500 Philadelphia, PA 19178-9320 Total                                                     $279,515.02
Street Retail West 3 LP, P.O. Box 846073 Los Angeles, CA 90084-6073                                                         2/4/2020          $204,962.41   Rent/Lease Obligations
Street Retail West 3 LP, P.O. Box 846073 Los Angeles, CA 90084-6073                                                         3/4/2020          $107,789.14   Rent/Lease Obligations
         Street Retail West 3 LP, P.O. Box 846073 Los Angeles, CA 90084-6073 Total                                                            $312,751.55
Street Retail West I Lp, P.O. Box 846073 Los Angeles, CA 90084-6073                                                         2/4/2020           $93,898.28   Rent/Lease Obligations
Street Retail West I Lp, P.O. Box 846073 Los Angeles, CA 90084-6073                                                         3/4/2020           $93,557.03   Rent/Lease Obligations
         Street Retail West I Lp, P.O. Box 846073 Los Angeles, CA 90084-6073 Total                                                            $187,455.31
Strs L3 Acq1 LLC, P.O. Box 639205 Cincinnati, OH 45263-9205                                                                 2/5/2020           $36,607.72   Rent/Lease Obligations
Strs L3 Acq1 LLC, P.O. Box 639205 Cincinnati, OH 45263-9205                                                                 3/5/2020           $36,607.72   Rent/Lease Obligations
         Strs L3 Acq1 LLC, P.O. Box 639205 Cincinnati, OH 45263-9205 Total                                                                     $73,215.44
Style Fashion Trading Ltd, 18 Luard Rd Wanchai Hong Kong, China                                                            3/10/2020            $2,745.35   Merchandise Vendors
Style Fashion Trading Ltd, 18 Luard Rd Wanchai Hong Kong, China                                                            3/23/2020              $680.94   Merchandise Vendors
Style Fashion Trading Ltd, 18 Luard Rd Wanchai Hong Kong, China                                                            3/23/2020            $7,668.72   Merchandise Vendors
         Style Fashion Trading Ltd, 18 Luard Rd Wanchai Hong Kong, China Total                                                                 $11,095.01
STYLE FASHION TRADING Ltd, 18 Luard Rd, Wanchai Hong Kong,, China                                                          2/13/2020          $266,790.30   Merchandise Vendors
STYLE FASHION TRADING Ltd, 18 Luard Rd, Wanchai Hong Kong,, China                                                          2/20/2020          $105,659.71   Merchandise Vendors
STYLE FASHION TRADING Ltd, 18 Luard Rd, Wanchai Hong Kong,, China                                                          2/24/2020           $21,019.73   Merchandise Vendors
STYLE FASHION TRADING Ltd, 18 Luard Rd, Wanchai Hong Kong,, China                                                          2/27/2020           $98,583.23   Merchandise Vendors
STYLE FASHION TRADING Ltd, 18 Luard Rd, Wanchai Hong Kong,, China                                                           3/5/2020           $68,766.98   Merchandise Vendors
STYLE FASHION TRADING Ltd, 18 Luard Rd, Wanchai Hong Kong,, China                                                          3/19/2020          $166,262.20   Merchandise Vendors
         STYLE FASHION TRADING Ltd, 18 Luard Rd, Wanchai Hong Kong,, China Total                                                              $727,082.15
Styles Manufacturing Corp, 3571 Hargale Rd Oceanside, NY 11572                                                             2/20/2020            $8,884.50   Services
Styles Manufacturing Corp, 3571 Hargale Rd Oceanside, NY 11572                                                             3/10/2020           $20,047.50   Services
Styles Manufacturing Corp, 3571 Hargale Rd Oceanside, NY 11572                                                             4/21/2020           $19,601.00   Services
         Styles Manufacturing Corp, 3571 Hargale Rd Oceanside, NY 11572 Total                                                                  $48,533.00
Summersalt Inc, 201 S Central Ave, Ste 300 Clayton, MO 63105                                                                3/5/2020            $1,136.64   Merchandise Vendors



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Summersalt Inc, 201 S Central Ave, Ste 300 Clayton, MO 63105                                                                 3/18/2020            $2,705.85   Merchandise Vendors
Summersalt Inc, 201 S Central Ave, Ste 300 Clayton, MO 63105                                                                 4/21/2020            $3,505.22   Merchandise Vendors
        Summersalt Inc, 201 S Central Ave, Ste 300 Clayton, MO 63105 Total                                                                        $7,347.71
Sung Hwa Trading Co Ltd, 275-6 Yangjae Dong, Seocho Ku Seoul,, South Korea                                                   2/21/2020           $61,552.72   Merchandise Vendors
Sung Hwa Trading Co Ltd, 275-6 Yangjae Dong, Seocho Ku Seoul,, South Korea                                                    3/6/2020          $149,299.13   Merchandise Vendors
        Sung Hwa Trading Co Ltd, 275-6 Yangjae Dong, Seocho Ku Seoul,, South Korea Total                                                        $210,851.85
SUNSHADES EYEWARE PTY LTD, 110 Mcevoy St Alexandria, NSW 2015 Australia                                                      2/14/2020           $20,403.50   Merchandise Vendors
        SUNSHADES EYEWARE PTY LTD, 110 Mcevoy St Alexandria, NSW 2015 Australia Total                                                            $20,403.50
SUPERL HOLDINGS LIMITED, 833 Cheung Sha Wan Rd Kowloon, Hong Kong                                                             2/7/2020            $8,059.23   Services
SUPERL HOLDINGS LIMITED, 833 Cheung Sha Wan Rd Kowloon, Hong Kong                                                            2/28/2020              $833.40   Merchandise Vendors
        SUPERL HOLDINGS LIMITED, 833 Cheung Sha Wan Rd Kowloon, Hong Kong Total                                                                   $8,892.63
SUPERL HOLDINGS LTD, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                               2/3/2020           $10,209.21   Merchandise Vendors
SUPERL HOLDINGS LTD, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              2/13/2020           $70,068.68   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                               3/6/2020          $202,402.34   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020              $150.14   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020              $240.84   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020              $353.28   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020            $2,477.26   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020            $2,782.08   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020            $3,027.84   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020            $3,224.83   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020            $3,989.76   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020            $4,173.12   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020            $4,541.76   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020            $4,589.57   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020            $7,156.53   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020            $8,793.60   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020           $11,137.34   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020           $11,467.58   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020           $25,067.06   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020           $26,880.00   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020           $31,380.29   Merchandise Vendors
SUPERL HOLDINGS Ltd, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong                                                              4/27/2020           $48,908.74   Merchandise Vendors
        SUPERL HOLDINGS LTD, 833 Cheung Sha Wan Rd, Kowloon,, Hong Kong Total                                                                   $483,021.85
Suy Co Ltd, 461 Yeoksam-Ro Gangnam-Ku Seoul, 135-280 South Korea                                                             3/10/2020            $9,910.50   Merchandise Vendors
        Suy Co Ltd, 461 Yeoksam-Ro Gangnam-Ku Seoul, 135-280 South Korea Total                                                                    $9,910.50
Suy Co Ltd, 461 Yeoksam-Ro Gangnam-Ku, Seoul, 135-280, South Korea                                                            2/7/2020          $122,829.84   Merchandise Vendors
Suy Co Ltd, 461 Yeoksam-Ro Gangnam-Ku, Seoul, 135-280, South Korea                                                           2/24/2020          $580,288.18   Merchandise Vendors
Suy Co Ltd, 461 Yeoksam-Ro Gangnam-Ku, Seoul, 135-280, South Korea                                                            3/6/2020           $81,910.91   Merchandise Vendors
        Suy Co Ltd, 461 Yeoksam-Ro Gangnam-Ku, Seoul, 135-280, South Korea Total                                                                $785,028.93
T Westbrook Center LLC, P.O. Box 326 Plainfield, NJ 07061-0326                                                                2/5/2020           $24,942.01   Rent/Lease Obligations
T Westbrook Center LLC, P.O. Box 326 Plainfield, NJ 07061-0326                                                               2/26/2020            $2,152.74   Rent/Lease Obligations
        T Westbrook Center LLC, P.O. Box 326 Plainfield, NJ 07061-0326 Total                                                                     $27,094.75
Tableau Software Inc, P.O. Box 204021 Dallas, TX 75320-4021                                                                  2/12/2020            $8,710.00   Services
        Tableau Software Inc, P.O. Box 204021 Dallas, TX 75320-4021 Total                                                                         $8,710.00
Taboea LLC, 505 Clinton St 2 Brooklyn, NY 11231                                                                               3/2/2020            $1,000.00   Services
Taboea LLC, 505 Clinton St 2 Brooklyn, NY 11231                                                                               3/2/2020            $1,300.00   Services
Taboea LLC, 505 Clinton St 2 Brooklyn, NY 11231                                                                               3/2/2020            $2,000.00   Services
Taboea LLC, 505 Clinton St 2 Brooklyn, NY 11231                                                                               3/2/2020            $2,700.00   Services
Taboea LLC, 505 Clinton St 2 Brooklyn, NY 11231                                                                              4/22/2020            $1,350.00   Services
Taboea LLC, 505 Clinton St 2 Brooklyn, NY 11231                                                                              4/28/2020            $2,000.00   Services
        Taboea LLC, 505 Clinton St 2 Brooklyn, NY 11231 Total                                                                                    $10,350.00
Taea Thale Photography LLC, 156 South 1st St, 12 Brooklyn, NY 11211                                                           2/3/2020              $900.00   Services
Taea Thale Photography LLC, 156 South 1st St, 12 Brooklyn, NY 11211                                                           2/3/2020           $13,800.00   Services
Taea Thale Photography LLC, 156 South 1st St, 12 Brooklyn, NY 11211                                                           3/2/2020           $13,800.00   Services
Taea Thale Photography LLC, 156 South 1st St, 12 Brooklyn, NY 11211                                                          3/16/2020            $2,300.00   Services
Taea Thale Photography LLC, 156 South 1st St, 12 Brooklyn, NY 11211                                                          3/16/2020            $2,300.00   Services



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        Taea Thale Photography LLC, 156 South 1st St, 12 Brooklyn, NY 11211 Total                                                                                    $33,100.00
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        2/14/2020        $1,125,250.29   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        2/24/2020          $123,306.07   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        4/27/2020            $3,362.40   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        4/27/2020            $5,887.54   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        4/27/2020            $6,091.73   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        4/27/2020            $6,976.80   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        4/27/2020            $8,198.40   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        4/27/2020            $9,835.25   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        4/27/2020           $10,555.14   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        4/27/2020           $10,992.34   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        4/27/2020           $28,517.70   Merchandise Vendors
Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan                                                                                        4/27/2020           $30,046.80   Merchandise Vendors
        Tainan Enterprises Co Ltd, Han-Chou S Rd, Taipei,, Taiwan Total                                                                                           $1,369,020.46
Takihyo Co Ltd, 21 West 38th St 4th Fl New York, NY 10018                                                                                        2/27/2020            $3,649.45   Services
Takihyo Co Ltd, 21 West 38th St 4th Fl New York, NY 10018                                                                                         3/3/2020            $6,476.00   Services
        Takihyo Co Ltd, 21 West 38th St 4th Fl New York, NY 10018 Total                                                                                              $10,125.45
TAL GLOBAL ALLIANCES LIMITED, 49 Austin Rd Hong Kong, KLN Hong Kong                                                                              4/28/2020           $21,886.20   Services
        TAL GLOBAL ALLIANCES LIMITED, 49 Austin Rd Hong Kong, KLN Hong Kong Total                                                                                    $21,886.20
Talent Force, P.O. Box 95072 Chicago, IL 60694-5072                                                                                              4/30/2020           $54,968.64   Services
        Talent Force, P.O. Box 95072 Chicago, IL 60694-5072 Total                                                                                                    $54,968.64
Talx Uc Express Equifax, 4076 Paysphere Cir Chicago, IL 60674-4076                                                                               2/19/2020              $250.00   Services
Talx Uc Express Equifax, 4076 Paysphere Cir Chicago, IL 60674-4076                                                                               2/19/2020              $544.38   Services
Talx Uc Express Equifax, 4076 Paysphere Cir Chicago, IL 60674-4076                                                                               2/19/2020              $741.30   Services
Talx Uc Express Equifax, 4076 Paysphere Cir Chicago, IL 60674-4076                                                                                4/1/2020              $544.38   Services
Talx Uc Express Equifax, 4076 Paysphere Cir Chicago, IL 60674-4076                                                                                4/1/2020              $544.38   Services
Talx Uc Express Equifax, 4076 Paysphere Cir Chicago, IL 60674-4076                                                                                4/1/2020            $1,451.06   Services
Talx Uc Express Equifax, 4076 Paysphere Cir Chicago, IL 60674-4076                                                                                4/1/2020            $6,888.00   Services
Talx Uc Express Equifax, 4076 Paysphere Cir Chicago, IL 60674-4076                                                                                4/1/2020            $7,922.16   Services
Talx Uc Express Equifax, 4076 Paysphere Cir Chicago, IL 60674-4076                                                                                4/7/2020            $1,073.74   Services
        Talx Uc Express Equifax, 4076 Paysphere Cir Chicago, IL 60674-4076 Total                                                                                     $19,959.40
Tampa Premium Outlets LLC, P.O. Box 776226 Chicago, IL 60677-6226                                                                                 2/6/2020           $26,430.09   Rent/Lease Obligations
Tampa Premium Outlets LLC, P.O. Box 776226 Chicago, IL 60677-6226                                                                                 3/6/2020           $26,430.09   Rent/Lease Obligations
        Tampa Premium Outlets LLC, P.O. Box 776226 Chicago, IL 60677-6226 Total                                                                                      $52,860.18
Tampa Westshore Associates L, P.O. Box 67000 Detroit, MI 48267-1770                                                                               2/4/2020           $83,089.39   Rent/Lease Obligations
Tampa Westshore Associates L, P.O. Box 67000 Detroit, MI 48267-1770                                                                              2/19/2020              $322.63   Rent/Lease Obligations
Tampa Westshore Associates L, P.O. Box 67000 Detroit, MI 48267-1770                                                                               3/3/2020           $83,089.39   Rent/Lease Obligations
        Tampa Westshore Associates L, P.O. Box 67000 Detroit, MI 48267-1770 Total                                                                                   $166,501.41
Tanger National Harbor LLC, P.O. Box 414408 Boston, MA 02241-4408                                                                                 2/4/2020           $36,155.92   Rent/Lease Obligations
Tanger National Harbor LLC, P.O. Box 414408 Boston, MA 02241-4408                                                                                 3/4/2020           $28,167.94   Rent/Lease Obligations
Tanger National Harbor LLC, P.O. Box 414408 Boston, MA 02241-4408                                                                                3/11/2020               $51.93   Rent/Lease Obligations
        Tanger National Harbor LLC, P.O. Box 414408 Boston, MA 02241-4408 Total                                                                                      $64,375.79
Tanger Outlets Deer Park LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                               2/5/2020           $30,867.12   Rent/Lease Obligations
Tanger Outlets Deer Park LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                              2/26/2020            $5,000.00   Rent/Lease Obligations
Tanger Outlets Deer Park LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                               3/4/2020           $29,027.63   Rent/Lease Obligations
Tanger Outlets Deer Park LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                              3/11/2020            $1,946.60   Rent/Lease Obligations
        Tanger Outlets Deer Park LLC, P.O. Box 414225 Boston, MA 02241-4225 Total                                                                                    $66,841.35
Tanger Outlets Deer Park, LLC, Tanger Outlet Centers Attn: Lease Administration 3200 Northline Ave, Ste 360 Greensboro, NC 27408                  2/5/2020           $23,685.30   Rent/Lease Obligations
Tanger Outlets Deer Park, LLC, Tanger Outlet Centers Attn: Lease Administration 3200 Northline Ave, Ste 360 Greensboro, NC 27408                  2/5/2020           $23,969.17   Rent/Lease Obligations
Tanger Outlets Deer Park, LLC, Tanger Outlet Centers Attn: Lease Administration 3200 Northline Ave, Ste 360 Greensboro, NC 27408                  2/5/2020          $235,645.31   Rent/Lease Obligations
Tanger Outlets Deer Park, LLC, Tanger Outlet Centers Attn: Lease Administration 3200 Northline Ave, Ste 360 Greensboro, NC 27408                 2/19/2020            $3,619.06   Rent/Lease Obligations
Tanger Outlets Deer Park, LLC, Tanger Outlet Centers Attn: Lease Administration 3200 Northline Ave, Ste 360 Greensboro, NC 27408                  3/4/2020           $23,685.30   Rent/Lease Obligations
Tanger Outlets Deer Park, LLC, Tanger Outlet Centers Attn: Lease Administration 3200 Northline Ave, Ste 360 Greensboro, NC 27408                  3/4/2020           $23,969.17   Rent/Lease Obligations
Tanger Outlets Deer Park, LLC, Tanger Outlet Centers Attn: Lease Administration 3200 Northline Ave, Ste 360 Greensboro, NC 27408                  3/4/2020          $178,179.82   Rent/Lease Obligations
        Tanger Outlets Deer Park, LLC, Tanger Outlet Centers Attn: Lease Administration 3200 Northline Ave, Ste 360 Greensboro, NC 27408 Total                      $512,753.13
Tangoe Us Inc, P.O. Box 731352 Dallas, TX 75373-1352                                                                                              2/3/2020            $7,998.51   Services
Tangoe Us Inc, P.O. Box 731352 Dallas, TX 75373-1352                                                                                             3/11/2020            $8,003.84   Services



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        Tangoe Us Inc, P.O. Box 731352 Dallas, TX 75373-1352 Total                                                                                     $16,002.35
Tat Fung Textile Co Ltd, No 26-32 Hei St Kwai Chung, NT Hong Kong                                                                  3/18/2020            $8,280.39   Merchandise Vendors
        Tat Fung Textile Co Ltd, No 26-32 Hei St Kwai Chung, NT Hong Kong Total                                                                         $8,280.39
Taubman Auburn Hills Assoc Lp, P.O. Box 67000 Detroit, MI 48267-1245                                                                2/4/2020           $34,278.31   Rent/Lease Obligations
Taubman Auburn Hills Assoc Lp, P.O. Box 67000 Detroit, MI 48267-1245                                                                3/3/2020           $34,278.31   Rent/Lease Obligations
        Taubman Auburn Hills Assoc Lp, P.O. Box 67000 Detroit, MI 48267-1245 Total                                                                     $68,556.62
Taubman Cherry Creek Shopping, Dept 89801 P.O. Box 67000 Detroit, MI 48267-0898                                                     2/4/2020          $123,167.24   Rent/Lease Obligations
Taubman Cherry Creek Shopping, Dept 89801 P.O. Box 67000 Detroit, MI 48267-0898                                                    2/19/2020               $94.50   Rent/Lease Obligations
Taubman Cherry Creek Shopping, Dept 89801 P.O. Box 67000 Detroit, MI 48267-0898                                                     3/3/2020          $121,030.78   Rent/Lease Obligations
        Taubman Cherry Creek Shopping, Dept 89801 P.O. Box 67000 Detroit, MI 48267-0898 Total                                                         $244,292.52
Taubman Realty Group Lp, P.O. Box 674566 Detroit, MI 48267-4566                                                                     2/4/2020           $67,368.04   Rent/Lease Obligations
Taubman Realty Group Lp, P.O. Box 674566 Detroit, MI 48267-4566                                                                    2/19/2020                $9.15   Rent/Lease Obligations
Taubman Realty Group Lp, P.O. Box 674566 Detroit, MI 48267-4566                                                                     3/3/2020           $66,523.32   Rent/Lease Obligations
Taubman Realty Group Lp, P.O. Box 674566 Detroit, MI 48267-4566                                                                    3/12/2020               $12.18   Rent/Lease Obligations
        Taubman Realty Group Lp, P.O. Box 674566 Detroit, MI 48267-4566 Total                                                                         $133,912.69
Taylor Communications, P.O. Box 91047 Chicago, IL 60693-1047                                                                       4/14/2020           $36,193.02   Services
        Taylor Communications, P.O. Box 91047 Chicago, IL 60693-1047 Total                                                                             $36,193.02
T-C Forum at Carlsbad LLC, P.O. Box 749928, La Loxbox Los Angeles, CA 90074-9928                                                    2/4/2020           $65,371.53   Rent/Lease Obligations
T-C Forum at Carlsbad LLC, P.O. Box 749928, La Loxbox Los Angeles, CA 90074-9928                                                    3/5/2020           $65,371.53   Rent/Lease Obligations
        T-C Forum at Carlsbad LLC, P.O. Box 749928, La Loxbox Los Angeles, CA 90074-9928 Total                                                        $130,743.06
Tcb Mayfair I LLC, 100 S Wacker Dr, Ste 950 Chicago, IL 60606                                                                       2/5/2020           $22,349.33   Rent/Lease Obligations
Tcb Mayfair I LLC, 100 S Wacker Dr, Ste 950 Chicago, IL 60606                                                                       3/6/2020           $22,349.33   Rent/Lease Obligations
        Tcb Mayfair I LLC, 100 S Wacker Dr, Ste 950 Chicago, IL 60606 Total                                                                            $44,698.66
Techolution LLC, 200 Vesey St, 24th Fl New York, NY 10281                                                                          2/21/2020          $183,948.50   Services
Techolution LLC, 200 Vesey St, 24th Fl New York, NY 10281                                                                          2/26/2020          $130,670.60   Services
Techolution LLC, 200 Vesey St, 24th Fl New York, NY 10281                                                                          4/13/2020          $167,414.00   Services
        Techolution LLC, 200 Vesey St, 24th Fl New York, NY 10281 Total                                                                               $482,033.10
Texma International Co Ltd, 114 Nei-Hu Taipei Taiwan                                                                                2/6/2020           $43,043.65   Merchandise Vendors
Texma International Co Ltd, 114 Nei-Hu Taipei Taiwan                                                                               2/13/2020           $10,967.35   Merchandise Vendors
Texma International Co Ltd, 114 Nei-Hu Taipei Taiwan                                                                               2/20/2020              $756.01   Merchandise Vendors
Texma International Co Ltd, 114 Nei-Hu Taipei Taiwan                                                                               3/10/2020              $716.00   Merchandise Vendors
        Texma International Co Ltd, 114 Nei-Hu Taipei Taiwan Total                                                                                     $55,483.01
TEXMA INTERNATIONAL CO LTD, 114 Nei-Hu, Taipei Taiwan                                                                              2/10/2020          $279,823.80   Merchandise Vendors
TEXMA INTERNATIONAL CO LTD, 114 Nei-Hu, Taipei Taiwan                                                                              2/25/2020          $112,830.61   Merchandise Vendors
TEXMA INTERNATIONAL CO LTD, 114 Nei-Hu, Taipei Taiwan                                                                               3/2/2020           $96,055.95   Merchandise Vendors
TEXMA INTERNATIONAL CO LTD, 114 Nei-Hu, Taipei Taiwan                                                                               3/9/2020          $262,892.52   Merchandise Vendors
        TEXMA INTERNATIONAL CO LTD, 114 Nei-Hu, Taipei Taiwan Total                                                                                   $751,602.88
TEXMA INTERNATIONAL CO LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                                   2/18/2020          $518,445.70   Merchandise Vendors
        TEXMA INTERNATIONAL CO LTD, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong Total                                                        $518,445.70
The Americana At Brand LLC, P.O. Box 31001-1320 Pasadena, CA 91110-1320                                                             2/4/2020          $179,480.94   Rent/Lease Obligations
The Americana At Brand LLC, P.O. Box 31001-1320 Pasadena, CA 91110-1320                                                            2/20/2020            $2,418.63   Rent/Lease Obligations
The Americana At Brand LLC, P.O. Box 31001-1320 Pasadena, CA 91110-1320                                                             3/4/2020          $168,959.05   Rent/Lease Obligations
The Americana At Brand LLC, P.O. Box 31001-1320 Pasadena, CA 91110-1320                                                            3/10/2020            $4,782.03   Rent/Lease Obligations
The Americana At Brand LLC, P.O. Box 31001-1320 Pasadena, CA 91110-1320                                                            3/23/2020            $8,141.91   Rent/Lease Obligations
        The Americana At Brand LLC, P.O. Box 31001-1320 Pasadena, CA 91110-1320 Total                                                                 $363,782.56
The Arvind Mills Ltd, Electronic City Phase 1, Bangalore Karnataka,, India                                                          3/6/2020          $523,526.12   Merchandise Vendors
        The Arvind Mills Ltd, Electronic City Phase 1, Bangalore Karnataka,, India Total                                                              $523,526.12
The Bank of New York Mellon Corp, Attn: Dir of Global Real Estate Svcs 101 Barclay St, Ste 7E New York, NY 10007                   2/14/2020            $8,609.61   Secured Debt Related Payment
The Bank of New York Mellon Corp, Attn: Dir of Global Real Estate Svcs 101 Barclay St, Ste 7E New York, NY 10007                   2/28/2020        $1,460,961.00   Secured Debt Related Payment
        The Bank of New York Mellon Corp, Attn: Dir of Global Real Estate Svcs 101 Barclay St, Ste 7E New York, NY 10007 Total                      $1,469,570.61
The Bernard Group Inc, 19011 Lake Dr East Chanhassen, MN 55317                                                                     4/14/2020           $56,287.95   Services
        The Bernard Group Inc, 19011 Lake Dr East Chanhassen, MN 55317 Total                                                                           $56,287.95
THE CITY OF LYNCHBURG , LYNCHBURG VA                                                                                                2/4/2020               $42.00   Services
THE CITY OF LYNCHBURG , LYNCHBURG VA                                                                                                3/2/2020           $52,298.20   Services
THE CITY OF LYNCHBURG , LYNCHBURG VA                                                                                                3/5/2020            $8,940.00   Services
        THE CITY OF LYNCHBURG , LYNCHBURG VA Total                                                                                                     $61,280.20
The Domain Mall LLC, 11410 Century Oaks Terrace Austin, TX 78758                                                                    2/5/2020           $92,071.52   Rent/Lease Obligations



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The Domain Mall LLC, 11410 Century Oaks Terrace Austin, TX 78758                                                                        2/27/2020           $21,330.68   Rent/Lease Obligations
The Domain Mall LLC, 11410 Century Oaks Terrace Austin, TX 78758                                                                         3/4/2020           $97,326.33   Rent/Lease Obligations
The Domain Mall LLC, 11410 Century Oaks Terrace Austin, TX 78758                                                                        3/10/2020           $20,478.81   Rent/Lease Obligations
        The Domain Mall LLC, 11410 Century Oaks Terrace Austin, TX 78758 Total                                                                             $231,207.34
The Fountains At Farah LP, 123 W Mills Ave, Ste 600 El Paso, TX 79901                                                                    2/7/2020           $15,140.52   Rent/Lease Obligations
The Fountains At Farah LP, 123 W Mills Ave, Ste 600 El Paso, TX 79901                                                                    3/5/2020           $15,140.52   Rent/Lease Obligations
        The Fountains At Farah LP, 123 W Mills Ave, Ste 600 El Paso, TX 79901 Total                                                                         $30,281.04
The Greene Town Center LLC, P.O. Box 304 Emerson, NJ 07630                                                                               2/4/2020           $20,105.93   Rent/Lease Obligations
The Greene Town Center LLC, P.O. Box 304 Emerson, NJ 07630                                                                               3/4/2020           $20,105.93   Rent/Lease Obligations
The Greene Town Center LLC, P.O. Box 304 Emerson, NJ 07630                                                                              3/10/2020            $1,051.10   Rent/Lease Obligations
        The Greene Town Center LLC, P.O. Box 304 Emerson, NJ 07630 Total                                                                                    $41,262.96
THE HARTFORD, Group Benefits Division Customer Service Hartford, CT 06104-2999                                                          2/14/2020           $83,009.73   Services
THE HARTFORD, Group Benefits Division Customer Service Hartford, CT 06104-2999                                                          3/16/2020           $38,281.47   Services
        THE HARTFORD, Group Benefits Division Customer Service Hartford, CT 06104-2999 Total                                                               $121,291.20
THE HARTFORD, P.O. Box 783690 Customer Service Hartford, CT 06104-2999                                                                  4/17/2020           $74,957.80   Services
        THE HARTFORD, P.O. Box 783690 Customer Service Hartford, CT 06104-2999 Total                                                                        $74,957.80
The Kravetz Group, 180 Salem St Andover, MA 01810                                                                                       2/11/2020           $33,571.00   Merchandise Vendors
        The Kravetz Group, 180 Salem St Andover, MA 01810 Total                                                                                             $33,571.00
The Macerich Partnership LP, P.O. Box 848927 Los Angeles, CA 90084-8927                                                                  2/4/2020           $55,318.53   Rent/Lease Obligations
The Macerich Partnership LP, P.O. Box 848927 Los Angeles, CA 90084-8927                                                                  3/5/2020           $55,318.53   Rent/Lease Obligations
The Macerich Partnership LP, P.O. Box 848927 Los Angeles, CA 90084-8927                                                                 3/20/2020           $17,511.06   Rent/Lease Obligations
        The Macerich Partnership LP, P.O. Box 848927 Los Angeles, CA 90084-8927 Total                                                                      $128,148.12
the marks law firm P.C. IOLA, c/o The Marks Law Firm, PC Attn: Bradley G Marks 175 Varick St, 3rd Fl New York, NY 10014                  5/1/2020           $25,000.00   Services
        the marks law firm P.C. IOLA, c/o The Marks Law Firm, PC Attn: Bradley G Marks 175 Varick St, 3rd Fl New York, NY 10014 Total                       $25,000.00
The News Inc, 495 Broadway 5th Fl New York, NY 10012                                                                                     2/4/2020           $14,687.72   Merchandise Vendors
The News Inc, 495 Broadway 5th Fl New York, NY 10012                                                                                    3/11/2020            $4,323.21   Merchandise Vendors
The News Inc, 495 Broadway 5th Fl New York, NY 10012                                                                                    4/17/2020            $3,206.18   Merchandise Vendors
        The News Inc, 495 Broadway 5th Fl New York, NY 10012 Total                                                                                          $22,217.11
The Pythian Group Inc, 319 Mcrae Ave, Ste 500 Ottowa, ON K1Z 0B9 Canada                                                                  3/9/2020           $16,933.33   Services
        The Pythian Group Inc, 319 Mcrae Ave, Ste 500 Ottowa, ON K1Z 0B9 Canada Total                                                                       $16,933.33
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              2/5/2020           $30,058.65   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              2/6/2020           $11,626.44   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              2/6/2020           $18,030.85   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              2/6/2020           $63,788.15   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              2/6/2020          $100,690.64   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              2/6/2020          $117,489.69   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              2/6/2020          $234,635.32   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                             2/14/2020           $20,409.61   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                             2/21/2020            $3,326.77   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              3/4/2020           $30,058.65   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              3/6/2020           $11,565.94   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              3/6/2020           $37,656.52   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              3/6/2020           $63,788.15   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              3/6/2020          $104,017.41   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              3/6/2020          $117,489.69   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                              3/6/2020          $234,635.32   Rent/Lease Obligations
The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438                             3/23/2020           $12,486.13   Rent/Lease Obligations
        The Retail Property Trust, MS Management Associates, Inc 225 West Washington St Indianapolis, IN 46204-3438 Total                                $1,211,753.93
The Shops At Saddle Creek Inc, 16972 Collections Center Dr Chicago, IL 60693-0169                                                        2/5/2020           $47,667.71   Rent/Lease Obligations
The Shops At Saddle Creek Inc, 16972 Collections Center Dr Chicago, IL 60693-0169                                                        3/4/2020           $47,667.71   Rent/Lease Obligations
        The Shops At Saddle Creek Inc, 16972 Collections Center Dr Chicago, IL 60693-0169 Total                                                             $95,335.42
The Skin Cancer Foundation, 205 Lexington Ave 11th Fl New York, NY 10016                                                                2/19/2020           $10,000.00   Services
        The Skin Cancer Foundation, 205 Lexington Ave 11th Fl New York, NY 10016 Total                                                                      $10,000.00
The Society Model Management I, 156 Fifth Ave, Ste 800 New York, NY 10010                                                               2/25/2020           $50,668.30   Services
The Society Model Management I, 156 Fifth Ave, Ste 800 New York, NY 10010                                                                3/3/2020            $7,800.00   Services
        The Society Model Management I, 156 Fifth Ave, Ste 800 New York, NY 10010 Total                                                                     $58,468.30
Thelma, 1012 Saint Andrews Blvd, Unit B Charleston, SC 29407                                                                            2/19/2020            $1,915.80   Merchandise Vendors



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Thelma, 1012 Saint Andrews Blvd, Unit B Charleston, SC 29407                                                                    2/19/2020            $2,720.28   Merchandise Vendors
Thelma, 1012 Saint Andrews Blvd, Unit B Charleston, SC 29407                                                                    3/13/2020            $4,098.13   Merchandise Vendors
        Thelma, 1012 Saint Andrews Blvd, Unit B Charleston, SC 29407 Total                                                                           $8,734.21
Thomas L Cardella&Associates I, 3735 Queens Ct Sw Cedar Rapids, IA 52404                                                         4/2/2020           $24,093.37   Services
        Thomas L Cardella&Associates I, 3735 Queens Ct Sw Cedar Rapids, IA 52404 Total                                                              $24,093.37
Thomas Neal, 311 Vanderbilt St, Apt 2 Brooklyn, NY 11218                                                                        2/24/2020           $49,787.50   Services
        Thomas Neal, 311 Vanderbilt St, Apt 2 Brooklyn, NY 11218 Total                                                                              $49,787.50
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd Kwun Tong, Kln Hong Kong                                                          2/6/2020            $2,341.00   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd Kwun Tong, Kln Hong Kong                                                         2/25/2020            $8,496.63   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd Kwun Tong, Kln Hong Kong                                                         2/28/2020           $17,746.74   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd Kwun Tong, Kln Hong Kong                                                          3/3/2020           $14,221.29   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd Kwun Tong, Kln Hong Kong                                                          3/5/2020            $3,221.28   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd Kwun Tong, Kln Hong Kong                                                         3/10/2020           $16,162.70   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd Kwun Tong, Kln Hong Kong                                                         3/19/2020              $130.70   Merchandise Vendors
        Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd Kwun Tong, Kln Hong Kong Total                                                               $62,320.34
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       2/14/2020          $230,536.80   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       2/20/2020          $777,331.99   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                        3/6/2020          $873,416.94   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020            $3,575.58   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020            $5,001.54   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020            $6,455.47   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020            $6,651.44   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020            $6,652.44   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020            $8,829.63   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020           $10,032.15   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020           $10,394.44   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020           $13,653.45   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020           $21,530.44   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020           $21,838.96   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020           $35,492.79   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020           $36,107.74   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020           $38,712.71   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020           $43,203.32   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020           $57,209.72   Merchandise Vendors
Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong                                                       4/27/2020          $145,799.84   Merchandise Vendors
        Tien-Hu Trading (Hong Kong) Ltd, 55 Hung To Rd, Kwun Tong, Kln, Hong Kong Total                                                          $2,352,427.39
Topo Designs LLC, 2399 Blake St, Ste 125 Denver, CO 80205                                                                       2/10/2020            $5,166.36   Merchandise Vendors
Topo Designs LLC, 2399 Blake St, Ste 125 Denver, CO 80205                                                                        4/6/2020            $1,485.99   Merchandise Vendors
Topo Designs LLC, 2399 Blake St, Ste 125 Denver, CO 80205                                                                       4/23/2020              $785.76   Merchandise Vendors
        Topo Designs LLC, 2399 Blake St, Ste 125 Denver, CO 80205 Total                                                                              $7,438.11
Toshiba Global Commerce Soluti, P.O. Box 644938 Pittsburgh, PA 15264-4938                                                       2/12/2020          $142,873.87   Services
        Toshiba Global Commerce Soluti, P.O. Box 644938 Pittsburgh, PA 15264-4938 Total                                                            $142,873.87
Touch And Go Inc, 1416 E Burnett St, Unit 1 Signal Hill, CA 90755                                                               2/10/2020           $25,410.70   Merchandise Vendors
Touch And Go Inc, 1416 E Burnett St, Unit 1 Signal Hill, CA 90755                                                               3/11/2020            $2,871.78   Merchandise Vendors
Touch And Go Inc, 1416 E Burnett St, Unit 1 Signal Hill, CA 90755                                                               3/11/2020            $4,293.01   Merchandise Vendors
Touch And Go Inc, 1416 E Burnett St, Unit 1 Signal Hill, CA 90755                                                               4/15/2020            $7,551.84   Merchandise Vendors
        Touch And Go Inc, 1416 E Burnett St, Unit 1 Signal Hill, CA 90755 Total                                                                     $40,127.33
TPG VI MANAGEMENT, LLC, 301 Commerce St, Ste 3300 Ft Worth, TX 76102                                                            2/28/2020           $96,564.93   Services
        TPG VI MANAGEMENT, LLC, 301 Commerce St, Ste 3300 Ft Worth, TX 76102 Total                                                                  $96,564.93
Trace Staffing Solutions LLC, 6001 Chatham Center Dr St 300 Savannah, GA 31405                                                   2/4/2020            $3,935.58   Services
Trace Staffing Solutions LLC, 6001 Chatham Center Dr St 300 Savannah, GA 31405                                                   2/4/2020            $8,635.96   Services
Trace Staffing Solutions LLC, 6001 Chatham Center Dr St 300 Savannah, GA 31405                                                  2/12/2020            $8,357.92   Services
Trace Staffing Solutions LLC, 6001 Chatham Center Dr St 300 Savannah, GA 31405                                                  2/20/2020            $8,156.50   Services
Trace Staffing Solutions LLC, 6001 Chatham Center Dr St 300 Savannah, GA 31405                                                  2/26/2020              $626.24   Services
Trace Staffing Solutions LLC, 6001 Chatham Center Dr St 300 Savannah, GA 31405                                                   3/4/2020            $6,598.96   Services
Trace Staffing Solutions LLC, 6001 Chatham Center Dr St 300 Savannah, GA 31405                                                   5/1/2020           $34,836.43   Services
        Trace Staffing Solutions LLC, 6001 Chatham Center Dr St 300 Savannah, GA 31405 Total                                                        $71,147.59



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                                                                          Creditor’s name and address                               Dates           or value                   or transfer
Transaction Tax Consulting, 3850 Se Three Mile Ln Mcminnville, OR 97128-9402                                                        4/21/2020           $24,377.70   Services
          Transaction Tax Consulting, 3850 Se Three Mile Ln Mcminnville, OR 97128-9402 Total                                                            $24,377.70
Transpeed Trading Ltd, 30-38 Tsuen King Circuit Tsuen Wan NT, Hong Kong                                                             2/19/2020           $55,121.58   Services
Transpeed Trading Ltd, 30-38 Tsuen King Circuit Tsuen Wan NT, Hong Kong                                                             3/17/2020           $58,049.40   Services
          Transpeed Trading Ltd, 30-38 Tsuen King Circuit Tsuen Wan NT, Hong Kong Total                                                                $113,170.98
Tribe Alive LLC, 126 S Main St, Ste 100 Fort Worth, TX 76104                                                                         2/7/2020           $20,980.44   Merchandise Vendors
Tribe Alive LLC, 126 S Main St, Ste 100 Fort Worth, TX 76104                                                                         3/6/2020           $26,117.54   Merchandise Vendors
Tribe Alive LLC, 126 S Main St, Ste 100 Fort Worth, TX 76104                                                                        4/17/2020           $23,181.48   Merchandise Vendors
          Tribe Alive LLC, 126 S Main St, Ste 100 Fort Worth, TX 76104 Total                                                                            $70,279.46
Trintech Inc, P.O. Box 205367 Dallas, TX 75320-5367                                                                                 2/19/2020            $2,782.13   Services
Trintech Inc, P.O. Box 205367 Dallas, TX 75320-5367                                                                                 4/22/2020            $6,900.25   Services
          Trintech Inc, P.O. Box 205367 Dallas, TX 75320-5367 Total                                                                                      $9,682.38
Troi Ollivierre, P.O. Box 20476 New York, NY 10001                                                                                  2/14/2020            $8,500.00   Services
Troi Ollivierre, P.O. Box 20476 New York, NY 10001                                                                                  3/27/2020            $4,000.00   Services
Troi Ollivierre, P.O. Box 20476 New York, NY 10001                                                                                  4/13/2020            $4,250.00   Services
          Troi Ollivierre, P.O. Box 20476 New York, NY 10001 Total                                                                                      $16,750.00
Tsg Chesterfield Lifestyle LLC, 2127 Innerbelt Business Center Dr St Louis, MO 63114                                                 2/4/2020            $2,855.16   Services
Tsg Chesterfield Lifestyle LLC, 2127 Innerbelt Business Center Dr St Louis, MO 63114                                                2/27/2020            $2,918.83   Services
Tsg Chesterfield Lifestyle LLC, 2127 Innerbelt Business Center Dr St Louis, MO 63114                                                 3/4/2020            $2,855.16   Services
Tsg Chesterfield Lifestyle LLC, 2127 Innerbelt Business Center Dr St Louis, MO 63114                                                3/23/2020            $3,459.88   Services
          Tsg Chesterfield Lifestyle LLC, 2127 Innerbelt Business Center Dr St Louis, MO 63114 Total                                                    $12,089.03
Tso Warehouse Row Property Own, 1170 Peachtree St NE, Ste 2000 Atlanta, GA 30309                                                     2/5/2020           $14,622.00   Services
Tso Warehouse Row Property Own, 1170 Peachtree St NE, Ste 2000 Atlanta, GA 30309                                                     3/4/2020           $14,622.00   Services
          Tso Warehouse Row Property Own, 1170 Peachtree St NE, Ste 2000 Atlanta, GA 30309 Total                                                        $29,244.00
Ttec Digital LLC, 9197 S Peoria St Englewood, CO 80112                                                                               2/3/2020           $82,250.70   Services
Ttec Digital LLC, 9197 S Peoria St Englewood, CO 80112                                                                               4/1/2020           $94,804.95   Services
Ttec Digital LLC, 9197 S Peoria St Englewood, CO 80112                                                                               5/1/2020          $176,923.90   Services
          Ttec Digital LLC, 9197 S Peoria St Englewood, CO 80112 Total                                                                                 $353,979.55
Tucson Premium Outlets LLC, P.O. Box 776223 Chicago, IL 60677-6223                                                                   2/6/2020           $23,913.89   Rent/Lease Obligations
Tucson Premium Outlets LLC, P.O. Box 776223 Chicago, IL 60677-6223                                                                  2/27/2020               $93.31   Rent/Lease Obligations
          Tucson Premium Outlets LLC, P.O. Box 776223 Chicago, IL 60677-6223 Total                                                                      $24,007.20
Tung Hang Handbag Factory Ltd, 64 Hoi Yuen Rd, Kwun Tong, KLN, Hong Kong                                                             3/6/2020          $121,913.34   Merchandise Vendors
          Tung Hang Handbag Factory Ltd, 64 Hoi Yuen Rd, Kwun Tong, KLN, Hong Kong Total                                                               $121,913.34
Twelve South Partners LLC, P.O. Box 22149 Nashville, TN 37202                                                                        2/5/2020           $12,854.60   Rent/Lease Obligations
Twelve South Partners LLC, P.O. Box 22149 Nashville, TN 37202                                                                        3/6/2020           $12,854.60   Rent/Lease Obligations
          Twelve South Partners LLC, P.O. Box 22149 Nashville, TN 37202 Total                                                                           $25,709.20
Twin Cities Outlets Eagan LLC, P.O. Box 826511 Philadelphia, PA 19182-6511                                                           2/4/2020           $28,246.08   Rent/Lease Obligations
Twin Cities Outlets Eagan LLC, P.O. Box 826511 Philadelphia, PA 19182-6511                                                           3/4/2020           $28,246.08   Rent/Lease Obligations
          Twin Cities Outlets Eagan LLC, P.O. Box 826511 Philadelphia, PA 19182-6511 Total                                                              $56,492.16
Twmb Associates LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                           2/5/2020           $14,921.89   Rent/Lease Obligations
Twmb Associates LLC, P.O. Box 414225 Boston, MA 02241-4225                                                                           3/4/2020           $14,921.89   Rent/Lease Obligations
          Twmb Associates LLC, P.O. Box 414225 Boston, MA 02241-4225 Total                                                                              $29,843.78
Tyco Integrated Security LLC, Lockbox 223670 Pittsburgh, PA 15251-2670                                                              4/22/2020          $140,554.33   Services
          Tyco Integrated Security LLC, Lockbox 223670 Pittsburgh, PA 15251-2670 Total                                                                 $140,554.33
Tysons Corner LLC, P.O. Box 849554 Los Angeles, CA 90084-9554                                                                        2/6/2020           $56,515.19   Rent/Lease Obligations
Tysons Corner LLC, P.O. Box 849554 Los Angeles, CA 90084-9554                                                                        3/5/2020           $56,515.19   Rent/Lease Obligations
          Tysons Corner LLC, P.O. Box 849554 Los Angeles, CA 90084-9554 Total                                                                          $113,030.38
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                             2/3/2020           $92,228.82   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                             2/3/2020          $523,527.72   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                             2/4/2020          $108,047.78   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                             2/4/2020          $971,629.78   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                             2/5/2020            $1,315.09   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                             2/5/2020           $51,412.54   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                             2/5/2020        $1,733,126.35   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                             2/6/2020              $130.04   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                             2/7/2020           $38,439.52   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                             2/7/2020           $53,761.41   Services



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                                                           Creditor’s name and address                              Dates           or value                   or transfer
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             2/7/2020          $563,460.95   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/10/2020           $65,030.20   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/10/2020          $381,136.33   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/10/2020        $1,225,023.22   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/11/2020           $16,836.90   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/11/2020          $153,996.27   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/12/2020            $4,312.46   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/12/2020            $9,273.89   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/12/2020          $821,149.93   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/13/2020           $22,254.05   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/13/2020          $169,870.44   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/14/2020           $36,787.50   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/14/2020          $851,358.33   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/18/2020              $587.29   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/18/2020            $6,897.87   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/18/2020           $94,966.61   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/19/2020           $54,971.09   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/19/2020        $1,160,878.55   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/20/2020           $14,069.79   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/20/2020           $88,408.61   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/20/2020          $328,923.67   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/21/2020            $2,865.40   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/21/2020           $12,255.31   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/21/2020        $1,329,267.47   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/24/2020           $18,410.31   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/25/2020              $238.38   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/25/2020              $748.33   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/25/2020            $1,033.86   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/25/2020          $117,525.93   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/25/2020          $364,665.75   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/26/2020           $29,064.79   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/26/2020          $176,287.55   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/27/2020               $98.10   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/28/2020           $17,120.78   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/28/2020           $61,287.08   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            2/28/2020           $68,484.73   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/2/2020           $22,067.64   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/2/2020           $34,495.22   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/2/2020          $623,994.49   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/3/2020           $10,231.91   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/3/2020           $95,464.16   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/3/2020          $497,452.50   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/4/2020            $7,630.80   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/4/2020           $50,076.33   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/4/2020          $395,263.03   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/5/2020            $7,581.61   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/5/2020          $210,856.04   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/6/2020           $15,373.49   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/6/2020          $260,262.11   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/9/2020              $468.69   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/9/2020           $61,918.31   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/9/2020           $82,766.30   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             3/9/2020          $165,726.54   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/10/2020           $54,907.75   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/10/2020           $71,120.86   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/11/2020            $9,494.44   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/11/2020           $14,252.19   Services



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                                                           Creditor’s name and address                              Dates           or value                   or transfer
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/12/2020           $14,257.12   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/12/2020           $21,910.80   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/12/2020           $35,482.92   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/13/2020           $77,414.85   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/13/2020          $427,455.96   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/16/2020           $82,248.07   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/16/2020          $181,267.02   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/16/2020          $422,980.17   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/17/2020           $73,110.12   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/17/2020          $256,312.20   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/18/2020           $18,511.03   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/18/2020           $23,363.66   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/18/2020           $24,804.16   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/18/2020           $68,089.39   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/19/2020           $28,585.18   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/19/2020          $118,302.21   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/20/2020           $17,407.56   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/20/2020          $143,539.38   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/20/2020          $184,554.70   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/23/2020              $874.38   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/23/2020           $60,795.30   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/23/2020          $284,900.99   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/24/2020           $92,769.31   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/24/2020          $255,221.94   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/25/2020              $336.99   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/25/2020            $1,894.30   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/26/2020           $22,986.26   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/26/2020          $319,477.88   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/27/2020           $50,560.16   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/27/2020          $147,644.26   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/27/2020          $440,685.19   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/30/2020          $129,013.24   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/30/2020          $142,825.04   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/30/2020          $443,239.29   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/31/2020           $23,694.91   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/31/2020           $64,550.11   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                            3/31/2020           $99,080.57   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/1/2020           $94,424.68   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/1/2020          $253,796.32   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/1/2020          $492,394.37   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/2/2020               $32.77   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/2/2020           $55,815.50   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/2/2020           $62,245.75   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/2/2020          $581,695.16   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/3/2020           $26,110.22   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/3/2020          $693,906.56   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/6/2020           $24,817.89   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/6/2020          $188,306.93   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/6/2020          $505,224.48   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/6/2020          $661,550.60   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/7/2020            $2,619.15   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/7/2020          $222,186.54   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/7/2020          $427,627.55   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/8/2020            $2,069.22   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/8/2020            $2,248.81   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/8/2020          $410,716.32   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                             4/9/2020           $13,951.03   Services



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                                                                 Creditor’s name and address                              Dates           or value                   or transfer
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                   4/9/2020           $68,282.98   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                   4/9/2020          $281,289.46   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/10/2020           $29,689.90   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/10/2020          $212,474.82   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/13/2020            $1,859.89   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/13/2020          $298,656.11   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/13/2020          $594,598.71   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/14/2020            $1,113.20   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/14/2020            $4,748.77   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/14/2020          $264,129.38   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/15/2020           $21,899.11   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/15/2020          $155,388.48   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/16/2020              $208.95   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/16/2020            $3,930.24   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/16/2020          $556,695.45   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/17/2020          $207,404.90   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/20/2020              $690.06   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/20/2020              $761.26   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/20/2020           $27,367.38   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/20/2020           $29,592.66   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/20/2020           $49,416.12   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/20/2020          $904,792.46   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/21/2020            $3,465.77   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/21/2020            $4,709.85   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/21/2020           $52,803.67   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/21/2020          $347,505.71   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/22/2020              $212.52   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/22/2020              $321.75   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/22/2020              $412.57   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/22/2020              $617.03   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/22/2020            $6,494.81   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/22/2020            $6,565.39   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/22/2020          $147,267.23   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/24/2020            $3,695.87   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/27/2020          $517,662.94   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/28/2020           $22,531.77   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/28/2020          $526,961.36   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/29/2020          $960,494.64   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/30/2020              $372.45   Services
U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384                                                                  4/30/2020           $50,516.45   Services
         U.S. Customs Service, P.O. Box 100769, Atlanta, GA 30384 Total                                                                   $30,424,059.72
Unify Hr LLC, 105 Decker Ct 530 Irving, TX 75062                                                                          2/20/2020           $22,887.36   Services
         Unify Hr LLC, 105 Decker Ct 530 Irving, TX 75062 Total                                                                               $22,887.36
UNION RAINBOW INDUSTRIES, CO., LTD, Zhongxiao E Rd Nangang Dist Taipei City, 115 Taiwan                                    2/7/2020           $24,169.69   Merchandise Vendors
UNION RAINBOW INDUSTRIES, CO., LTD, Zhongxiao E Rd Nangang Dist Taipei City, 115 Taiwan                                   2/28/2020            $1,190.03   Merchandise Vendors
         UNION RAINBOW INDUSTRIES, CO., LTD, Zhongxiao E Rd Nangang Dist Taipei City, 115 Taiwan Total                                        $25,359.72
UNITED INFINITE CORP TAIWAN BRANCH, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                  2/18/2020          $599,809.96   Merchandise Vendors
         UNITED INFINITE CORP TAIWAN BRANCH, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong Total                                      $599,809.96
United Infinite Corp Taiwan Branch, Jihu Rd Neihu District Taipei City, 114 Taiwan                                        2/25/2020            $7,384.00   Merchandise Vendors
         United Infinite Corp Taiwan Branch, Jihu Rd Neihu District Taipei City, 114 Taiwan Total                                              $7,384.00
UNITED INFINITE CORP TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                        2/3/2020          $117,526.57   Merchandise Vendors
UNITED INFINITE CORP TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                       2/10/2020           $58,845.17   Merchandise Vendors
UNITED INFINITE CORP TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                       2/28/2020           $14,364.00   Merchandise Vendors
UNITED INFINITE CORP TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                       3/17/2020           $43,557.59   Merchandise Vendors
         UNITED INFINITE CORP TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                           $234,293.33
UNITED INFINITE CORP TAIWAN, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                               2/3/2020           $59,838.62   Merchandise Vendors
UNITED INFINITE CORP TAIWAN, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                               2/7/2020            $6,138.36   Merchandise Vendors



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UNITED INFINITE CORP TAIWAN, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                               2/18/2020          $230,076.95   Merchandise Vendors
UNITED INFINITE CORP TAIWAN, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                               3/17/2020          $240,521.88   Merchandise Vendors
         UNITED INFINITE CORP TAIWAN, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                                   $536,575.81
UNITED INFINITE CORP. TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                        2/3/2020          $922,053.24   Merchandise Vendors
UNITED INFINITE CORP. TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                       2/10/2020          $104,645.38   Merchandise Vendors
UNITED INFINITE CORP. TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                       2/11/2020           $19,582.57   Merchandise Vendors
UNITED INFINITE CORP. TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                        3/3/2020          $518,523.69   Merchandise Vendors
UNITED INFINITE CORP. TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                       3/17/2020          $218,688.77   Merchandise Vendors
UNITED INFINITE CORP. TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                       4/27/2020          $562,862.82   Merchandise Vendors
         UNITED INFINITE CORP. TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                         $2,346,356.47
UNITED INFINITE CORP. TAIWAN, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                              2/10/2020          $202,191.14   Merchandise Vendors
         UNITED INFINITE CORP. TAIWAN, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                                  $202,191.14
United States Postal Service, P.O. Box 7247-0166 Philadelphia, PA 19170-0166                                               3/23/2020          $510,559.00   Services
         United States Postal Service, P.O. Box 7247-0166 Philadelphia, PA 19170-0166 Total                                                   $510,559.00
UNITED TEXTILE INC TAIWAN BRANCH, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong                                     2/18/2020          $306,213.95   Merchandise Vendors
         UNITED TEXTILE INC TAIWAN BRANCH, 8 Cheung Yue St, Cheung Sha Wan, Hong Kong Hong Kong Total                                         $306,213.95
UNITED TEXTILE INC TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                           2/3/2020           $17,216.26   Merchandise Vendors
UNITED TEXTILE INC TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan                                          2/25/2020           $58,474.51   Merchandise Vendors
         UNITED TEXTILE INC TAIWAN BRANCH, Jihu Rd Neihu District, Taipei City, 114 Taiwan Total                                               $75,690.77
UNITED TEXTILE INC. TAIWAN BRANCH, Jihu Rd Neihu Dist, Taipei City, 114 Taiwan                                             2/18/2020           $75,676.60   Merchandise Vendors
         UNITED TEXTILE INC. TAIWAN BRANCH, Jihu Rd Neihu Dist, Taipei City, 114 Taiwan Total                                                  $75,676.60
UNITED TEXTILE INC.TAIWAN BRANCH, Jihu Rd Neihu Dist, Taipei City, 114 Taiwan                                              2/18/2020          $151,136.76   Merchandise Vendors
UNITED TEXTILE INC.TAIWAN BRANCH, Jihu Rd Neihu Dist, Taipei City, 114 Taiwan                                              2/25/2020          $124,470.03   Merchandise Vendors
         UNITED TEXTILE INC.TAIWAN BRANCH, Jihu Rd Neihu Dist, Taipei City, 114 Taiwan Total                                                  $275,606.79
Universal E Business Solutions, 70 Adams St 3Rd Fl Hoboken, NJ 07030                                                       2/12/2020           $51,117.67   Services
Universal E Business Solutions, 70 Adams St 3Rd Fl Hoboken, NJ 07030                                                       2/19/2020            $7,813.00   Services
Universal E Business Solutions, 70 Adams St 3Rd Fl Hoboken, NJ 07030                                                        3/2/2020            $7,813.00   Services
Universal E Business Solutions, 70 Adams St 3Rd Fl Hoboken, NJ 07030                                                       4/28/2020          $408,830.24   Services
         Universal E Business Solutions, 70 Adams St 3Rd Fl Hoboken, NJ 07030 Total                                                           $475,573.91
University Park Mall LLC, 867525 Reliable Pkwy Chicago, IL 60686-0075                                                       2/7/2020           $24,725.67   Rent/Lease Obligations
University Park Mall LLC, 867525 Reliable Pkwy Chicago, IL 60686-0075                                                      2/20/2020            $2,134.06   Rent/Lease Obligations
University Park Mall LLC, 867525 Reliable Pkwy Chicago, IL 60686-0075                                                       3/6/2020           $26,859.73   Rent/Lease Obligations
         University Park Mall LLC, 867525 Reliable Pkwy Chicago, IL 60686-0075 Total                                                           $53,719.46
University Village L P, P.O. Box 24702 Seattle, WA 98124-0702                                                               2/4/2020          $123,428.40   Rent/Lease Obligations
University Village L P, P.O. Box 24702 Seattle, WA 98124-0702                                                               3/9/2020           $67,219.83   Rent/Lease Obligations
         University Village L P, P.O. Box 24702 Seattle, WA 98124-0702 Total                                                                  $190,648.23
University Village LP, 2623 NE University Village St, Ste 7 Seattle, WA 98105                                              4/22/2020           $26,186.62   Services
University Village LP, 2623 NE University Village St, Ste 7 Seattle, WA 98105                                              4/22/2020           $41,793.21   Services
         University Village LP, 2623 NE University Village St, Ste 7 Seattle, WA 98105 Total                                                   $67,979.83
UPS CANADA LTD., P.O. Box 4900 Station A Toronto, ON M5W 0A7 Canada                                                         2/7/2020           $11,096.89   Services
UPS CANADA LTD., P.O. Box 4900 Station A Toronto, ON M5W 0A7 Canada                                                        2/14/2020            $2,274.52   Services
UPS CANADA LTD., P.O. Box 4900 Station A Toronto, ON M5W 0A7 Canada                                                        2/21/2020            $4,631.91   Services
UPS CANADA LTD., P.O. Box 4900 Station A Toronto, ON M5W 0A7 Canada                                                        2/28/2020            $4,188.96   Services
UPS CANADA LTD., P.O. Box 4900 Station A Toronto, ON M5W 0A7 Canada                                                        4/10/2020            $9,172.07   Services
UPS CANADA LTD., P.O. Box 4900 Station A Toronto, ON M5W 0A7 Canada                                                        4/10/2020           $21,405.90   Services
UPS CANADA LTD., P.O. Box 4900 Station A Toronto, ON M5W 0A7 Canada                                                        4/17/2020            $6,523.84   Services
UPS CANADA LTD., P.O. Box 4900 Station A Toronto, ON M5W 0A7 Canada                                                        4/24/2020            $2,188.19   Services
         UPS CANADA LTD., P.O. Box 4900 Station A Toronto, ON M5W 0A7 Canada Total                                                             $61,482.28
UPS Supply Chain Solutions, 101 Marcel-Laurin Blvd St-Laurent, QC H4N 2M3 Canada                                            2/6/2020           $10,937.40   Services
UPS Supply Chain Solutions, 101 Marcel-Laurin Blvd St-Laurent, QC H4N 2M3 Canada                                           2/13/2020           $18,123.91   Services
UPS Supply Chain Solutions, 101 Marcel-Laurin Blvd St-Laurent, QC H4N 2M3 Canada                                           2/27/2020           $31,669.52   Services
         UPS Supply Chain Solutions, 101 Marcel-Laurin Blvd St-Laurent, QC H4N 2M3 Canada Total                                                $60,730.83
Upv Center Lp, 225 West Washington St Indianapolis, IN 46204                                                                2/6/2020           $41,170.99   Rent/Lease Obligations
Upv Center Lp, 225 West Washington St Indianapolis, IN 46204                                                               2/11/2020              $254.54   Rent/Lease Obligations
Upv Center Lp, 225 West Washington St Indianapolis, IN 46204                                                                3/6/2020               $68.26   Rent/Lease Obligations
Upv Center Lp, 225 West Washington St Indianapolis, IN 46204                                                                3/6/2020            $2,930.99   Rent/Lease Obligations
Upv Center Lp, 225 West Washington St Indianapolis, IN 46204                                                                3/6/2020            $7,967.25   Rent/Lease Obligations



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Upv Center Lp, 225 West Washington St Indianapolis, IN 46204                                                                       3/9/2020           $41,170.99   Rent/Lease Obligations
Upv Center Lp, 225 West Washington St Indianapolis, IN 46204                                                                       4/3/2020            $1,649.17   Rent/Lease Obligations
        Upv Center Lp, 225 West Washington St Indianapolis, IN 46204 Total                                                                            $95,212.19
Urban Edge Properties LP, P.O. Box 416391 Boston, MA 02241-6391                                                                    2/5/2020           $64,432.81   Rent/Lease Obligations
Urban Edge Properties LP, P.O. Box 416391 Boston, MA 02241-6391                                                                    3/5/2020           $64,432.81   Rent/Lease Obligations
        Urban Edge Properties LP, P.O. Box 416391 Boston, MA 02241-6391 Total                                                                        $128,865.62
Urban Shopping Centers Lp, P.O. Box 86 Minneapolis, MN 55486-2886                                                                  2/4/2020           $78,046.77   Rent/Lease Obligations
Urban Shopping Centers Lp, P.O. Box 86 Minneapolis, MN 55486-2886                                                                  3/6/2020           $92,858.06   Rent/Lease Obligations
        Urban Shopping Centers Lp, P.O. Box 86 Minneapolis, MN 55486-2886 Total                                                                      $170,904.83
US APPAREL AND TEXTILES (PVT) LTD, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan                                                 2/3/2020          $319,660.89   Merchandise Vendors
US APPAREL AND TEXTILES (PVT) LTD, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan                                                2/10/2020           $91,137.31   Merchandise Vendors
US APPAREL AND TEXTILES (PVT) LTD, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan                                                 3/6/2020          $551,595.18   Merchandise Vendors
US APPAREL AND TEXTILES (PVT) LTD, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan                                                3/13/2020              $683.00   Merchandise Vendors
        US APPAREL AND TEXTILES (PVT) LTD, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan Total                                                     $963,076.38
US APPAREL AND TEXTILES PVT LIMITED, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan                                               2/3/2020          $373,550.29   Merchandise Vendors
US APPAREL AND TEXTILES PVT LIMITED, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan                                               3/6/2020           $27,900.75   Merchandise Vendors
US APPAREL AND TEXTILES PVT LIMITED, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan                                              3/13/2020           $25,870.47   Merchandise Vendors
        US APPAREL AND TEXTILES PVT LIMITED, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan Total                                                   $427,321.51
US APPAREL AND TEXTILES PVT LTD, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan                                                   3/6/2020           $15,155.04   Merchandise Vendors
        US APPAREL AND TEXTILES PVT LTD, 3 Km Defense Raiwind Rd, Lahore, 53700 Pakistan Total                                                        $15,155.04
US Bank, NA, c/o US Bancorp Center Attn: Legal 800 Nicollet Mall Minneapolis, MN 55402-7014                                       3/16/2020       $29,500,000.00   Secured Debt Related Payment
        US Bank, NA, c/o US Bancorp Center Attn: Legal 800 Nicollet Mall Minneapolis, MN 55402-7014 Total                                         $29,500,000.00
Us Customs Service, P.O. Box 100769 Atlanta, GA 30384                                                                             3/17/2020           $15,632.37   Services
        Us Customs Service, P.O. Box 100769 Atlanta, GA 30384 Total                                                                                   $15,632.37
Uspg Portfolio Five LLC, P.O. Box 64-3906 Cincinnati, OH 45264-3906                                                                2/4/2020           $14,832.75   Rent/Lease Obligations
Uspg Portfolio Five LLC, P.O. Box 64-3906 Cincinnati, OH 45264-3906                                                                3/4/2020           $14,832.75   Rent/Lease Obligations
        Uspg Portfolio Five LLC, P.O. Box 64-3906 Cincinnati, OH 45264-3906 Total                                                                     $29,665.50
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              2/3/2020              $443.96   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              2/4/2020              $375.02   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              2/5/2020            $2,200.25   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              2/5/2020            $9,958.32   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              2/6/2020              $874.70   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              2/7/2020              $306.46   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/10/2020              $369.41   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/11/2020              $790.85   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/12/2020            $1,517.16   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/13/2020              $792.38   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/14/2020            $1,002.77   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/18/2020              $695.19   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/19/2020            $8,928.94   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/19/2020           $12,370.23   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/19/2020           $19,701.00   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/20/2020           $34,480.72   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/21/2020              $824.49   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/24/2020              $957.61   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/24/2020           $10,312.05   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/25/2020              $833.69   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/26/2020            $2,006.37   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/27/2020            $1,401.85   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                             2/28/2020            $1,262.25   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/2/2020              $722.69   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/3/2020              $504.14   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/4/2020            $3,053.78   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/5/2020              $753.72   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/5/2020           $12,266.87   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/6/2020            $1,089.20   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/9/2020              $378.25   Services



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USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/10/2020              $541.45   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/11/2020            $3,292.47   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/12/2020              $998.34   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/13/2020            $1,013.06   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/13/2020            $7,341.59   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/16/2020              $196.18   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/17/2020           $39,737.41   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/18/2020           $27,663.68   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/20/2020           $18,678.18   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/23/2020           $14,970.69   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/25/2020            $9,107.03   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/26/2020                $0.25   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/26/2020                $0.57   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/27/2020                $0.19   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              3/27/2020                $0.58   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              4/15/2020            $9,241.36   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              4/23/2020            $9,288.73   Services
USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166                                                                              4/30/2020            $8,967.21   Services
         USPS, P.O. Box 7247-0166, Philadelphia, PA 19170-0166 Total                                                                                  $282,213.29
Utc Venture LLC, Attn: Legal Dept 2049 Century Park E, 41st Fl Los Angeles, CA 90067                                                2/4/2020           $81,932.75   Rent/Lease Obligations
Utc Venture LLC, Attn: Legal Dept 2049 Century Park E, 41st Fl Los Angeles, CA 90067                                                3/5/2020           $81,932.75   Rent/Lease Obligations
         Utc Venture LLC, Attn: Legal Dept 2049 Century Park E, 41st Fl Los Angeles, CA 90067 Total                                                   $163,865.50
Utica Square Shopping Center I, Dept 2883 Tulsa, OK 74182                                                                           2/4/2020           $12,012.95   Services
Utica Square Shopping Center I, Dept 2883 Tulsa, OK 74182                                                                           3/4/2020           $12,012.95   Services
         Utica Square Shopping Center I, Dept 2883 Tulsa, OK 74182 Total                                                                               $24,025.90
Valley Fair Utc LLC, P.O. Box 55702 Los Angeles, CA 90074-5702                                                                      2/4/2020           $66,083.69   Rent/Lease Obligations
Valley Fair Utc LLC, P.O. Box 55702 Los Angeles, CA 90074-5702                                                                      3/9/2020           $66,083.69   Rent/Lease Obligations
Valley Fair Utc LLC, P.O. Box 55702 Los Angeles, CA 90074-5702                                                                     3/23/2020              $156.94   Rent/Lease Obligations
         Valley Fair Utc LLC, P.O. Box 55702 Los Angeles, CA 90074-5702 Total                                                                         $132,324.32
Vanderbilt MPD Corp, P.O. Box 1317 Manchester Center, VT 05255                                                                      2/5/2020           $23,730.82   Rent/Lease Obligations
Vanderbilt MPD Corp, P.O. Box 1317 Manchester Center, VT 05255                                                                      3/3/2020           $23,550.00   Rent/Lease Obligations
Vanderbilt MPD Corp, P.O. Box 1317 Manchester Center, VT 05255                                                                      3/9/2020           $10,262.44   Rent/Lease Obligations
         Vanderbilt MPD Corp, P.O. Box 1317 Manchester Center, VT 05255 Total                                                                          $57,543.26
Vans, 13911 Collections Center Dr Chicago, IL 60693                                                                                4/28/2020          $202,178.12   Merchandise Vendors
         Vans, 13911 Collections Center Dr Chicago, IL 60693 Total                                                                                    $202,178.12
VCO APPAREL TRADING, 12 And K Macau 190 China                                                                                       2/7/2020          $107,988.40   Merchandise Vendors
         VCO APPAREL TRADING, 12 And K Macau 190 China Total                                                                                          $107,988.40
VEINIERE SARL, 12 Rue Gabriel Peri, Oyonnax Cedex, 1111 France                                                                      2/7/2020            $9,222.00   Merchandise Vendors
VEINIERE SARL, 12 Rue Gabriel Peri, Oyonnax Cedex, 1111 France                                                                     2/18/2020            $8,645.94   Merchandise Vendors
VEINIERE SARL, 12 Rue Gabriel Peri, Oyonnax Cedex, 1111 France                                                                      3/9/2020          $116,499.35   Merchandise Vendors
         VEINIERE SARL, 12 Rue Gabriel Peri, Oyonnax Cedex, 1111 France Total                                                                         $134,367.29
VEJA FAIR TRADE SARL, 13 Rue De La Cerisaie Paris, 75011 France                                                                    2/13/2020           $75,818.15   Merchandise Vendors
VEJA FAIR TRADE SARL, 13 Rue De La Cerisaie Paris, 75011 France                                                                    3/10/2020          $213,812.76   Merchandise Vendors
VEJA FAIR TRADE SARL, 13 Rue De La Cerisaie Paris, 75011 France                                                                    4/24/2020           $61,753.85   Merchandise Vendors
         VEJA FAIR TRADE SARL, 13 Rue De La Cerisaie Paris, 75011 France Total                                                                        $351,384.76
Venio LLC d/b/a Keane, P.O. Box 1508 Southeastern, PA 19399-1508                                                                   2/28/2020           $99,353.31   Services
Venio LLC d/b/a Keane, P.O. Box 1508 Southeastern, PA 19399-1508                                                                    3/6/2020           $38,880.66   Services
Venio LLC d/b/a Keane, P.O. Box 1508 Southeastern, PA 19399-1508                                                                   3/23/2020            $2,615.75   Services
Venio LLC d/b/a Keane, P.O. Box 1508 Southeastern, PA 19399-1508                                                                   4/14/2020           $47,064.59   Services
         Venio LLC d/b/a Keane, P.O. Box 1508 Southeastern, PA 19399-1508 Total                                                                       $187,914.31
Verizon Wireless, P.O. Box 408 Newark, NJ 07101-0408                                                                               2/14/2020            $1,423.13   Services
Verizon Wireless, P.O. Box 408 Newark, NJ 07101-0408                                                                               2/24/2020           $21,134.69   Services
Verizon Wireless, P.O. Box 408 Newark, NJ 07101-0408                                                                                3/2/2020              $125.40   Services
Verizon Wireless, P.O. Box 408 Newark, NJ 07101-0408                                                                               3/18/2020            $2,437.09   Services
         Verizon Wireless, P.O. Box 408 Newark, NJ 07101-0408 Total                                                                                    $25,120.31
Vertex Inc, 25528 Network Pl Chicago, IL 60673-1255                                                                                4/15/2020          $228,796.46   Services
         Vertex Inc, 25528 Network Pl Chicago, IL 60673-1255 Total                                                                                    $228,796.46



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VF OUTDOOR, LLC, N850 County Hwy Cb P.O. Box 1817 Appleton, WI 54914                                                       2/21/2020           $57,000.00   Merchandise Vendors
VF OUTDOOR, LLC, N850 County Hwy Cb P.O. Box 1817 Appleton, WI 54914                                                       2/27/2020          $178,251.34   Merchandise Vendors
         VF OUTDOOR, LLC, N850 County Hwy Cb P.O. Box 1817 Appleton, WI 54914 Total                                                           $235,251.34
VICTORY INTERNATIONAL INC, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                      2/14/2020          $293,298.11   Merchandise Vendors
         VICTORY INTERNATIONAL INC, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                          $293,298.11
Victory International Inc, No 77 Shengli 12th St Taichung, 310 China                                                       2/19/2020              $853.03   Merchandise Vendors
Victory International Inc, No 77 Shengli 12th St Taichung, 310 China                                                       2/19/2020           $18,348.69   Merchandise Vendors
Victory International Inc, No 77 Shengli 12th St Taichung, 310 China                                                       3/24/2020            $6,996.28   Merchandise Vendors
Victory International Inc, No 77 Shengli 12th St Taichung, 310 China                                                       3/24/2020            $8,267.08   Merchandise Vendors
Victory International Inc, No 77 Shengli 12th St Taichung, 310 China                                                       3/24/2020           $21,940.08   Merchandise Vendors
Victory International Inc, No 77 Shengli 12th St Taichung, 310 China                                                       4/16/2020              $125.22   Merchandise Vendors
Victory International Inc, No 77 Shengli 12th St Taichung, 310 China                                                       4/16/2020              $241.05   Merchandise Vendors
Victory International Inc, No 77 Shengli 12th St Taichung, 310 China                                                       4/16/2020              $283.68   Merchandise Vendors
         Victory International Inc, No 77 Shengli 12th St Taichung, 310 China Total                                                            $57,055.11
VICTORY INTERNATIONAL INC, No 77 Shengli 12th St, Taichung, 310 China                                                       2/3/2020          $381,342.61   Merchandise Vendors
VICTORY INTERNATIONAL INC, No 77 Shengli 12th St, Taichung, 310 China                                                       2/4/2020          $335,687.30   Merchandise Vendors
VICTORY INTERNATIONAL INC, No 77 Shengli 12th St, Taichung, 310 China                                                      2/18/2020          $217,396.99   Merchandise Vendors
VICTORY INTERNATIONAL INC, No 77 Shengli 12th St, Taichung, 310 China                                                      2/25/2020           $49,728.48   Merchandise Vendors
VICTORY INTERNATIONAL INC, No 77 Shengli 12th St, Taichung, 310 China                                                       3/2/2020           $15,452.16   Merchandise Vendors
VICTORY INTERNATIONAL INC, No 77 Shengli 12th St, Taichung, 310 China                                                       3/9/2020          $918,490.82   Merchandise Vendors
         VICTORY INTERNATIONAL INC, No 77 Shengli 12th St, Taichung, 310 China Total                                                        $1,918,098.36
Vincent Verlezza, 5 Nabby Rd, Unit 42 Brookfield, CT 06804                                                                 2/20/2020            $7,800.00   Merchandise Vendors
Vincent Verlezza, 5 Nabby Rd, Unit 42 Brookfield, CT 06804                                                                  3/4/2020           $10,920.00   Services
Vincent Verlezza, 5 Nabby Rd, Unit 42 Brookfield, CT 06804                                                                 3/17/2020           $14,040.00   Services
         Vincent Verlezza, 5 Nabby Rd, Unit 42 Brookfield, CT 06804 Total                                                                      $32,760.00
Vinyl Development LLC, P.O. Box 128 South Harwich, MA 02661                                                                2/25/2020          $168,550.00   Services
         Vinyl Development LLC, P.O. Box 128 South Harwich, MA 02661 Total                                                                    $168,550.00
Vision Critical Inc, P.O. Box 392703 Pittsburgh, PA 15251-9703                                                              3/4/2020           $71,129.06   Services
         Vision Critical Inc, P.O. Box 392703 Pittsburgh, PA 15251-9703 Total                                                                  $71,129.06
Vision Service Plan, P.O. Box 45223 San Francisco, CA 94145-0223                                                           2/12/2020           $28,995.70   Services
Vision Service Plan, P.O. Box 45223 San Francisco, CA 94145-0223                                                           4/21/2020           $20,663.10   Services
         Vision Service Plan, P.O. Box 45223 San Francisco, CA 94145-0223 Total                                                                $49,658.80
Vornado Realty Lp, P.O. Box 392035 Pittsburgh, PA 15251-9035                                                                2/5/2020          $171,915.33   Rent/Lease Obligations
Vornado Realty Lp, P.O. Box 392035 Pittsburgh, PA 15251-9035                                                                3/5/2020          $418,269.02   Rent/Lease Obligations
         Vornado Realty Lp, P.O. Box 392035 Pittsburgh, PA 15251-9035 Total                                                                   $590,184.35
Vva LLC, 117 East 31st St New York, NY 10016                                                                               2/13/2020           $13,562.50   Services
         Vva LLC, 117 East 31st St New York, NY 10016 Total                                                                                    $13,562.50
W Services Group LLC, 500 Wheeler Rd Hauppauge, NY 11788                                                                    2/4/2020           $35,544.98   Services
W Services Group LLC, 500 Wheeler Rd Hauppauge, NY 11788                                                                   2/11/2020           $30,943.62   Services
W Services Group LLC, 500 Wheeler Rd Hauppauge, NY 11788                                                                   2/19/2020           $22,174.83   Services
W Services Group LLC, 500 Wheeler Rd Hauppauge, NY 11788                                                                   2/25/2020           $13,698.60   Services
W Services Group LLC, 500 Wheeler Rd Hauppauge, NY 11788                                                                    3/3/2020           $45,721.05   Services
W Services Group LLC, 500 Wheeler Rd Hauppauge, NY 11788                                                                    4/7/2020           $32,540.17   Services
         W Services Group LLC, 500 Wheeler Rd Hauppauge, NY 11788 Total                                                                       $180,623.25
W&P Design, 52 Mercer St Fl 3 New York, NY 10013                                                                            2/5/2020           $17,641.37   Merchandise Vendors
W&P Design, 52 Mercer St Fl 3 New York, NY 10013                                                                            3/3/2020           $46,864.88   Merchandise Vendors
W&P Design, 52 Mercer St Fl 3 New York, NY 10013                                                                           3/12/2020              $647.49   Merchandise Vendors
W&P Design, 52 Mercer St Fl 3 New York, NY 10013                                                                           4/20/2020           $13,469.64   Merchandise Vendors
         W&P Design, 52 Mercer St Fl 3 New York, NY 10013 Total                                                                                $78,623.38
Wachter Inc, P.O. Box 801711 Kansas City, MO 64180                                                                         2/11/2020           $29,514.05   Services
Wachter Inc, P.O. Box 801711 Kansas City, MO 64180                                                                         2/12/2020            $3,543.00   Services
Wachter Inc, P.O. Box 801711 Kansas City, MO 64180                                                                         2/20/2020            $2,885.06   Services
Wachter Inc, P.O. Box 801711 Kansas City, MO 64180                                                                         4/28/2020           $18,623.07   Services
Wachter Inc, P.O. Box 801711 Kansas City, MO 64180                                                                         4/29/2020           $57,435.43   Services
         Wachter Inc, P.O. Box 801711 Kansas City, MO 64180 Total                                                                             $112,000.61
WageWorks Inc, P.O. Box 660212 Dallas, TX 75266-0212                                                                       2/11/2020            $8,165.70   Services
WageWorks Inc, P.O. Box 660212 Dallas, TX 75266-0212                                                                       3/16/2020            $4,386.60   Services



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         WageWorks Inc, P.O. Box 660212 Dallas, TX 75266-0212 Total                                                                                       $12,552.30
Walton Foothills Holdings Vi L, P.O. Box 51723 Los Angeles, CA 90051-6023                                                              2/5/2020           $21,558.48   Services
Walton Foothills Holdings Vi L, P.O. Box 51723 Los Angeles, CA 90051-6023                                                              3/5/2020           $21,558.48   Services
         Walton Foothills Holdings Vi L, P.O. Box 51723 Los Angeles, CA 90051-6023 Total                                                                  $43,116.96
Waterloo Premium Outlets LLC, P.O. Box 827756 Philadelphia, PA 19182-7756                                                              2/4/2020           $25,507.76   Rent/Lease Obligations
Waterloo Premium Outlets LLC, P.O. Box 827756 Philadelphia, PA 19182-7756                                                              3/4/2020           $25,507.76   Rent/Lease Obligations
         Waterloo Premium Outlets LLC, P.O. Box 827756 Philadelphia, PA 19182-7756 Total                                                                  $51,015.52
West Clayton Athens Ga, 150 W Broad St Atlanta, GA 30601                                                                              2/21/2020           $23,272.18   Rent/Lease Obligations
West Clayton Athens Ga, 150 W Broad St Atlanta, GA 30601                                                                              3/11/2020           $23,272.18   Rent/Lease Obligations
         West Clayton Athens Ga, 150 W Broad St Atlanta, GA 30601 Total                                                                                   $46,544.36
West Farms Mall LLC, P.O. Box 67000 Detroit, MI 48267-0555                                                                             2/4/2020          $121,859.17   Rent/Lease Obligations
West Farms Mall LLC, P.O. Box 67000 Detroit, MI 48267-0555                                                                            2/19/2020            $6,255.03   Rent/Lease Obligations
West Farms Mall LLC, P.O. Box 67000 Detroit, MI 48267-0555                                                                             3/3/2020          $130,484.66   Rent/Lease Obligations
         West Farms Mall LLC, P.O. Box 67000 Detroit, MI 48267-0555 Total                                                                                $258,598.86
Western Office Portfolio Prope, P.O. Box 846905 Los Angeles, CA 90084-6905                                                             2/4/2020           $30,722.71   Services
Western Office Portfolio Prope, P.O. Box 846905 Los Angeles, CA 90084-6905                                                             3/4/2020           $30,722.71   Services
         Western Office Portfolio Prope, P.O. Box 846905 Los Angeles, CA 90084-6905 Total                                                                 $61,445.42
Westfield Topanga Owner LLC, File 54734 Los Angeles, CA 90074-4734                                                                     2/4/2020           $23,019.20   Rent/Lease Obligations
Westfield Topanga Owner LLC, File 54734 Los Angeles, CA 90074-4734                                                                     3/5/2020           $23,019.20   Rent/Lease Obligations
         Westfield Topanga Owner LLC, File 54734 Los Angeles, CA 90074-4734 Total                                                                         $46,038.40
Westland Garden State Plaza, File 56816 Los Angeles, CA 90074-6816                                                                     2/4/2020          $174,239.42   Rent/Lease Obligations
Westland Garden State Plaza, File 56816 Los Angeles, CA 90074-6816                                                                     3/5/2020          $174,239.42   Rent/Lease Obligations
         Westland Garden State Plaza, File 56816 Los Angeles, CA 90074-6816 Total                                                                        $348,478.84
Westminster Consulting LLC, 11 Centre Park, Ste 303 Rochester, NY 14614-1115                                                          2/21/2020           $11,117.04   Services
         Westminster Consulting LLC, 11 Centre Park, Ste 303 Rochester, NY 14614-1115 Total                                                               $11,117.04
WeWork Management LLC, 115 W 18th St New York, NY 10003                                                                               2/10/2020              $314.90   Services
WeWork Management LLC, 115 W 18th St New York, NY 10003                                                                               2/10/2020            $1,736.20   Services
WeWork Management LLC, 115 W 18th St New York, NY 10003                                                                               2/10/2020            $4,762.12   Services
WeWork Management LLC, 115 W 18th St New York, NY 10003                                                                               2/11/2020               $50.59   Services
         WeWork Management LLC, 115 W 18th St New York, NY 10003 Total                                                                                     $6,863.81
Wfp Retail Co LP, Brookfield Financial Properties, LP Attn: Senior VP, Director of Leasing 250 Vesey St, 15th Fl                       2/3/2020          $191,055.70   Rent/Lease Obligations
Wfp Retail Co LP, Brookfield Financial Properties, LP Attn: Senior VP, Director of Leasing 250 Vesey St, 15th Fl                      2/19/2020              $795.15   Rent/Lease Obligations
Wfp Retail Co LP, Brookfield Financial Properties, LP Attn: Senior VP, Director of Leasing 250 Vesey St, 15th Fl                       3/4/2020          $181,849.60   Rent/Lease Obligations
Wfp Retail Co LP, Brookfield Financial Properties, LP Attn: Senior VP, Director of Leasing 250 Vesey St, 15th Fl                      3/24/2020            $1,908.98   Rent/Lease Obligations
         Wfp Retail Co LP, Brookfield Financial Properties, LP Attn: Senior VP, Director of Leasing 250 Vesey St, 15th Fl Total                          $375,609.43
Wgroup Inc, 150 N Radnor Chester Rd, Ste A230 Radnor, PA 19087                                                                        2/20/2020           $58,685.96   Services
         Wgroup Inc, 150 N Radnor Chester Rd, Ste A230 Radnor, PA 19087 Total                                                                             $58,685.96
Whl Sourcing & Manufacturing L, 4/F No 2 Sec 1 Tunhua S Rd Taipei, 10506 Taiwan                                                       2/12/2020           $17,574.30   Merchandise Vendors
Whl Sourcing & Manufacturing L, 4/F No 2 Sec 1 Tunhua S Rd Taipei, 10506 Taiwan                                                       2/13/2020            $5,937.00   Merchandise Vendors
Whl Sourcing & Manufacturing L, 4/F No 2 Sec 1 Tunhua S Rd Taipei, 10506 Taiwan                                                       2/21/2020            $9,136.97   Merchandise Vendors
Whl Sourcing & Manufacturing L, 4/F No 2 Sec 1 Tunhua S Rd Taipei, 10506 Taiwan                                                       2/27/2020              $355.15   Merchandise Vendors
Whl Sourcing & Manufacturing L, 4/F No 2 Sec 1 Tunhua S Rd Taipei, 10506 Taiwan                                                       3/20/2020              $525.00   Merchandise Vendors
         Whl Sourcing & Manufacturing L, 4/F No 2 Sec 1 Tunhua S Rd Taipei, 10506 Taiwan Total                                                            $33,528.42
WHL SOURCING AND MANUFACTURING LTD, 4/F No 2 Sec 1 Tunhua S Rd, Taipei, 10506 Taiwan                                                   3/6/2020          $151,908.10   Merchandise Vendors
         WHL SOURCING AND MANUFACTURING LTD, 4/F No 2 Sec 1 Tunhua S Rd, Taipei, 10506 Taiwan Total                                                      $151,908.10
WHL SOURCING AND MANUFACTURING, 4/F No 2 Sec 1 Tunhua S Rd, Taipei, 10506 Taiwan                                                      2/14/2020           $57,092.91   Merchandise Vendors
WHL SOURCING AND MANUFACTURING, 4/F No 2 Sec 1 Tunhua S Rd, Taipei, 10506 Taiwan                                                      2/21/2020          $136,197.00   Merchandise Vendors
WHL SOURCING AND MANUFACTURING, 4/F No 2 Sec 1 Tunhua S Rd, Taipei, 10506 Taiwan                                                       3/6/2020          $330,310.84   Merchandise Vendors
WHL SOURCING AND MANUFACTURING, 4/F No 2 Sec 1 Tunhua S Rd, Taipei, 10506 Taiwan                                                       3/9/2020          $167,031.27   Merchandise Vendors
         WHL SOURCING AND MANUFACTURING, 4/F No 2 Sec 1 Tunhua S Rd, Taipei, 10506 Taiwan Total                                                          $690,632.02
Wild And Wolf Inc, 432 Park Ave South 15th Fl New York, NY 10016                                                                       2/7/2020           $44,430.00   Merchandise Vendors
         Wild And Wolf Inc, 432 Park Ave South 15th Fl New York, NY 10016 Total                                                                           $44,430.00
Wildcat Wholesale LLC, 75 Varick St 9th Fl New York, NY 10013                                                                          2/6/2020           $50,000.00   Merchandise Vendors
         Wildcat Wholesale LLC, 75 Varick St 9th Fl New York, NY 10013 Total                                                                              $50,000.00
Wilhelmina International Inc, Dept 8107 P.O. Box 650002 Dallas, TX 75265-8107                                                          2/5/2020            $5,247.58   Services
Wilhelmina International Inc, Dept 8107 P.O. Box 650002 Dallas, TX 75265-8107                                                          3/4/2020            $6,000.00   Services
         Wilhelmina International Inc, Dept 8107 P.O. Box 650002 Dallas, TX 75265-8107 Total                                                              $11,247.58



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Williamsburg Portfolio Holding, 600 Washington Ave, Ste 1100 St Louis, MO 63101                                                 2/5/2020           $25,000.00   Services
Williamsburg Portfolio Holding, 600 Washington Ave, Ste 1100 St Louis, MO 63101                                                2/11/2020           $25,000.00   Services
Williamsburg Portfolio Holding, 600 Washington Ave, Ste 1100 St Louis, MO 63101                                                3/16/2020           $25,000.00   Services
        Williamsburg Portfolio Holding, 600 Washington Ave, Ste 1100 St Louis, MO 63101 Total                                                      $75,000.00
WILLIS OF NEW YORK, INC., P.O. Box 4557 New York, NY 10249-4557                                                                 5/1/2020        $5,748,734.00   Services
        WILLIS OF NEW YORK, INC., P.O. Box 4557 New York, NY 10249-4557 Total                                                                   $5,748,734.00
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            2/28/2020          $268,422.68   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            2/28/2020          $346,968.71   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            2/28/2020        $2,657,798.76   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            3/31/2020          $296,704.07   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            3/31/2020          $380,681.45   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            3/31/2020          $600,582.88   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            3/31/2020        $2,917,239.42   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            3/31/2020        $3,490,338.56   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            4/30/2020          $280,543.14   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            4/30/2020          $591,562.24   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            4/30/2020        $2,080,404.32   Secured Debt Related Payment
Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801                                            4/30/2020        $4,811,378.30   Secured Debt Related Payment
        Wilmington Savings Fund Society FSB, 500 Delaware Ave, 11th Fl Wilmington, DE 19801 Total                                              $18,722,624.53
Wilson Canal Place Ii LLC, P.O. Box 758883 Baltimore, MD 21275-8883                                                             2/3/2020           $28,960.45   Rent/Lease Obligations
Wilson Canal Place Ii LLC, P.O. Box 758883 Baltimore, MD 21275-8883                                                            2/18/2020               $20.99   Rent/Lease Obligations
Wilson Canal Place Ii LLC, P.O. Box 758883 Baltimore, MD 21275-8883                                                             3/2/2020           $28,981.44   Rent/Lease Obligations
        Wilson Canal Place Ii LLC, P.O. Box 758883 Baltimore, MD 21275-8883 Total                                                                  $57,962.88
Winner Step Corp Ltd, 30 Canton Rd Tsimshatsui, KLN Hong Kong                                                                  3/19/2020           $32,085.40   Merchandise Vendors
        Winner Step Corp Ltd, 30 Canton Rd Tsimshatsui, KLN Hong Kong Total                                                                        $32,085.40
WINNER STEP CORP LTD, 30 Canton Rd, Tsimshatsui, KLN Hong Kong                                                                 2/11/2020          $161,311.77   Merchandise Vendors
WINNER STEP CORP LTD, 30 Canton Rd, Tsimshatsui, KLN Hong Kong                                                                 2/28/2020          $264,717.52   Merchandise Vendors
WINNER STEP CORP LTD, 30 Canton Rd, Tsimshatsui, KLN Hong Kong                                                                  3/6/2020           $57,832.46   Merchandise Vendors
        WINNER STEP CORP LTD, 30 Canton Rd, Tsimshatsui, KLN Hong Kong Total                                                                      $483,861.75
WINNER STEP CORPORATION LIMITED, 30 Canton Rd Tsimshatsui, KLN Hong Kong                                                        3/2/2020           $10,043.26   Merchandise Vendors
        WINNER STEP CORPORATION LIMITED, 30 Canton Rd Tsimshatsui, KLN Hong Kong Total                                                             $10,043.26
Winshuttle LLC, 19820 North Creek Pkwy, Ste 200 Bothell, WA 98011                                                              4/30/2020           $31,146.40   Services
        Winshuttle LLC, 19820 North Creek Pkwy, Ste 200 Bothell, WA 98011 Total                                                                    $31,146.40
Wip Wholesale LLC, 5903 Westside Ave North Bergen, NJ 07047                                                                    3/12/2020           $10,345.00   Merchandise Vendors
        Wip Wholesale LLC, 5903 Westside Ave North Bergen, NJ 07047 Total                                                                          $10,345.00
W-Ld Legends Holdings Vii LLC, P.O. Box 505333 St Louis, MO 63150-5333                                                          2/4/2020           $22,329.64   Rent/Lease Obligations
W-Ld Legends Holdings Vii LLC, P.O. Box 505333 St Louis, MO 63150-5333                                                          3/5/2020           $22,329.64   Rent/Lease Obligations
        W-Ld Legends Holdings Vii LLC, P.O. Box 505333 St Louis, MO 63150-5333 Total                                                               $44,659.28
Wollam Resources Asia Co Ltd, 178-86 Johnston Rd Wanchai Hong Kong                                                             4/22/2020           $16,665.00   Merchandise Vendors
Wollam Resources Asia Co Ltd, 178-86 Johnston Rd Wanchai Hong Kong                                                             4/29/2020           $17,460.00   Merchandise Vendors
Wollam Resources Asia Co Ltd, 178-86 Johnston Rd Wanchai Hong Kong                                                             4/29/2020           $38,224.00   Merchandise Vendors
        Wollam Resources Asia Co Ltd, 178-86 Johnston Rd Wanchai Hong Kong Total                                                                   $72,349.00
Woodland Productions Inc, 212 Saint Marks Ave 2 Brooklyn, NY 11238                                                              3/2/2020            $7,000.00   Services
Woodland Productions Inc, 212 Saint Marks Ave 2 Brooklyn, NY 11238                                                              3/2/2020           $11,025.00   Services
Woodland Productions Inc, 212 Saint Marks Ave 2 Brooklyn, NY 11238                                                              3/2/2020           $12,600.00   Services
Woodland Productions Inc, 212 Saint Marks Ave 2 Brooklyn, NY 11238                                                             3/19/2020            $7,000.00   Services
Woodland Productions Inc, 212 Saint Marks Ave 2 Brooklyn, NY 11238                                                              4/2/2020           $12,600.00   Services
Woodland Productions Inc, 212 Saint Marks Ave 2 Brooklyn, NY 11238                                                             4/28/2020           $21,000.00   Services
        Woodland Productions Inc, 212 Saint Marks Ave 2 Brooklyn, NY 11238 Total                                                                   $71,225.00
Wooin Industries Ltd, 197-5 Guro Dong Guro Ku, Seoul, 152-743, South Korea                                                      2/7/2020          $102,695.77   Merchandise Vendors
Wooin Industries Ltd, 197-5 Guro Dong Guro Ku, Seoul, 152-743, South Korea                                                     2/14/2020          $515,235.66   Merchandise Vendors
Wooin Industries Ltd, 197-5 Guro Dong Guro Ku, Seoul, 152-743, South Korea                                                      3/6/2020          $169,277.49   Merchandise Vendors
        Wooin Industries Ltd, 197-5 Guro Dong Guro Ku, Seoul, 152-743, South Korea Total                                                          $787,208.92
Worksmith Inc, 1524 South Interstate 35, Ste 220 Austin, TX 78704                                                              2/20/2020          $145,036.42   Services
Worksmith Inc, 1524 South Interstate 35, Ste 220 Austin, TX 78704                                                               3/2/2020          $139,976.29   Services
        Worksmith Inc, 1524 South Interstate 35, Ste 220 Austin, TX 78704 Total                                                                   $285,012.71
WORLD CENTRAL KITCHEN, INC, 1524 South Interstate 35, Ste 220 Austin, TX 78704                                                  4/7/2020           $25,000.00   Services



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                                                                                                                                                   Total amount             Reasons for payment
                                                                      Creditor’s name and address                                    Dates           or value                   or transfer
         WORLD CENTRAL KITCHEN, INC, 1524 South Interstate 35, Ste 220 Austin, TX 78704 Total                                                            $25,000.00
World Textile Sourcing Inc, 530 Seventh Ave 506, New York, NY 10018,                                                                  2/6/2020           $16,158.72   Merchandise Vendors
         World Textile Sourcing Inc, 530 Seventh Ave 506, New York, NY 10018, Total                                                                      $16,158.72
Wp Lavori In Corso Srl, Via Dell Arcoveggio 59/5 Bologna, 40129 Italy                                                                2/13/2020           $10,970.00   Merchandise Vendors
         Wp Lavori In Corso Srl, Via Dell Arcoveggio 59/5 Bologna, 40129 Italy Total                                                                     $10,970.00
WS Tampa Owner LLC, c/o WS Asset Management INC 33 Boylston St, Ste 3000 Chestnut Hill, MA 02467                                     3/23/2020           $38,563.46   Services
         WS Tampa Owner LLC, c/o WS Asset Management INC 33 Boylston St, Ste 3000 Chestnut Hill, MA 02467 Total                                          $38,563.46
WS Tice's Corner Marketplace LLC, David Adam Realty, Inc 57 Wilton Rd, Ste 200 Westport, CT 06880                                     2/6/2020           $44,947.49   Rent/Lease Obligations
WS Tice's Corner Marketplace LLC, David Adam Realty, Inc 57 Wilton Rd, Ste 200 Westport, CT 06880                                     3/6/2020           $44,947.49   Rent/Lease Obligations
         WS Tice's Corner Marketplace LLC, David Adam Realty, Inc 57 Wilton Rd, Ste 200 Westport, CT 06880 Total                                         $89,894.98
Wsm Hingham Properties LLC, P.O. Box 3274 Boston, MA 02241-3274                                                                       2/4/2020           $49,556.92   Rent/Lease Obligations
Wsm Hingham Properties LLC, P.O. Box 3274 Boston, MA 02241-3274                                                                       3/4/2020           $49,418.07   Rent/Lease Obligations
         Wsm Hingham Properties LLC, P.O. Box 3274 Boston, MA 02241-3274 Total                                                                           $98,974.99
Wynright Corp, P.O. Box 71383 Chicago, IL 60694-1383                                                                                 2/26/2020           $16,644.55   Services
Wynright Corp, P.O. Box 71383 Chicago, IL 60694-1383                                                                                 4/29/2020           $22,644.07   Services
         Wynright Corp, P.O. Box 71383 Chicago, IL 60694-1383 Total                                                                                      $39,288.62
Ya Ya Creations Inc, 13155 Railroad Rd City Of Industry, CA 91746                                                                    2/26/2020           $12,529.25   Services
         Ya Ya Creations Inc, 13155 Railroad Rd City Of Industry, CA 91746 Total                                                                         $12,529.25
Yale University, Attn: Director University Propertis University Properties 433 Temple St                                              2/5/2020           $17,896.90   Rent/Lease Obligations
Yale University, Attn: Director University Propertis University Properties 433 Temple St                                              3/4/2020           $17,896.90   Rent/Lease Obligations
         Yale University, Attn: Director University Propertis University Properties 433 Temple St Total                                                  $35,793.80
Yext Inc, P.O. Box 9509 New York, NY 10087-9509                                                                                      4/16/2020          $103,940.00   Services
         Yext Inc, P.O. Box 9509 New York, NY 10087-9509 Total                                                                                          $103,940.00
York International Corp, P.O. Box 730747 Dallas, TX 75373-0747                                                                       2/13/2020           $21,402.21   Services
         York International Corp, P.O. Box 730747 Dallas, TX 75373-0747 Total                                                                            $21,402.21
Your Cause Holdings LLC, 6505 W Park Blvd, Ste 306 Pbm 369 Plano, TX 75093                                                           3/30/2020           $13,894.42   Services
         Your Cause Holdings LLC, 6505 W Park Blvd, Ste 306 Pbm 369 Plano, TX 75093 Total                                                                $13,894.42
ZALANDO MARKETING SERVICE GMBH, Attn: Robert Gentz Valeska-Gert-Strabe 5 10243, Berlin Germany                                       2/28/2020          $300,053.34   Merchandise Vendors
         ZALANDO MARKETING SERVICE GMBH, Attn: Robert Gentz Valeska-Gert-Strabe 5 10243, Berlin Germany Total                                           $300,053.34
ZHEJIANG FORTUNE APPAREL CO LTD, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong                                                          2/14/2020          $781,420.11   Merchandise Vendors
         ZHEJIANG FORTUNE APPAREL CO LTD, 44-46 Hung To Rd, Kwun Tong, KLN Hong Kong Total                                                              $781,420.11
ZHEJIANG FORTUNE APPAREL CO LTD, 9/F 1888 Jianghui Rd, Hangzhou, 130 310051 China                                                    2/10/2020          $114,681.47   Merchandise Vendors
ZHEJIANG FORTUNE APPAREL CO LTD, 9/F 1888 Jianghui Rd, Hangzhou, 130 310051 China                                                    2/21/2020           $57,598.74   Merchandise Vendors
ZHEJIANG FORTUNE APPAREL CO LTD, 9/F 1888 Jianghui Rd, Hangzhou, 130 310051 China                                                     3/6/2020          $354,482.46   Merchandise Vendors
         ZHEJIANG FORTUNE APPAREL CO LTD, 9/F 1888 Jianghui Rd, Hangzhou, 130 310051 China Total                                                        $526,762.67
Zhejiang Fortune Apparel Co., Ltd, 9/F 1888 Jianghui Rd, Hangzhou, 130 310051 China                                                  4/27/2020          $252,602.27   Merchandise Vendors
         Zhejiang Fortune Apparel Co., Ltd, 9/F 1888 Jianghui Rd, Hangzhou, 130 310051 China Total                                                      $252,602.27
Zhejiang Jinhua Huatai, No 777 West Binhong Rd, Jinhua, 130, China                                                                   2/14/2020           $94,718.04   Merchandise Vendors
         Zhejiang Jinhua Huatai, No 777 West Binhong Rd, Jinhua, 130, China Total                                                                        $94,718.04
Zhejiang Matsui Textile Co Ltd, Rm 17C Fulihua Hotel Keqiao Town Shaoxing, China                                                     3/18/2020           $13,139.70   Services
         Zhejiang Matsui Textile Co Ltd, Rm 17C Fulihua Hotel Keqiao Town Shaoxing, China Total                                                          $13,139.70
ZHEJIANG XINAO TEXTILES INC, No 48 Zhenzhi St Tongxiang, 130 China                                                                    2/7/2020          $131,674.60   Merchandise Vendors
         ZHEJIANG XINAO TEXTILES INC, No 48 Zhenzhi St Tongxiang, 130 China Total                                                                       $131,674.60



                                                                                                                       Grand Total                  $456,360,569.77




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           STATEMENT OF FINANCIAL AFFAIRS


                              EXHIBIT
                         PART 2, QUESTION 4

   PAYMENTS OR OTHER TRANSFERS OF PROPERTY MADE
      WITHIN 1 YEAR BEFORE FILING THIS CASE THAT
                BENEFITTED ANY INSIDER
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J. Crew Operating Corp.
Case No. 20-32186
SOFA 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                                           Total amount or        Reasons for payment or
      Insider’s name                           Address                         Dates                                                              Relationship to debtor
                                                                                                value                     transfer
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     5/17/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     5/31/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     6/14/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     6/28/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     7/12/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     7/26/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281      8/9/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     8/23/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281      9/6/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     9/20/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     10/4/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281    10/18/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     11/1/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281    11/15/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281    11/29/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281    12/13/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281    12/27/2019         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     1/10/2020         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     1/24/2020         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281      2/7/2020         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     2/21/2020         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281      3/6/2020         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     3/20/2020         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281      4/3/2020         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     4/17/2020         $120,192.30   Severance Pay               Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     5/17/2019           $2,780.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     6/20/2019           $2,780.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     7/26/2019           $2,780.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     8/23/2019           $2,780.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     9/20/2019           $2,780.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281    10/18/2019           $2,780.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281    11/15/2019           $2,780.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281    12/27/2019           $2,780.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     1/24/2020           $2,105.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     2/21/2020           $2,105.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     3/20/2020           $2,105.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett           225 Liberty Street, 17th Floor, New York, NY 10281     4/17/2020           $2,105.19   COBRA Reimbursement         Former CEO and Board Member
  James Brett Total                                                                            $3,035,469.78
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281      2/7/2020          $24,038.46   Regular Base Pay            Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     2/21/2020          $48,076.92   Regular Base Pay            Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281      3/6/2020          $48,076.92   Regular Base Pay            Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     3/20/2020          $48,076.92   Regular Base Pay            Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281      4/3/2020          $42,067.31   Regular Base Pay            Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     4/17/2020          $36,057.69   Regular Base Pay            Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281      5/1/2020          $36,057.69   Regular Base Pay            Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     2/28/2020       $2,500,000.00   Signing Bonus               Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281      3/6/2020           $9,108.00   Legal Fees Reimbursement    Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281      5/1/2020          $82,157.04   Relocation Payments         Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     1/22/2020           $1,716.84   Expense Reimbursements      Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281      9/3/2019           $1,391.85   Expense Reimbursements      Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     8/15/2019           $2,247.97   Expense Reimbursements      Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     4/10/2020             $343.23   Expense Reimbursements      Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     3/27/2020           $1,052.29   Expense Reimbursements      Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     4/13/2020             $904.07   Expense Reimbursements      Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     3/12/2020           $8,119.09   Expense Reimbursements      Chief Executive Officer
  Jan Singer            225 Liberty Street, 17th Floor, New York, NY 10281     2/20/2020           $9,108.00   Expense Reimbursements      Chief Executive Officer
  Jan Singer Total                                                                             $2,898,600.30
                        30-30 47th Avenue, 10th Floor, Long Island City, NY
  Libby Wadle           11101                                                  5/17/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                        30-30 47th Avenue, 10th Floor, Long Island City, NY
  Libby Wadle           11101                                                  5/31/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                        30-30 47th Avenue, 10th Floor, Long Island City, NY
  Libby Wadle           11101                                                  6/14/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                        30-30 47th Avenue, 10th Floor, Long Island City, NY
  Libby Wadle           11101                                                  6/28/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                        30-30 47th Avenue, 10th Floor, Long Island City, NY
  Libby Wadle           11101                                                  7/12/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                        30-30 47th Avenue, 10th Floor, Long Island City, NY
  Libby Wadle           11101                                                  7/26/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                        30-30 47th Avenue, 10th Floor, Long Island City, NY
  Libby Wadle           11101                                                   8/9/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                        30-30 47th Avenue, 10th Floor, Long Island City, NY
  Libby Wadle           11101                                                  8/23/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                        30-30 47th Avenue, 10th Floor, Long Island City, NY
  Libby Wadle           11101                                                   9/6/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell

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                                                                                       Total amount or        Reasons for payment or
   Insider’s name                          Address                         Dates                                                              Relationship to debtor
                                                                                            value                   transfer
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  9/20/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  10/4/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                 10/18/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  11/1/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                 11/15/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                 11/29/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                 12/13/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                 12/27/2019         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  1/10/2020         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  1/24/2020         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                   2/7/2020         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  2/21/2020         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                 3/6/2020           $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  3/20/2020         $36,538.46 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                   4/3/2020         $31,971.16 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  4/17/2020         $27,403.85 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                   5/1/2020         $27,403.85 Regular Base Pay               Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  1/31/2020        $250,000.00 Special Bonus                  Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                   3/6/2020        $982,300.00 Annual Incentive Plan          Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  8/23/2019         $14,235.00 Legal Fees Reimbursement       Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                   4/6/2020            $359.47 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                   3/2/2020          $2,108.76 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  3/12/2020            $543.10 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  1/31/2020            $679.65 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                   2/6/2020            $594.92 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                 12/20/2019          $2,566.33 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  1/13/2020             $82.71 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  12/6/2019          $4,845.85 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  11/7/2019          $2,115.37 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                 10/10/2019         $10,009.15 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  10/2/2019            $505.14 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  10/2/2019            $301.10 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  8/13/2019          $2,909.90 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  8/14/2019         $14,235.00 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  8/27/2019         $28,023.44 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  7/12/2019          $2,440.96 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                  6/12/2019          $4,554.44 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                   5/7/2019          $5,939.26 Expense Reimbursements         Chief Executive Officer - Madewell
                    30-30 47th Avenue, 10th Floor, Long Island City, NY
Libby Wadle         11101                                                   5/6/2019              $63.90   Expense Reimbursements      Chief Executive Officer - Madewell
Libby Wadle Total                                                                          $2,256,576.92
Michael Nicholson   225 Liberty Street, 17th Floor, New York, NY 10281     5/17/2019          $38,461.54   Regular Base Pay            President - Chief Operating Officer
Michael Nicholson   225 Liberty Street, 17th Floor, New York, NY 10281     5/31/2019          $38,461.54   Regular Base Pay            President - Chief Operating Officer
Michael Nicholson   225 Liberty Street, 17th Floor, New York, NY 10281     6/14/2019          $38,461.54   Regular Base Pay            President - Chief Operating Officer
Michael Nicholson   225 Liberty Street, 17th Floor, New York, NY 10281     6/28/2019          $38,461.54   Regular Base Pay            President - Chief Operating Officer
Michael Nicholson   225 Liberty Street, 17th Floor, New York, NY 10281     7/12/2019          $38,461.54   Regular Base Pay            President - Chief Operating Officer
Michael Nicholson   225 Liberty Street, 17th Floor, New York, NY 10281     7/26/2019          $38,461.54   Regular Base Pay            President - Chief Operating Officer
Michael Nicholson   225 Liberty Street, 17th Floor, New York, NY 10281      8/9/2019          $38,461.54   Regular Base Pay            President - Chief Operating Officer


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                                                                                        Total amount or        Reasons for payment or
   Insider’s name                            Address                        Dates                                                                  Relationship to debtor
                                                                                             value                      transfer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     8/23/2019          $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281      9/6/2019          $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     9/20/2019          $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     10/4/2019          $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    10/18/2019          $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     11/1/2019          $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    11/15/2019          $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    11/29/2019          $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281   12/13/2019           $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281   12/27/2019           $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    1/10/2020           $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    1/24/2020           $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     2/7/2020           $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    2/21/2020           $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     3/6/2020           $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    3/20/2020           $38,461.54   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     4/3/2020           $35,576.93   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    4/17/2020           $32,692.31   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     5/1/2020           $32,692.31   Regular Base Pay                President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    1/31/2020          $500,000.00   Special Bonus                   President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     3/6/2020        $2,000,000.00   Annual Incentive Plan           President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     3/6/2020          $611,550.00   Transformation Incentive Plan   President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    4/21/2020               $96.98   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    3/27/2020              $132.48   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    4/29/2020               $49.17   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     4/6/2020              $128.15   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     3/9/2020              $356.65   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    1/31/2020            $3,345.30   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    2/19/2020               $73.79   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    1/30/2020               $84.51   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    2/11/2020            $4,657.10   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    1/23/2020              $938.00   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     1/8/2020            $2,410.87   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    12/9/2019              $100.70   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    11/6/2019               $98.39   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    11/4/2019            $9,354.40   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    11/5/2019            $1,098.33   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281   10/22/2019              $336.53   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    9/13/2019              $926.36   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    10/7/2019              $357.13   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    8/26/2019              $212.84   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     8/7/2019            $1,527.31   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    7/16/2019              $231.57   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    7/23/2019              $337.36   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    5/20/2019              $119.99   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    6/17/2019            $1,231.49   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    5/14/2019              $264.99   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281    5/24/2019              $737.37   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson    225 Liberty Street, 17th Floor, New York, NY 10281     5/8/2019               $92.95   Expense Reimbursements          President - Chief Operating Officer
Michael Nicholson Total                                                                     $4,126,427.64
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    5/17/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    5/31/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    6/14/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    6/28/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    7/12/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    7/26/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     8/9/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    8/23/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     9/6/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    9/20/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    10/4/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   10/18/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    11/1/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   11/15/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   11/29/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   12/13/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   12/27/2019           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    1/10/2020           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    1/24/2020           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     2/7/2020           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    2/21/2020           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     3/6/2020           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    3/20/2020           $23,076.92   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     4/3/2020           $21,346.15   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    4/17/2020           $19,615.38   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     5/1/2020           $19,615.38   Regular Base Pay                Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    1/31/2020          $300,000.00   Special Bonus                   Chief Administrative Officer

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                                                                                       Total amount or        Reasons for payment or
   Insider’s name                           Address                         Dates                                                                 Relationship to debtor
                                                                                            value                      transfer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     3/6/2020         $392,963.00   Transformation Incentive Plan   Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     3/6/2020         $900,000.00   Annual Incentive Plan           Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    3/26/2020             $588.30   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     3/4/2020             $220.03   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    1/31/2020             $182.61   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    2/19/2020             $330.87   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    1/24/2020             $424.00   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    2/11/2020             $197.25   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     1/8/2020             $186.04   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   12/24/2019             $492.30   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   12/12/2019           $1,069.97   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    12/6/2019             $338.47   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   11/26/2019             $436.00   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   11/21/2019             $460.00   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    11/7/2019             $530.89   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   10/22/2019             $627.12   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281   10/15/2019             $515.57   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     9/6/2019             $509.85   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    10/8/2019             $535.85   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    10/7/2019           $1,124.38   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    9/26/2019             $779.44   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    8/13/2019             $581.31   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    7/19/2019             $158.98   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    8/26/2019             $475.12   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    7/16/2019             $199.00   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    7/17/2019             $402.09   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     7/3/2019             $613.53   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    5/28/2019             $606.77   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    7/12/2019             $995.00   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    6/12/2019             $161.45   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281     5/7/2019             $581.69   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe         225 Liberty Street, 17th Floor, New York, NY 10281    5/10/2019             $443.35   Expense Reimbursements          Chief Administrative Officer
Lynda Markoe Total                                                                         $2,199,076.38
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    5/17/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    5/31/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    6/14/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    6/28/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    7/12/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    7/26/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     8/9/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    8/23/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     9/6/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    9/20/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    10/4/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281   10/18/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    11/1/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281   11/15/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281   11/29/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281   12/13/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281   12/27/2019          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    1/10/2020          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    1/24/2020          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     2/7/2020          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    2/21/2020          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     3/6/2020          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    3/20/2020          $19,230.77   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     4/3/2020          $17,788.47   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    4/17/2020          $16,346.15   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     5/1/2020          $16,346.15   Regular Base Pay                Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281   11/15/2019           $5,326.50   Legal Fees Reimbursement        Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281   12/13/2019           $4,425.75   Legal Fees Reimbursement        Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    1/31/2020         $250,000.00   Special Bonus                   Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     3/6/2020         $117,889.00   Transformation Incentive Plan   Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     3/6/2020         $500,000.00   Annual Incentive Plan           Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    4/27/2020              $43.96   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    3/24/2020             $242.08   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     3/4/2020             $204.21   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    2/25/2020             $218.55   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     2/5/2020             $269.00   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    1/22/2020             $559.07   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     1/6/2020             $415.99   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    12/6/2019             $255.20   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281   12/16/2019             $447.83   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281   11/26/2019             $541.06   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    11/5/2019             $834.19   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281     9/6/2019           $1,106.36   Expense Reimbursements          Chief Financial Officer
Vincent Zanna        225 Liberty Street, 17th Floor, New York, NY 10281    10/8/2019           $2,277.39   Expense Reimbursements          Chief Financial Officer

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                                                                                         Total amount or        Reasons for payment or
   Insider’s name                             Address                         Dates                                                             Relationship to debtor
                                                                                              value                    transfer
Vincent Zanna          225 Liberty Street, 17th Floor, New York, NY 10281    9/26/2019             $882.81   Expense Reimbursements      Chief Financial Officer
Vincent Zanna          225 Liberty Street, 17th Floor, New York, NY 10281    7/31/2019             $677.82   Expense Reimbursements      Chief Financial Officer
Vincent Zanna          225 Liberty Street, 17th Floor, New York, NY 10281    8/20/2019           $1,109.22   Expense Reimbursements      Chief Financial Officer
Vincent Zanna          225 Liberty Street, 17th Floor, New York, NY 10281    5/28/2019             $442.66   Expense Reimbursements      Chief Financial Officer
Vincent Zanna          225 Liberty Street, 17th Floor, New York, NY 10281    7/12/2019             $573.95   Expense Reimbursements      Chief Financial Officer
Vincent Zanna          225 Liberty Street, 17th Floor, New York, NY 10281    6/18/2019             $499.73   Expense Reimbursements      Chief Financial Officer
Vincent Zanna          225 Liberty Street, 17th Floor, New York, NY 10281     5/7/2019             $285.72   Expense Reimbursements      Chief Financial Officer
Vincent Zanna          225 Liberty Street, 17th Floor, New York, NY 10281    5/10/2019             $178.86   Expense Reimbursements      Chief Financial Officer
Vincent Zanna Total                                                                          $1,382,495.38
Chad Leat              225 Liberty Street, 17th Floor, New York, NY 10281    4/27/2020         $181,250.00   Board Fees                  Director
Chad Leat              225 Liberty Street, 17th Floor, New York, NY 10281    1/16/2020         $181,250.00   Board Fees                  Director
Chad Leat              225 Liberty Street, 17th Floor, New York, NY 10281   10/17/2019         $181,250.00   Board Fees                  Director
Chad Leat              225 Liberty Street, 17th Floor, New York, NY 10281    7/17/2019         $356,250.00   Board Fees                  Director
Chad Leat              225 Liberty Street, 17th Floor, New York, NY 10281     3/3/2020           $6,057.00   Expense Reimbursements      Director
Chad Leat              225 Liberty Street, 17th Floor, New York, NY 10281    11/7/2019           $8,647.00   Expense Reimbursements      Director
Chad Leat              225 Liberty Street, 17th Floor, New York, NY 10281    9/12/2019           $6,855.00   Expense Reimbursements      Director
Chad Leat              225 Liberty Street, 17th Floor, New York, NY 10281    7/18/2019           $2,289.00   Expense Reimbursements      Director
Chad Leat Total                                                                                $923,848.00
Richard Feintuch       225 Liberty Street, 17th Floor, New York, NY 10281    1/15/2020          $31,250.00   Board Fees                  Director
Richard Feintuch       225 Liberty Street, 17th Floor, New York, NY 10281    4/27/2020          $31,250.00   Board Fees                  Director
Richard Feintuch       225 Liberty Street, 17th Floor, New York, NY 10281    1/16/2020          $31,250.00   Board Fees                  Director
Richard Feintuch       225 Liberty Street, 17th Floor, New York, NY 10281   10/28/2019          $31,250.00   Board Fees                  Director
Richard Feintuch       225 Liberty Street, 17th Floor, New York, NY 10281    7/17/2019          $31,250.00   Board Fees                  Director
Richard Feintuch       225 Liberty Street, 17th Floor, New York, NY 10281   12/24/2019           $3,958.64   Expense Reimbursements      Director
Richard Feintuch Total                                                                         $160,208.64
Seth Farbman           225 Liberty Street, 17th Floor, New York, NY 10281    4/27/2020          $31,250.00   Board Fees                  Director
Seth Farbman           225 Liberty Street, 17th Floor, New York, NY 10281    1/15/2020          $31,250.00   Board Fees                  Director
Seth Farbman           225 Liberty Street, 17th Floor, New York, NY 10281   10/28/2019          $31,250.00   Board Fees                  Director
Seth Farbman           225 Liberty Street, 17th Floor, New York, NY 10281    7/17/2019          $62,500.00   Board Fees                  Director
Seth Farbman           225 Liberty Street, 17th Floor, New York, NY 10281     9/4/2019             $118.42   Expense Reimbursements      Director
Seth Farbman Total                                                                             $156,368.42
Neal Goldman           225 Liberty Street, 17th Floor, New York, NY 10281    4/27/2020          $31,250.00   Board Fees                  Director
Neal Goldman           225 Liberty Street, 17th Floor, New York, NY 10281    1/15/2020          $31,250.00   Board Fees                  Director
Neal Goldman           225 Liberty Street, 17th Floor, New York, NY 10281   10/28/2019          $31,250.00   Board Fees                  Director
Neal Goldman           225 Liberty Street, 17th Floor, New York, NY 10281    7/17/2019          $31,250.00   Board Fees                  Director
Neal Goldman Total                                                                             $125,000.00
Grand Total                                                                                $17,264,071.46




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           STATEMENT OF FINANCIAL AFFAIRS

                              EXHIBIT
                         PART 4, QUESTION 9

      ALL GIFTS OR CHARITABLE CONTRIBUTIONS THE
       DEBTOR GAVE TO A RECIPIENT WITHIN 2 YEARS
     BEFORE FILING THIS CASE UNLESS THE AGGREGATE
     VALUE OF GIFTS TO THAT RECIPIENT IS LESS THAN
                          $1,000
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J. Crew Operating Corp.
Case No. 20-32186
SOFA Question 9: List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
aggregate value of gifts to that recipient is less than $1,000

                                               Description of the Gifts or                                      Recipient's Relationship to
      Recipient's Name and Address                                                 Dates Given       Value
                                                    Contributions                                                         Debtor
   Human Rights Campaign                          Charitable donation                Various       $1,105,084
   Girls Inc.                                     Charitable donation                Various         $703,802
   Charity Global Inc (Charity Water)             Charitable donation                Various         $291,389
   Habitat For Humanity                           Charitable donation                Various         $200,000
   New York Cares Inc                             Charitable donation                Various         $180,916
   One Warm Coat                                  Charitable donation                Various          $91,500
   No Kid Hungry/Share our Strength               Charitable donation                Various          $87,808
   Girl Up                                        Charitable donation                Various          $63,107
   Surfrider Foundation Inc                       Charitable donation                Various          $62,870
   Montefiore Health System - Masks               Charitable donation                Various          $45,000
   Wildlife Conservation Society                  Charitable donation                Various          $40,704
   AIDS Walk New York                             Charitable donation                Various          $40,000
   ACLU                                           Charitable donation                Various          $25,587
   World Central Kitchen                          Charitable donation                Various          $25,000
   Metro Nashville Public Schools                 Charitable donation                Various          $20,000
   National Park Foundation                       Charitable donation                Various          $20,000
   National Forest Foundation                     Charitable donation                Various          $10,000
   A Call to Men                                  Charitable donation                Various           $8,765
   David Sheldrick Wild Life Trust                Charitable donation                Various           $8,497
   Every Mother Counts                            Charitable donation                Various           $3,605
   Xerces Society                                 Charitable donation                Various           $3,050




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           STATEMENT OF FINANCIAL AFFAIRS

                              EXHIBIT
                         PART 6, QUESTION 11

             PAYMENTS RELATED TO BANKRUPTCY
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J. Crew Operating Corp.
Case No. 20-32186
SOFA Question 11: Payments related to bankruptcy

     Who was paid or who received the    If not money, describe                 Total amount or                                         Who made the payment, if
                                                                   Dates                                 Email or website address
                   transfer             any property transferred                      value                                                   not debtor
   Alix Partners LLP                              N/A               5/29/2019      $1,190,750.00    https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A                6/6/2019         $500,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A               7/18/2019      $2,673,072.00    https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A               9/12/2019         $500,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A              10/17/2019         $840,750.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A              12/19/2019         $400,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A               2/20/2020         $300,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A               3/12/2020         $400,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A               3/26/2020      $1,000,000.00    https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A               3/26/2020         $350,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A               3/27/2020         $350,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A                4/1/2020         $350,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A                4/9/2020         $350,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A               4/16/2020         $350,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A               4/16/2020         $350,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A               4/23/2020         $350,000.00   https://www.alixpartners.com/                N/A
   Alix Partners LLP                              N/A                5/1/2020      $1,000,000.00    https://www.alixpartners.com/                N/A
   Hunton Andrews Kurth LLP                       N/A                5/1/2020         $340,000.00   https://www.huntonak.com/en/                 N/A
   HILCO Rent/Lease Obligations, LLC              N/A               4/10/2020         $200,000.00   https://www.hilcorealestate.com              N/A
   KPMG                                           N/A               5/15/2019         $312,500.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               5/15/2019         $287,500.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               5/15/2019         $312,500.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               7/12/2019          $30,271.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               7/31/2019         $190,057.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               7/31/2019         $262,500.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               9/18/2019         $449,500.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               11/6/2019          $30,000.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A              11/27/2019         $122,500.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A              11/27/2019          $30,201.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               12/4/2019         $300,000.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A              12/11/2019         $217,420.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               1/15/2020          $10,715.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               1/16/2020         -$10,715.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A               2/13/2020          $11,145.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A                3/5/2020         $262,500.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A                3/5/2020         $325,000.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A                5/1/2020           $8,582.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A                5/1/2020          $14,519.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A                5/1/2020         $200,000.00   https://home.kpmg/xx/en/home.html            N/A
   KPMG                                           N/A                5/1/2020      $1,041,635.00    https://home.kpmg/xx/en/home.html            N/A
   Lazard Freres & Co LLC                         N/A                5/1/2020      $5,804,619.71    https://www.lazard.com/                      N/A
   Milbank LLP                                    N/A               5/17/2019         $150,000.00   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A                8/6/2019         $449,906.46   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A               8/28/2019         $160,780.64   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A               9/12/2019         $119,471.34   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A              10/17/2019         $188,557.11   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A              11/14/2019         $668,013.24   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A              12/19/2019      $1,252,506.59    https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A               1/16/2020         $266,104.63   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A               2/13/2020         $191,037.16   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A               3/27/2020          $94,645.06   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A               4/16/2020         $745,687.50   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A                5/1/2020         $591,982.05   https://www.milbank.com/en/                  N/A
   Milbank LLP                                    N/A                5/1/2020         $800,000.00   https://www.milbank.com/en/                  N/A
   Morris Nichols Arsht & Tunnell LLP             N/A               4/17/2020          $25,000.00   https://www.mnat.com/                        N/A
   Omni Agent Solutions                           N/A               4/17/2020          $50,000.00   https://omniagentsolutions.com/              N/A
   Omni Agent Solutions                           N/A                5/1/2020          $50,000.00   https://omniagentsolutions.com/              N/A
   PJT Partners LP                                N/A                5/1/2020      $2,080,000.00    https://pjtpartners.com/                     N/A
   Richards, Layton & Finger                      N/A               4/14/2020         $150,000.00   http://www.rlf.com/                          N/A
   Richards, Layton & Finger                      N/A                5/1/2020         $171,289.50   http://www.rlf.com/                          N/A
   Tavenner & Beran PLC                           N/A                5/1/2020          $50,000.00   https://www.tb-lawfirm.com/                  N/A
   Weil, Gotshal & Manges LLP                     N/A               5/23/2019         $500,000.00   https://www.weil.com/                        N/A
   Weil, Gotshal & Manges LLP                     N/A               9/11/2019          $63,607.05   https://www.weil.com/                        N/A
   Weil, Gotshal & Manges LLP                     N/A               3/16/2020         $750,000.00   https://www.weil.com/                        N/A
   Weil, Gotshal & Manges LLP                     N/A               3/26/2020         $635,722.68   https://www.weil.com/                        N/A
   Weil, Gotshal & Manges LLP                     N/A                4/3/2020         $611,909.37   https://www.weil.com/                        N/A

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 Who was paid or who received the    If not money, describe                Total amount or                                         Who made the payment, if
                                                               Dates                                Email or website address
                transfer            any property transferred                     value                                                   not debtor
Weil, Gotshal & Manges LLP                    N/A               4/8/2020         $647,042.50   https://www.weil.com/                        N/A
Weil, Gotshal & Manges LLP                    N/A              4/13/2020      $6,000,000.00    https://www.weil.com/                        N/A
Weil, Gotshal & Manges LLP                    N/A              4/15/2020         $560,119.97   https://www.weil.com/                        N/A
Weil, Gotshal & Manges LLP                    N/A              4/22/2020         $682,618.83   https://www.weil.com/                        N/A
Weil, Gotshal & Manges LLP                    N/A               5/1/2020      $1,970,815.79    https://www.weil.com/                        N/A




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